Case 3:20-cv-05671-JD Document 45-1 Filed 09/09/20 Page 1 of 240




                       Exhibit A
                              to
    Google LLC’s Notice of Filing
                          Case
                           Case3:20-cv-05671-JD
                                 5:14-cv-02007-BLFDocument
                                                    Document
                                                           45-1
                                                              56 Filed
                                                                  Filed09/09/20
                                                                        09/09/20 Page
                                                                                  Page21ofof240
                                                                                             6


                         Brian C. Rocca, Bar No. 221576                     Richard S. Taffet
                     1   brian.rocca@morganlewis.com                        richard.taffet@morganlewis.com
                         Sujal J. Shah, Bar No. 215230                      MORGAN, LEWIS & BOCKIUS LLP
                     2   sujal.shah@morganlewis.com                         101 Park Avenue
                         Michelle Park Chiu, Bar No. 248421                 New York, NY 10178-0060
                     3   michelle.chiu@morganlewis.com                      Telephone: (212) 309-6000
                         Minna Lo Naranjo, Bar No. 259005                   Facsimile: (212) 309-6001
                     4   minna.naranjo@morganlewis.com
                         Rishi P. Satia, Bar No. 301958                     Willard K. Tom
                     5   rishi.satia@morganlewis.com                        willard.tom@morganlewis.com
                         MORGAN, LEWIS & BOCKIUS LLP                        MORGAN, LEWIS & BOCKIUS LLP
                     6   One Market, Spear Street Tower                     1111 Pennsylvania Avenue, NW
                         San Francisco, CA 94105-1596                       Washington, D.C. 20004-2541
                     7   Telephone: (415) 442-1000                          Telephone: (202) 739-3000
                         Facsimile: (415) 442-1001                          Facsimile: (202) 739-3001
                     8
                         Attorneys for Google LLC
                     9
                    10
                                                      UNITED STATES DISTRICT COURT
                    11
                                                    NORTHERN DISTRICT OF CALIFORNIA
                    12
                                                               SAN JOSE DIVISION
                    13

                    14   GARY FEITELSON, a Kentucky resident, and           Case No. 5:14-cv-02007-BLF
                         DANIEL MCKEE, an Iowa resident, on behalf
                    15   of themselves and all others similarly situated,   GOOGLE LLC’S ADMINISTRATIVE
                                                                            MOTION TO CONSIDER WHETHER
                    16                         Plaintiffs,                  CASES SHOULD BE RELATED
                    17                  v.
                    18   GOOGLE INC., a Delaware corporation,
                    19                         Defendants.
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                     2                    Case No 5:14-cv-02007-BLF
 BOCKIUS LLP                                  GOOGLE LLC’S ADMINISTRATIVE MOTION TO CONSIDER
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                    WHETHER CASES SHOULD BE RELATED
                             Case
                              Case3:20-cv-05671-JD
                                    5:14-cv-02007-BLFDocument
                                                       Document
                                                              45-1
                                                                 56 Filed
                                                                     Filed09/09/20
                                                                           09/09/20 Page
                                                                                     Page32ofof240
                                                                                                6



                     1            Pursuant to Civil L.R. 3-12(b), Google LLC (“Google”), requests that this Court consider
                     2   whether, under Civil L.R. 3-12(a), the following cases should be related to the above-captioned
                     3   case (“Feitelson-Google”):
                     4
                                  1. Epic Games, Inc. v. Google LLC et al., No. 20-cv-05671-JD (“Epic-Google”), filed
                     5               on August 13, 2020, which is currently pending before Judge Donato. See Declaration
                                     of Brian C. Rocca (“Rocca Decl.”), Ex. A, Epic-Google Compl. Defendants Google
                     6               and Google Payment Corp. were served on September 4, 2020.1
                     7            2. Carr v. Google LLC et al., No. 20-cv-05761-BLF (“Carr-Google”), filed on August
                                     15, 2020, which is currently pending before this Court. See Rocca Decl., Ex. B, Carr-
                     8               Google Compl. As of the date of this filing, it appears that Google LLC is the only
                     9               defendant served with the complaint (on September 8, 2020).

                    10            3. Pure Sweat Basketball, Inc. v. Google LLC et al., No. 20-cv-05792-JD (“PSB-
                                     Google”), filed on August 17, 2020, which was pending before Judge Chen, but
                    11               related to Epic-Google on September 9, 2020 and is now before Judge Donato. Rocca
                                     Decl., Ex. C, PSB-Google Compl. Defendants Google and Google Payment Corp.
                    12               were served on August 21, 2020. As of the date of this filing, the non-U.S. Google
                                     defendants do not appear to have been served.
                    13

                    14            Solely for convenience and purposes of this Response, Google refers to these actions as

                    15   “the Android/Google Cases.” Google believes the Android/Google Cases now before Judge

                    16   Donato (Epic-Google and PSB-Google) and Judge Freeman (Carr-Google) all “relate” to each

                    17   other under Civil L.R. 3-12(a). Each case challenges the open Android ecosystem and Google’s

                    18   agreements and policies with respect to Google’s app store, Google Play. Specifically, these

                    19   cases allege that Google, inter alia, entered into Mobile App Distribution Agreements

                    20   (“MADAs”) with OEMs, which purportedly foreclose or disadvantage competing apps on

                    21   Android mobile devices. In response, Google will vigorously defend the openness of Android, in

                    22   part because the challenged agreements do not foreclose competition. Android devices: (1) can

                    23   have multiple competing app stores simultaneously pre-installed or downloaded; and (2) permit

                    24   users to “sideload,” i.e., to directly download apps from the internet.

                    25

                    26   1
                           The non-U.S. Google defendants appear to have been served as of September 7, 2020—Google
                         Ireland Limited (service on September 6, 2020), Google Commerce Limited (service on
                    27
                         September 7, 2020), and Google Asia Pacific Pte. Limited (service on September 4, 2020).
                    28   Counsel for defendants is confirming that service was proper.
MORGAN, LEWIS &                                                          1                       Case No 5:14-cv-02007-BLF
 BOCKIUS LLP                                   GOOGLE LLC’S ADMINISTRATIVE MOTION TO CONSIDER
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                     WHETHER CASES SHOULD BE RELATED
                             Case
                              Case3:20-cv-05671-JD
                                    5:14-cv-02007-BLFDocument
                                                       Document
                                                              45-1
                                                                 56 Filed
                                                                     Filed09/09/20
                                                                           09/09/20 Page
                                                                                     Page43ofof240
                                                                                                6



                     1            As discussed further below, Feitelson-Google, which was brought by the same law firm
                     2   that represents plaintiffs in PSB-Google, also included overlapping agreements and an
                     3   overlapping theory of alleged anticompetitive foreclosure. The PSB-Google complaint even cites
                     4   to the Feitelson-Google complaint when referencing relevant MADAs. See PSB-Google, Compl.,
                     5   ¶ 69 n.75. Feitelson-Google was dismissed on the pleadings in 2015. See Feitelson v. Google,
                     6   Inc., 80 F. Supp. 3d 1019 (N.D. Cal. 2015) (granting motion to dismiss).
                     7            On August 31, 2020, Judge Chen issued a Sua Sponte Judicial Referral for Purposes of
                     8   Determining Relationship of Cases referring PSB-Google to Judge Donato and Judge Gonzalez
                     9   Rogers to determine whether it is related to Epic-Google; Cameron et al v. Apple Inc., No. 4:19-
                    10   cv-03074-YGR (“Cameron-Apple”); or Epic Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR
                    11   (“Epic-Apple”). Google filed a response to Judge Chen’s order in Cameron-Apple on September
                    12   3, 2020 (Rocca Decl., Ex. D) and in Epic-Google on September 4, 2020 (Rocca Decl., Ex. E),
                    13   raising in both the possible relation of the Android/Google Cases to Feitelson-Google.2
                    14                                              DISCUSSION
                    15            An action is related to another when (1) the actions concern substantially the same parties,
                    16   property, transaction, or event; and (2) it appears likely that there will be an unduly burdensome
                    17   duplication of labor and expense or conflicting results if the cases are conducted before different
                    18   judges. Civ. L.R. 3-12(a). When a party believes an action “may be” related to another action
                    19   that “is or was pending in this District” it is required to file an administrative motion to consider
                    20   whether cases should be related. Civ. L.R. 3-12(b) (emphasis added).
                    21
                                     I.   The Android/Google Cases May Be Related To Feitelson-Google
                    22            While the three Android/Google Cases are related to each other, Google believes they
                    23   may also be related to Feitelson-Google, a case that “was pending” in this District.3 See Civ. L.R.
                    24

                    25   2
                             Judge Donato ordered relation of Epic-Google and PSB-Google on September 9, 2020.
                         3
                    26     Additionally, each of the plaintiffs in the recently-filed Android/Google Cases—Epic, Mary
                         Carr, and Pure Sweat Basketball—agreed to litigate disputes with Google “exclusively” in Santa
                    27   Clara County, i.e., in the San Jose Division for federal court cases. See Google DDA, §16.8,
                         available at https://play.google.com/about/developer-distribution-agreement.html; Google Terms
                    28   of Service, Section “Settling disputes, governing law, and courts”, available at
MORGAN, LEWIS &                                                             2                       Case No 5:14-cv-02007-BLF
 BOCKIUS LLP                                   GOOGLE LLC’S ADMINISTRATIVE MOTION TO CONSIDER
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                     WHETHER CASES SHOULD BE RELATED
                             Case
                              Case3:20-cv-05671-JD
                                    5:14-cv-02007-BLFDocument
                                                       Document
                                                              45-1
                                                                 56 Filed
                                                                     Filed09/09/20
                                                                           09/09/20 Page
                                                                                     Page54ofof240
                                                                                                6



                     1   3-12(b). Each of these four cases allege claims against Google based on overlapping
                     2   transactions—Google’s contracts with OEMs and its policies within the Android ecosystem
                     3   regarding the preloading and placement of Google apps on Android devices. The chart below
                     4   summarizes Feitelson-Google and each of the three Android/Google Cases in order of their filing.
                     5
                             Case, No. (Judge)        Plaintiff / Type   Defendants                      Property, Transaction
                     6                                                                                   or Event

                     7   Feitelson et al. v. Google Gary Feitelson   Google Inc.*                        Android OS
                         Inc., No. 5:14-cv-02007 and Daniel                                              Google Search
                     8   (Freeman, J.)              McKee / Putative *Converted to Google LLC in         Google’s MADA
                                                    consumer class   2017                                Google Play Store
                     9
                         Epic Games, Inc. v.          Epic Games /       Google LLC                      Android OS
                    10   Google LLC et al., No.       Individual app     Google Payment Corp.            Google’s MADA
                         3:20-cv-05671                developer          Google Ireland Ltd.             Google Play Store
                    11   (Donato, J.)                                    Google Commerce Ltd.            Google’s Developer
                                                                         Google Asia Pacific Pte. Ltd.   Distribution Agreements
                    12
                                                                                                         (“DDA”)
                    13   Carr v. Google LLC et        Mary Carr /        Google LLC                      Android OS
                         al., No. 5:20-cv-05761       Putative           Google Payment Corp.            Google’s MADA
                    14   (Freeman, J.)                consumer class     Google Ireland Ltd.             Google Play Store
                                                                         Google Commerce Ltd.            Google’s DDA
                    15                                                   Google Asia Pacific Pte. Ltd.
                    16   Pure Sweat Basketball,       Pure Sweat         Google LLC                      Android OS
                         Inc. v. Google LLC et al.,   Basketball /       Google Payment Corp.            Google’s MADA
                    17   No. 3:20-cv-05792            Putative app       Google Ireland Ltd.             Google Play Store
                         (Donato, J.)                 developer class    Google Commerce Ltd.            Google’s DDA
                    18                                                   Google Asia Pacific Pte. Ltd.

                    19             The complaints in Feitelson-Google and the Android/Google Cases have an overlapping
                    20   theory of anticompetitive harm: Google’s use of MADAs to purportedly foreclose competition in
                    21   the markets alleged in each complaint (“general search” and “handheld general search” in
                    22   Feitelson and the “Android app distribution market” in the Android/Google Cases).4 Feitelson-
                    23
                         https://policies.google.com/terms?hl=en-US. Carr-Google (currently assigned to this Court) is
                    24   the only Android/Google Case assigned to a court in the San Jose Division.
                         4
                    25     The Android/Google Cases also allege that Google uses its monopoly power in the alleged
                         “Android app distribution market”—purportedly gained through the MADAs and other allegedly
                    26   anticompetitive agreements with OEMs—to tie “in-app payment processing” to distribution
                         through Google Play. Rocca Decl., Ex. A, Epic-Google Compl., ¶¶ 177-178; Rocca Decl., Ex. B,
                    27
                         Carr-Google Compl., ¶¶ 146, 154, 158-159, 164; and Rocca Decl., Ex. C, PSB-Google Compl.,
                    28   ¶¶ 156, 208-209.
MORGAN, LEWIS &                                                        3                        Case No 5:14-cv-02007-BLF
 BOCKIUS LLP                                     GOOGLE LLC’S ADMINISTRATIVE MOTION TO CONSIDER
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                       WHETHER CASES SHOULD BE RELATED
                          Case
                           Case3:20-cv-05671-JD
                                 5:14-cv-02007-BLFDocument
                                                    Document
                                                           45-1
                                                              56 Filed
                                                                  Filed09/09/20
                                                                        09/09/20 Page
                                                                                  Page65ofof240
                                                                                             6



                     1   Google Dkt. No. 31, Amended Complaint (“FAC”), ¶ 10; Rocca Decl., Ex. A, Epic-Google
                     2   Compl., ¶¶ 145, 188; Rocca Decl., Ex. B, Carr-Google Compl., ¶¶ 126, 169; and Rocca Decl.,
                     3   Ex. C, PSB-Google Compl., ¶ 73.
                     4          For example, the complaints all allege that under Google’s MADA, OEMs can only
                     5   preload “must-have” Google apps if the OEM agrees to preload a bundle of Google apps
                     6   (including Google Play), which allegedly forecloses competitive apps. Compare:
                     7          ● Feitelson-Google FAC, ¶ 7 (alleging Google forecloses competition “by way of secret
                     8            contracts called [MADAs],” which “allow[] Android . . . manufacturers to pre-load a
                                  suite of Google apps including … Google Play client … but only if the manufacturer
                     9            pre-loads onto prime screen real estate all of the apps in the suite….”); see also id. ¶¶
                                  36, 97, 125, 131.
                    10
                                ● Epic-Google Compl. ¶ 15 (alleging “Google bundles the Google Play Store with a set
                    11            of other Google services that Android OEMs must have on their devices…effectively
                                  foreclose[ing] competing app stores—and even single apps—from what could be a
                    12
                                  primary distribution channel.”); see also id. ¶¶ 82-87.
                    13
                                ● Carr-Google Compl., ¶ 5 (same as Epic-Google, above); see also id. ¶ 61.
                    14
                                ● PSB-Google Compl., ¶ 65 (alleging that OEM licenses require bundling of Google
                    15            Apps, including Google Play, which “unfairly shut[s competing app stores] out of the
                                  market”); see also id. ¶¶ 7, 73.
                    16

                    17          Additionally, all plaintiffs allege that placement requirements for Google apps make it

                    18   unlikely that competitor apps will be used. Compare:

                    19          ● Feitelson-Google FAC, ¶¶ 36 and 40 (alleging that an OEM “must agree to pre-load
                                  all of a suite of Google applications onto prime screen real estate,” and when apps are
                    20            “placed prominently on a handheld device … Google knows that phone and tablet
                                  owners will use it”), see also id. ¶¶ 7, 41-42; Feitelson, 80 F. Supp. 3d at 1023
                    21
                                  (“Among other terms in the representative MADAs, an OEM that wishes to pre-load
                    22            apps like YouTube and the Play client on an Android OS phone must also ... pre-load
                                  all of a suite of and must give those apps ‘prime screen real estate.’”)
                    23
                                ● Epic-Google Compl., ¶ 82 (alleging that MADAs condition “OEMs’ licensing of the
                    24            Google Play Store … on OEMs’ agreements to provide the Google Play Store with
                                  preferential treatment compared to any other competing app store,” which “place[s]
                    25
                                  any other app store at a significant disadvantage”), see also id. ¶ 83
                    26
                                ● Carr-Google Compl., ¶ 61(alleging “the MADA requires OEMs to locate the Google
                    27            Play Store on the ‘home screen’ of each mobile device … occupying valuable space”
                                  that places competing app stores “at a significant disadvantage”), see also id. ¶ 62;
                    28
MORGAN, LEWIS &                                                    4                    Case No 5:14-cv-02007-BLF
 BOCKIUS LLP                                 GOOGLE LLC’S ADMINISTRATIVE MOTION TO CONSIDER
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                   WHETHER CASES SHOULD BE RELATED
                          Case
                           Case3:20-cv-05671-JD
                                 5:14-cv-02007-BLFDocument
                                                    Document
                                                           45-1
                                                              56 Filed
                                                                  Filed09/09/20
                                                                        09/09/20 Page
                                                                                  Page76ofof240
                                                                                             6



                     1          ● PSB-Google Compl. ¶ 69 n.75 (identifying terms of MADA that require “prime
                                  placement of Google Applications”).
                     2

                     3          The complaints also claim that Google’s OEM agreements stifle innovation and choice by

                     4   allegedly preventing the preloading of competing apps onto Android devices. Compare:

                     5          ● Feitelson-Google FAC, ¶ 70 (alleging that the mandatory MADA terms “kill
                                  competition and consumer choice”), see also id. ¶¶ 71, 82.
                     6
                                ● Epic-Google Compl., ¶¶ 107-109, 111 (identifying alleged harm to OEMs’ ability to
                     7
                                  innovate and compete by offering more appealing distribution platforms, harm to app-
                     8            distributors’ ability to innovate new models of app distribution, and harm to
                                  consumers’ ability to discover apps through additional or more tailored platforms).
                     9
                                ● Carr-Google, Compl., ¶¶ 81-83, 85 (same as Epic-Google, above).
                    10
                                ● PSB-Google Compl., ¶¶ 103-105 (same).
                    11

                    12          To be clear, Google rejects these copycat allegations and believes they cannot be

                    13   reconciled with Android’s fundamental openness and well-established principles of antitrust law.

                    14   But the overlap in these four cases is clear. They each involve the same defendant, the same open

                    15   ecosystem (Android), the same app store (Google Play), and overlapping agreements (MADAs)

                    16   and theories of anticompetitive harm. There would be an unduly burdensome duplication of labor

                    17   and expense and conflicting results if the three Android/Google Cases were conducted before

                    18   different judges. Because this Court—already the assigned Judge in Carr-Google—also decided

                    19   Feitelson-Google, there may be efficiencies in relating all four actions before this Court. And, as

                    20   noted above (see n.3), this is the only Court presently assigned to any of these matters who

                    21   presides in the parties’ agreed-to “exclusive” venue, Santa Clara County.

                    22          Google defers to the Court’s determination as to whether the Android/Google Cases

                    23   (Epic-Google, Carr-Google and PSB-Google) are related to Feitelson-Google under Civil Local

                    24   Rule 3-12(a).

                    25   Dated: September 9, 2020                           By     /s/ Brian C. Rocca
                                                                                  Brian C. Rocca
                    26                                                            MORGAN, LEWIS & BOCKIUS LLP

                    27                                                            Attorneys for Google LLC

                    28
MORGAN, LEWIS &                                                     5                    Case No 5:14-cv-02007-BLF
 BOCKIUS LLP                                  GOOGLE LLC’S ADMINISTRATIVE MOTION TO CONSIDER
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                    WHETHER CASES SHOULD BE RELATED
                         Case
                         Case5:14-cv-02007-BLF
                              3:20-cv-05671-JD Document
                                               Document45-1
                                                        56-1 Filed
                                                             Filed09/09/20
                                                                   09/09/20 Page
                                                                            Page81of
                                                                                   of240
                                                                                      231



                     1   Brian C. Rocca, Bar No. 221576                     Richard S. Taffet
                         brian.rocca@morganlewis.com                        richard.taffet@morganlewis.com
                     2   Sujal J. Shah, Bar No. 215230                      MORGAN, LEWIS & BOCKIUS LLP
                         sujal.shah@morganlewis.com                         101 Park Avenue
                     3   Michelle Park Chiu, Bar No. 248421                 New York, NY 10178-0060
                         michelle.chiu@morganlewis.com                      Telephone: (212) 309-6000
                     4   Minna Lo Naranjo, Bar No. 259005                   Facsimile: (212) 309-6001
                         minna.naranjo@morganlewis.com
                     5   Rishi P. Satia, Bar No. 301958                     Willard K. Tom
                         rishi.satia@morganlewis.com                        willard.tom@morganlewis.com
                     6   MORGAN, LEWIS & BOCKIUS LLP                        MORGAN, LEWIS & BOCKIUS LLP
                         One Market, Spear Street Tower                     1111 Pennsylvania Avenue, NW
                     7   San Francisco, CA 94105-1596                       Washington, D.C. 20004-2541
                         Telephone: (415) 442-1000                          Telephone: (202) 739-3000
                     8   Facsimile: (415) 442-1001                          Facsimile: (202) 739-3001

                     9   Attorneys for Google LLC
                    10

                    11                                UNITED STATES DISTRICT COURT

                    12                              NORTHERN DISTRICT OF CALIFORNIA

                    13                                         SAN JOSE DIVISION

                    14
                         GARY FEITELSON, a Kentucky resident, and           Case No. 5:14-cv-02007-BLF
                    15   DANIEL MCKEE, an Iowa resident, on behalf
                         of themselves and all others similarly situated,   DECLARATION OF BRIAN C.
                    16                                                      ROCCA IN SUPPORT OF GOOGLE
                                               Plaintiffs,                  LLC’S ADMINISTRATIVE MOTION
                    17                                                      TO CONSIDER WHETHER CASES
                                        v.                                  SHOULD BE RELATED
                    18
                         GOOGLE INC., a Delaware corporation,
                    19
                                               Defendants.
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                             Case No. 5:14-cv-02007-BLF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                        DECLARATION OF BRIAN C. ROCCA ISO ADMINISTRATIVE MOTION
                         Case
                         Case5:14-cv-02007-BLF
                              3:20-cv-05671-JD Document
                                               Document45-1
                                                        56-1 Filed
                                                             Filed09/09/20
                                                                   09/09/20 Page
                                                                            Page92of
                                                                                   of240
                                                                                      231



                     1          I, Brian C. Rocca, state and declare as follows:

                     2          1.      I am an attorney admitted to practice law in California and before this Court. I am

                     3   a partner in the law firm of Morgan, Lewis & Bockius LLP, and was counsel for Defendant

                     4   Google Inc. in the above-captioned action. I am also counsel for Google LLC (“Google”) in three

                     5   recently-filed actions: (1) Epic Games, Inc. v. Google LLC et al., No. 20-cv-05671-JD (“Epic-

                     6   Google”), currently pending before Judge Donato; (2) Carr v. Google LLC et al., No. 20-cv-

                     7   05761-BLF (“Carr-Google”), currently pending before this Court; and (3) Pure Sweat Basketball,

                     8   Inc. v. Google LLC et al., No. 20-cv-05792-JD (“PSB-Google”), which was originally pending

                     9   before Judge Chen, but was related to Epic-Google on September 9, 2020 and is now before
                    10   Judge Donato. For ease of reference, I refer to these three recently-filed actions in this

                    11   Declaration as the “Android/Google Cases.” The following facts are within my personal

                    12   knowledge and, if called and sworn as witness, I could and would testify competently to them.

                    13          2.      The above-captioned matter, Feitelson et al. v. Google Inc. (Feitelson-Google),

                    14   was filed in this District on May 1, 2014 by the law firm of Hagens Berman Sobol Shapiro LLP.

                    15   ECF No. 1. Plaintiffs filed a First Amended Complaint on August 1, 2014. ECF 31. This Court

                    16   granted a motion to dismiss the First Amended Complaint on February 20, 2015, providing

                    17   plaintiffs with an opportunity to file a further amended complaint. ECF No. 52. Plaintiffs

                    18   declined to amend and voluntarily dismissed the action on April 3, 2015. ECF No. 55.

                    19          3.      Epic-Google, Carr-Google, and PSB-Google were filed in this District on August
                    20   13, 2020, August 15, 2020, and August 17, 2020, respectively, naming the same five Google

                    21   defendants in each complaint: Google LLC; Google Ireland Limited; Google Commerce

                    22   Limited; Google Asia Pacific Pte. Limited; and Google Payment Corp.

                    23          4.      Attached hereto as Exhibit A is a true and correct copy of the complaint filed in

                    24   Epic-Google. As of the date of this filing, it appears that all five Google defendants have been

                    25   served in Epic-Google.

                    26          5.      Attached hereto as Exhibit B is a true and correct copy of the complaint filed in

                    27   Carr-Google. As of the date of this filing, it appears that Google LLC is the only defendant

                    28   served in Carr-Google (on September 8, 2020).
MORGAN, LEWIS &
 BOCKIUS LLP                                                        1                    Case No. 5:14-cv-02007-BLF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                         DECLARATION OF BRIAN C. ROCCA ISO ADMINISTRATIVE MOTION
                         Case 5:14-cv-02007-BLF
                              3:20-cv-05671-JD Document
                                                Document45-1
                                                         56-1 Filed
                                                               Filed09/09/20
                                                                     09/09/20 Page
                                                                               Page10
                                                                                    3 of 240
                                                                                         231



                     1          6.      Attached hereto as Exhibit C is a true and correct copy of the complaint filed in

                     2   PSB-Google by Hagens Berman Sobol Shapiro LLP, the same counsel that filed the Feitelson-

                     3   Google complaint. As of the date of this filing, it appears that Google LLC and Google Payment

                     4   Corp. are the only two defendants served in PSB-Google (on August 21, 2020).

                     5          7.      On August 31, 2020, Judge Chen, presiding over PSB-Google, issued a Sua Sponte

                     6   Judicial Referral for Purposes of Determining Relationship of Cases (“Sua Sponte Referral”) to

                     7   determine whether PSB-Google is related to Epic-Google; Cameron et al. v. Apple Inc., No. 19-

                     8   cv-03074-YGR (“Cameron-Apple”); or Epic Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR

                     9   (“Epic-Apple”). Google filed a response in Cameron-Apple on September 3, 2020 at ECF No.
                    10   115 (a true and correct copy attached hereto as Exhibit D); and in Epic-Google on September 4,

                    11   2020 at ECF No. 32 (a true and correct copy attached hereto as Exhibit E). In its responses,

                    12   Google raised the potential relation of the Android/Google Cases to Feitelson-Google.

                    13          8.      On September 4, 2020, I spoke with counsel for plaintiff in PSB-Google regarding

                    14   the issue of relation under Civil Local Rule 12(a) and (b). Counsel for plaintiff indicated he

                    15   intended to file a response to Judge Chen’s Sua Sponte Referral, which he did later that day. See

                    16   Epic-Google at ECF No. 33; Cameron-Apple at ECF No. 116. PSB’s position was that PSB-

                    17   Google should be related to certain cases involving Apple pending before Judge Gonzalez-

                    18   Rogers—namely, Cameron, et al. v. Apple Inc., N.D. Cal. No. 19-cv-03074-YGR and Epic

                    19   Games, Inc. v. Apple Inc., N.D. Cal. No. 20-cv-05640-YGR.
                    20          9.      On September 8, 2020, I sent counsel for plaintiff in the Epic-Google matter an

                    21   email informing them that Feitelson-Google, Epic-Google, Carr-Google, and PSB-Google may

                    22   potentially be related under Civil Local Rule 3-12(a) and (b). I asked counsel whether Epic

                    23   would stipulate to the relation of these cases. Counsel responded on September 9, 2020 that Epic

                    24   does not oppose the relation of Epic-Google to Carr-Google and PSB-Google—however, Epic

                    25   does not consent to having Epic-Google related to Feitelson-Google.

                    26          10.     On September 8, 2020, plaintiff in the Carr-Google matter filed a Response to

                    27   Judge Chen’s Sua Sponte Referral indicating that Carr-Google is related to Epic-Google, but

                    28   disagreeing that those cases are related to Feitelson-Google. See Epic-Google, ECF No. 34.
MORGAN, LEWIS &
 BOCKIUS LLP                                                        2                    Case No. 5:14-cv-02007-BLF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                         DECLARATION OF BRIAN C. ROCCA ISO ADMINISTRATIVE MOTION
                         Case 5:14-cv-02007-BLF
                              3:20-cv-05671-JD Document
                                                Document45-1
                                                         56-1 Filed
                                                               Filed09/09/20
                                                                     09/09/20 Page
                                                                               Page11
                                                                                    4 of 240
                                                                                         231



                     1          11.     On September 9, 2020, Judge Donato issued an order relating Epic-Google and

                     2   PSB-Google.

                     3          12.     Based on the filings of the various parties, as well as related meet and confers, it is

                     4   clear that this issue cannot be resolved by stipulation. Under Civil L.R. 3-12(b), whenever a party

                     5   believes that the action may be related to an action which is or was pending in this District, the

                     6   party must promptly file in the lowest-numbered case an Administrative Motion. Toward that

                     7   end, Google LLC is filing an administrative motion so the Court may consider whether the

                     8   Android/Google Cases are related to Feitelson-Google, and I am providing this supporting

                     9   declaration as required by Local Rules.
                    10          I declare under penalty of perjury under the laws of the United States of America that the

                    11   foregoing is true and correct and that I executed this declaration on September 9, 2020.

                    12
                                                                        By:     /s/ Brian C. Rocca
                    13                                                            Brian C. Rocca
                    14

                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                        3                    Case No. 5:14-cv-02007-BLF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                         DECLARATION OF BRIAN C. ROCCA ISO ADMINISTRATIVE MOTION
Case 5:14-cv-02007-BLF
     3:20-cv-05671-JD Document
                       Document45-1
                                56-1 Filed
                                      Filed09/09/20
                                            09/09/20 Page
                                                      Page12
                                                           5 of 240
                                                                231




                 EXHIBIT A
           Case
             Case
                5:14-cv-02007-BLF
                3:20-cv-05671-JD
                   5:20-cv-05671-NC
                                  Document
                                    Document
                                     Document
                                           45-1
                                             56-1
                                              1 Filed
                                                  Filed08/13/20
                                                       09/09/20
                                                        09/09/20 Page
                                                                  Page1
                                                                      136ofof63
                                                                              240
                                                                              231




1    Paul J. Riehle (SBN 115199)
     paul.riehle@faegredrinker.com
2    FAEGRE DRINKER BIDDLE & REATH LLP
     Four Embarcadero Center
3    San Francisco, California 94111
     Telephone: (415) 591-7500
4    Facsimile: (415) 591-7510
5    Christine A. Varney (pro hac vice pending)
     cvarney@cravath.com
6    Katherine B. Forrest (pro hac vice pending)
     kforrest@cravath.com
7    Gary A. Bornstein (pro hac vice pending)
     gbornstein@cravath.com
8    Yonatan Even (pro hac vice pending)
     yeven@cravath.com
9    M. Brent Byars (pro hac vice pending)
     mbyars@cravath.com
10   CRAVATH, SWAINE & MOORE LLP
     825 Eighth Avenue
11   New York, New York 10019
     Telephone: (212) 474-1000
12   Facsimile: (212) 474-3700
13   Attorneys for Plaintiff Epic Games, Inc.
14
                              UNITED STATES DISTRICT COURT
15
                         NORTHERN DISTRICT OF CALIFORNIA
16
17
18   EPIC GAMES, INC., a Maryland
     Corporation,
19
                                     Plaintiff,    Case No. ___________________
20
21                       v.

22   GOOGLE LLC; GOOGLE IRELAND                   COMPLAINT FOR
     LIMITED; GOOGLE COMMERCE                     INJUNCTIVE RELIEF
23   LIMITED; GOOGLE ASIA PACIFIC
24   PTE. LIMITED; and GOOGLE
     PAYMENT CORP.,
25
26                               Defendants.
27
28
              Case
                Case
                   5:14-cv-02007-BLF
                   3:20-cv-05671-JD
                      5:20-cv-05671-NC
                                     Document
                                       Document
                                        Document
                                              45-1
                                                56-1
                                                 1 Filed
                                                     Filed08/13/20
                                                          09/09/20
                                                           09/09/20 Page
                                                                     Page2
                                                                         147ofof63
                                                                                 240
                                                                                 231




1                                                 TABLE OF CONTENTS

2    PRELIMINARY STATEMENT ..................................................................................... 1

3    PARTIES........................................................................................................................ 10

4    JURISDICTION AND VENUE .................................................................................... 11

5    INTRADISTRICT ASSIGNMENT .............................................................................. 13

6    RELEVANT FACTS ..................................................................................................... 13

7    I.       Google Dominates the Merchant Market for Mobile Operating Systems. ......... 13

8             A.        The Merchant Market for Mobile Operating Systems .............................. 14

9                                Product Market Definition .............................................................. 14

10                               Geographic Market Definition ........................................................ 16

11            B.        Google’s Monopoly Power in the Merchant Market for Mobile OSs ...... 16

12   II.      Google Unlawfully Maintains a Monopoly in the Android Mobile App

13            Distribution Market. ............................................................................................ 19

14            A.        The Android App Distribution Market ..................................................... 20

15                               Product Market Definition .............................................................. 20

16                               Geographic Market Definition ........................................................ 22
17            B.        Google’s Monopoly Power in the Android App Distribution Market ...... 22
18            C.        Google’s Anti-Competitive Conduct Concerning the Android App
19                      Distribution Market ................................................................................... 26
20                               Google’s Conduct Toward OEMs .................................................. 26
21                               Google’s Conduct Toward App Distributors and Developers........ 28
22                               Google’s Conduct Toward Consumers ........................................... 30
23            D.        Anti-Competitive Effects in the Android App Distribution Market ......... 35
24   III.     Google Unlawfully Acquired and Maintains a Monopoly in the Android In-
25            App Payment Processing Market. ....................................................................... 36
26            A.        The Android In-App Payment Processing Market .................................... 37
27                               Product Market Definition .............................................................. 37
28                               Geographic Market Definition ........................................................ 39
             Case
               Case
                  5:14-cv-02007-BLF
                  3:20-cv-05671-JD
                     5:20-cv-05671-NC
                                    Document
                                      Document
                                       Document
                                             45-1
                                               56-1
                                                1 Filed
                                                    Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page3
                                                                        158ofof63
                                                                                240
                                                                                231




1            B.       Google’s Monopoly Power in the Android In-App Payment

2                     Processing Market ..................................................................................... 39

3            C.       Google’s Anti-Competitive Conduct Concerning the Android In-App

4                     Payment Processing Market ...................................................................... 40

5            D.       Anti-Competitive Effects in the Android In-App Payment Processing

6                     Market........................................................................................................ 41

7    COUNT 1: Sherman Act § 2 (Unlawful Monopoly Maintenance in the Android

8            App Distribution Market) .................................................................................... 43

9    COUNT 2: Sherman Act § 1 (Unreasonable restraints of trade concerning

10           Android App Distribution Market: OEMs) ........................................................ 44

11   COUNT 3: Sherman Act § 1 (Unreasonable restraints of trade concerning

12           Android App Distribution Market: DDA) .......................................................... 45

13   COUNT 4: Sherman Act § 2 (Unlawful Monopolization and Monopoly

14           Maintenance in the Android In-App Payment Processing Market) ................... 46

15   COUNT 5: Sherman Act § 1 (Unreasonable restraints of trade concerning

16           Android In-App Payment Processing Market) .................................................... 47
17   COUNT 6: Sherman Act § 1 (Tying Google Play Store to Google Play Billing)....... 49
18   COUNT 7: California Cartwright Act (Unreasonable restraints of trade in
19           Android App Distribution Market) ...................................................................... 50
20   COUNT 8: California Cartwright Act (Unreasonable restraints of trade in
21           Android App Distribution Market) ...................................................................... 51
22   COUNT 9: California Cartwright Act (Unreasonable restraints of trade in
23           Android In-App Payment Processing Market) .................................................... 53
24   COUNT 10: California Cartwright Act (Tying Google Play Store to Google Play
25           Billing) ................................................................................................................. 55
26   COUNT 11: California Unfair Competition Law ......................................................... 58
27   PRAYER FOR RELIEF ................................................................................................ 59
28
            Case
              Case
                 5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                    5:20-cv-05671-NC
                                   Document
                                     Document
                                      Document
                                            45-1
                                              56-1
                                               1 Filed
                                                   Filed08/13/20
                                                        09/09/20
                                                         09/09/20 Page
                                                                   Page4
                                                                       169ofof63
                                                                               240
                                                                               231




1                  Plaintiff Epic Games, Inc. (“Epic”), by its undersigned counsel, alleges,
2    with knowledge with respect to its own acts and on information and belief as to other
3    matters, as follows:
4                                      PRELIMINARY STATEMENT
5                  1.      In 1998, Google was founded as an exciting young company with a
6    unique motto: “Don’t Be Evil”. Google’s Code of Conduct explained that this
7    admonishment was about “how we serve our users” and “much more than that . . . it’s
8    also about doing the right thing more generally”.1 Twenty-two years later, Google has
9    relegated its motto to nearly an afterthought, and is using its size to do evil upon
10   competitors, innovators, customers, and users in a slew of markets it has grown to
11   monopolize. This case is about doing the right thing in one important area, the Android
12   mobile ecosystem, where Google unlawfully maintains monopolies in multiple related
13   markets, denying consumers the freedom to enjoy their mobile devices—freedom that
14   Google always promised Android users would have.
15                 2.      Google acquired the Android mobile operating system more than a
16   decade ago, promising repeatedly over time that Android would be the basis for an
17   “open” ecosystem in which industry participants could freely innovate and compete
18   without unnecessary restrictions.2 Google’s CEO, Sundar Pichai, represented in 2014
19
20
21
       1
22         Kate Conger, Google Removes ‘Don’t Be Evil’ Clause from Its Code of Conduct, Gizmodo
     (May 18, 2018), https://gizmodo.com/google-removes-nearly-all-mentions-of-dont-be-evil-from-
23   1826153393.
         2
           Google Blog, News and notes from Android team, The Benefits & Importance of Compatibility,
24   (Sept. 14, 2012), https://android.googleblog.com/2012/09/the-benefits-importance-of-
     compatibility.html (“We built Android to be an open source mobile platform freely available to anyone
25   wishing to use it . . . . This openness allows device manufacturers to customize Android and enable
     new user experiences, driving innovation and consumer choice.”); Stuart Dredge, Google’s Sundar
26   Pichai on wearable tech: ‘We’re just scratching the surface’, The Guardian (Mar. 9, 2014),
     https://www.theguardian.com/technology/2014/mar/09/google-sundar-pichai-android-chrome-sxsw
27   (“Android is one of the most open systems that I’ve ever seen”); Andy Rubin, Andy Rubin’s Email to
     Android Partners, The Wall Street Journal (Mar. 13, 2013), available at
28   https://blogs.wsj.com/digits/2013/03/13/andy-rubins-email-to-android-partners/?mod=WSJBlog (“At
     its core, Android has always been about openness”).

     Complaint for Injunctive Relief                    1
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                    5:20-cv-05671-NC
                                   Document
                                    Document
                                      Document
                                            45-1
                                             56-1
                                               1 Filed
                                                  Filed08/13/20
                                                       09/09/20
                                                        09/09/20 Page
                                                                  Page5
                                                                      17
                                                                       10
                                                                        ofof
                                                                           of
                                                                           63240
                                                                              231




1    that Android “is one of the most open systems that I’ve ever seen”.3 And Andy Rubin,
2    an Android founder who is described by some as the “Father of Android”, said when he
3    departed Google in 2013 that “at its core, Android has always been about openness”.4
4    Since then, Google has deliberately and systematically closed the Android ecosystem to
5    competition, breaking the promises it made. Google’s anti-competitive conduct has
6    now been condemned by regulators the world over.
7                  3.      Epic brings claims under Sections 1 and 2 of the Sherman Act and
8    under California law to end Google’s unlawful monopolization and anti-competitive
9    restraints in two separate markets: (1) the market for the distribution of mobile apps to
10   Android users and (2) the market for processing payments for digital content within
11   Android mobile apps. Epic seeks to end Google’s unfair, monopolistic and anti-
12   competitive actions in each of these markets, which harm device makers, app
13   developers, app distributors, payment processors, and consumers.
14                 4.      Epic does not seek monetary compensation from this Court for
15   the injuries it has suffered. Epic likewise does not seek a side deal or favorable
16   treatment from Google for itself. Instead, Epic seeks injunctive relief that would deliver
17   Google’s broken promise: an open, competitive Android ecosystem for all users and
18   industry participants. Such injunctive relief is sorely needed.
19                 5.      Google has eliminated competition in the distribution of Android
20   apps using myriad contractual and technical barriers. Google’s actions force app
21   developers and consumers into Google’s own monopolized “app store”—the Google
22   Play Store. Google has thus installed itself as an unavoidable middleman for app
23   developers who wish to reach Android users and vice versa. Google uses this monopoly
24   power to impose a tax that siphons monopoly profits for itself every time an app
25
       3
26        Stuart Dredge, Google’s Sundar Pichai on wearable tech: ‘We’re just scratching the surface’, The
     Guardian (Mar. 9, 2014), https://www.theguardian.com/technology/2014/mar/09/google-sundar-
27   pichai-android-chrome-sxsw.
        4
          Andy Rubin, Andy Rubin’s Email to Android Partners, The Wall Street Journal (Mar. 13, 2013),
28   available at https://blogs.wsj.com/digits/2013/03/13/andy-rubins-email-to-android-
     partners/?mod=WSJBlog.

     Complaint for Injunctive Relief                    2
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                    5:20-cv-05671-NC
                                   Document
                                    Document
                                      Document
                                            45-1
                                             56-1
                                               1 Filed
                                                  Filed08/13/20
                                                       09/09/20
                                                        09/09/20 Page
                                                                  Page6
                                                                      18
                                                                       11
                                                                        ofof
                                                                           of
                                                                           63240
                                                                              231




1    developer transacts with a consumer for the sale of an app or in-app digital content.
2    And Google further siphons off all user data exchanged in such transactions, to benefit
3    its own app designs and advertising business.
4                  6.      If not for Google’s anti-competitive behavior, the Android
5    ecosystem could live up to Google’s promise of open competition, providing Android
6    users and developers with competing app stores that offer more innovation, significantly
7    lower prices and a choice of payment processors. Such an open system is not hard to
8    imagine. Two decades ago, through the actions of courts and regulators, Microsoft was
9    forced to open up the Windows for PC ecosystem. As a result, PC users have multiple
10   options for downloading software unto their computers, either directly from developers’
11   websites or from several competing stores. No single entity controls the ecosystem or
12   imposes a tax on all transactions. And Google, as the developer of software such as the
13   Chrome browser, is a direct beneficiary of this competitive landscape. Android users
14   and developers likewise deserve free and fair competition.
15                                           *     *       *
16                 7.      In today’s world, virtually all consumers and businesses stay
17   connected, informed, and entertained through smart mobile computing devices such as
18   smartphones and tablets. Mobile applications (“apps”) are innovative software products
19   that greatly contribute to those devices’ value. Consumers the world over use smart
20   mobile devices and mobile apps to video chat with friends, pay bills, stay current with
21   the news, listen to music, watch videos, play games, and more.
22                 8.      Epic develops and distributes entertainment apps for personal
23   computers, gaming consoles, and smart mobile devices. The most popular game Epic
24   currently makes is Fortnite, which has connected hundreds of millions of people in a
25   colorful virtual world where they meet, play, talk, compete, dance, and even attend
26   concerts and other cultural events.
27
28

     Complaint for Injunctive Relief                   3
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                    5:20-cv-05671-NC
                                   Document
                                    Document
                                      Document
                                            45-1
                                             56-1
                                               1 Filed
                                                  Filed08/13/20
                                                       09/09/20
                                                        09/09/20 Page
                                                                  Page7
                                                                      19
                                                                       12
                                                                        ofof
                                                                           of
                                                                           63240
                                                                              231




1
2
3
4
5
6
7
8
9
10
11
                   9.      Fortnite is free for everyone to download and play. To generate
12
     revenue, Epic offers users various in-app purchases of content for use within the app,
13
     such as digital avatars, costumes, dances, or other cosmetic enhancements.
14
15
16
17
18
19
20
21
22
23
24
25
26                 10.     In the first year after Fortnite was released in 2017, the game
27   attracted over 125 million players; in the years since, Fortnite has topped 350 million
28   players and has become a global cultural phenomenon.

     Complaint for Injunctive Relief                 4
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                    5:20-cv-05671-NC
                                   Document
                                    Document
                                      Document
                                            45-1
                                             56-1
                                               1 Filed
                                                  Filed08/13/20
                                                       09/09/20
                                                        09/09/20 Page
                                                                  Page8
                                                                      20
                                                                       13
                                                                        ofof
                                                                           of
                                                                           63240
                                                                              231




1                  11.     Similar to a PC or a Mac personal computer, smart mobile devices
2    use an “operating system” or “OS” to provide core device functionality and to enable
3    the operation of compatible programs. As with PCs, the commercial viability of an OS
4    for mobile devices (a “mobile OS”) depends on the availability of a large number of
5    compatible apps that cater to the preferences and needs of users.
6                  12.     Google controls the most ubiquitous OS used in mobile devices, the
7    Android OS. Android OS is used by billions of users the world over, and boasts nearly
8    3 million compatible apps.
9                  13.     Android is the only commercially viable OS that is widely available
10   to license by companies that design and sell smart mobile devices, known as original
11   equipment manufacturers (“OEMs”). Accordingly, when OEMs select a mobile OS to
12   install on their devices, they have only one option: Google’s Android OS. Google
13   therefore has monopoly power in the market for mobile operating systems that are
14   available for license by OEMs (the Merchant Market for Mobile Operating Systems
15   (infra Part I)).
16                 14.     Google has not been satisfied with its control of the Android OS.
17   Notwithstanding its promises to make Android devices open to competition, Google has
18   erected contractual and technological barriers that foreclose competing ways of
19   distributing apps to Android users, ensuring that the Google Play Store accounts for
20   nearly all the downloads of apps from app stores on Android devices. Google thus
21   maintains a monopoly over the market for distributing mobile apps to Android users,
22   referred to herein as the “Android App Distribution Market” (infra Part II).
23                 15.     For example, Google bundles the Google Play Store with a set of
24   other Google services that Android OEMs must have on their devices (such as Gmail,
25   Google Search, Google Maps, and YouTube) and conditions the licensing of those
26   services on an OEM’s agreement to pre-install the Google Play Store and to
27   prominently display it. Google then interferes with OEMs’ ability to make third-party
28   app stores or apps available on the devices they make. These restrictions effectively

     Complaint for Injunctive Relief                5
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                    5:20-cv-05671-NC
                                   Document
                                    Document
                                      Document
                                            45-1
                                             56-1
                                               1 Filed
                                                  Filed08/13/20
                                                       09/09/20
                                                        09/09/20 Page
                                                                  Page9
                                                                      21
                                                                       14
                                                                        ofof
                                                                           of
                                                                           63240
                                                                              231




1    foreclose competing app stores—and even single apps—from what could be a primary
2    distribution channel.
3                  16.     Epic’s experience with one OEM, OnePlus, is illustrative. Epic
4    struck a deal with OnePlus to make Epic games available on its phones through an Epic
5    Games app. The Epic Games app would have allowed users to seamlessly install and
6    update Epic games, including Fortnite, without obstacles imposed by Google’s Android
7    OS. But Google forced OnePlus to renege on the deal, citing Google’s “particular[]
8    concern” about Epic having the ability to install and update mobile games while
9    “bypassing the Google Play Store”.
10                 17.     Another OEM, LG, told Epic that its contract with Google did not
11   allow it to enable the direct distribution of apps, and that the OEM could not offer any
12   functionality that would install and update Epic games except through the Google Play
13   Store.
14                 18.     Google also enforces anti-competitive restrictions against app
15   developers. Specifically, Google contractually prohibits app developers from offering
16   on the Google Play Store any app that could be used to download other apps, i.e., any
17   app that could compete with the Google Play Store in app distribution. And Google
18   further requires app developers to distribute their apps through the Google Play Store if
19   they wish to advertise their apps through valuable advertising channels controlled by
20   Google, such as ad placements on Google Search or on YouTube that are specially
21   optimized to advertise mobile apps.
22                 19.     Finally, Google stifles or blocks consumers’ ability to download app
23   stores and apps directly from developers’ websites. As anyone who has tried to
24   download directly on an Android device knows, it is significantly different than the
25   simple process available on a personal computer: directly downloading Fortnite on an
26   Android device can involve a dozen steps, requiring the user to change default settings
27   and bravely click through multiple dire warnings. And even if a persistent user manages
28   to install a competing app store, Google prevents such stores from competing on equal

     Complaint for Injunctive Relief                6
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page10
                                                                         22
                                                                          15ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    footing with the Google Play Store by blocking them from offering basic functions,
2    such as automatic updating of apps in the background, which is available for apps
3    downloaded from the Google Play Store.
4                  20.     Google engages in these anticompetitive acts to eliminate consumer
5    choice and competition in mobile app distribution. Google has no legitimate
6    justification for these restrictions. Google therefore has broken its promises that
7    Android would be an “open” ecosystem in which other participants could participate
8    fairly.
9                  21.     But Google does not stop at app distribution. Google also imposes
10   anti-competitive restrictions in the separate Market for Android In-app Payment
11   Processing (infra Part III).
12                 22.     App developers who sell digital content for consumption within the
13   app itself require seamless payment processing tools to execute purchases. App
14   developers, including Epic, may develop such payment processing tools internally or
15   use a host of payment processing tools offered by multiple competing third parties.
16                 23.     Google, however, ties distribution through its Google Play Store
17   with developers’ exclusive use of Google’s own payment processing tool, called
18   Google Play Billing, to process in-app purchases of digital content. Indeed, app
19   developers that distribute through the Google Play Store are even prohibited from
20   offering Android users the choice of additional payment processing options alongside
21   Google’s for digital content. And because Google has a monopoly in the Android App
22   Distribution Market, app developers cannot practically avoid this anti-competitive tie by
23   electing app distribution through an alternative channel.
24                 24.     The result is that in every in-app transaction for digital content, it is
25   Google, not the app developer, that collects the payment in the first instance. Google
26   then taxes the transaction at an exorbitant 30% rate, remitting the remaining 70% to the
27   developer who actually made the sale. This 30% commission is often ten times higher
28   than the price typically paid for the use of other electronic payment solutions.

     Complaint for Injunctive Relief                  7
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page11
                                                                         23
                                                                          16ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  25.     Moreover, through this tie, Google inserts itself as an intermediary
2    between each seller and each buyer for every purchase of digital content within the
3    Android ecosystem, collecting for itself the personal information of users, which Google
4    then uses to give an anti-competitive edge to its own advertising services and mobile
5    app development business.
6                  26.     But for Google’s monopolistic conduct, competing stores could offer
7    consumers and developers choice in distribution and payment processing. Indeed, Epic,
8    which distributes gaming apps through its own store to users of personal computers,
9    would open a store to compete with Google’s and offer developers more innovation and
10   more choice, including in payment processing. App developers would not have to pay
11   Google’s supra-competitive tax of 30%, as the price of distribution and payment
12   processing alike would be set by market forces rather than by Google’s fiat. Developers
13   could address any payment-related issues (such as refunds) directly with their own
14   customers rather than through Google. And users and developers, jointly, would get to
15   decide whether users’ data should be utilized for other purposes.
16                 27.     Google’s anti-competitive conduct has injured Epic, both as an app
17   developer and as a potential competitor in app distribution and payment processing.
18   Epic has repeatedly approached Google and asked to negotiate relief that would stop
19   Google’s unlawful and anti-competitive restrictions on app developers and consumers.
20   But Google would not budge.
21                 28.     Because of Google’s refusal to stop its ongoing anti-competitive and
22   unlawful conduct, on August 13, 2020, Epic began providing Fortnite players the choice
23   of using Epic’s own direct payment tool as an alternative to Google’s overpriced Billing
24   tool, sharing with players who chose to use Epic’s payment tool the resulting savings.
25
26
27
28

     Complaint for Injunctive Relief                 8
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page12
                                                                         24
                                                                          17ofof
                                                                               of63
                                                                                  240
                                                                                   231




1
2
3
4
5
6
7
8
9
10
11
12
13                 29.     In retribution, Google removed Fortnite from Google Play Store
14   listings, preventing new players from obtaining the game. Google also prevented
15   Android users who acquired Fortnite from the Google Play Store from obtaining app
16   updates they will need to continue playing with their friends and family.
17                 30.     Epic has publicly advocated for years that Google cease the anti-
18   competitive conduct addressed in this Complaint. Google refused to change its
19   industry-impacting conduct. Instead, Google offered to placate Epic by offering it
20   preferential terms on side deals, such as YouTube sponsorships and cloud services, if
21   Epic agreed to distribute Fortnite in the Google Play Store and acceded to Google’s
22   30% tax. Google has reached at least one preferential deal with another mobile game
23   developer, Activision Blizzard, and Epic believes that Google is using similar deals with
24   other companies to allow Google to keep its monopolistic behavior publicly
25   unchallenged. But Epic is not interested in any side deals that might benefit Epic alone
26   while leaving Google’s anti-competitive restraints intact; instead, Epic is focused on
27   opening up the Android ecosystem for the benefit of all developers and consumers.
28

     Complaint for Injunctive Relief                9
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page13
                                                                         25
                                                                          18ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  31.     Accordingly, Epic seeks injunctive relief in court. Google’s conduct
2    has caused and continues to cause Epic financial harm, but Epic is not bringing this case
3    to recover these damages; Epic is not seeking any monetary relief, but rather only an
4    order enjoining Google from continuing to impose its anti-competitive conduct on the
5    Android ecosystem.
6                                             PARTIES
7                  32.     Plaintiff Epic Games, Inc. is a Maryland corporation with its
8    principal place of business in Cary, North Carolina. Epic’s mission is “to create fun
9    games we want to play and to build the art and tools needed to bring those games to
10   life”. Epic was founded in 1991 by a college student named Tim Sweeney. Mr.
11   Sweeney ran Epic out of his parents’ basement and distributed, by mail, Epic’s first
12   commercial personal computer software, a game named ZZT. Since then, Epic has
13   developed several popular entertainment software products that can be played on an
14   array of platforms—such as personal computers, gaming consoles, and smart mobile
15   devices. Epic also creates and distributes the Unreal Engine, a powerful software suite
16   that allows competing game developers and others to create realistic three-dimensional
17   content, including video games, architectural recreations, television shows, and movies.
18   An Epic subsidiary also develops and distributes the popular Houseparty app, which
19   enables video chatting and social gaming on smart mobile devices and personal
20   computers. Worldwide, approximately 400 million users have signed up to play Epic
21   games, and each day 30 to 40 million individuals log into an Epic game.
22                 33.     Defendant Google LLC is a Delaware limited liability company with
23   its principal place of business in Mountain View, California. Google LLC is the
24   primary operating subsidiary of the publicly traded holding company Alphabet Inc. The
25   sole member of Google LLC is XXVI Holdings, Inc., a Delaware corporation with its
26   principal place of business in Mountain View, California. Google LLC contracts with
27   all app developers that distribute their apps through the Google Play Store and is
28

     Complaint for Injunctive Relief                10
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page14
                                                                         26
                                                                          19ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    therefore a party to the anti-competitive contractual restrictions at issue in this
2    Complaint.
3                  34.     Defendant Google Ireland Limited (“Google Ireland”) is a limited
4    company organized under the laws of Ireland with its principal place of business in
5    Dublin, Ireland, and a subsidiary of Google LLC. Google Ireland contracts with all app
6    developers that distribute their apps through the Google Play Store and is therefore a
7    party to the anti-competitive contractual restrictions at issue in this Complaint.
8                  35.     Defendant Google Commerce Limited (“Google Commerce”) is a
9    limited company organized under the laws of Ireland with its principal place of business
10   in Dublin, Ireland, and a subsidiary of Google LLC. Google Commerce contracts with
11   all app developers that distribute their apps through the Google Play Store and is
12   therefore a party to the anti-competitive contractual restrictions at issue in this
13   Complaint.
14                 36.     Defendant Google Asia Pacific Pte. Limited (“Google Asia Pacific”)
15   is a private limited company organized under the laws of Singapore with its principal
16   place of business in Mapletree Business City, Singapore, and a subsidiary of Google
17   LLC. Google Asia Pacific contracts with all app developers that distribute their apps
18   through the Google Play Store and is therefore a party to the anti-competitive
19   contractual restrictions at issue in this Complaint.
20                 37.     Defendant Google Payment Corp. (“Google Payment”) is a
21   Delaware corporation with its principal place of business in Mountain View, California,
22   and a subsidiary of Google LLC. Google Payment provides in-app payment processing
23   services to Android app developers and Android users and collects a 30% commission
24   on many types of processed payments, including payments for apps sold through the
25   Google Play Store and in-app purchases made within such apps.
26                                     JURISDICTION AND VENUE
27                 38.     This Court has subject-matter jurisdiction over Epic’s federal
28   antitrust claims pursuant to the Clayton Antitrust Act, 15 U.S.C. § 26, and 28 U.S.C.

     Complaint for Injunctive Relief                 11
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page15
                                                                         27
                                                                          20ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    §§ 1331 and 1337. The Court has supplemental jurisdiction over Epic’s state law claims
2    pursuant to 28 U.S.C. § 1367. The Court also has subject-matter jurisdiction over the
3    state-law claims pursuant to 28 U.S.C. § 1332 based on the diversity of citizenships of
4    Plaintiff, on the one hand, and of Defendants, on the other, and the amount in
5    controversy exceeding $75,000.
6                  39.     This Court has personal jurisdiction over the Defendants. Google
7    LLC and Google Payment are headquartered in this District. All Defendants have
8    engaged in sufficient minimum contacts with the United States and have purposefully
9    availed themselves of the benefits and protections of United States and California law,
10   such that the exercise of jurisdiction over them would comport with due process
11   requirements. Further, the Defendants have consented to the exercise of personal
12   jurisdiction by this Court.
13                 40.     Each of the Defendants except Google Payment is party to a Google
14   Play Developer Distribution Agreement (the “DDA”) with Epic. Section 16.8 of the
15   DDA provides that the parties “agree to submit to the exclusive jurisdiction of the
16   federal or state courts located within the county of Santa Clara, California, to resolve
17   any legal matter arising from or relating to this Agreement”. Section 16.8 further
18   provides that “[a]ll claims arising out of or relating to this Agreement or Your
19   relationship with Google under this Agreement will be governed by the laws of the State
20   of California, excluding California’s conflict of laws provisions.” The claims addressed
21   in this Complaint relate to the DDA or to Epic’s relationship with Google under the
22   DDA, or in the alternative such claims arise out of the same nucleus of operative facts
23   as other claims as to which the Court may exercise personal jurisdiction over each
24   Defendant, so that the exercise of pendent personal jurisdiction would be proper.
25                 41.     Google Payment is party to a Google Payments—Terms of
26   Service—Seller Agreement with Epic. Section 11.3 of that Agreement provides that
27   “[t]he exclusive venue for any dispute related to this Agreement will be the state or
28   federal courts located in Santa Clara County, California, and each party consents to

     Complaint for Injunctive Relief                12
              Case
              Case
                Case
                   5:14-cv-02007-BLF
                    3:20-cv-05671-JD
                      5:20-cv-05671-NCDocument
                                      Document
                                        Document
                                               45-1
                                                56-1
                                                 1 Filed
                                                     Filed
                                                      Filed08/13/20
                                                            09/09/20
                                                             09/09/20 Page
                                                                       Page
                                                                       Page16
                                                                            28
                                                                             21ofof
                                                                                  of63
                                                                                     240
                                                                                      231




1    personal jurisdiction in these courts.” Section 11.3 further provides that “The laws of
2    California, excluding California’s choice of law rules, and applicable federal United
3    States laws will govern this Agreement.” The dispute between Google Payment and
4    Epic relates to the parties’ Agreement, or in the alternative Epic’s claims arise out of the
5    same nucleus of operative facts as other claims as to which the Court may exercise
6    personal jurisdiction over Google Payment, so that the exercise of pendent personal
7    jurisdiction would be proper.
8                    42.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
9    because Google LLC and Google Payment maintain their principal places of business in
10   the State of California and in this District, because a substantial part of the events or
11   omissions giving rise to Epic’s claims occurred in this District, and because, pursuant to
12   28 U.S.C. § 1391(c)(3), any Defendants not resident in the United States may be sued in
13   any judicial district and their joinder with others shall be disregarded in determining
14   proper venue. In the alternative, personal jurisdiction and venue also may be deemed
15   proper under Section 12 of the Clayton Antitrust Act, 15 U.S.C. § 22, because
16   Defendants may be found in or transact business in this District.
17                                INTRADISTRICT ASSIGNMENT
18                   43.    Pursuant to Civil Local Rule 3-2(c), this antitrust case shall not be
19   assigned to a particular Division of this District, but shall be assigned on a District-wide
20   basis.
21                                        RELEVANT FACTS
22   I.       Google Dominates the Merchant Market for Mobile Operating Systems.
23                   44.    To understand how Google effectively monopolizes the Android
24   App Distribution and Android In-App Payment Processing Markets, as described below
25   in Parts II and III, it is helpful to understand the background of smart mobile devices
26   and how Google effectively dominates the related Merchant Market for Mobile
27   Operating Systems through its control over the Android operating system.
28

     Complaint for Injunctive Relief                  13
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page17
                                                                         29
                                                                          22ofof
                                                                               of63
                                                                                  240
                                                                                   231




1           A.     The Merchant Market for Mobile Operating Systems
2                          Product Market Definition
3                  45.     Smart mobile devices are handheld, portable electronic devices that
4    can connect wirelessly to the internet and are capable of multi-purpose computing
5    functions, including, among other things, Internet browsing, using social media,
6    streaming video, listening to music, or playing games. Smart mobile devices include
7    smartphones and tablet computers. Many consumers may only have a smart mobile
8    device and no other computer. Such consumers are particularly hard-hit by Google’s
9    unlawful conduct in mobile-related markets.
10                 46.     Like laptop and desktop personal computers, mobile devices require
11   an operating system or “OS” that enables multi-purpose computing functionality. A
12   mobile OS, just like the OS of any computer, is a piece of software that provides basic
13   functionality to users of mobile devices such as button controls, touch commands,
14   motion commands, and the basic “graphical user interface”, which includes “icons” and
15   other visual elements representing actions that the user can take. A mobile OS also
16   manages the basic operations of a smart mobile device, such as cellular or WiFi
17   connectivity, GPS positioning, camera and video recording, speech recognition, and
18   other features. In addition, a mobile OS permits the installation and operation of mobile
19   apps that are compatible with the particular OS and facilitates their use of the device’s
20   OS-managed core functionality.
21                 47.     To ensure that every user can access the basic functions of a mobile
22   device “out of the box”, that is at the time he/she purchases the device, an OEM must
23   pre-install an OS on each device prior to its sale. This is similar to a personal computer
24   that comes pre-installed with Microsoft Windows for PC or Apple’s macOS for a Mac
25   computer. OEMs design mobile devices to ensure the device’s compatibility with a
26   particular OS the OEM chooses for a particular model of mobile device, so that the
27   device may utilize the capabilities of that OS. For OEMs, the process of implementing
28

     Complaint for Injunctive Relief                14
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page18
                                                                         30
                                                                          23ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    a mobile OS requires significant time and investment, making switching to another
2    mobile OS difficult, expensive, and time-consuming.
3                  48.     The vast majority of OEMs do not develop their own OS and must
4    choose an OS that can be licensed for installation on smart mobile devices they design.
5    There is therefore a relevant Merchant Market for Mobile OSs comprising mobile OSs
6    that OEMs can license for installation on the smart mobile devices they manufacture.
7    The market does not include proprietary OSs that are not available for licensing, such as
8    Apple’s mobile OS, called iOS. Historically, the Merchant Market for Mobile OSs has
9    included the Android OS, developed by Google; the Tizen mobile OS, a partially open-
10   source mobile OS that is developed by the Linux Foundation and Samsung; and the
11   Windows Phone OS developed by Microsoft.
12                 49.     Some consumers continue to use cellular phones that do not have
13   multi-purpose, computing functions. These simple phones resemble older “flip
14   phones”, for example; they are not part of the smart mobile device category. These
15   phones do not support mobile apps such as Fortnite and are instead typically limited to
16   basic cellular functionality like voice calls and texting. The simple operating systems
17   on these phones, to the extent they exist, cannot support the wide array of features
18   supplied by the OSs on smart mobile devices and are not part of the Merchant Market
19   for Mobile OSs defined herein.
20                 50.     To the extent that electronic devices other than smart mobile devices
21   use operating systems, those OSs are not compatible with mobile devices, and therefore
22   are not included in the Merchant Market for Mobile OSs defined herein. For example,
23   computing devices that are not handheld and portable, that are not capable of multi-
24   purpose computing functions and/or that lack cellular connectivity—such as desktop
25   computers, laptops, or gaming consoles—are not considered to be “smart mobile
26   devices”. Gaming devices like Sony’s PlayStation 4 (“PS4”) and Microsoft’s Xbox are
27   physically difficult to transport, require a stable WiFi or wired connection to operate
28   smoothly, and require an external screen for the user to engage in game play. Thus,

     Complaint for Injunctive Relief                15
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page19
                                                                         31
                                                                          24ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    even if a gamer owns, for example, a dedicated, non-portable gaming console such as a
2    PS4, which connects to and enables gaming via his/her TV, he/she will not consider that
3    PS4 a reasonable substitute for a mobile device like a smartphone, nor would he/she
4    consider the version of any game created for his/her PS4 to substitute for the mobile app
5    version of such a game. That is because the portability (and typically for smartphones
6    the cellular connectivity) of the mobile devices enable the consumer to play mobile
7    games away from home or anywhere in the home. Indeed, for this reason, game
8    developers often distribute multiple versions of a game, each of which is programmed
9    for compatibility with a particular type of device and its operating system.
10                         Geographic Market Definition
11                 51.     OEMs license mobile OSs for installation on mobile devices
12   globally, excluding China. Google’s operations in China are limited, and it does not
13   make available many of its products for mobile devices sold within China. This is
14   based in part on legal and regulatory barriers to the distribution of mobile OS-related
15   software imposed by China. Further, while Google contractually requires OEMs
16   licensing Android outside of China not to sell any devices with competing Android-
17   compatible mobile OSs, it imposes no such restriction on devices sold within China.
18   Because the OEMs that sell Android mobile devices both within and outside China have
19   committed to this contractual restriction, such OEMs must sell, outside of China,
20   devices with Google’s Android OS. The geographic scope of the relevant Merchant
21   Market for Mobile OSs is therefore worldwide, excluding China.
22          B.     Google’s Monopoly Power in the Merchant Market for Mobile OSs
23                 52.     Google has monopoly power in the Merchant Market for Mobile
24   OSs through its Android OS. As determined by the European Commission during the
25   course of its investigation of Android, the Android OS, licensed to OEMs in relevant
26   respects by Google, is installed on over 95% of all mobile devices sold by OEMs
27   utilizing a merchant mobile OS. Indeed, Android OS is installed on nearly 75% of all
28   smart mobile devices sold by all OEMs, including even those OEMs that use a

     Complaint for Injunctive Relief               16
             Case
             Case
               Case
                  5:14-cv-02007-BLF
                   3:20-cv-05671-JD
                     5:20-cv-05671-NCDocument
                                     Document
                                       Document
                                              45-1
                                               56-1
                                                1 Filed
                                                    Filed
                                                     Filed08/13/20
                                                           09/09/20
                                                            09/09/20 Page
                                                                      Page
                                                                      Page20
                                                                           32
                                                                            25ofof
                                                                                 of63
                                                                                    240
                                                                                     231




1    proprietary mobile OS they developed exclusively for their own use (such as Apple’s
2    iOS).
3                   53.    A mobile ecosystem typically develops around one or more mobile
4    OSs, such as the Android OS. The “Android ecosystem” is a system of mobile products
5    (such as devices, apps and accessories) designed to be inter-dependent and compatible
6    with each other and the Android OS. Ecosystem participants include an array of
7    participating stakeholders, such as Google, OEMs that make Android-compatible
8    devices, developers of Android-compatible apps, Android app distribution platforms,
9    including app stores, the makers of ancillary hardware such as headphones or speakers,
10   cellular carriers, and others.
11                  54.    Mobile ecosystems benefit from substantial network effects—that is,
12   the more developers that design useful apps for a specific mobile OS, the more
13   consumers will be drawn to use the relevant OS for which those apps are designed; the
14   more consumers that use an OS, the more developers want to develop even more apps
15   for that OS. As determined in United States v. Microsoft, Inc., No. 98-1232 (D.D.C.),
16   new entrants into an operating system market thus face an “applications barrier to
17   entry”. An applications barrier to entry arises because a new operating system will be
18   desirable to consumers only if a broad array of software applications can run on it, but
19   software developers will find it profitable to create applications that run on an operating
20   system only if there is a large existing base of users.
21                  55.    To overcome this challenge and to attract app developers and users,
22   Google has continuously represented that Android is an “open” ecosystem and that any
23   ecosystem participant could create Android-compatible products without unnecessary
24   restrictions. Indeed, Google LLC’s CEO, Sundar Pichai, represented in 2014 that
25   Android “is one of the most open systems that I’ve ever seen”.5 And Andy Rubin, an
26
27     5
         Stuart Dredge, Google’s Sundar Pichai on wearable tech: ‘We’re just scratching the surface’, The
28   Guardian (Mar. 9, 2014), https://www.theguardian.com/technology/2014/mar/09/google-sundar-
     pichai-android-chrome-sxsw.

     Complaint for Injunctive Relief                   17
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page21
                                                                         33
                                                                          26ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    Android founder who is described by some as the “Father of Android”, said when he
2    departed Google in 2013 that “at its core, Android has always been about openness”.6
3                  56.     But the reality is quite different. Despite these claims of openness,
4    Google has now effectively closed the Android ecosystem through its tight control of
5    the Android OS. And, as the dominant OS licensor, Google now benefits from these
6    substantial network effects which makes participation on its platform a “must-have”
7    market for developers.
8                  57.     As further described below, Google uses the Android OS to restrict
9    which apps and app stores OEMs are permitted to pre-install on the devices they make
10   and to impose deterrents to the direct distribution of competing app stores and apps to
11   Android users, all at the expense of competition in the Android ecosystem.
12                 58.     Because of Google’s monopoly power in the Merchant Market for
13   Mobile OSs, OEMs, developers and users cannot avoid such effects by choosing
14   another mobile OS. OEMs such as ZTE and Nokia have stated that other non-
15   proprietary OSs are poor substitutes for the Android OS and are not a reasonable
16   alternative to licensing the Android OS. One important reason is that other mobile OSs
17   presently do not support many high-quality and successful mobile apps, which
18   consumers find essential or valuable when choosing a mobile device. These
19   circumstances have biased consumers against the purchase of mobile devices with non-
20   proprietary mobile OSs other than Android OS. OEMs thus have no choice but to agree
21   to Google’s demands because it is critical that they be able to offer a popular mobile OS
22   and corresponding ecosystem to consumers who are choosing which mobile device to
23   purchase.
24
25
26
27     6
         Andy Rubin, Andy Rubin’s Email to Android Partners, The Wall Street Journal (Mar. 13, 2013),
28   available at https://blogs.wsj.com/digits/2013/03/13/andy-rubins-email-to-android-
     partners/?mod=WSJBlog.

     Complaint for Injunctive Relief                  18
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page22
                                                                         34
                                                                          27ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    II.    Google Unlawfully Maintains a Monopoly in the Android Mobile App
            Distribution Market.
2
                   59.     Mobile apps make mobile devices more useful and valuable because
3
     they add functionality to the mobile device that caters to the specific interests of each
4
     mobile device user. For example, they facilitate video chats with friends and family,
5
     banking online, shopping, job hunting, photo editing, reading digital news sources,
6
     editing documents, or playing a game like Fortnite. Many workers use their smart
7
     mobile device to check work schedules, access company email, or use other employer
8
     software while outside the workplace. For many consumers, a smartphone or tablet is
9
     the only way to access these functions, because the consumer does not own a personal
10
     computer or because the consumer can only access the Internet using a cellular
11
     connection. But even when a consumer can perform the same or similar functions on a
12
     personal computer, the ability to access apps “on the go” using a handheld, portable
13
     device remains valuable and important.
14
                   60.     Whereas some apps may be pre-installed by OEMs, OEMs cannot
15
     anticipate all the various apps a specific consumer may desire to use. Moreover, many
16
     consumers have different preferences as to which apps they want, and it would be
17
     undesirable for OEMs to load the devices they sell with unwanted apps that take up
18
     valuable space on the mobile device. And many apps that consumers may ultimately
19
     use on their device will be developed after they buy the device. Accordingly,
20
     consumers who seek to add new functionalities to a mobile device and customize the
21
     device for their own use need to obtain and install mobile apps themselves after
22
     purchasing their device. Currently, on Android devices, this is done most often through
23
     the Google Play Store, Google’s own “app store”. The Google Play Store is a digital
24
     portal set up by Google and through which mobile apps can be browsed, searched for,
25
     purchased (if necessary), and downloaded by a consumer. App stores such as the
26
     Google Play Store, alongside several other ways by which apps can be distributed to the
27
     hundreds of millions of consumers using Android-based mobile devices, comprise the
28
     Android App Distribution Market, defined below.

     Complaint for Injunctive Relief               19
            Case
            Case
              Case
                 5:14-cv-02007-BLF
                  3:20-cv-05671-JD
                    5:20-cv-05671-NCDocument
                                    Document
                                      Document
                                             45-1
                                              56-1
                                               1 Filed
                                                   Filed
                                                    Filed08/13/20
                                                          09/09/20
                                                           09/09/20 Page
                                                                     Page
                                                                     Page23
                                                                          35
                                                                           28ofof
                                                                                of63
                                                                                   240
                                                                                    231




1                   61.    Through various anti-competitive acts and unlawful restraints on
2    competition, Google has maintained a monopoly in the Android Mobile App
3    Distribution market, causing ongoing harm to competition and injury to OEMs, app
4    distributors, app developers, and consumers. Google’s restraints of trade belie
5    representations Google currently makes to developers that “as an open platform,
6    Android is about choice” and that app developers “can distribute [their] Android apps to
7    users in any way [they] want, using any distribution approach or combination of
8    approaches that meets [their] needs”, including by allowing users to directly download
9    apps “from a website” or even by “emailing them directly to consumers”.7
10          A.      The Android App Distribution Market
11                         Product Market Definition
12                  62.    There is a relevant market for the distribution of apps compatible
13   with the Android OS to users of mobile devices (the “Android App Distribution
14   Market”). This Market is comprised of all the channels by which mobile apps may be
15   distributed to the hundreds of millions of users of mobile devices running the Android
16   OS. The Market primarily includes Google’s dominant Google Play Store, with smaller
17   stores, such as Samsung’s Galaxy Store and Aptoide, trailing far behind. Nominally
18   only, the direct downloading of apps without using an app store (which Google
19   pejoratively describes as “sideloading”) is also within this market.
20                  63.    App stores allow consumers to easily browse, search for, access
21   reviews on, purchase (if necessary), download, and install mobile apps, using the mobile
22   device itself and an Internet connection. OEMs find it commercially unreasonable to
23   ship a smart mobile device to a consumer without at least one app store installed, as a
24   consumer’s ability to obtain new mobile apps is an important part of the value provided
25   by smart mobile devices.
26
27      7
          Google Play Developers Page, Alternative distribution options,
28   https://developer.android.com/distribute/marketing-tools/alternative-distribution (last accessed June 7,
     2020).

     Complaint for Injunctive Relief                      20
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page24
                                                                         36
                                                                          29ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  64.     App stores are OS-specific, meaning they distribute only apps that
2    are compatible with the specific mobile OS on which the app store is used. A consumer
3    who has a mobile device running the Android OS cannot use apps created for a different
4    mobile operating system. An owner of an Android OS device will use an Android
5    compatible app store, and such app stores distribute only Android-compatible mobile
6    apps. That consumer may not substitute an Android app store with, for example,
7    Apple’s App Store, as that app store is not available on Android devices, is not
8    compatible with the Android OS, and does not offer apps that are compatible with the
9    Android OS. Non-Android mobile app distribution platforms—such as the Windows
10   Mobile Store used on Microsoft’s Windows Mobile OS or the Apple App Store used on
11   Apple iOS devices—cannot substitute for Android-specific app distribution platforms,
12   and they are therefore not part of the Android App Distribution Market defined herein.
13                 65.     Likewise, stores distributing personal computer or gaming console
14   software are not compatible with the Android OS and do not offer Android-compatible
15   apps: the Epic Games Store distributes software compatible with personal computers,
16   the Microsoft Store for Xbox distributes software compatible with the Xbox game
17   consoles, and the PlayStation Store distributes software compatible with the PlayStation
18   game consoles. A user cannot download mobile apps for use on his/her Android device
19   by using such non-Android OS, non-mobile software distribution platforms. They
20   therefore are not part of the Android App Distribution Market.
21                 66.     The same is true even when an app or game, like Fortnite, is
22   available for different types of platforms running different operating systems, because
23   only the OS-compatible version of that software can run on a specific type of device or
24   computer. Accordingly, as a commercial reality, an app developer that wishes to
25   distribute mobile apps for Android mobile devices must develop an Android-specific
26   version of the app and avail itself of the Android App Distribution Market.
27                 67.     In the alternative only, the Android App Distribution Market is a
28   relevant, economically distinct sub-market of a hypothetical broader antitrust market for

     Complaint for Injunctive Relief                21
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page25
                                                                         37
                                                                          30ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    the distribution of mobile apps to users of all mobile devices, whether Android or
2    Apple’s iOS.
3                          Geographic Market Definition
4                  68.     The geographic scope of the Android App Distribution Market is
5    worldwide, excluding China. Outside of China, app distribution channels, including app
6    stores, are developed and distributed on a global basis; OEMs, in turn, make app stores,
7    such as the Google Play Store, available on Android devices on a worldwide basis
8    (except in China). China is excluded from the relevant market because legal and
9    regulatory barriers prevent the operation of many global app stores, including the
10   Google Play Store, within China. Additionally, app stores prevalent in China are not
11   available, or have little presence, outside of China.
12          B.     Google’s Monopoly Power in the Android App Distribution Market
13                 69.     Google has monopoly power in the Android App Distribution
14   Market.
15                 70.     Google’s monopoly power can be demonstrated by, among other
16   things, Google’s massive market share in terms of apps downloaded. The European
17   Commission determined that, within the Market, more than 90% of app downloads
18   through app stores have been done through the Google Play Store. Indeed, although app
19   stores for merchant mobile OSs other than Android are not included in the Android App
20   Distribution Market, the European Commission found that the only such app store with
21   any appreciable presence was the Windows Mobile Store, which was compatible with
22   the Windows Mobile OS. The Commission determined that even if the Windows
23   Mobile Store share was included in the market, the Google Play Store would still have
24   had a market share greater than 90%.
25                 71.     Other existing Android mobile app stores do not discipline Google’s
26   exercise of monopoly power in the Android App Distribution Market. No other app
27   store is able to reach nearly as many Android users as the Google Play Store.
28   According to the European Commission, the Google Play Store is pre-installed by

     Complaint for Injunctive Relief                22
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page26
                                                                         38
                                                                          31ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    OEMs on practically all Android mobile devices sold outside of China. As a result, no
2    other Android app store comes close to that number of pre-installed users. With the
3    exception of app stores designed for and installed only on mobile devices sold by those
4    respective OEMs, such as Samsung Galaxy Apps and the LG Electronics App Store, no
5    other Android app store is pre-installed on more than 10% of Android devices, and
6    many have no appreciable market penetration at all. Aptoide, for example, is an
7    Android app store that claims to be the largest “independent” app store outside of China,
8    but it comes pre-installed on no more than 5% of Android mobile devices.
9                  72.     Because of Google’s success in maintaining its monopoly in Android
10   app distribution, there is no viable substitute to distributing Android apps through the
11   Google Play Store. As a result, the Google Play Store offers over 3 million apps,
12   including all of the most popular Android apps, compared to just 700,000 apps offered
13   by Aptoide, the Android app store with the next largest listing. The Google Play Store
14   thereby benefits from ongoing network effects based on the large number of
15   participating app developers and users. The large number of apps attracts large numbers
16   of users, who value access to a broad range of apps, and the large number of users
17   attract app developers who wish to access more Android users. Android OEMs too find
18   it commercially unreasonable to make and sell phones without the Google Play Store,
19   and they view other app stores as poor substitutes for the Google Play Store because of
20   the lower number and lesser quality of apps they offer.
21                 73.     As further proof of its monopoly power, Google imposes a supra-
22   competitive commission of 30% on the price of apps purchased through the Google Play
23   Store, which is a far higher commission than would exist under competitive conditions.
24                 74.     Furthermore, Google’s monopoly power in app distribution is not
25   constrained by competition at the smart mobile device level because Android device
26   users face significant switching costs and lock-in to the Android ecosystems that serves
27   to protect Google’s monopoly power, and consumers are unable to account for Google’s
28   anticompetitive conduct when they purchase a smart mobile device.

     Complaint for Injunctive Relief               23
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page27
                                                                         39
                                                                          32ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  75.     First, consumers are deterred from leaving the Android ecosystem
2    due to the difficulty and costs of switching. Consumers choose a smartphone based in
3    part on the OS that comes pre-installed on that device and the ecosystem in which the
4    device participates (in addition to a bundle of other features, such as price, battery life,
5    design, storage space, and the range of available apps and accessories). Once a
6    consumer has selected a smartphone, the consumer cannot replace the mobile OS that
7    comes pre-installed on it with an alternative mobile OS. Rather, a consumer who
8    wishes to change the OS must purchase a new smartphone entirely. In addition, mobile
9    OSs have different designs, controls, and functions that consumers must learn to
10   navigate. Over time, consumers who use Android devices learn to operate efficiently on
11   the Android OS. For example, the Android OS layout differs from iOS in a wide range
12   of functions, including key features such as searching and installing “widgets” on the
13   phone, organizing and searching the phone’s digital content, configuring control center
14   settings, and organizing photos. The cost of learning to use a different mobile OS is
15   part of consumers’ switching costs.
16                 76.     Second, switching from Android devices may also result in a
17   significant loss of personal and financial investment that consumers put into the
18   Android ecosystem. Because apps, in-app content and many other products are
19   designed for or are only compatible with a particular mobile OS, switching to a new
20   mobile OS may mean losing access to such products or to data. Even if versions of such
21   apps and products are available within the new ecosystem chosen by the consumer, the
22   consumer would have to go through the process of downloading them again onto the
23   new devices and may have to purchase them anew. As a result, the consumer may be
24   forced to abandon his or her investment in at least some of those apps, along with any
25   purchased in-app content and consumer-generated data on those apps.
26                 77.     Third, consumers are not able to avoid the switching costs and lock-
27   in to the Android OS ecosystem by acquiring more information prior to the purchase of
28   the Android device. The vast majority of mobile device consumers have no reason to

     Complaint for Injunctive Relief                24
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page28
                                                                         40
                                                                          33ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    inquire, and therefore do not know about, Google’s anticompetitive contractual
2    restraints and policies. Furthermore, these consumers rationally do not give much
3    weight to Google’s anticompetitive conduct and anticompetitive fees when deciding
4    whether to switch from an Android device. Consumers consider many features when
5    deciding which smartphone or tablet to purchase, including design, brand, processing
6    power, battery life, functionality and cellular plan. These features are likely to play a
7    substantially larger role in a consumer’s decision as to which smart mobile device to
8    purchase than Google’s anticompetitive conduct in the relevant markets, particularly
9    given that a consumer may consider the direct monetary cost of Google’s conduct to be
10   small relative to the price of smart mobile devices, if the consumer is even aware of the
11   conduct or assigns it such a cost at all. For example, over time a typical Android user
12   may make multiple small purchases of paid apps and in-app digital content—
13   accumulating to $100 or less annually—but may spend several hundreds of dollars at
14   once to purchase an Android smart mobile device.
15                 78.     Consumers are also unable to determine the “lifecycle price” of
16   devices—i.e., to accurately assess at the point of purchase how much they will end up
17   spending in total (including on the device and all apps and in-app purchases) for the
18   duration of their ownership of the device. Consumers cannot know in advance of
19   purchasing a device all of the apps or in-app content that they may want to purchase
20   during the usable lifetime of the device. Consumers’ circumstances may change.
21   Consumers may develop new interests. They may learn about new apps or in-app
22   content that becomes available only after purchasing a device. New apps and in-app
23   content will continue to be developed and marketed after a consumer purchases a
24   smartphone or tablet. All of these factors may influence the amount of consumers’ app
25   and in-app purchases. Because they cannot know or predict all such factors when
26   purchasing mobile devices, consumers are unable to calculate the lifecycle prices of the
27   devices. This prevents consumers from effectively taking Google’s anticompetitive
28   conduct into account when making mobile device purchasing decisions.

     Complaint for Injunctive Relief                25
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page29
                                                                         41
                                                                          34ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  79.     Because consumers face substantial switching costs and lock-in to
2    the Android OS, developers can only gain access to these users by also participating in
3    the Android ecosystem. Thus, developers face an even greater cost in not participating
4    in the Android ecosystem—loss of access to hundreds of millions of Android OS users.
5           C.   Google’s Anti-Competitive Conduct Concerning the Android App
                 Distribution Market
6
                   80.     Google has willfully and unlawfully maintained its monopoly in the
7
     Android App Distribution Market through a series of related anti-competitive acts that
8
     have foreclosed competing ways of distributing apps to Android users.
9
                           Google’s Conduct Toward OEMs
10
                   81.     Google imposes anti-competitive constraints on Android OEMs
11
     based on their need for access to a viable Android app store and other important services
12
     provided by Google.
13
                   82.     First, Google conditions OEMs’ licensing of the Google Play Store,
14
     as well as other essential Google services and the Android trademark, on OEMs’
15
     agreements to provide the Google Play Store with preferential treatment compared to
16
     any other competing app store. Specifically, to access the Google Play Store, Android
17
     OEMs (which, as noted above, comprise virtually all OEMs that obtain an OS on the
18
     merchant market) have signed a Mobile Application Distribution Agreement
19
     (“MADA”) with Google. A MADA confers a license to a bundle of products
20
     comprising proprietary Google apps, Google-supplied services necessary for
21
     functioning of mobile apps, and the Android trademark. Through its MADAs with
22
     Android OEMs, Google requires OEMs to locate the Google Play Store on the “home
23
     screen”8 of each mobile device. Android OEMs must further pre-install up to 30
24
     Google mandatory apps and must locate these apps on the home screen or on the next
25
     screen, occupying valuable space on each user’s mobile device that otherwise could be
26
     occupied by competing app stores and other services. These requirements ensure that
27
       8
28       The default “home screen” is the default display, prior to any changes made by users, that appears
     without scrolling when the device is in active idle mode (i.e., is not turned off or in sleep mode).

     Complaint for Injunctive Relief                     26
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page30
                                                                         42
                                                                          35ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    the Google Play Store is the most visible app store any user encounters and place any
2    other app store at a significant disadvantage.
3                  83.     Absent this restraint, OEMs could pre-install and prominently
4    display alternative app stores to the purchasers of some or all of their mobile devices,
5    allowing competing app stores the ability to vie for prominent placement on Android
6    devices, increased exposure to consumers and, as a result, increased ability to attract app
7    developers to their store. As an app distributor, Epic could and would negotiate with
8    OEMs to offer a prominently displayed app store containing Fortnite and other games,
9    allowing Epic to reach more mobile users.
10                 84.     Second, Google interferes with OEMs’ ability to distribute Android
11   app stores and apps directly to consumers outside the Google Play Store. Some OEMs
12   may choose to compete for buyers by offering mobile devices that provide easy access
13   to additional mobile app stores and apps. For example, an OEM may pre-install an icon
14   corresponding to an app store or app on the device before it is sold to consumers. Even
15   when an OEM would want to make mobile apps available to consumers in this way,
16   Google imposes unjustified and pretextual warnings about the security of installing the
17   app, even though the consumer is choosing to install the app in full awareness of its
18   source.
19                 85.     Epic recently reached an agreement with OnePlus, an OEM, to allow
20   users of OnePlus mobile devices to seamlessly install Fortnite and other Epic games by
21   touching an Epic Games app on their devices—without encountering any obstacles
22   imposed by the Android OS. In conjunction with this agreement, Epic designed a
23   version of Fortnite for certain OnePlus devices that delivers a state-of-the-art framerate
24   (the frequency at which consecutive images appear on the device’s screen), providing an
25   even better gameplay experience for Fortnite players. Although the original agreement
26   between Epic and OnePlus contemplated making this installation method available
27   worldwide, Google demanded that OnePlus not implement its agreement with Epic with
28   the limited exception of mobile devices sold in India. OnePlus informed Epic that

     Complaint for Injunctive Relief                  27
            Case
            Case
              Case
                 5:14-cv-02007-BLF
                  3:20-cv-05671-JD
                    5:20-cv-05671-NCDocument
                                    Document
                                      Document
                                             45-1
                                              56-1
                                               1 Filed
                                                   Filed
                                                    Filed08/13/20
                                                          09/09/20
                                                           09/09/20 Page
                                                                     Page
                                                                     Page31
                                                                          43
                                                                           36ofof
                                                                                of63
                                                                                   240
                                                                                    231




1    Google was “particularly concerned that the Epic Games app would have ability to
2    potentially install and update multiple games with a silent install bypassing the Google
3    Play Store”.9 Further, any waiver of Google’s restriction “would be rejected due to the
4    Epic Games app serving as a potential portfolio of games and game updates”. As a
5    result, OnePlus mobile device users in India can install Epic games seamlessly without
6    using the Google Play Store, while users outside India cannot.
7                    86.    Another OEM, LG, also told Epic that it had a contract with Google
8    “to block side downloading off Google Play Store this year”, but that the OEM could
9    “surely” make Epic games available to consumers if the Google Play Store were used.
10   Google prevented LG from pre-installing the Epic Games app on LG devices.
11                   87.    In the absence of this conduct, Epic could and would negotiate with
12   OEMs to make Fortnite and other Epic games directly available to consumers, free from
13   Google’s anti-competitive restraints. OEMs could then compete for the sale of mobile
14   devices based in part on the set of apps offered on the OEMs’ devices. But Google
15   forecloses alternative ways of distributing Android apps other than through its own
16   monopolized app store, harming competition among OEMs and among app developers,
17   to the detriment of consumers.
18                          Google’s Conduct Toward App Distributors and Developers
19                   88.    Google imposes anti-competitive restrictions on competing app
20   distributors and developers that further entrench its monopoly in Android App
21   Distribution.
22                   89.    First, Google prevents app distributors from providing Android users
23   ready access to competing app stores. Specifically, even though competitive app stores
24   themselves are mobile apps that could easily be distributed through the Google Play
25   Store, Google prohibits the distribution of any competing app store through the Google
26   Play Store, without any technological or other justification.
27      9
          A “silent install” is an installation process free of the dire security warnings that Google triggers
28   when apps are directly downloaded, such as the “one touch” process on which Epic and OnePlus had
     agreed.

     Complaint for Injunctive Relief                       28
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page32
                                                                         44
                                                                          37ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  90.     Google imposes this restraint through provisions of the Google Play
2    Developer Distribution Agreement (“DDA”), which Google requires all app developers
3    to sign before they can distribute their apps through the Google Play Store. Each of the
4    Defendants, except Google Payment, is a party to the DDA.
5                  91.     Section 4.5 of the DDA provides that developers “may not use
6    Google Play to distribute or make available any Product that has a purpose that
7    facilitates the distribution of software applications and games for use on Android
8    devices outside of Google Play.” The DDA further reserves to Google the right to
9    remove and disable any Android app that it determines violates this requirement. The
10   DDA is non-negotiable, and developers that seek access to Android users through the
11   Google Play Store must accept Google’s standardized contract of adhesion.
12                 92.     In the absence of these unlawful restraints, competing app
13   distributors could allow users to replace or supplement the Google Play Store on their
14   devices with competing app stores, which users could easily download and install
15   through the Google Play Store. App stores could compete and benefit consumers by
16   offering lower prices and innovative app store models, such as app stores that are
17   curated to specific consumers’ interests—e.g., an app store that specializes in games or
18   an app store that only offers apps that increase productivity. Without Google’s unlawful
19   restraints, additional app stores would provide additional platforms on which more apps
20   could be featured, and thereby, discovered by consumers. Epic has been damaged
21   through its inability to provide a competing app store (as it does on personal computers)
22   and by the loss of the opportunity to reach more Android users directly in the ways that
23   personal computers allow developers to reach consumers without artificial constraints.
24                 93.     Second, Google conditions app developers’ ability to effectively
25   advertise their apps to Android users on being listed in the Google Play Store.
26   Specifically, Google markets an App Campaigns program that, as Google says, allows
27   app developers to “get your app into the hands of more paying users” by “streamlin[ing]
28   the process for you, making it easy to promote your apps across Google’s largest

     Complaint for Injunctive Relief                29
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page33
                                                                         45
                                                                          38ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    properties”. This includes certain ad placements on Google Search, YouTube, Discover
2    on Google Search, and the Google Display Network, and with Google’s “search
3    partners”, that are specially optimized for the advertising of mobile apps. However, in
4    order to access this valuable advertising space through the App Campaigns program,
5    Google requires that app developers list their app in either the Google Play Store (to
6    reach Android users) or in the Apple App Store (to reach Apple iOS users). This
7    conduct further entrenches Google’s monopoly in Android App Distribution by
8    coercing Android app developers to list their apps in the Google Play Store or risk
9    losing access to a great many Android users they could otherwise advertise to but for
10   Google’s restrictions.
11                         Google’s Conduct Toward Consumers
12                 94.     Google directly and anti-competitively restricts the manner in which
13   consumers can discover, download and install mobile apps and app stores. Although
14   Google nominally allows consumers to directly download and install Android apps and
15   app stores—a process that Google pejoratively describes as “sideloading”—Google has
16   ensured, through a series of technological impediments imposed by the Android OS,
17   that direct downloading remains untenable for most consumers.
18                 95.     But for Google’s anticompetitive acts, Android users could freely
19   download apps from developers’ websites, rather than through an app store, just as they
20   might do on a personal computer. There is no reason that downloading and installing an
21   app on a mobile device should differ from downloading and installing software on a
22   personal computer. Millions of personal computer users download and install software
23   directly every day, such as Google’s own Chrome browser or Adobe’s Acrobat Reader.
24   Personal computer users do this easily and safely.
25                 96.     Direct downloading on Android mobile devices, however, differs
26   dramatically. Google ensures that the Android process is technically complex,
27   confusing and threatening, filled with dire warnings that scare most consumers into
28   abandoning the lengthy process. For example, depending on the version of Android

     Complaint for Injunctive Relief                30
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page34
                                                                         46
                                                                          39ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    running on a mobile device, downloading and installing Fortnite on an Android device
2    could take as many as 16 steps or more, including requiring the user to make changes to
3    the device’s default settings and manually granting various permissions while being
4    warned that doing so is dangerous. Below are the myriad steps an average Android user
5    has to go through in order to download and install Fortnite directly from Epic’s secure
6    servers.
7
8
9
10
11
12
13
14
15
16
17
                   97.     Below are two of the intimidating messages and warnings about the
18
     supposed danger of directly downloading and installing apps that consumers encounter
19
     during this process.
20
21
22
23
24
25
26
27
28

     Complaint for Injunctive Relief               31
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page35
                                                                         47
                                                                          40ofof
                                                                               of63
                                                                                  240
                                                                                   231




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15                 98.     As if this slog through warnings and threats were not enough to
16   ensure the inferiority of direct downloading as a distribution method for Android apps,
17   Google denies downloaded apps the permissions necessary to be seamlessly updated in
18   the background—instead allows such updates only for apps downloaded via Google
19   Play Store. The result is that consumers must manually approve every update of a
20   “sideloaded” app. In addition, depending on the OS version and selected settings, such
21   updates may require users to go through many of the steps in the downloading process
22   repeatedly, again triggering many of the same warnings. This imposes onerous
23   obstacles on consumers who wish to keep the most current version of an app on their
24   mobile device and further drives consumers away from direct downloading and toward
25   Google’s monopolized app store.
26                 99.     Further, under the guise of offering protection from malware, Google
27   further restricts direct downloading. When Google deems an app “harmful”, Google
28   may prevent the installation of, prompt a consumer to uninstall, or forcibly remove the


     Complaint for Injunctive Relief                32
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page36
                                                                         48
                                                                          41ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    app from a consumer’s device. And direct downloading has been prevented entirely on
2    the Android devices that are part of Google’s so-called Advanced Protection Program
3    (“APP”). Consumers who have enrolled in APP are unable to directly download apps;
4    their Android device can only download apps distributed in the Google Play Store or in
5    another pre-installed app store that Google has pre-approved for an OEM to offer on its
6    devices. App developers therefore cannot reach APP users unless they first agree to
7    distribute their apps through the Google Play Store or through a separate Google-
8    approved, OEM-offered app store, where available. Google’s invocation of security is
9    an excuse to further strangle an app developer’s ability to reach Android users, as shown
10   by a comparison to personal computers, where users can securely purchase and
11   download new software without being limited to a single software store owned or
12   approved by the user’s anti-virus software vendor.
13                 100. Direct downloading is also nominally available to competing app
14   distributors who seek to distribute competing Android app stores directly to consumers.
15   However, the same restrictions Google imposes on the direct downloading of apps apply
16   to the direct downloading of app stores. Indeed, Google Play Protect has flagged at
17   least one competing Android app store, Aptoide, as “harmful”, further hindering
18   consumers’ ability to access a competing app store.
19                 101. And apps downloaded from “sideloaded” app stores, like apps
20   directly downloaded from a developer’s website, may not be automatically uploaded in
21   the background. Thus, direct downloading is not a viable way for app stores to reach
22   Android users, any more than it is a viable alternative for single apps; the only
23   difference is that the former do not have any alternative, ensuring the latter are forced
24   into the Google Play Store.
25                 102. But for Google’s restrictions on direct downloading, Epic and other
26   app distributors and developers could try to directly distribute their stores and apps to
27   those consumers who would be open to a process outside an established app store. But
28   as explained above, Google makes direct downloading substantially and unnecessarily

     Complaint for Injunctive Relief               33
             Case
             Case
               Case
                  5:14-cv-02007-BLF
                   3:20-cv-05671-JD
                     5:20-cv-05671-NCDocument
                                     Document
                                       Document
                                              45-1
                                               56-1
                                                1 Filed
                                                    Filed
                                                     Filed08/13/20
                                                           09/09/20
                                                            09/09/20 Page
                                                                      Page
                                                                      Page37
                                                                           49
                                                                            42ofof
                                                                                 of63
                                                                                    240
                                                                                     231




1    difficult, and in some cases prevents it entirely, further narrowing this already narrow
2    alternative distribution channel.
3                   103. There is no legitimate reason for Google’s conduct. Indeed, for
4    decades the users of personal computers have been able to install software acquired
5    from various sources without being deterred by anything like the obstacles erected by
6    Google. Now, a user can navigate to the Internet webpage sponsored by the developer
7    of software he/she desires, click once or twice to download and install an application,
8    and be up and running, often in a matter of minutes. The operating systems used by
9    personal computers efficiently facilitate this download and installation (unlike Android),
10   and security screening is conducted by a neutral security software operating in the
11   background, allowing users to download software from any source they choose (unlike
12   Android).
13                  104. Google’s anti-competitive and unjustified restrictions on distributing
14   apps through any means other than its own app store contradict its own claims that
15   Android app developers can “us[e] any distribution approach or combination of
16   approaches that meets your needs”, and that developers can even provide consumers
17   “apps from a website or [by] emailing them directly to users.”10 In reality, Google
18   specifically prevents app developers from effectively availing themselves of alternative
19   distribution channels that it touts today.
20                  105. Through these anti-competitive acts, including contractual provisions
21   and exclusionary obstacles, Google has willfully obtained a near-absolute monopoly
22   over Android mobile app distribution. Google Play Store downloads have accounted for
23   more than 90% of downloads through Android app stores, dwarfing other available
24   distribution channels.
25
26
27      10
           Google Play Developers Page, Alternative distribution options,
28   https://developer.android.com/distribute/marketing-tools/alternative-distribution (last accessed June 7,
     2020).

     Complaint for Injunctive Relief                      34
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page38
                                                                         50
                                                                          43ofof
                                                                               of63
                                                                                  240
                                                                                   231




1           D.     Anti-Competitive Effects in the Android App Distribution Market
2                  106. Google’s anti-competitive conduct forecloses competition in the
3    Android App Distribution Market, affects a substantial volume of commerce in this
4    Market and causes anti-competitive harms to OEMs, competing mobile app distributors,
5    mobile app developers, and consumers.
6                  107. Google’s conduct harms OEMs by forcing them to dedicate to the
7    Google Play Store and other mandatory Google applications valuable space on their
8    devices’ “home screen”, even if they would rather use that real estate for other purposes,
9    including to offer alternative app stores. Individually and together, these requirements
10   limit OEMs’ ability to innovate and compete with each other by offering innovative and
11   more appealing (in terms of price and quality) distribution platforms for mobile apps.
12   Google’s restrictions also interfere with OEMs’ ability to compete with each other by
13   offering Android devices with tailored combinations of pre-installed apps that would
14   appeal to particular subsets of mobile device consumers.
15                 108. Google’s conduct harms would-be competitor app distributors, such
16   as Epic, which could otherwise innovate new models of app distribution and provide
17   OEMs, app developers, and consumers choice beyond Google’s own app store.
18                 109. Google’s anti-competitive conduct harms app developers, such as
19   Epic, which are forced to agree to Google’s anti-competitive terms and conditions if
20   they wish to reach many Android users, such as through advertising on Google’s
21   valuable advertising properties. Google’s restrictions prevent developers from
22   experimenting with alternative app distribution models, such as providing apps directly
23   to consumers, selling apps through curated app stores, creating their own competing app
24   stores, or forming business relationships with OEMs who can pre-install apps. By
25   restricting developers in such a way, Google ensures that the developer’s apps will be
26   distributed on the Google Play Store, and that Google is then able to monitor and collect
27   a variety of information on the apps’ usage, which it can then use to develop and offer
28

     Complaint for Injunctive Relief               35
              Case
              Case
                Case
                   5:14-cv-02007-BLF
                    3:20-cv-05671-JD
                      5:20-cv-05671-NCDocument
                                      Document
                                        Document
                                               45-1
                                                56-1
                                                 1 Filed
                                                     Filed
                                                      Filed08/13/20
                                                            09/09/20
                                                             09/09/20 Page
                                                                       Page
                                                                       Page39
                                                                            51
                                                                             44ofof
                                                                                  of63
                                                                                     240
                                                                                      231




1    its own competing apps that are, of course, not subject to Google’s supra-competitive
2    taxes.
3                    110. Both developers and consumers are harmed by Google’s supra-
4    competitive taxes of 30% on the purchase price of apps distributed through the Google
5    Play Store, which is a much higher transaction fee than would exist in a competitive
6    market. Google’s supra-competitive taxes raise prices for app developers and
7    consumers and reduce the output of mobile apps and related content by depriving app
8    developers incentive and capital to develop new apps and content.
9                    111. Consumers are further harmed because Google’s control of app
10   distribution reduces developers’ ability and incentive to distribute apps to consumers in
11   different and innovative ways—for example, through genre-specific app stores. Google,
12   by restraining the distribution market and eliminating the ability and incentive for
13   competing app stores, also limits consumers’ ability to discover new apps of interest to
14   them. More competing app stores would permit additional platforms to feature diverse
15   collections of apps. Instead, consumers are left to sift through millions of apps in one
16   monopolized app store, where Google controls which apps are featured and which apps
17   are identified or prioritized in user searches.
18   III. Google Unlawfully Acquired and Maintains a Monopoly in the Android In-
            App Payment Processing Market.
19
                     112. By selling digital content within a mobile app rather than (or in
20
     addition to) charging a price for the app itself, app developers can make an app widely
21
     accessible to all users, then charge users for additional digital content or features, thus
22
     still generating revenue from their investment in developing new apps and content. This
23
     is especially true for mobile game developers. By allowing users to play without up-
24
     front costs, developers permit more players try a game “risk free” and only pay for what
25
     they want to access. Fortnite, for example, is free to download and play, but makes
26
     additional content available for in-app purchasing on an à la carte basis or via a
27
     subscription-based Battle Pass. App developers who sell digital content rely on in-app
28

     Complaint for Injunctive Relief                  36
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page40
                                                                         52
                                                                          45ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    payment processing tools to process consumers’ purchases in a seamless and efficient
2    manner.
3                  113. When selling digital content, Android app developers are unable to
4    utilize the multitude of electronic payment processing solutions generally available on
5    the market to process other types of transactions. Instead, through contractual
6    restrictions and its monopoly in app distribution, Google coerces developers into using
7    its own in-app payment processing by conditioning developers’ use of Google’s
8    dominant Google Play Store on the use of Google’s payment processor, Google Play
9    Billing, for digital content, thereby acquiring and maintaining monopoly power in the
10   Android In-App Payment Processing Market. Google thus ties its Google Play Store to
11   its own proprietary payment processing tool.
12          A.     The Android In-App Payment Processing Market
13                         Product Market Definition
14                 114. There is a relevant antitrust market for the processing of payments
15   for the purchase of digital content, including virtual gaming products, that is consumed
16   within Android apps (the “Android In-App Payment Processing Market”). The Android
17   In-App Payment Processing Market is comprised of the payment processing solutions
18   that Android developers could turn to and integrate into their Android apps to process
19   the purchase of such in-app digital content.
20                 115. Absent Google’s unlawful conduct, app developers could integrate
21   compatible payment processor into their apps to facilitate the purchase of in-app digital
22   content. Developers also would have the capability to develop their own in-app
23   payment processing functionality. And developers could offer users a choice among
24   multiple payment processors for each purchase, just like a website or brick-and-mortar
25   store can offer a customer the option of using Visa, MasterCard, Amex, Google Pay,
26   and more.
27                 116. Google offers separate payment solutions for the purchase of digital
28   content than it does for other types of purchases, even within mobile apps. Google Play

     Complaint for Injunctive Relief                37
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page41
                                                                         53
                                                                          46ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    Billing can be used for the purchase of digital content and virtual gaming products,
2    while Google offers a separate tool, Google Pay, to facilitate the purchase of physical
3    products and services within apps.
4                  117. It is particularly important that app developers who sell in-app digital
5    content be able to offer in-app transactions that are seamless, engrossing, quick, and fun.
6    For example, a gamer who encounters a desirable “skin” within Fortnite, such as a
7    Marvel superhero, may purchase it nearly instantly for a small price without leaving the
8    app. Although Fortnite does not offer content that extends gameplay or gives players
9    competitive advantages, other game developers offer such products—for example,
10   “boosts” and “extra lives”—that extend and enhance gameplay. It is critical that such
11   purchases can be made during gameplay itself, rather than in another manner. If a
12   player were required to purchase game-extending extra lives outside of the app, the
13   player may simply stop playing instead.
14                 118. As another example, if a user of a mobile dating app encounters a
15   particularly desirable potential dating partner, he/she can do more than “swipe right” or
16   “like” that person, but can also purchase a digital item that increases the likelihood that
17   the potential partner will notice his/her profile. If the user could not make that purchase
18   quickly and seamlessly, he/she would likely abandon the purchase and may even stop
19   “swiping” in the app altogether.
20                 119. It is therefore essential that developers who offer digital content be
21   able to seamlessly integrate a payment processing solution into the app, rather than
22   requiring a consumer to go elsewhere, such as to a separate website, to process a
23   transaction. Indeed, if an app user were directed to process a purchase of digital content
24   outside of a mobile app, the user might abandon the purchase or stop interacting with
25   the mobile app altogether.
26                 120. Mobile game developers particularly value the ability to allow users
27   to make purchases that extend or enhance gameplay without disrupting or delaying that
28   gameplay or a gamer’s engagement with the mobile app. For these reasons, and in the

     Complaint for Injunctive Relief                38
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page42
                                                                         54
                                                                          47ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    alternative, there is a relevant antitrust sub-market for the processing of payments for
2    the purchase of virtual gaming products within mobile Android games (the “Android
3    Games Payment Processing Market”).
4                          Geographic Market Definition
5                  121. The geographic scope of the Android In-App Payment Processing

6    Market is worldwide, excluding China. Outside China, in-app payment processing

7    tools, such as Google Play Billing, are available on a worldwide basis. By contrast, in-

8    app payment processing tools available in China are not available outside of China,

9    including because Google prevents the use of non-Google payment processing tools for

10   all apps distributed through the Google Play Store, which as noted above dominates

11   distribution of apps outside of China.
            B.     Google’s Monopoly Power in the Android In-App Payment Processing
12                 Market
13                 122. Google has monopoly power in the Android In-App Payment
14   Processing Market and, in the alternative, in the Android Games Payment Processing
15   Market.
16                 123. For apps distributed through the Google Play Store, Google requires
17   that the apps use only its own in-app payment processor, Google Play Billing, to process
18   in-app purchases of digital content and for all purchases within Android games. And
19   because 90% or more of Android-compatible mobile app downloads conducted through
20   an app stores have been done through the Google Play Store, Google has a monopoly in
21   these Markets. .
22                 124. Google charges a 30% commission for Google Play Billing. This
23   rate reflects Google’s market power, which allows it to charge supra-competitive prices
24   for payment processing within the market. Indeed, the cost of alternative electronic
25   payment processing tools, which Google does not permit to be used for the purchase of
26   in-app digital content or within Android games, can be one tenth of the 30% cost of
27   Google Play Billing.
28

     Complaint for Injunctive Relief               39
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page43
                                                                         55
                                                                          48ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                 Electronic Payment Processing Tool            Base U.S. Rate
2                 PayPal                                        2.9%
3                 Stripe                                        2.9%
4                 Square                                        2.6%-3.5%
5                 Braintree                                     2.9%
6
7           C.     Google’s Anti-Competitive Conduct Concerning the Android In-App
                   Payment Processing Market
8
                   125. Through provisions of the DDA that Google imposes on all
9
     developers who seek to access Android users, Google unlawfully ties its Google Play
10
     Store, through which it has a monopoly in the Android App Distribution Market, to its
11
     own in-app payment processing tool, Google Play Billing. Section 3.2 of the DDA
12
     requires that Android app developers enter into a separate agreement with Google’s
13
     payment processor, Defendant Google Payment, in order to receive payment for apps
14
     and in-app digital content.
15
                   126. Further, Google’s Developer Program Policies, compliance with
16
     which Section 4.1 of the DDA makes obligatory, require in relevant part that:
17
                        Developers offering products within a game downloaded on Google
18
                           Play or providing access to game content must use Google Play In-
19
                           app Billing as the method of payment.
20
                        Developers offering products within another category of app
21
                           downloaded on Google Play must use Google Play In-app Billing as
22
                           the method of payment, except for the following cases:
23
                              o Payment is solely for physical products,
24
                              o Payment is for digital content that may be consumed outside
25
                                  of the app itself (e.g., songs that can be played on other music
26
                                  players).
27
                   127. Google’s unlawful restraints in the DDA prevent app developers
28
     from integrating alternative, even multiple, payment processing solutions into their

     Complaint for Injunctive Relief                 40
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page44
                                                                         56
                                                                          49ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    mobile apps, depriving app developers and consumers alike a choice of competing
2    payment processors. For example, Epic offers its own in-app payment processing tool
3    that it could integrate, alongside Google’s and others, into Epic mobile games. Epic
4    consumers could then choose to process their payment using Google’s tool, Epic’s tool,
5    or another tool altogether.
6                  128. In December of 2019, Epic submitted a build of Fortnite to Google
7    Play that enabled users to make in-app purchases through Epic’s own payment
8    processor. Upon review of the submission, Google Play rejected the application, citing
9    its violation of Google’s Payments policy as well as an unrelated issue raised by
10   Google. In January 2020, Epic again submitted a Fortnite build that resolved the
11   unrelated issue but again enabled users to use Epic’s own payment processor. Google
12   again rejected Epic’s submission.
13                 129. Epic was prevented from offering Fortnite on the Google Play Store,
14   and therefore unable to reach many Android users, until it submitted a new version of
15   Fortnite that only offered Google Play Billing. Google has damaged Epic by
16   foreclosing it from the Android in-app payment processing market.
17                 130. Google has no legitimate justifications for its tie. If it were
18   concerned, for example, about the security of its users’ payment information, then it
19   would not permit alternative payment processing for certain transactions made on
20   Android phones for physical products or digital content consumed outside an app. But
21   Google does allow alternative payment processing tools in that context, with no
22   diminution in security.
23        D.     Anti-Competitive Effects in the Android In-App Payment Processing
                 Market
24
                   131. Google’s conduct harms competition in the Android In-app Payment
25
     Processing Market (and, in the alternative, in the Android Games Payment Processing
26
     Market) and injures app developers, consumers, and competing in-app payment
27
     processors.
28

     Complaint for Injunctive Relief                41
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page45
                                                                         57
                                                                          50ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  132. Google’s conduct harms would-be competitor in-app payment
2    processors, who would otherwise have the ability to innovate and offer consumers
3    alternative payment processing tools that offer better functionality, lower prices, and
4    better security. For example, in the absence of Google’s Developer Program Policies,
5    Epic could offer consumers a choice of in-app payment processor for each purchase
6    made by the consumer, including a choice of Epic’s own payment processor at a lower
7    cost and with better customer service.
8                  133. Google also harms app developers and consumers by inserting itself
9    as a mandatory middleman in every in-app transaction. When Google acts as payment
10   processor, Epic is unable to provide users comprehensive customer service relating to
11   in-app payments without Google’s involvement. Google has little incentive to compete
12   through improved customer service because Google faces no competition and
13   consumers often blame Epic for payment-related problems. In addition, Google is able
14   to obtain information concerning Epic’s transactions with its own customers, which it
15   could use to give its ads and Search businesses an anti-competitive edge, even when
16   Epic and its own customers would prefer not to share their information with Google. In
17   these ways and in others, Google directly harms app developers’ relationships with the
18   users of their apps.
19                 134. Finally, Google raises app developers’ costs and consumer prices
20   through its supra-competitive 30% tax on in-app purchases, a price it could not maintain
21   if it had not foreclosed competition for such transactions. The resulting increase in
22   prices for in-app content likely deters some consumers from making purchases and
23   deprives app developers of resources they could use to develop new apps and content.
24   The supra-competitive tax rate also reduces developers’ incentive to invest in and create
25   additional apps and related in-app content.
26
27
28

     Complaint for Injunctive Relief               42
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page46
                                                                         58
                                                                          51ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                                   COUNT 1: Sherman Act § 2
                             (Unlawful Monopoly Maintenance in the
2                               Android App Distribution Market)
3                         (against all Defendants except Google Payment)
                   135. Epic restates, re-alleges, and incorporates by reference each of the
4
     allegations set forth in the rest of this Complaint as if fully set forth herein.
5
                   136. Google’s conduct violates Section 2 of the Sherman Act, which
6
     prohibits the “monopoliz[ation of] any part of the trade or commerce among the several
7
     States, or with foreign nations”. 15 U.S.C. § 2.
8
                   137. The Android App Distribution Market is a valid antitrust market.
9
                   138. Google holds monopoly power in the Android App Distribution
10
     Market.
11
                   139. Google has unlawfully maintained monopoly power in the Android
12
     App Distribution Market through the anti-competitive acts described herein, including
13
     conditioning the licensing of the Google Play Store, as well as other essential Google
14
     services and the Android trademark, on OEMs’ agreement to provide the Google Play
15
     Store with preferential treatment, imposing technical restrictions and obstacles on both
16
     OEMs and developers, which prevent the distribution of Android apps through means
17
     other than the Google Play Store, and conditioning app developers’ ability to effectively
18
     advertise their apps to Android users on being listed in the Google Play Store.
19
                   140. Google’s conduct affects a substantial volume of interstate as well as
20
     foreign commerce.
21
                   141. Google’s conduct has substantial anti-competitive effects, including
22
     increased prices and costs, reduced innovation and quality of service, and lowered
23
     output.
24
                   142. As a potential competing app distributor and as an app developer,
25
     Epic has been harmed by Defendants’ anti-competitive conduct in a manner that the
26
     antitrust laws were intended to prevent. Epic has suffered and continues to suffer
27
28

     Complaint for Injunctive Relief                 43
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page47
                                                                         59
                                                                          52ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    damages and irreparable injury, and such damages and injury will not abate until an
2    injunction ending Google’s anti-competitive conduct issues.
3                                COUNT 2: Sherman Act § 1
                         (Unreasonable restraints of trade concerning
4                         Android App Distribution Market: OEMs)
5                      (against all Defendants except Google Payment)
                   143. Epic restates, re-alleges and incorporates by reference each of the
6
     allegations set forth in the rest of this Complaint as if fully set forth herein.
7
                   144. Defendants’ conduct violates Section 1 of the Sherman Act, which
8
     prohibits “[e]very contract, combination in the form of trust or otherwise, or conspiracy,
9
     in restraint of trade or commerce among the several States, or with foreign nations”.
10
     15 U.S.C. § 1.
11
                   145. Google has entered into agreements with OEMs that unreasonably
12
     restrict competition in the Android App Distribution Market. These include MADAs
13
     with OEMs that condition their access to the Google Play Store and other “must have”
14
     Google services on the OEM offering the Google Play Store as the primary and often
15
     the only viable app store on Android mobile devices.
16
                   146. These agreements serve no legitimate or pro-competitive purpose
17
     that could justify their anti-competitive effects, and thus unreasonably restrain
18
     competition in the Android App Distribution Market.
19
                   147. Google’s conduct affects a substantial volume of interstate as well as
20
     foreign commerce.
21
                   148. Google’s conduct has substantial anti-competitive effects, including
22
     increased prices and costs, reduced innovation and quality of service, and lowered
23
     output.
24
                   149. As a potential competing app distributor and as an app developer that
25
     consumes app distribution services, Epic has been harmed by Defendants’ anti-
26
     competitive conduct in a manner that the antitrust laws were intended to prevent. Epic
27
     has suffered and continues to suffer damages and irreparable injury, and such damages
28

     Complaint for Injunctive Relief                 44
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page48
                                                                         60
                                                                          53ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    and injury will not abate until an injunction ending Google’s anti-competitive conduct
2    issues.
3                                   COUNT 3: Sherman Act § 1
                            (Unreasonable restraints of trade concerning
4                            Android App Distribution Market: DDA)
5                         (against all Defendants except Google Payment)
                   150. Epic restates, re-alleges, and incorporates by reference each of the
6
     allegations set forth in the rest of this Complaint as if fully set forth herein.
7
                   151. Defendants’ conduct violates Section 1 of the Sherman Act, which
8
     prohibits “[e]very contract, combination in the form of trust or otherwise, or conspiracy,
9
     in restraint of trade or commerce among the several States, or with foreign nations”.
10
     15 U.S.C. § 1.
11
                   152. Google forces app developers to enter its standardized DDA,
12
     including Developer Program Policies integrated into that Agreement, as a condition of
13
     being distributed through Google’s app store, the Google Play Store. The relevant
14
     provisions of these agreements unreasonably restrain competition in the Android App
15
     Distribution Market.
16
                   153. Section 4.5 of the DDA provides that developers “may not use
17
     Google Play to distribute or make available any Product that has a purpose that
18
     facilitates the distribution of software applications and games for use on Android
19
     devices outside of Google Play”. Section 4.1 of the DDA requires that all developers
20
     “adhere” to Google’s Developer Program Policies. Under the guise of its so-called
21
     “Malicious Behavior” Policy, Google prohibits developers from distributing apps that
22
     “download executable code [i.e., code that would execute an app] from a source other
23
     than Google Play”. The DDA further reserves to Google the right to remove and
24
     disable any Android app that it determines violates either the DDA or its Developer
25
     Program Policies and to terminate the DDA on these bases. (§§ 8.3, 10.3.) These
26
     provisions prevent app developers from offering competing app stores through the
27
28

     Complaint for Injunctive Relief                 45
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page49
                                                                         61
                                                                          54ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    Google Play Store, even though there is no legitimate technological or other impediment
2    to distributing a competing app store through the Google Play Store.
3                  154. These agreements serve no legitimate or pro-competitive purpose
4    that could justify their anti-competitive effects, and thus unreasonably restrain
5    competition in the Android App Distribution Market.
6                  155. Google’s conduct affects a substantial volume of interstate as well as
7    foreign commerce.
8                  156. Google’s conduct has substantial anti-competitive effects, including
9    increased prices and costs, reduced innovation and quality of service, and lowered
10   output.
11                 157. As a potential competing app distributor and as an app developer that
12   consumes app distribution services, Epic has been harmed by Defendants’ anti-
13   competitive conduct in a manner that the antitrust laws were intended to prevent. Epic
14   has suffered and continues to suffer damages and irreparable injury, and such damages
15   and injury will not abate until an injunction ending Google’s anti-competitive conduct
16   issues.
17                              COUNT 4: Sherman Act § 2
                  (Unlawful Monopolization and Monopoly Maintenance in the
18                       Android In-App Payment Processing Market)
19                                 (against all Defendants)
                   158. Epic restates, re-alleges, and incorporates by reference each of the
20
     allegations set forth in the rest of this Complaint as if fully set forth herein.
21
                   159. Google’s conduct violates Section 2 of the Sherman Act, which
22
     prohibits the “monopoliz[ation of] any part of the trade or commerce among the several
23
     States, or with foreign nations”. 15 U.S.C. § 2.
24
                   160. The Android In-App Payment Processing Market is a valid antitrust
25
     market. In the alternative, the Android Games Payment Processing Market is a valid
26
     antitrust market.
27
28

     Complaint for Injunctive Relief                 46
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page50
                                                                         62
                                                                          55ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  161. Google holds monopoly power in the Android In-App Payment
2    Processing Market and, in the alternative, in the Android Games Payment Processing
3    Market.
4                  162. Google has unlawfully acquired monopoly power in these Markets,
5    including through the anti-competitive acts described herein. And however Google
6    initially acquired its monopoly, it has unlawfully maintained its monopoly, including
7    through the anti-competitive acts described herein.
8                  163. Google’s conduct affects a substantial volume of interstate as well as
9    foreign commerce.
10                 164. Google’s conduct has substantial anti-competitive effects, including
11   increased prices and costs, reduced innovation and quality of service, and lowered
12   output.
13                 165. As an app developer and as the developer of a competing in-app
14   payment processing tool, Epic has been harmed by Defendants’ anti-competitive
15   conduct in a manner that the antitrust laws were intended to prevent. Epic has suffered
16   and continues to suffer damages and irreparable injury, and such damages and injury
17   will not abate until an injunction ending Google’s anti-competitive conduct issues.
18                                 COUNT 5: Sherman Act § 1
                           (Unreasonable restraints of trade concerning
19                        Android In-App Payment Processing Market)
20                                    (against all Defendants)
                   166. Epic restates, re-alleges, and incorporates by reference each of the
21
     allegations set forth in the rest of this Complaint as if fully set forth herein.
22
                   167. Defendants’ conduct violates Section 1 of the Sherman Act, which
23
     prohibits “[e]very contract, combination in the form of trust or otherwise, or conspiracy,
24
     in restraint of trade or commerce among the several States, or with foreign nations”.
25
     15 U.S.C. § 1.
26
                   168. Google, except Google Payment, forces app developers to enter its
27
     standardized DDA, including Developer Program Policies integrated into that
28

     Complaint for Injunctive Relief                 47
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page51
                                                                         63
                                                                          56ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    Agreement, as a condition of having their apps distributed through Google’s
2    monopolized app store, Google Play Store. The relevant provisions of these agreements
3    unreasonably restrain competition in the Android In-App Payment Processing Market.
4                  169. Section 3.2 of the DDA requires that Android app developers enter
5    into a separate agreement with Google’s payment processor, Defendant Google
6    Payment, in order to receive payment for apps and content distributed through the
7    Google Play Store. This includes payments related to in-app purchases of digital
8    content. Further, Google’s Developer Program Policies, compliance with which Section
9    4.1 of the DDA makes obligatory, require that apps distributed through the Google Play
10   Store “must use Google Play In-app Billing [offered by Google Payment] as the method
11   of payment” for such in-app purchases. While Google’s Policies exclude certain types
12   of transactions from this requirement, such as the purchase of “solely physical products”
13   or of “digital content that may be consumed outside of the app itself”, Google expressly
14   applies its anti-competitive mandate to every “game downloaded on Google Play” and
15   to all purchased “game content”, such as purchases made within Fortnite.
16                 170. The challenged provisions serve no sufficient legitimate or pro-
17   competitive purpose and unreasonably restrain competition in the Android In-App
18   Payment Processing Market and, in the alternative, the Android Games Payment
19   Processing Market.
20                 171. Defendants’ conduct affects a substantial volume of interstate as well
21   as foreign commerce.
22                 172. Defendants’ conduct has substantial anti-competitive effects,
23   including increased prices and costs, reduced innovation and quality of service, and
24   lowered output.
25                 173. As an app developer and as the developer of a competing in-app
26   payment processing tool, Epic has been harmed by Defendants’ anti-competitive
27   conduct in a manner that the antitrust laws were intended to prevent. Epic has suffered
28

     Complaint for Injunctive Relief               48
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page52
                                                                         64
                                                                          57ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    and continues to suffer damages and irreparable injury, and such damages and injury
2    will not abate until an injunction ending Google’s anti-competitive conduct issues.
3                                  COUNT 6: Sherman Act § 1
                         (Tying Google Play Store to Google Play Billing)
4                                     (against all Defendants)
5                  174. Epic restates, re-alleges and incorporates by reference each of the
6    allegations set forth in the rest of this Complaint as if fully set forth herein.
7                  175. Defendants’ conduct violates Section 1 of the Sherman Act, which
8    prohibits “[e]very contract, combination in the form of trust or otherwise, or conspiracy,
9    in restraint of trade or commerce among the several States, or with foreign nations.”
10   15 U.S.C. § 1.
11                 176. Google has unlawfully tied the Google Play Store to its in-app
12   payment processor, Google Play Billing, through its DDAs with app developers and its
13   Developer Program Policies.
14                 177. Google has sufficient economic power in the tying market, the
15   Android App Distribution Market. With Google Play Store installed on nearly all
16   Android OS devices and over 90% of downloads on Android OS devices being
17   performed by the Google Play Store, Google has overwhelming market power.
18   Google’s market power is further evidenced by its ability to extract supra-competitive
19   taxes on the sale of apps through the Google Play Store.
20                 178. The availability of the Google Play Store for app distribution is
21   conditioned on the app developer accepting a second product, Google’s in-app payment
22   processing services. Google’s foreclosure of alternative app distribution channels forces
23   developers like Epic to use Google’s in-app payment processing services, which Google
24   has expressly made a condition of reaching Android users through its dominant Google
25   Play Store.
26                 179. The tying product, Android app distribution, is distinct from the tied
27   product, Android in-app payment processing, because app developers such as Epic have
28   alternative in-app payment processing options and would prefer to choose among them

     Complaint for Injunctive Relief                 49
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page53
                                                                         65
                                                                          58ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    independently of how an Android app is distributed. Google’s unlawful tying
2    arrangement thus ties two separate products that are in separate markets.
3                  180. Google’s conduct forecloses competition in the Android In-App
4    Payment Processing Market, and, in the alternative, in the Android Games Payment
5    Processing Market, affecting a substantial volume of commerce in these Markets.
6                  181. Google has thus engaged in a per se illegal tying arrangement and
7    the Court does not need to engage in a detailed assessment of the anti-competitive
8    effects of Google’s conduct or its purported justifications.
9                  182. In the alternative only, even if Google’s conduct does not constitute
10   a per se illegal tie, a detailed analysis of Google’s tying arrangement would demonstrate
11   that this arrangement violates the rule of reason and is illegal.
12                 183. As an app developer which consumes in-app payment processing
13   services and as the developer of a competing in-app payment processing tool, Epic has
14   been harmed by Defendants’ anti-competitive conduct in a manner that the antitrust
15   laws were intended to prevent. Epic has suffered and continues to suffer damages and
16   irreparable injury, and such damages and injury will not abate until an injunction ending
17   Google’s anti-competitive conduct issues.
18                          COUNT 7: California Cartwright Act
          (Unreasonable restraints of trade in Android App Distribution Market)
19                    (against all Defendants except Google Payment)
20                 184. Epic restates, re-alleges and incorporates by reference each of the
21   allegations set forth in the rest of this Complaint as if fully set forth herein.
22                 185. Google’s acts and practices detailed above violate the Cartwright
23   Act, Cal. Bus. & Prof. Code § 16700 et seq., which prohibits, inter alia, the combination
24   of resources by two or more persons to restrain trade or commerce or to prevent market
25   competition. See §§ 16720, 16726.
26                 186. Under the Cartwright Act, a “combination” is formed when the anti-
27   competitive conduct of a single firm coerces other market participants to involuntarily
28   adhere to the anti-competitive scheme.

     Complaint for Injunctive Relief                 50
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page54
                                                                         66
                                                                          59ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  187. The Android App Distribution Market is a valid antitrust market.
2                  188. Google has executed agreements with OEMs that unreasonably
3    restrict competition in the Android App Distribution Market. Namely, Google has
4    entered into MADAs with OEMs that require OEMs to offer the Google Play Store as
5    the primary—and practically the only—app store on Android mobile devices. These
6    agreements further prevent OEMs from offering alternative app stores on Android
7    mobile devices in any prominent visual positioning.
8                  189. Google’s conduct and practices have substantial anti-competitive
9    effects, including increased prices and costs, reduced innovation, poorer quality of
10   customer service and lowered output.
11                 190. Google’s conduct harms Epic which, as a direct result of Google’s
12   anti-competitive conduct, has been unreasonably restricted in its ability to distribute its
13   Android applications, including Fortnite, and to market a competing app store to the
14   Google Play Store.
15                 191. It is appropriate to bring this action under the Cartwright Act
16   because many of the illegal agreements were made in California and purport to be
17   governed by California law, many affected consumers reside in California, Google has
18   its principal place of business in California and overt acts in furtherance of Google’s
19   anti-competitive scheme took place in California.
20                 192. Epic has suffered and continues to suffer damages and irreparable
21   injury, and such damages and injury will not abate until an injunction ending Google’s
22   anti-competitive conduct issues.
23                          COUNT 8: California Cartwright Act
           (Unreasonable restraints of trade in Android App Distribution Market)
24                      (against all Defendants except Google Payment)
25                 193. Epic restates, re-alleges and incorporates by reference each of the
26   allegations set forth in the rest of this Complaint as if fully set forth herein.
27                 194. Google’s acts and practices detailed above violate the Cartwright
28   Act, Cal. Bus. & Prof. Code § 16700 et seq., which prohibits, inter alia, the

     Complaint for Injunctive Relief                 51
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page55
                                                                         67
                                                                          60ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    combination of resources by two or more persons to restrain trade or commerce or to
2    prevent market competition. See §§ 16720, 16726.
3                  195. Under the Cartwright Act, a “combination” is formed when the anti-
4    competitive conduct of a single firm coerces other market participants to involuntarily
5    adhere to the anti-competitive scheme.
6                  196. The Android App Distribution Market is a valid antitrust market.
7                  197. Google conditions distribution through the Google Play Store on
8    entering into the standardized DDA described above, including the Developer Program
9    Policies integrated therein. Through certain provisions in these agreements, Google
10   forces app developers to submit to conditions that unreasonably restrain competition in
11   the Android App Distribution Market.
12                 198. Section 4.5 of the DDA provides that developers “may not use
13   Google Play to distribute or make available any Product that has a purpose that
14   facilitates the distribution of software applications and games for use on Android
15   devices outside of Google Play.” Section 4.1 of the DDA requires that all developers
16   “adhere” to Google’s Developer Program Policies. Under the guise of its so-called
17   “Malicious Behavior” Policy, Google prohibits developers from distributing apps that
18   “download executable code [i.e., code that would execute an app] from a source other
19   than Google Play.” The DDA further reserves to Google the right to remove and
20   disable any Android app that it determines violates either the DDA or its Developer
21   Program Policies and to terminate the DDA on these bases. (§§ 8.3, 10.3.) These
22   provisions prevent app developers from offering competing app stores through the
23   Google Play Store, even though there is no legitimate technological or other impediment
24   to distributing a competing app store through the Google Play Store.
25                 199. These provisions have no legitimate or pro-competitive purpose or
26   effect, and unreasonably restrain competition in the Android App Distribution Market.
27
28

     Complaint for Injunctive Relief               52
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page56
                                                                         68
                                                                          61ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  200. Google’s conduct and practices have substantial anti-competitive
2    effects, including increased prices and costs, reduced innovation, poorer quality of
3    customer service, and lowered output.
4                  201. Google’s conduct harms Epic which, as a direct result of Google’s
5    anti-competitive conduct, has been unreasonably restricted in its ability to distribute its
6    Android applications, including Fortnite, and to market a competing app store to the
7    Google Play Store.
8                  202. It is appropriate to bring this action under the Cartwright Act
9    because many of the illegal agreements were made in California and purport to be
10   governed by California law, many affected consumers reside in California, Google has
11   its principal place of business in California, and overt acts in furtherance of Google’s
12   anti-competitive scheme took place in California.
13                 203. Epic has suffered and continues to suffer damages and irreparable
14   injury, and such damages and injury will not abate until an injunction ending Google’s
15   anti-competitive conduct issues.
16                          COUNT 9: California Cartwright Act
     (Unreasonable restraints of trade in Android In-App Payment Processing Market)
17                                  (against all Defendants)
18                 204. Epic restates, re-alleges and incorporates by reference each of the
19   allegations set forth in the rest of this Complaint as if fully set forth herein.
20                 205. Google’s acts and practices detailed above violate the Cartwright
21   Act, Cal. Bus. & Prof. Code § 16700 et seq., which prohibits, inter alia, the
22   combination of resources by two or more persons to restrain trade or commerce or to
23   prevent market competition. See §§ 16720, 16726.
24                 206. Under the Cartwright Act, a “combination” is formed when the anti-
25   competitive conduct of a single firm coerces other market participants to involuntarily
26   adhere to the anti-competitive scheme.
27
28

     Complaint for Injunctive Relief                 53
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page57
                                                                         69
                                                                          62ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  207. The Android App Distribution Market and Android In-App Payment
2    Processing Market, and, in the alternative, the Android Games Payment Processing
3    Market, are valid antitrust markets.
4                  208. Google has monopoly power in the Android In-App Payment
5    Processing Market and, in the alternative, in the Android Games Payment Processing
6    Market.
7                  209. Google conditions distribution through the Google Play Store on
8    entering into the standardized DDA described above, including the Developer Program
9    Policies integrated therein. Through certain provisions in these agreements, Google
10   forces app developers to submit to conditions that unreasonably restrain competition in
11   the Android In-App Payment Processing Market.
12                 210. Section 3.2 of the DDA requires that Android app developers enter
13   into a separate agreement with Google’s payment processor, Defendant Google
14   Payment, in order to receive payment for apps and content distributed through the
15   Google Play Store. This includes payments related to in-app purchases. Further,
16   Google’s Developer Program Policies, compliance with which Section 4.1 of the DDA
17   makes obligatory, require that apps distributed through the Google Play Store “must use
18   Google Play In-app Billing [offered by Google Payment] as the method of payment” for
19   in-app purchases. While Google’s Policies exclude certain types of transactions from
20   this requirement, such as the purchase of “solely physical products” or of “digital
21   content that may be consumed outside of the app itself”, Google expressly and
22   discriminatorily applies its anti-competitive mandate to every “game downloaded on
23   Google Play” and to all purchased “game content”, such as purchases made within
24   Fortnite.
25                 211. These provisions have no legitimate or pro-competitive purpose or
26   effect, and unreasonably restrain competition in the Android In-App Payment
27   Processing Market, and, in the alternative, in the Android Games Payment Processing
28   Market.

     Complaint for Injunctive Relief               54
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page58
                                                                         70
                                                                          63ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  212. Google’s conduct and practices have substantial anti-competitive
2    effects, including increased prices and costs, reduced innovation, poorer quality of
3    customer service and lowered output.
4                  213. Google’s conduct harms Epic which, as a direct result of Google’s
5    anti-competitive conduct, has been unreasonably restricted in its ability to distribute and
6    use its own in-app payment processor.
7                  214. It is appropriate to bring this action under the Cartwright Act
8    because many of the illegal agreements were made in California and purport to be
9    governed by California law, many affected consumers reside in California, Google has
10   its principal place of business in California and overt acts in furtherance of Google’s
11   anti-competitive scheme took place in California.
12                 215. Epic has suffered and continues to suffer damages and irreparable
13   injury, and such damages and injury will not abate until an injunction ending Google’s
14   anti-competitive conduct issues.
15                         COUNT 10: California Cartwright Act
                       (Tying Google Play Store to Google Play Billing)
16                                  (against all Defendants)
17                 216. Epic restates, re-alleges and incorporates by reference each of the
18   allegations set forth in the rest of this Complaint as if fully set forth herein.
19                 217. Google’s acts and practices detailed above violate the Cartwright
20   Act, Cal. Bus. & Prof. Code § 16700 et seq., which prohibits, inter alia, the
21   combination of resources by two or more persons to restrain trade or commerce, or to
22   prevent market competition. See §§ 16720, 16726.
23                 218. Under the Cartwright Act, a “combination” is formed when the anti-
24   competitive conduct of a single firm coerces other market participants to involuntarily
25   adhere to the anti-competitive scheme.
26                 219. The Cartwright Act also makes it “unlawful for any person to lease
27   or make a sale or contract for the sale of goods, merchandise, machinery, supplies,
28   commodities for use within the State, or to fix a price charged therefor, or discount

     Complaint for Injunctive Relief                 55
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page59
                                                                         71
                                                                          64ofof
                                                                               of63
                                                                                  240
                                                                                   231




1    from, or rebate upon, such price, on the condition, agreement or understanding that the
2    lessee or purchaser thereof shall not use or deal in the goods, merchandise, machinery,
3    supplies, commodities, or services of a competitor or competitors of the lessor or seller,
4    where the effect of such lease, sale, or contract for sale or such condition, agreement or
5    understanding may be to substantially lessen competition or tend to create a monopoly
6    in any line of trade or commerce in any section of the State.” § 16727.
7                  220. As detailed above, Google has unlawfully tied its in-app payment
8    processor, Google Play Billing, to the Google Play Store through its DDAs with app
9    developers and its Developer Program Policies.
10                 221. Google has sufficient economic power in the tying market, the
11   Android App Distribution Market, to affect competition in the tied market, the Android
12   In-App Payment Distribution Market. With Google Play Store installed on nearly all
13   Android OS devices and over 90% of downloads on Android OS devices being
14   performed by the Google Play Store, Google has overwhelming market power.
15   Google’s market power is further evidenced by its ability to extract supra-competitive
16   taxes on the sale of apps through the Google Play Store.
17                 222. The availability of the Google Play Store for app distribution is
18   conditioned on the app developer accepting a second product, Google’s in-app payment
19   processing services. Google’s foreclosure of alternative app distribution channels forces
20   developers like Epic to use Google’s in-app payment processing services, which Google
21   has expressly made a condition of reaching Android users through its dominant Google
22   Play Store.
23                 223. The tying product, Android app distribution, is separate and distinct
24   from the tied product, Android in-app payment processing, because app developers such
25   as Epic have alternative in-app payment processing options and would prefer to choose
26   among them independently of how an Android app is distributed. Google’s unlawful
27   tying arrangement thus ties two separate products that are in separate markets.
28

     Complaint for Injunctive Relief               56
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page60
                                                                         72
                                                                          65ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  224. Google’s conduct forecloses competition in the Android In-App
2    Payment Processing Market and, in the alternative, in the Android Games Payment
3    Processing Market, affecting a substantial volume of commerce in these Markets.
4                  225. Google has thus engaged in a per se illegal tying arrangement and
5    the Court does not need to engage in a detailed assessment of the anti-competitive
6    effects of Google’s conduct or its purported justifications.
7                  226. Even if Google’s conduct does not form a per se illegal tie, an
8    assessment of the tying arrangement would demonstrate that it is unreasonable under the
9    Cartwright Act, and therefore, illegal.
10                 227. Google’s acts and practices detailed above unreasonably restrain
11   competition in the Android In-App Payment Processing Market and, in the alternative,
12   in the Android Games Payment Processing Market.
13                 228. Google’s conduct harms Epic which, as a direct result of Google’s
14   anti-competitive conduct, is paying a supra-competitive commission rate on in-app
15   purchases processed through Google’s payment processor and has forgone commission
16   revenue it would be able to generate if its own in-app payment processor were not
17   unreasonably restricted from the market.
18                 229. As an app developer which consumes in-app payment processing
19   services and as the developer of a competing in-app payment processing tool, Epic has
20   been harmed by Defendants’ anti-competitive conduct in a manner that the antitrust
21   laws were intended to prevent.
22                 230. It is appropriate to bring this action under the Cartwright Act
23   because many of the illegal agreements were made in California and purport to be
24   governed by California law, many affected consumers reside in California, Google has
25   its principal place of business in California, and overt acts in furtherance of Google’s
26   anti-competitive scheme took place in California.
27
28

     Complaint for Injunctive Relief               57
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page61
                                                                         73
                                                                          66ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                  231. Epic has suffered and continues to suffer damages and irreparable
2    injury, and such damages and injury will not abate until an injunction ending Google’s
3    anti-competitive conduct issues.
4                      COUNT 11: California Unfair Competition Law
                                    (against all Defendants)
5
                   232. Epic restates, re-alleges and incorporates by reference each of the
6
     allegations set forth in the rest of this Complaint as if fully set forth herein.
7
                   233. Google’s conduct, as described above, violates California’s Unfair
8
     Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq., which prohibits any
9
     unlawful, unfair or fraudulent business act or practice.
10
                   234. Epic has standing to bring this claim because it has suffered injury in
11
     fact and lost money as a result of Google’s unfair competition. Specifically, it develops
12
     and distributes apps for the Android mobile platform, and has developed and distributes
13
     a processor for in-app purchases, and Google’s conduct has unreasonably restricted
14
     Epic’s ability to fairly compete in the relevant markets with these products.
15
                   235. Google’s conduct violates the Sherman Act and the Cartwright Act,
16
     and thus constitutes unlawful conduct under § 17200.
17
                   236. Google’s conduct is also “unfair” within the meaning of the Unfair
18
     Competition Law.
19
                   237. Google’s conduct harms Epic which, as a direct result of Google’s
20
     anti-competitive conduct, is unreasonably prevented from freely distributing mobile
21
     apps or its in-app payment processing tool, and forfeits a higher commission rate on the
22
     in-app purchases than it would pay absent Google’s conduct.
23
                   238. Epic seeks injunctive relief under the Unfair Competition Law.
24
25
26
27
28

     Complaint for Injunctive Relief                 58
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page62
                                                                         74
                                                                          67ofof
                                                                               of63
                                                                                  240
                                                                                   231




1                                      PRAYER FOR RELIEF
2           WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in
3    favor of Epic and against Defendants:
4           A.     Issuing an injunction prohibiting Google’s anti-competitive and unfair
5                  conduct and mandating that Google take all necessary steps to cease such
6                  conduct and to restore competition;
7           B.     Awarding a declaration that the contractual restraints complained of herein
8                  are unlawful and unenforceable;
9           C.     Awarding any other equitable relief necessary to prevent and remedy
10                 Google’s anti-competitive conduct; and
11          D.     Granting such other and further relief as the Court deems just and proper.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Complaint for Injunctive Relief               59
           Case
           Case
             Case
                5:14-cv-02007-BLF
                 3:20-cv-05671-JD
                   5:20-cv-05671-NCDocument
                                   Document
                                     Document
                                            45-1
                                             56-1
                                              1 Filed
                                                  Filed
                                                   Filed08/13/20
                                                         09/09/20
                                                          09/09/20 Page
                                                                    Page
                                                                    Page63
                                                                         75
                                                                          68ofof
                                                                               of63
                                                                                  240
                                                                                   231




1     Dated: August 13, 2020

2                                           Respectfully submitted,
3
4                                           By:     /s/ Paul J. Riehle
5
                                            FAEGRE DRINKER BIDDLE &
6                                           REATH LLP
7                                           Paul J. Riehle (SBN 115199)
                                            paul.riehle@faegredrinker.com
8
                                            Four Embarcadero Center
9                                           San Francisco, California 94111
                                            Telephone: (415) 591-7500
10                                          Facsimile: (415) 591-7510
11                                          CRAVATH, SWAINE & MOORE LLP
12                                          Christine A. Varney (pro hac vice pending)
                                            cvarney@cravath.com
13                                          Katherine B. Forrest (pro hac vice pending)
                                            kforrest@cravath.com
14                                          Gary A. Bornstein (pro hac vice pending)
                                            gbornstein@cravath.com
15                                          Yonatan Even (pro hac vice pending)
                                            yeven@cravath.com
16                                          M. Brent Byars (pro hac vice pending)
                                            mbyars@cravath.com
17
                                            825 Eighth Avenue
18                                          New York, New York 10019
                                            Telephone: (212) 474-1000
19                                          Facsimile: (212) 474-3700
20
21
22
23
24
25
26
27
28

     Complaint for Injunctive Relief               60
Case
Case5:14-cv-02007-BLF
     3:20-cv-05671-JD Document
                      Document45-1
                               56-1 Filed
                                     Filed09/09/20
                                           09/09/20 Page
                                                    Page76
                                                         69of
                                                            of240
                                                               231




                 EXHIBIT B
Case
Case
  Case
     5:14-cv-02007-BLF
      3:20-cv-05671-JD
        5:20-cv-05761-VKD
                        Document
                        Document
                           Document
                                 45-1
                                  56-1
                                     1 Filed
                                       Filed09/09/20
                                             08/16/20
                                             09/09/20 Page
                                                      Page77
                                                           1
                                                           70of
                                                              of
                                                               of71
                                                                  240
                                                                   231




George A. Zelcs (pro hac vice forthcoming)         Stephen M. Tillery (pro hac vice forthcoming)
  gzelcs@koreintillery.com                           stillery@koreintillery.com
Robert E. Litan (pro hac vice forthcoming)         Jamie Boyer (pro hac vice forthcoming)
Randall P. Ewing, Jr. (pro hac vice forthcoming)     jboyer@koreintillery.com
  rewing@koreintillery.com                         Michael E. Klenov, CA Bar #277028
Jonathon D. Byrer (pro hac vice forthcoming)         mklenov@koreintillery.com
   jbyrer@koreintillery.com                        Carol O’Keefe (pro hac vice forthcoming)
KOREIN TILLERY, LLC                                  cokeefe@koreintillery.com
205 North Michigan, Suite 1950                     KOREIN TILLERY, LLC
Chicago, IL 60601                                  505 North 7th Street, Suite 3600
Telephone: (312) 641-9750                          St. Louis, MO 63101
Facsimile: (312) 641-9751                          Telephone: (314) 241-4844
                                                   Facsimile: (314) 241-3525

Karma M. Giulianelli, CA Bar #184175               Ann Ravel
 karma.giulianelli@bartlitbeck.com                   aravel@mcmanisfaulkner.com
Glen E. Summers                                    MCMANIS FAULKNER
 glen.summers@bartlitbeck.com                      Fairmont Plaza, 10th Floor, 50 West San
BARTLIT BECK LLP                                   Fernando Street
1801 Wewetta St. Suite 1200,                       San Jose, CA 95113
Denver, Colorado 80202                             Telephone: (408) 279-8700
Telephone: (303) 592-3100                          Facsimile: (408) 279-3244
Facsimile: (303) 592-3140




                               UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

MARY CARR, individually and on behalf of all       CASE NO. 5:20-CV-5761
others similarly situated;
                                                   COMPLAINT
                Plaintiffs,                        (CLASS ACTION)
      vs.
GOOGLE LLC; GOOGLE IRELAND                         JURY TRIAL DEMANDED
LIMITED; GOOGLE COMMERCE
LIMITED; GOOGLE ASIA PACIFIC
PTE. LIMITED; and GOOGLE
PAYMENT CORP.;

                Defendants.
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page78
                                                                2
                                                                71of
                                                                   of
                                                                    of71
                                                                       240
                                                                        231




 1          Plaintiff Mary Carr, on behalf of herself and all others similarly situated, brings this class

 2   action against Defendants Google LLC; Google Ireland Ltd.; Google Commerce Ltd.; Google

 3   Asia Pacific Pte. Ltd; and Google Payment Corp. (collectively, “Google”), and alleges as follows:

4                                            INTRODUCTION

 5          1.      Consumers and businesses worldwide rely on smart mobile devices such as

 6   smartphones and tablets for work, news, entertainment and communication. These devices are

 7   enhanced through software products known as mobile applications or “apps.” Apps allow a user to

 8   personalize their device to meet their specific needs and interests. Consequently, a mobile device

 9   that provides seamless access to and use of a wide variety of apps is valuable to consumers across

10   the globe.

11          2.      Like personal computers, smart mobile devices use an operating system or “OS” to

12   provide core device functionality and enable the operation of compatible apps. The commercial

13   viability of an OS for mobile devices (a “mobile OS”) depends in large part on the availability,

14   number, and variety of compatible apps that cater to the preferences and needs of users.

15          3.      Google controls the most pervasive mobile OS: the Android OS. Android OS is used

16   by billions of users around the world, and boasts nearly 3 million compatible apps. For companies

17   that design and sell smart mobile devices, known as original equipment manufacturers (“OEMs”),

18   Android is the only commercially viable OS that is widely available to license. Stated simply, OEMs

19   have a single mobile OS option: Google’s Android OS. Consequently, Google enjoys monopoly

20   power over the market for mobile OS that are available for license by OEMs.

21          4.      Google is not, however, satisfied with its control of the market for Android OS. To

22   further strengthen its monopoly power, Google erected contractual and technological barriers that

23   foreclose Android users’ ability to utilize app distribution platforms other than Google Play Store.

24   This ensures that the Google Play Store accounts for nearly all the app downloads from app stores

                                 P a g e | 2 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page79
                                                                3
                                                                72of
                                                                   of
                                                                    of71
                                                                       240
                                                                        231




 1   on Android devices. Google thus maintains a monopoly over the market for distributing mobile apps

 2   to Android users (hereafter, the “Android App Distribution Market”).

 3          5.      For example, Google bundles the Google Play Store with other Google services that

 4   Android OEMs must provide on their devices (such as Gmail, Google Search, Google Maps, and

 5   YouTube). Then, as a condition to license those services, Google requires an OEM to pre-install

 6   the Google Play Store and prominently display it, while at the same time interfering with an OEM’s

 7   ability to make third-party app stores or apps available on their devices. These restrictions

 8   effectively foreclose competing app stores—and even single apps—from a primary distribution

 9   channel.

10          6.      But the OEMs are not Google’s only avenue of implementing its anticompetitive

11   scheme. Google also enforces anticompetitive restrictions against app developers. Specifically,

12   Google contractually prohibits app developers from offering an app through the Google Play Store

13   that is, in turn, used to download other apps. Additionally, Google forces app developers to distribute

14   their apps through the Google Play Store to take advantage of advertising channels controlled by

15   Google, such as ad placements on Google Search or YouTube that are specially optimized to

16   advertise mobile apps. Because Google also has a monopoly in internet searches, app developers

17   have no choice but to acquiesce to Google’s anticompetitive restrictions on Google Play.

18          7.      Finally, Google stifles or blocks consumers’ ability to download alternative app

19   stores and apps directly from developers’ websites. Downloading apps on an Android device outside

20   of Google Play requires multiple steps that require the user to, among other things, change default

21   settings and click through multiple warnings. Even if a user runs this gauntlet and manages to install

22   a competing app store, Google protects the Play Store’s competitive advantage by blocking the

23   alternative store from offering basic functions, such as automatic “background” updates of the kind

24   seamlessly available for apps downloaded from the Google Play Store.

                                 P a g e | 3 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page80
                                                                4
                                                                73of
                                                                   of
                                                                    of71
                                                                       240
                                                                        231




 1          8.      Through its behavior, Google intends to eliminate consumer choice, foreclosing

 2   competition in mobile app distribution. There is no legitimate procompetitive justification for

 3   Google’s conduct and restrictions.

 4          9.      Google also imposes anticompetitive restrictions in the separate market for Android

 5   In-app Payment Processing. App developers frequently sell digital content for consumption within

 6   an app itself (also known as an “in-app purchase”). These in-app purchases require seamless payment

 7   processing tools. An app developer may create its own payment mechanism or utilize a payment

 8   processing tool offered by third parties.

 9          10.     Google, however, conditions the right to distribute an app through Google Play Store

10   on a developer’s agreement to exclusively use Google’s own payment processing tool, Google Play

11   Billing, to process in-app purchases. App developers cannot even offer users other payment

12   processing options alongside Google Play Billing. This essentially forces app developers to use both

13   Google Play Store and Google Play Billing because Google’s monopoly over the Android App

14   Distribution Market means developers cannot circumvent this anticompetitive tie by distributing

15   their content through a channel other than the Google Play Store.

16          11.     Google’s decision to tie app distribution to in-app purchase billing means that for

17   every in-app purchase, just as for the initial app purchase, it is Google, not the app developer, that

18   first collects payment. Google then taxes the transaction at an exorbitant 30% supra-competitive

19   rate, remitting the remaining 70% to the developer. This 30% commission is up to ten times higher

20   than the toll charged by other electronic payment options.

21          12.     Further, by interposing itself as an intermediary in every digital content purchase

22   conducted within an Android-distributed app, Google is able to collect user’s personal information,

23   which Google then uses to give an anticompetitive edge to its own advertising services and mobile

24   app development business.

                                 P a g e | 4 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page81
                                                                5
                                                                74of
                                                                   of
                                                                    of71
                                                                       240
                                                                        231




 1           13.      But for Google’s monopolistic conduct, competitors could offer consumers and

 2   developers choice in distribution and payment processing. Entities wishing to distribute apps

 3   through a competing store could offer developers greater innovation and enhanced choices,

 4   including in-app payment processing. With other viable options, app developers would not have to

 5   pay Google’s supra-competitive tax of 30%.         Rather, the price of distribution and payment

 6   processing alike would be set by market forces. Further, users and developers—not Google—would

 7   decide how (or even whether) user data was used for other purposes.

 8                                                PARTIES

 9           14.      Plaintiff Mary Carr is a natural person who resides in the State of Illinois

10   (“Plaintiff”). Plaintiff purchased an app through the Google Play store and also purchased in-app

11   digital content through an app purchased from the Google Play store within the last four years.

12           15.      Defendant Google LLC is a Delaware limited liability company with its principal

13   place of business in Mountain View, California. Google LLC is the primary operating subsidiary of

14   the publicly traded holding company Alphabet Inc. The sole member of Google LLC is XXVI

15   Holdings, Inc., a Delaware corporation with its principal place of business in Mountain View,

16   California. Google LLC contracts with all app developers that distribute their apps through the

17   Google Play Store and is therefore a party to the anticompetitive contractual restrictions at issue in

18   this suit.

19           16.      Defendant Google Ireland Limited (“Google Ireland”) is a limited company

20   organized under the laws of Ireland with its principal place of business in Dublin, Ireland, and is a

21   subsidiary of Google LLC. Google Ireland contracts with all app developers that distribute their

22   apps through the Google Play Store and is therefore a party to the anticompetitive contractual

23   restrictions at issue in this suit.




                                    P a g e | 5 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page82
                                                                6
                                                                75of
                                                                   of
                                                                    of71
                                                                       240
                                                                        231




 1           17.      Defendant Google Commerce Limited (“Google Commerce”) is a limited company

 2   organized under the laws of Ireland with its principal place of business in Dublin, Ireland, and is a

 3   subsidiary of Google LLC. Google Commerce contracts with all app developers that distribute their

 4   apps through the Google Play Store and is therefore a party to the anticompetitive contractual

 5   restrictions at issue in this suit.

 6           18.      Defendant Google Asia Pacific Pte. Limited (“Google Asia Pacific”) is a private

 7   limited company organized under the laws of Singapore with its principal place of business in

 8   Mapletree Business City, Singapore, and is a subsidiary of Google LLC. Google Asia Pacific

 9   contracts with all app developers that distribute their apps through the Google Play Store and is

10   therefore a party to the anticompetitive contractual restrictions at issue in this suit.

11           19.      Defendant Google Payment Corp. (“Google Payment”) is a Delaware corporation

12   with its principal place of business in Mountain View, California, and is a subsidiary of Google

13   LLC. Google Payment provides in-app payment processing services to Android app developers and

14   Android users and collects a 30% commission on many types of processed payments, including

15   payments for apps sold through the Google Play Store and in-app purchases made within such apps.

16                                         JURISDICTION & VENUE

17           20.      This Court has subject-matter jurisdiction over Plaintiff’s federal antitrust claims

18   pursuant to the Clayton Antitrust Act, 15 U.S.C. § 26, and 28 U.S.C. §§ 1331 and 1337. The Court

19   has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

20           21.      This Court has personal jurisdiction over the Defendants. Google LLC and Google

21   Payment are headquartered in this District. All Defendants have engaged in sufficient minimum

22   contacts with the United States and have purposefully availed themselves of the benefits and

23   protections of United States and California law, such that the exercise of jurisdiction over them




                                    P a g e | 6 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page83
                                                                7
                                                                76of
                                                                   of
                                                                    of71
                                                                       240
                                                                        231




 1   would comport with due process requirements. Further, the Defendants have consented to the

 2   exercise of personal jurisdiction by this Court.

 3          22.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Google LLC

 4   and Google Payment maintain their principal places of business in the State of California and in this

 5   District, because a substantial part of the events or omissions giving rise to Plaintiff’s claims

 6   occurred in this District, and because, pursuant to 28 U.S.C. § 1391(c)(3), any Defendants not

 7   resident in the United States may be sued in any judicial district and their joinder with others shall

 8   be disregarded in determining proper venue. In the alternative, personal jurisdiction and venue also

 9   may be deemed proper under Section 12 of the Clayton Antitrust Act, 15 U.S.C. § 22, because

10   Defendants may be found in or transact business in this District.

11                                      FACTUAL ALLEGATIONS

12     I.   GOOGLE DOMINATES THE MERCHANT MARKET FOR MOBILE
13          OPERATING SYSTEMS.

14          A.      The Merchant Market For Mobile Operating Systems.
15          23.     Smart mobile devices such as smartphones and tablets are handheld, portable

16   electronic devices that can connect wirelessly to the internet and perform multi-purpose computing

17   functions, including, among other things, Internet browsing, using social media, streaming video,

18   listening to music, or playing games. Many consumers own only a smart mobile device and no other

19   computer. Such consumers are particularly hard-hit by Google’s unlawful conduct in mobile-related

20   markets.

21          24.     Mobile devices require an OS that enables multi-purpose computing functionality,

22   including, but not limited to: (1) button, touch, and motion commands; (2) a “graphical user

23   interface” made up of icons indicating actions a user may take; (3) basic operations such as cellular

24   or WiFi connectivity, GPS positioning, camera and video recording, and speech recognition; and

25   (4) the installation and operation of compatible mobile apps.


                                 P a g e | 7 CLASS ACTION COMPLAINT
         Case
         Case
           Case
              5:14-cv-02007-BLF
               3:20-cv-05671-JD
                 5:20-cv-05761-VKD
                                 Document
                                 Document
                                    Document
                                          45-1
                                           56-1
                                              1 Filed
                                                Filed09/09/20
                                                      08/16/20
                                                      09/09/20 Page
                                                               Page84
                                                                    8
                                                                    77of
                                                                       of
                                                                        of71
                                                                           240
                                                                            231




 1            25.       An OEM must pre-install an OS on each device prior to its sale so that purchasers

 2   immediately have access to basic functions like the ones described above. OEMs design mobile

 3   devices to ensure compatibility with whatever OS was selected for that device. For OEMs, the

 4   process of implementing a mobile OS requires significant time and investment, making switching

 5   to another mobile OS difficult, expensive, and time-consuming.

 6            26.       The vast majority of OEMs do not develop their own OS, so they must choose and

 7   license an OS for their devices. There is therefore a relevant Merchant Market for Mobile OS that

 8   is comprised of mobile OS that OEMs can license for their smart mobile devices. 1 Historically, the

 9   Merchant Market for Mobile OS included the Android OS, developed by Google, the Tizen mobile

10   OS, a partially open-source mobile OS that was developed by the Linux Foundation and Samsung,

11   and the Windows Phone OS developed by Microsoft.

12            27.       OEMs license mobile OSs for installation on mobile devices globally, excluding
              2
13   China.         The geographic scope of the relevant Merchant Market for Mobile OSs is therefore

14   worldwide, excluding China. Notably, OEMs outside of China must all contractually consent that

15   if their device licenses the Android OS that they will not sell devices preloaded with a competing,

16   Android-compatible mobile OS.

17            28.       The geographic scope of the Merchant Market for Mobile OSs includes a separate

18   market within the United States. The U.S. Merchant Market for Mobile OSs operates as described

19   throughout this Complaint.



     1
       The market does not include: (1) proprietary OSs that are not available for licensing, such as Apple’s mobile OS, called
     iOS; (2) mobile devices that lack the multi-computing functions of smart mobile devices and tablets (i.e., “flip phones”); or
     (3) electronic devices whose OS are not compatible with mobile device OS (i.e., desktop computers or gaming systems like
     Xbox).
     2 Google’s operations in China are limited for legal and regulatory reasons, and Google does not make available many of its

     products for mobile devices sold within China. Further, while Google contractually requires OEMs licensing Android
     outside of China not to sell devices with competing Android-compatible mobile OSs, it imposes no such restriction on
     devices sold within China.


                                       P a g e | 8 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page85
                                                                9
                                                                78of
                                                                   of
                                                                    of71
                                                                       240
                                                                        231



 1           B.      Google’s Monopoly Power In The Merchant Market For Mobile Operating
 2                   Systems.
 3           29.     Google enjoys monopoly power in the Merchant Market for Mobile OS through its

 4   Android OS. For instance, the European Commission determined the Android OS, licensed to OEMs

 5   in relevant respects by Google, is installed on over 95% of all mobile devices sold by OEMs utilizing

 6   a merchant mobile OS. Indeed, Android OS is installed on nearly 75% of all smart mobile devices

 7   sold by OEMs, including OEMs that use a proprietary mobile OS developed exclusively for their

 8   own use (such as Apple’s iOS).

 9           30.     A mobile ecosystem of products like apps, devices, and accessories typically

10   develops around one or more mobile OSs, such as the Android OS. The “Android ecosystem” is,

11   therefore, a system of mobile products that are inter-dependent and compatible with each other and

12   the Android OS. Ecosystem participants include Google, OEMs of Android-compatible devices,

13   developers of Android-compatible apps, Android app distribution platforms, the makers of ancillary

14   hardware such as headphones or speakers, cellular carriers, and others.

15           31.     Mobile ecosystems benefit from substantial network effects—as more developers

16   design useful, compatible apps for a specific mobile OS, the more consumers will be drawn to use

17   that OS, and the more consumers using an OS, the more developers want to develop apps for it. As

18   a result, new entrants to the OS market face significant barriers to entry. A new OS is only as

19   desirable as the number of software applications running on it, and software developers are not

20   incentivized to create apps for an OS that lacks a large existing base of users.

21           32.     To attract app developers and users, Google represents that Android is an “open”

22   ecosystem where any participant may create Android-compatible products without unnecessary

23   restrictions.

24           33.     In fact, Google uses its Android OS to keep its ecosystem closed to any competition.

25   As the dominant OS licensor, Google recognizes that participation on its platform is a “must-have”

                                 P a g e | 9 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page10
                                                               86
                                                                79ofof71
                                                                      240
                                                                       231




1    market for developers. Google only unlocks the door to its ecosystem for participants willing to

2    play by Google’s rules.

3           34.     Moreover, Google uses the Android OS to restrict which apps and app stores OEMs

4    pre-install on their devices and to deter the direct distribution of competing app stores and apps to

5    Android users, all at the expense of competition in the Android ecosystem.

6           35.     Because of Google’s monopoly power in the Merchant Market for Mobile OS,

7    OEMs, developers and users cannot choose another mobile OS. OEMs such as ZTE and Nokia

8    acknowledge that other, non-proprietary OS are poor substitutes for and not a reasonable alternative

 9   to the Android OS, not least because other mobile OS do not presently support many high-quality

10   and successful mobile apps deemed essential and/or valuable by consumers. Google, therefore, has

11   constructed a market that biases consumers against devices with non-proprietary mobile OS other

12   than Android OS, while putting OEMs at Google’s mercy because their devices must offer a popular

13   mobile OS and corresponding ecosystem to consumers.

14    II.   GOOGLE UNLAWFULLY MAINTAINS A MONOPOLY IN THE ANDROID
15          MOBILE APP DISTRIBUTION MARKET.

16          36.     Mobile apps make mobile devices more useful and valuable because they add user-

17   specific functionality like working, video chatting, banking, shopping, job hunting, photo editing,

18   reading digital news sources, editing documents, or playing a game like Hearthstone or Pokémon

19   Go. Many consumers do not even own a traditional computer. But even when a consumer can

20   perform the same or similar functions on a personal computer, the ability to access apps “on the go”

21   using a handheld, portable device remains valuable and important.

22          37.     Some apps are pre-installed by OEMs. However, OEMs cannot anticipate the

23   various apps a specific consumer may want, nor should they try since that may result in a device




                                P a g e | 10 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page11
                                                               87
                                                                80ofof71
                                                                      240
                                                                       231




1    overloaded with pre-installed apps of no interest to a given consumer. Moreover, apps developed

2    after a user buys his or her mobile device cannot, as a practical matter, be pre-installed.

3           38.     Consequently, mobile devices must provide a way for users to download and/or buy

4    apps post-purchase. On Android devices, this is primarily done through the Google Play Store, a

5    digital portal set up by Google. Through this Store, mobile apps can be browsed, purchased (if

6    necessary), and downloaded by a consumer. App stores such as the Google Play Store, alongside

7    other distribution platforms available to the hundreds of millions of consumers using Android-based

 8   mobile devices, comprise the Android App Distribution Market, defined below.

 9          39.     Through various anticompetitive acts and unlawful restraints on competition, Google

10   maintains a monopoly in the Android Mobile App Distribution market, causing ongoing harm to

11   competition and injury to OEMs, app distributors, app developers, and consumers. Google’s

12   restraints of trade undermine representations that “as an open platform, Android is about choice,”

13   and that app developers “can distribute [their] Android apps to users in any way [they] want, using

14   any distribution approach or combination of approaches that meets [their] needs,” including by

15   allowing users to directly download apps “from a website” or even by “emailing them directly to

16   consumers.” None of this is true, and Google has used anticompetitive means to ensure that this is

17   the case.

18          A. The Android App Distribution Market.

19          40.     There is a relevant market for the distribution of apps compatible with the Android

20   OS to mobile device users (the “Android App Distribution Market”). This Market is comprised of

21   all the channels by which mobile apps may be distributed to the hundreds of millions of mobile

22   Android OS users. The Market primarily includes Google’s dominant Google Play Store, with

23   smaller stores, such as Samsung’s Galaxy Store and Aptoide, trailing far behind. Nominally only,




                                 P a g e | 11 CLASS ACTION COMPLAINT
         Case
         Case
          Case5:14-cv-02007-BLF
               3:20-cv-05671-JD
                5:20-cv-05761-VKD
                                Document
                                 Document
                                   Document
                                         45-1
                                          56-1
                                            1 Filed
                                               Filed08/16/20
                                                    09/09/20
                                                     09/09/20 Page
                                                               Page12
                                                                   88
                                                                    81ofof71
                                                                          240
                                                                           231




1    the direct downloading of apps without using an app store (which Google pejoratively describes as

2    “sideloading”) is also part of this market.

3             41.     App stores allow consumers to use their mobile device to browse, search for, access

4    reviews on, purchase (if necessary), download, and install mobile apps. It would be commercially

5    unreasonable for an OEM to sell a smart mobile device without an app store since the ability to find,

 6   purchase and/or download apps is one of the primary benefits of such devices.

 7            42.     App stores are OS-specific and therefore only distribute apps compatible with a

 8   specific mobile OS. An Android OS owner will use an Android-compatible app store that distributes

 9   only Android-compatible mobile apps. That consumer may not, for example, substitute Apple’s App

10   Store because it is not available on Android devices, not compatible with the Android OS, and does

11   not offer Android-compatible apps. Consequently, non-Android mobile app distribution platforms

12   are not part of the Android App Distribution Market. 3

13            43.     Notably, even if an app or game is available for different types of platforms running

14   different operating systems, only the OS-compatible version of that software can run on a specific

15   device, console, or computer. Accordingly, as a commercial reality, any app developer that wishes

16   to distribute apps for Android mobile devices must develop an Android-specific version of the app

17   that is distributed through the Android App Distribution Market.

18            44.     In the alternative only, the Android App Distribution Market is a relevant,

19   economically distinct sub-market of a hypothetical broader antitrust market for the distribution of

20   mobile apps to users of all mobile devices, whether Android or Apple’s iOS.




     3
      These non-Android platforms would include, for example, the Windows Mobile Store used on Microsoft’s Windows
     Mobile OS, the Apple App Store used on Apple iOS devices, and gaming stores for specific consoles like the Sony
     PlayStation and/or Nintendo.



                                    P a g e | 12 CLASS ACTION COMPLAINT
         Case
         Case
          Case5:14-cv-02007-BLF
               3:20-cv-05671-JD
                5:20-cv-05761-VKD
                                Document
                                 Document
                                   Document
                                         45-1
                                          56-1
                                            1 Filed
                                               Filed08/16/20
                                                    09/09/20
                                                     09/09/20 Page
                                                               Page13
                                                                   89
                                                                    82ofof71
                                                                          240
                                                                           231




 1            45.      The geographic scope of the Android App Distribution Market is worldwide,

 2   excluding China. 4 Outside of China, app distribution channels like app stores, are globally

 3   developed and distributed, and OEMs, in turn, make app stores like the Google Play Store globally

 4   available on Android devices.

 5            46.      The geographic scope of the Android App Distribution Market includes a separate

 6   market within the United States. The U.S. Android App Distribution Market operates as described

 7   throughout this Complaint.

 8            B. Google’s Monopoly Power In The Android App Distribution Market.

 9            47.      Google has monopoly power in the Android App Distribution Market.

10            48.      Google’s monopoly power is demonstrated by its massive market share in terms of

11   apps downloaded. The European Commission determined that, within the Market, more than 90%

12   of app store downloads were processed through the Google Play Store. The European Commission

13   found the only other app store with any appreciable presence was the Windows Mobile Store, which

14   is compatible with the Windows Mobile OS (and therefore excluded from the Android App

15   Distribution Market). The Commission determined that even if the Windows Mobile Store share

16   was included in the market, the Google Play Store would still possess a market share greater than

17   90%.

18            49.      Other existing Android mobile app stores cannot thwart Google’s monopoly power

19   in the Android App Distribution Market because no other app store reaches nearly as many Android

20   users as the Google Play Store. The European Commission found the Google Play Store is pre-

21   installed by OEMs on practically all Android mobile devices sold outside of China. No other




     4China is excluded from the relevant market because legal and regulatory barriers prevent the operation of many global
     app stores, including the Google Play Store, within China. Additionally, app stores prevalent in China are not available, or
     have little presence, outside of China.


                                      P a g e | 13 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page14
                                                               90
                                                                83ofof71
                                                                      240
                                                                       231




 1   Android app store comes close to that number of pre-installed users. With the exception of app

 2   stores designed for and installed only on mobile devices sold by particular OEMs (for example,

 3   Samsung Galaxy Apps and the LG Electronics App Store), no other Android app store is pre-

 4   installed on more than 10% of Android devices, and many have no appreciable market penetration

 5   at all. Aptoide, for example, is an Android app store that claims to be the largest “independent” app

 6   store outside of China, but it comes pre-installed on no more than 5% of Android mobile devices.

 7          50.     Because of Google’s monopoly over Android app distribution, there is no viable

 8   substitute to distribution through the Google Play Store. As a result, the Google Play Store offers

 9   over 3 million apps, including all of the most popular Android apps, compared to just 700,000 apps

10   offered by Aptoide, the Android app store with the next largest listing. The Google Play Store

11   benefits from the large number of participating app developers and users. The ever-growing variety

12   of apps attracts more and more users, and, in turn, the audience attracts app developers who wish to

13   access Android users. The system feeds itself. Consequently, Android OEMs find it commercially

14   unreasonable to make and sell phones without the Google Play Store, and they view other app stores

15   as poor substitutes because they offer fewer and less impressive apps.

16          51.     As further proof of its monopoly power, Google imposes a supra-competitive

17   commission of 30% on the price of apps purchased through the Google Play Store, which is a far

18   higher commission than would exist under competitive conditions.

19          52.     Google’s monopoly power in app distribution is not constrained by competition at

20   the smart mobile device level, whether the relevant market is defined as the Android App

21   Distribution Market or, in the alternative, as the App Distribution Market in general.

22          53.     First, consumers are deterred from leaving the Android ecosystem due to the

23   difficulty and costs of switching. Consumers choose a smartphone based in part on the pre-installed

24   OS and its ecosystem. Once a consumer selects a smartphone, the consumer cannot replace the pre-

                                P a g e | 14 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page15
                                                               91
                                                                84ofof71
                                                                      240
                                                                       231




 1   installed mobile OS with an alternative. If they want to switch OS, that consumer must purchase a

 2   new mobile device. In addition, mobile OSs have different designs, controls, and functions that

 3   consumers learn to navigate over time. The cost of learning to use a different mobile OS is part of

 4   consumers’ switching costs.

 5          54.     Second, switching from Android devices may result in a significant loss of personal

 6   and financial investment that consumers put into the Android ecosystem. Because apps, in-app

 7   content and many other products are designed for or are only compatible with a particular mobile

 8   OS, switching to a new mobile OS may mean losing access to such products or to data, even if such

 9   apps and products are available within the new ecosystem. A consumer switching OS would,

10   consequently, lose their investment in the Android-specifics apps previously purchased and/or used.

11          55.     Third, consumers have no reason to inquire, and therefore do not know about,

12   Google’s anticompetitive contractual restraints and policies. Mobile device purchasers are focused

13   on design, brand, processing power, battery life, functionality and cellular plan. These features are

14   likely to play a substantially larger role in a consumer’s decision as to which smart mobile device

15   to purchase than Google’s anticompetitive conduct in the relevant markets.

16          56.     Consumers are also unable to determine the “lifecycle price” of devices—i.e., to

17   accurately assess at the point of purchase how much they will ultimately spend (including on the

18   device and all apps and in-app purchases) for the duration of their device ownership. Consumers

19   cannot predict all of the apps or in-app content they may eventually purchase. Because they cannot

20   know or predict all such factors when purchasing mobile devices, consumers are unable to calculate

21   the lifecycle prices of the devices. This prevents consumers from effectively taking Google’s

22   anticompetitive conduct into account when making mobile device purchasing decisions.




                                P a g e | 15 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page16
                                                               92
                                                                85ofof71
                                                                      240
                                                                       231




 1            57.   Given consumers’ essentially unavoidable “lock-in” to the Android OS, developers

 2   must participate in the Android ecosystem. The alternative is losing access to millions of Android

 3   users.

 4            C. Google’s Anticompetitive Conduct Concerning The Android App Distribution
 5               Market.

 6            58.   Google has willfully and unlawfully maintained its monopoly in the Android App

 7   Distribution Market through a series of related anticompetitive acts designed to foreclose alternative

 8   and competing Android app distribution channels.

 9            59.   Google imposes anticompetitive restrictions on OEMs.

10            60.   First, Google conditions OEM licensing of the Google Play Store, as well as other

11   essential Google services and the Android trademark, on an OEM’s agreement to provide the Google

12   Play Store with preferential treatment compared to any other competing app store.

13            61.   Specifically, Android OEMs (which, as noted above, comprise virtually all OEMs

14   that obtain an OS on the merchant market) must sign a Mobile Application Distribution Agreement

15   (“MADA”) with Google. A MADA confers a license to a product bundle comprised of proprietary

16   Google apps, Google-supplied services necessary for mobile app functionality, and the Android

17   trademark. The MADA requires OEMs to locate the Google Play Store on the “home screen” of

18   each mobile device. Android OEMs must further pre-install up to 30 Google mandatory apps and

19   locate these apps on the home screen or on the next screen, occupying valuable space on each user’s

20   mobile device that otherwise could be occupied by competing app stores and other services. These

21   requirements ensure that the Google Play Store is the most visible app store any user encounters.

22   All other app stores are, therefore, at a significant disadvantage.

23            62.   Absent this restraint, OEMs could pre-install and prominently display alternative app

24   stores. This would allow competing app stores to vie for prominent placement on Android devices,



                                 P a g e | 16 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page17
                                                               93
                                                                86ofof71
                                                                      240
                                                                       231




 1   increase exposure to consumers and, as a result, increase their ability to attract app developers to

 2   their store. An app distributor could and would negotiate with OEMs to offer a prominently

 3   displayed app store containing its apps, allowing it to reach more mobile users.

 4          63.     Second, Google interferes with OEMs’ ability to distribute Android app stores and

 5   apps directly to consumers outside the Google Play Store. Some OEMs might compete for buyers

 6   by offering mobile devices with easy access to additional mobile app stores and apps through, for

 7   instance, pre-installed and/or prominently placed icons. Even when an OEM wants to make mobile

 8   apps available to consumers in this way, Google imposes unjustified and pretextual warnings about

 9   the security of installing the app, even though the consumer is choosing to install the app in full

10   awareness of its source. This conduct dissuades users from downloading apps outside of the Google

11   Play Store.

12          64.     Google also imposes anticompetitive restrictions on competing app distributors and

13   developers to further entrench its monopoly in Android App Distribution.

14          65.     First, Google prevents app distributors from providing Android users ready access to

15   competing app stores. In other words, Google prevents developers from providing an app that, when

16   downloaded from the Google Play Store, would operate as a competing mobile storefront for other

17   app purchases. Google prohibits the distribution of any competing app store through the Google

18   Play Store, without any technological or other justification.

19          66.     Google imposes this restraint through provisions of the Google Play Developer

20   Distribution Agreement (“DDA”), which Google requires all app developers to sign before they can

21   distribute their apps through the Google Play Store. Each of the Defendants, except Google

22   Payment, is a party to the DDA.

23          67.     Section 4.5 of the DDA provides that developers “may not use Google Play to

24   distribute or make available any Product that has a purpose that facilitates the distribution of

                                P a g e | 17 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page18
                                                               94
                                                                87ofof71
                                                                      240
                                                                       231




 1   software applications and games for use on Android devices outside of Google Play.” The DDA

 2   further reserves to Google the right to remove and disable any Android app that it determines

 3   violates this requirement. The DDA is non-negotiable, so developers seeking access to Android

 4   users through the Google Play Store must accept Google’s standardized contract of adhesion.

 5          68.     In the absence of these unlawful restraints, competing app distributors could allow

 6   users to replace or supplement the Google Play Store on their devices with competing app stores,

 7   easily downloaded and installed through the Google Play Store. App stores could compete and

 8   benefit consumers by offering lower prices and innovative app store models, such as app stores that

 9   are curated to specific consumers’ interests—e.g., an app store that specializes in games. Without

10   Google’s unlawful restraints, these app stores would provide additional platforms on which more

11   apps could be featured, and thereby, discovered by consumers.

12          69.     Second, Google conditions app developers’ ability to effectively advertise their apps

13   to Android users on being listed in the Google Play Store. Specifically, Google markets an App

14   Campaigns program that, as Google says, allows app developers to “get your app into the hands of

15   more paying users” by “streamlin[ing] the process for you, making it easy to promote your apps

16   across Google’s largest properties.” This includes certain ad placements on Google Search,

17   YouTube, Discover on Google Search, and the Google Display Network, and with Google’s “search

18   partners,” that are specially optimized for the advertising of mobile apps. However, to access the

19   App Campaigns program, Google requires that app developers list their app in either the Google

20   Play Store (to reach Android users) or in the Apple App Store (to reach Apple iOS users). This

21   conduct further entrenches Google’s monopoly in Android App Distribution by coercing Android

22   app developers to list their apps in the Google Play Store or risk losing access to a great many

23   Android users they could otherwise advertise to, including through Google’s monopoly search

24   engine, but for Google’s restrictions.


                                P a g e | 18 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page19
                                                               95
                                                                88ofof71
                                                                      240
                                                                       231




 1          70.     Google directly and anticompetitively restricts how consumers discover, download

 2   and install mobile apps and app stores. Although Google nominally allows consumers to directly

 3   download and install Android apps and app stores—a process that Google pejoratively describes as

 4   “sideloading”—Google uses the Android OS to impose a series of technological impediments

 5   designed to dissuade users from direct downloads.

 6          71.     But for Google’s anticompetitive acts, Android users could freely download apps

 7   from developers’ websites, rather than through an app store, just as they might do on a personal

 8   computer. There is no reason that downloading and installing an app on a mobile device should be

 9   different. Millions of personal computer users easily and safely download and install software

10   directly every day, such as Google’s own Chrome browser or Adobe’s Acrobat Reader.

11          72.     Direct downloading on Android mobile devices, however, differs dramatically.

12   Google ensures that the Android process is technically complex, confusing and threatening, filled

13   with dire warnings that scare most consumers into abandoning the lengthy process.

14          73.     Even after a user runs the gauntlet of warnings and threats, Google denies directly

15   downloaded apps the permissions necessary to be seamlessly updated in the background—a benefit

16   reserved solely for apps downloaded via the Google Play Store. Instead, users must manually trigger

17   these updates, which may even require revisiting the original download process, complete with its

18   hurdles and warnings. This imposes onerous obstacles on consumers who wish to keep the most

19   current version of an app on their mobile device and further drives consumers away from direct

20   downloading and toward Google’s monopolized app store.

21          74.     Google further restricts direct downloading under the guise of offering protection

22   from malware. When Google deems an app “harmful,” Google may prevent the installation of,

23   prompt a consumer to uninstall, or forcibly remove the app from a consumer’s device. Direct

24   downloading is entirely prevented on Android devices that are part of Google’s so-called Advanced

                               P a g e | 19 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page20
                                                               96
                                                                89ofof71
                                                                      240
                                                                       231




 1   Protection Program (“APP”). Consumers who enroll in APP cannot directly download apps; their

 2   Android device can only download apps distributed in the Google Play Store or in another pre-

 3   installed app store that Google pre-approved an OEM to offer on its devices. App developers

 4   therefore cannot reach APP users unless they first agree to distribute their apps through the Google

 5   Play Store or through a separate Google-approved, OEM-offered app store, where available.

 6   Google’s invocation of security is an excuse to further strangle an app developer’s ability to reach

 7   Android users, as shown by a comparison to personal computers, where users can securely purchase

 8   and download new software without being limited to a single software store owned or approved by

 9   the user’s anti-virus software vendor. This comparison shows that Google’s multiple technical

10   barriers to direct downloading from alternative sources go far beyond what is necessary to achieve

11   any legitimate security objections. Put differently, Google has not adopted the least restrictive means

12   necessary for achieving any legitimate security objectives.

13          75.     Direct downloading is also nominally available to competing app distributors who

14   seek to distribute competing Android app stores directly to consumers. However, the same

15   restrictions Google imposes on the direct downloading of apps apply to the direct downloading of

16   app stores. Indeed, Google Play Protect has flagged at least one competing Android app store,

17   Aptoide, as “harmful,” further hindering consumers’ ability to access a competing app store.

18          76.     Additionally, apps downloaded from “sideloaded” app stores, like apps directly

19   downloaded from a developer’s website, may not be automatically uploaded in the background.

20   Thus, direct downloading is not a viable way for app stores to reach Android users, any more than

21   it is a viable alternative for single apps. The only difference is that the former do not have any

22   alternative, ensuring the latter are forced into the Google Play Store. Google’s barriers erected

23   against competing app distributors also are not the least restrictive means necessary to achieve any

24   legitimate security objectives.


                                P a g e | 20 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page21
                                                               97
                                                                90ofof71
                                                                      240
                                                                       231




 1          77.     But for Google’s restrictions on direct downloading, app distributors and developers

 2   could try to directly distribute their stores and apps to consumers. As explained above, Google

 3   makes direct downloading substantially and unnecessarily difficult, and in some cases prevents it

 4   entirely, further narrowing this already narrow alternative distribution channel.

 5          78.     There is no legitimate reason for Google’s conduct, and even if there were, Google

 6   has not adopted the least restrictive means for achieving it. For decades, PC users have installed

 7   software acquired from various sources without being deterred by anything like the obstacles erected

 8   by Google. A PC user can navigate to an internet webpage, click to download and install an

 9   application, and be up and running, often in a matter of minutes. Security screening is conducted by

10   a neutral security software operating in the background, allowing users to download software from

11   any source they choose (unlike Android).

12          79.     Through these anticompetitive acts, including contractual provisions and

13   exclusionary obstacles, Google has willfully obtained a near-absolute monopoly over Android

14   mobile app distribution. Google Play Store downloads have accounted for more than 90% of

15   downloads through Android app stores, dwarfing other available distribution channels.

16          D.      Anticompetitive Effects In The Android App Distribution Market.
17
18          80.     Google’s anticompetitive conduct forecloses competition in the Android App

19   Distribution Market, affects a substantial volume of commerce in this Market and causes

20   anticompetitive harms to OEMs, competing mobile app distributors, mobile app developers, and

21   consumers.

22          81.     As described above, Google’s anticompetitive conduct harms OEMs by forcing them

23   to dedicate valuable “home screen” real estate to the Google Play Store and other mandatory Google

24   applications, regardless of the OEM’s preferences, which might include allowing other app stores

25   or developers to place an icon there. Individually and together, these requirements limit OEMs’


                                P a g e | 21 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page22
                                                               98
                                                                91ofof71
                                                                      240
                                                                       231




 1   ability to differentiate themselves and compete with each other by offering innovative and more

 2   appealing (in terms of price and quality) distribution platforms for mobile apps. Google’s

 3   restrictions also interfere with OEMs’ ability to compete with each other by offering Android

 4   devices with tailored combinations of pre-installed apps that would appeal to particular subsets of

 5   mobile device consumers.

 6          82.     Google’s anticompetitive conduct harms would-be competitor app distributors,

 7   which could otherwise innovate new models of app distribution and provide OEMs, app developers,

 8   and consumers choice beyond Google’s own app store.

 9          83.     Google’s anticompetitive conduct harms app developers, who must agree to

10   Google’s anticompetitive terms and conditions to reach many Android users, through downloads or

11   Google’s advertising platforms. Google’s restrictions prevent developers from experimenting with

12   alternative app distribution models, such as providing apps directly to consumers, selling apps

13   through curated app stores, creating their own competing app stores, or forming business

14   relationships with OEMs who can pre-install apps. By restricting developers, Google ensures that

15   the developer’s apps will be distributed on the Google Play Store, which empowers Google to

16   monitor the apps’ usage. This information can, in turn, be used by Google to develop and offer its

17   own competing apps that are, of course, not subject to Google’s supra-competitive taxes.

18          84.     Both developers and consumers are harmed by Google’s supra- competitive taxes of

19   30% on the purchase price of apps distributed through the Google Play Store, which is a much higher

20   transaction fee than would exist in a competitive market unimpaired by Google’s anticompetitive

21   conduct. Google’s supra-competitive taxes raise prices for app developers and consumers and

22   reduce the output of mobile apps and related content by depriving app developers of incentive and

23   capital to develop new apps and content.




                                P a g e | 22 CLASS ACTION COMPLAINT
     Case
     Case
      Case5:14-cv-02007-BLF
           3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed08/16/20
                                                09/09/20
                                                 09/09/20 Page
                                                           Page23
                                                               99
                                                                92ofof71
                                                                      240
                                                                       231




 1          85.     Consumers are further harmed because Google’s control of app distribution reduces

 2   developers’ ability and incentive to distribute apps in different and innovative ways—for example,

 3   through genre-specific app stores. Google, by restraining the distribution market and eliminating the

 4   ability and incentive for competing app stores, also limits consumers’ ability to discover new apps

 5   of interest to them. More competing app stores would permit additional platforms to feature diverse

 6   collections of apps. Instead, consumers are left to sift through millions of apps in one monopolized

 7   app store, where Google controls which apps are featured, identified or prioritized in user searches.

 8   III.   GOOGLE UNLAWFULLY MAINTAINS A MONOPOLY IN THE ANDROID IN-
 9          APP PAYMENT PROCESSING MARKET

10          86.     By selling digital content within a mobile app rather than charging for the app itself,

11   app developers can make an app widely accessible to all users, then generate revenue to use in

12   developing new games. This is especially true for mobile game developers. By allowing users to

13   play without up-front costs, developers permit more players try a game “risk free” and only pay for

14   what they want to access. Many games are free to download and play, but make additional content

15   available for in-app purchasing on an à la carte basis or via a subscription-based service. App

16   developers who sell digital content rely on in-app payment processing tools to process consumers’

17   purchases in a seamless and efficient manner.

18          87.     Google has pursued a strategy of anticompetitive conduct, however, to ensure that

19   Android app developers are not free to utilize any one of the multitude of electronic payment

20   processing solutions available to process in-app purchases and other transactions. Instead, Google

21   conditions developers’ access to the dominant Google Play Store on an agreement to use Google

22   Play Billing to process in-app purchases of digital content. Google thus ties its Google Play Store

23   to its own proprietary payment processing tool and uses that tie to maintain its monopoly over the

24   Android In-App Payment Processing Market, as defined below.



                                P a g e | 23 CLASS ACTION COMPLAINT
     Case
      Case5:14-cv-02007-BLF
          3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed
                                            Filed09/09/20
                                                 08/16/20
                                                  09/09/20 Page
                                                           Page
                                                            Page100
                                                                24
                                                                 93of
                                                                    of71
                                                                       240
                                                                       231




 1             88.   Absent Google’s unlawful conduct, app developers could integrate compatible

 2   payment processors into their apps to facilitate in-app digital content purchases or develop such

 3   functionality themselves. Developers could even offer users a choice among multiple payment

 4   processors for each purchase, just like a website or brick-and-mortar store can offer a customer the

 5   option of using Visa, MasterCard, Amex, Google Pay, and more. This would, in turn, result in lower

 6   prices for consumers.

 7             A. Google’s Monopoly Power In The Android In-App Payment Processing Market

 8             89.   There is a relevant antitrust market for processing payment for digital content,

 9   including virtual gaming products, within Android apps (the “Android In-App Payment Processing

10   Market”). The Android In-App Payment Processing Market is comprised of the payment processing

11   solutions that Android developers could integrate into their Android apps to process the purchase of

12   in-app digital content.

13             90.   App developers selling in-app digital content must offer transactions that are

14   seamless, engrossing, quick, and fun. It is critical that such purchases can be made during gameplay

15   itself.

16             91.   Mobile game developers particularly value seamless in-app purchases that extend or

17   enhance gameplay without disrupting or delaying that gameplay or a gamer’s engagement with the

18   mobile app. For these reasons, and in the alternative, there is a relevant antitrust sub-market for the

19   processing of payments for the purchase of virtual gaming products within mobile Android games

20   (the “Android Games Payment Processing Market”).

21             92.   The geographic scope of the Android In-App Payment Processing Market is

22   worldwide, excluding China. Outside China, in-app payment processing tools, such as Google Play

23   Billing, are available on a worldwide basis. By contrast, in-app payment processing tools available

24   in China are not available outside of China, including because Google prevents the use of non-

                                P a g e | 24 CLASS ACTION COMPLAINT
     Case
      Case5:14-cv-02007-BLF
          3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed
                                            Filed09/09/20
                                                 08/16/20
                                                  09/09/20 Page
                                                           Page
                                                            Page101
                                                                25
                                                                 94of
                                                                    of71
                                                                       240
                                                                       231




 1   Google payment processing tools for all apps distributed through the Google Play Store, which as

 2   noted above dominates distribution of apps outside of China.

 3          93.     The geographic scope of the Android In-App Payment Processing Market includes a

 4   separate market within the United States. The U.S. Android In-App Payment Processing Market

 5   operates as described throughout this Complaint.

 6          94.     Google has monopoly power in the Android In-App Payment Processing Market and,

 7   in the alternative, in the Android Games Payment Processing Market.

 8          B. Google’s Anticompetitive Conduct in the Android In-App Payment Processing
 9             Market

10          95.     For apps distributed through the Google Play Store, Google requires use of Google

11   Play Billing to process in-app purchases of digital content and for all purchases within Android

12   games. Because 90% or more of Android-compatible mobile app downloads through an app store

13   are conducted in the Google Play Store, Google has a monopoly in these Markets.

14          96.     Google charges a 30% commission for Google Play Billing. This rate reflects

15   Google’s market power, which allows it to charge supra-competitive prices for payment processing

16   within the market. Indeed, the cost of alternative electronic payment processing tools, which are

17   prohibited by Google for apps purchased through the Google Play Store, can be one tenth of the

18   30% cost of Google Play Billing.

19          97.     Through provisions of Google’s DDA imposed on all developers seeking access to

20   Android users, Google unlawfully ties its Google Play Store, through which it has a monopoly in

21   the Android App Distribution Market, to its own in-app payment processing tool, Google Play

22   Billing. Section 3.2 of the DDA requires that Android app developers enter into a separate

23   agreement with Google’s payment processor, Google Payment, to receive payment for and from

24   apps and in-app digital content.


                                P a g e | 25 CLASS ACTION COMPLAINT
     Case
      Case5:14-cv-02007-BLF
          3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed
                                            Filed09/09/20
                                                 08/16/20
                                                  09/09/20 Page
                                                           Page
                                                            Page102
                                                                26
                                                                 95of
                                                                    of71
                                                                       240
                                                                       231




 1          98.     Further, § 4.1 of the DDA makes compliance with Google’s Developer Program

 2   Policies mandatory and those Policies require in relevant part that (1) Developers offering products

 3   within a game downloaded on Google Play or providing access to game content must use Google

 4   Play In-app Billing as the method of payment and (2) Developers offering products within another

 5   category of app downloaded on Google Play must use Google Play In-app Billing as the method of

 6   payment, except when the payment is solely for physical products or is for digital content that may

 7   be consumed outside of the app itself (e.g., songs that can be played on other music players).

 8          99.     Google’s unlawful restraints in the DDA prevent app developers from integrating

 9   alternative, even multiple, payment processing solutions into their mobile apps, depriving app

10   developers and consumers alike a choice of competing payment processors.

11          100.    Google has no legitimate justifications for its tie. If it were concerned, for example,

12   about the security of its users’ payment information, then it would not permit alternative payment

13   processing for certain transactions made on Android phones for physical products or digital content

14   consumed outside an app. But Google does allow alternative payment processing tools in that

15   context, with no diminution in security.

16          C. Anticompetitive Effects In The Android In-App Payment Processing.
17
18          101.    Google’s conduct harms competition in the Android In-app Payment Processing

19   Market (and, in the alternative, in the Android Games Payment Processing Market) and injures app

20   developers, consumers, and competing in-app payment processors.

21          102.    Google’s conduct harms would-be competitor in-app payment processors who would

22   otherwise be free to innovate and offer Android consumers alternative payment processing tools

23   with better functionality, lower prices, and tighter security. Absent Google’s Developer Program

24   Policies, for example, app designers could offer consumers a choice of in-app payment processors




                                P a g e | 26 CLASS ACTION COMPLAINT
     Case
      Case5:14-cv-02007-BLF
          3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed
                                            Filed09/09/20
                                                 08/16/20
                                                  09/09/20 Page
                                                           Page
                                                            Page103
                                                                27
                                                                 96of
                                                                    of71
                                                                       240
                                                                       231




 1   for each purchase made by the consumer, including payment processers at a lower cost and with

 2   better customer service.

 3          103.    Google also harms app developers and consumers by inserting itself as a mandatory

 4   middleman in every in-app transaction. This prevents app developers from providing users

 5   comprehensive customer service relating to in-app payments without Google’s involvement.

 6   Google has little incentive to compete through improved customer service because it faces no

 7   competition. Google does, however, have an incentive to obtain information concerning developers’

 8   transactions with their customers, which Google could use to give its ads and search businesses an

 9   anticompetitive edge. This is true regardless of whether the developer and or the app’s users would

10   prefer not to share their information with Google. In these ways and others, Google directly harms

11   app developers’ relationships with the users of their apps.

12          104.    Finally, Google raises app developers’ costs and consumer prices through its supra-

13   competitive 30% tax on in-app purchases, a price it could not maintain in a competitive payment

14   processing market. The resulting increase in prices for in-app content likely deters some consumers

15   from making purchases and deprives app developers of resources they could use to develop new

16   apps and content. The supra-competitive tax rate also reduces developers’ incentive to invest in and

17   create additional apps and related in-app content.

18   IV.    ANTITRUST INJURY

19          105.    Plaintiff and class members have suffered antitrust injury as a direct result of

20   Google’s unlawful conduct.

21          106.    By impairing competition in the Android App Distribution Market, Google’s

22   unlawful conduct has enabled it to charge supra-competitive prices for Android Apps.




                                P a g e | 27 CLASS ACTION COMPLAINT
     Case
      Case5:14-cv-02007-BLF
          3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed
                                            Filed09/09/20
                                                 08/16/20
                                                  09/09/20 Page
                                                           Page
                                                            Page104
                                                                28
                                                                 97of
                                                                    of71
                                                                       240
                                                                       231




 1          107.    By impairing competition in the Android In-App Payment Processing Market,

 2   Google’s unlawful conduct has enabled it to charge supra-competitive prices for in-app digital

 3   content.

 4          108.    Plaintiff and the Class are the direct purchasers of Android Apps and in-game digital

 5   content. When Plaintiff and the Class purchased Android apps, they did so directly on Google Play

 6   and paid Google directly, using their credit card or other payment sources. When Plaintiff and the

 7   Class purchased in-game digital content, they did so through Google Play, using the pre-established

 8   payment streams set up when purchasing that app or other apps on Google Play. When Plaintiff and

 9   the Class purchased the in-game digital content, they paid Google directly.

10    V.    CLASS ALLEGATIONS

11          109.    Plaintiff brings this action for herself and as a class action under Rule 23(a), (b)(2)

12   and (b)(3) of the Federal Rules of Civil Procedure on behalf of the following class (the “Class”):

13          All persons in the United States who paid for an app on Google Play, subscribed to an app

14          obtained on Google Play, or paid for in-app digital content on an app obtained on Google

15          Play within the relevant statute of limitations (the “Class Period”).

16          110.    Specifically excluded from the Class are Defendants; the officers, directors, or

17   employees of any Defendant; any entity in which any Defendant has a controlling interest; any

18   affiliate, legal representative, heir, or assign of any Defendant and any person acting on their behalf.

19   Also excluded from the Class are any judicial officer presiding over this action and the members of

20   his/her immediate family and judicial staff, and any juror assigned to this action.

21          111.    The Class is readily ascertainable and the records for the Class should exist,

22   including, specifically, within Defendants’ own records and transaction data.




                                 P a g e | 28 CLASS ACTION COMPLAINT
     Case
      Case5:14-cv-02007-BLF
          3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed
                                            Filed09/09/20
                                                 08/16/20
                                                  09/09/20 Page
                                                           Page
                                                            Page105
                                                                29
                                                                 98of
                                                                    of71
                                                                       240
                                                                       231




 1          112.      Due to the nature of the trade and commerce involved, there are tens of millions of

 2   geographically dispersed members in the Class, the exact number and their identities being known

 3   to Defendants.

 4          113.      Plaintiff’s claims are typical of the claims of the members of the Class. Plaintiff and

 5   members of the Class sustained damages arising out of Defendants’ common course of conduct in

 6   violation of the laws alleged herein. The damages and injuries of each member of the Class were

 7   directly caused by Defendants’ wrongful conduct.

 8          114.      There are questions of law and fact common to the Class, and those questions

 9   predominate over any questions affecting only individual members of the Class. These common

10   questions of law and fact include, but are not limited to:

11              •     whether Google has monopoly power in the Android App Distribution Market;

12              •     whether Google has market power in the alternatively defined App Distribution

13                    Market;

14              •     whether Google has monopoly power in the Android In-App Payment Processing

15                    Market;

16              •     whether Google’s contractual restrictions for Google Play further Google’s attempt

17                    to monopolize the Android App Distribution Market;

18              •     whether Google’s restriction on side-loading apps is an attempt to, and does in fact

19                    further, Google’s monopoly over the Android App Distribution Market;

20              •     whether Google’s tie of its Google Play and Google Billing products furthers

21                    Google’s attempt to monopolize the Android In-App Payment Processing Market;

22              •     whether Google’s conduct with respect to the Android In-App Payment Processing

23                    Market has attempted to monopolize that market;


                                  P a g e | 29 CLASS ACTION COMPLAINT
     Case
      Case5:14-cv-02007-BLF
          3:20-cv-05671-JD
            5:20-cv-05761-VKD
                            Document
                             Document
                               Document
                                     45-1
                                      56-1
                                        1 Filed
                                           Filed
                                            Filed09/09/20
                                                 08/16/20
                                                  09/09/20 Page
                                                           Page
                                                            Page106
                                                                30
                                                                 99of
                                                                    of71
                                                                       240
                                                                       231




 1               •   whether Google’s conduct results in supra-competitive prices for Android Apps and

 2                   for in-game purchases of Android Apps;

 3               •   whether Google’s conduct has harmed or at least not benefited consumers; and

 4               •   the appropriate Class-wide measures of damages.

 5           115.    A class action is superior to other available methods for the fair and efficient

 6   adjudication of this controversy. The prosecution of separate actions by individual members of the

 7   Class would impose heavy burdens on the courts and Defendants and would create a risk of

 8   inconsistent or varying adjudications of the questions of law and fact common to the Class. A class

 9   action, on the other hand, would achieve substantial economies of time, effort, and expense and

10   would assure uniformity of decision as to persons similarly situated without sacrificing procedural

11   fairness or bringing about other undesirable results. Absent a class action, it would not be feasible

12   for the vast majority of the Class members to seek redress for the violations of law alleged herein.


13                                           CAUSES OF ACTION


14        COUNT 1: Sherman Act § 2 Unlawful Monopoly Maintenance in the Android App
15                                   Distribution Market
16                     (Against all Defendants except Google Payment)
17
18           116.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

19   forth in the rest of this Complaint as if fully set forth herein.

20           117.    Google’s conduct violates §2 of the Sherman Act, which prohibits the

21   “monopoliz[ation of] any part of the trade or commerce among the several States, or with foreign

22   nations.” 15 U.S.C. § 2.

23           118.    The Android App Distribution Market is a valid antitrust market.

24           119.    Google holds monopoly power in the Android App Distribution Market.



                                  P a g e | 30 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page107
                                                                31
                                                                100of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1          120.    Google has unlawfully maintained monopoly power in the Android App Distribution

 2   Market through the anticompetitive acts described herein, including, but not limited to: (1)

 3   conditioning licensing of the Google Play Store, as well as other essential Google services and the

 4   Android trademark, on OEMs’ agreement give the Google Play Store preferential placement and

 5   treatment; (2) imposing technical restrictions and obstacles on both OEMs and developers that

 6   prevent the distribution of Android apps through means other than the Google Play Store; and (3)

 7   conditioning app developers’ ability to effectively advertise their apps to Android users on being

 8   listed in the Google Play Store.

 9          121.    Google’s conduct affects a substantial volume of interstate as well as foreign

10   commerce.

11          122.    Google’s conduct has substantial anticompetitive effects, including increased prices

12   and costs, reduced innovation and quality of service, and lowered output.

13          123.    Plaintiff was harmed by Defendants’ anticompetitive conduct in a manner that the

14   antitrust laws were intended to prevent. For example, she paid more for Android apps and/or in-app

15   purchases than she would have paid in a competitive market. Plaintiff was also injured because

16   Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket

17   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

18   alternatives that would have been available had Google not monopolized the market. Additionally,

19   Plaintiff was injured because Google’s establishment and maintenance of monopoly pricing has

20   caused a reduction in the output and supply of Android apps and in-app purchases, which would

21   have been more abundantly available in a competitive market. Plaintiff has suffered and continues

22   to suffer damages and irreparable injury, and such damages and injury will not abate until an

23   injunction ending Google’s anticompetitive conduct issues.




                                P a g e | 31 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page108
                                                                32
                                                                101of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1     COUNT 2: Sherman Act § 1 Unreasonable Restraints of Trade Concerning The Android
 2                            App Distribution Market: OEMs
 3                     (Against all Defendants except Google Payment)

 4           124.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 5   forth in the rest of this Complaint as if fully set forth herein.

 6           125.    Defendants’ conduct violates §1 of the Sherman Act, which prohibits “[e]very

 7   contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or

 8   commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.

 9           126.    Google entered into agreements with OEMs that unreasonably restrict competition

10   in the Android App Distribution Market. These include MADA with OEMs that condition their

11   access to the Google Play Store and other “must have” Google services on the OEM offering the

12   Google Play Store as the primary (and often the only) viable app store on Android mobile devices.

13           127.    These agreements serve no legitimate or pro-competitive purpose that could justify

14   their anticompetitive effects, and thus unreasonably restrain competition in the Android App

15   Distribution Market.

16           128.    Google’s conduct affects a substantial volume of interstate as well as foreign

17   commerce.

18           129.    Google’s conduct has substantial anticompetitive effects, including increased prices

19   and costs, reduced innovation and quality of service, and lowered output.

20           130.    Plaintiff was harmed by Defendants’ anticompetitive conduct in a manner that the

21   antitrust laws were intended to prevent. For example, she paid more for Android apps and/or in-app

22   purchases than she would have paid in a competitive market. Plaintiff was also injured because

23   Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket

24   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

25   alternatives that would have been available had Google not monopolized the market. Plaintiff was


                                  P a g e | 32 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page109
                                                                33
                                                                102of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   further injured because Google’s establishment and maintenance of monopoly pricing has caused a

2    reduction in the output and supply of Android apps and in-app purchases, which would have been

3    more abundantly available in a competitive market. Plaintiff has suffered and will continue to suffer

4    damages and irreparable injury, and such damages and injury will not abate until an injunction

 5   ending Google’s anticompetitive conduct issues.

 6     COUNT 3: Sherman Act § 1 Unreasonable Restraints of Trade Concerning The Android
 7                             App Distribution Market: DDA
 8                     (Against all Defendants except Google Payment)
 9
10           131.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

11   forth in the rest of this Complaint as if fully set forth herein.

12           132.    Defendants’ conduct violates §1 of the Sherman Act, which prohibits “[e]very

13   contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or

14   commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.

15           133.    Google forces app developers to enter its standardized DDA, including Developer

16   Program Policies integrated into that Agreement, as a condition of their apps being distributed

17   through the Google Play Store. The relevant provisions of these agreements unreasonably restrain

18   competition in the Android App Distribution Market.

19           134.    Section 4.5 of the DDA provides that developers “may not use Google Play to

20   distribute or make available any Product that has a purpose that facilitates the distribution of

21   software applications and games for use on Android devices outside of Google Play.” Section 4.1

22   of the DDA requires that all developers “adhere” to Google’s Developer Program Policies. Under

23   the guise of its so-called “Malicious Behavior” Policy, Google prohibits developers from

24   distributing apps that “download executable code [i.e., code that would execute an app] from a

25   source other than Google Play.” The DDA further reserves to Google the right to remove and disable

26   any Android app that it determines violates either the DDA or its Developer Program Policies and


                                  P a g e | 33 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page110
                                                                34
                                                                103of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   to terminate the app on these bases. (§§ 8.3, 10.3.) These provisions prevent app developers from

 2   offering competing app stores through the Google Play Store, even though there is no legitimate

 3   technological or other impediment to distributing a competing app store through the Google Play

 4   Store.

 5            135.   These agreements serve no legitimate or pro-competitive purpose that could justify

 6   their anticompetitive effects, and thus unreasonably restrain competition in the Android App

 7   Distribution Market.

 8            136.   Google’s conduct affects a substantial volume of interstate as well as foreign

 9   commerce.

10            137.   Google’s conduct has substantial anticompetitive effects, including increased prices

11   and costs, reduced innovation and quality of service, and lowered output.

12            138.   Plaintiff was harmed by Defendants’ anticompetitive conduct in a manner that the

13   antitrust laws were intended to prevent. For example, she paid more for Android apps and/or in-app

14   purchases than she would have paid in a competitive market. Plaintiff was also injured because

15   Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket has

16   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

17   alternatives that would have been available had Google not monopolized the market. Plaintiff was

18   further injured because Google’s establishment and maintenance of monopoly pricing has caused a

19   reduction in the output and supply of Android apps and in-app purchases, which would have been

20   more abundantly available in a competitive market. Plaintiff has suffered and continues to suffer

21   damages and irreparable injury, and such damages and injury will not abate until an injunction

22   ending Google’s anticompetitive conduct issues.

23
24


                                P a g e | 34 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page111
                                                                35
                                                                104of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1    COUNT 4: Sherman Act § 2 Unlawful Monopolization and Monopoly Maintenance in the
 2                      Android In-App Payment Processing Market
 3                                (Against all Defendants)
 4
 5           139.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 6   forth in the rest of this Complaint as if fully set forth herein.

 7           140.    Google’s conduct violates §2 of the Sherman Act, which prohibits the

 8   “monopoliz[ation of] any part of the trade or commerce among the several States, or with foreign

 9   nations.” 15 U.S.C. § 2.

10           141.    The Android In-App Payment Processing Market is a valid antitrust market. In the

11   alternative, the Android Games Payment Processing Market is a valid antitrust market.

12           142.    Google holds monopoly power in the Android In-App Payment Processing Market

13   and, in the alternative, in the Android Games Payment Processing Market.

14           143.    Google has unlawfully acquired monopoly power in these Markets, including

15   through the anticompetitive acts described herein. However Google initially acquired its monopoly,

16   it has unlawfully maintained its monopoly through the anticompetitive acts described herein.

17           144.    Google’s conduct affects a substantial volume of interstate as well as foreign

18   commerce.

19           145.    Google’s conduct has substantial anticompetitive effects, including increased prices

20   and costs, reduced innovation and quality of service, and lowered output.

21           146.    Plaintiff was harmed by Defendants’ anticompetitive conduct in a manner that the

22   antitrust laws were intended to prevent. For example, she paid more for Android apps and/or in-app

23   purchases than she would have paid in a competitive market. Plaintiff was also injured because

24   Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket has

25   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

26   alternatives that would have been available had Google not monopolized the market. Plaintiff was

                                  P a g e | 35 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page112
                                                                36
                                                                105of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   further injured because Google’s establishment and maintenance of monopoly pricing has caused a

 2   reduction in the output and supply of Android apps and in-app purchases, which would have been

 3   more abundantly available in a competitive market. Plaintiff has suffered and continues to suffer

 4   damages and irreparable injury, and such damages and injury will not abate until an injunction

 5   ending Google’s anticompetitive conduct issues.

 6   COUNT 5: Sherman Act § 1 Unreasonable Restraints of Trade Concerning Android In-App
 7                              Payment Processing Market
 8                                (Against all Defendants)
 9
10           147.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

11   forth in the rest of this Complaint as if fully set forth herein.

12           148.    Defendants’ conduct violates §1 of the Sherman Act, which prohibits “[e]very

13   contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or

14   commerce among the several States, or with foreign nations.”

15           149.    Google, except Google Payment, forces app developers to enter its standardized

16   DDA, including Developer Program Policies integrated into that Agreement, as a condition of

17   having their apps distributed through Google’s monopolized app store, Google Play Store. The

18   relevant provisions of these agreements unreasonably restrain competition in the Android In-App

19   Payment Processing Market.

20           150.    Section 3.2 of the DDA requires that Android app developers enter into a separate

21   agreement with Google’s payment processor, Defendant Google Payment, in order to receive

22   payment for apps and content distributed through the Google Play Store. This includes payments

23   related to in-app purchases of digital content. Further, compliance with Google’s Developer

24   Program Policies, which § 4.1 of the DDA makes obligatory, requires that apps distributed through

25   the Google Play Store “must use Google Play In-app Billing [offered by Google Payment] as the

26   method of payment” for such in-app purchases. While Google’s Policies exclude certain types of


                                  P a g e | 36 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page113
                                                                37
                                                                106of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   transactions from this requirement, such as the purchase of “solely physical products” or of “digital

 2   content that may be consumed outside of the app itself,” Google expressly applies its anticompetitive

 3   mandate to every “game downloaded on Google Play” and to all purchased “game content.”

 4          151.    The challenged provisions serve no sufficient legitimate or pro-competitive purpose

 5   and unreasonably restrain competition in the Android In-App Payment Processing Market and, in

 6   the alternative, the Android Games Payment Processing Market.

 7          152.    Defendants’ conduct affects a substantial volume of interstate as well as foreign

 8   commerce.

 9          153.    Defendants’ conduct has substantial anticompetitive effects, including increased

10   prices and costs, reduced innovation and quality of service, and lowered output.

11          154.    Plaintiff was harmed by Defendants’ anticompetitive conduct in a manner that the

12   antitrust laws were intended to prevent. For example, she paid more for Android apps and/or in-app

13   purchases than she would have paid in a competitive market. Plaintiff was also injured because

14   Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket has

15   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

16   alternatives that would have been available had Google not monopolized the market. Plaintiff was

17   further injured because Google’s establishment and maintenance of monopoly pricing has caused a

18   reduction in the output and supply of Android apps and in-app purchases, which would have been

19   more abundantly available in a competitive market. Plaintiff has suffered and continues to suffer

20   damages and irreparable injury, and such damages and injury will not abate until an injunction

21   ending Google’s anticompetitive conduct issues.


22

23



                                P a g e | 37 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page114
                                                                38
                                                                107of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




1                   COUNT 6: Sherman Act § 1 Tying Google Play Store to Google Play Billing
2                                         (Against all Defendants)
3
4            155.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

5    forth in the rest of this Complaint as if fully set forth herein.

 6           156.    Defendants’ conduct violates Section 1 of the Sherman Act, which prohibits “[e]very

 7   contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or

8    commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.

 9           157.    Google has unlawfully tied the Google Play Store to its in-app payment processor,

10   Google Play Billing, through its DDAs with app developers and its Developer Program Policies.

11           158.    Google wields significant economic power in the tying market, the Android App

12   Distribution Market. With Google Play Store installed on nearly all Android OS devices and over

13   90% of downloads on Android OS devices being performed by the Google Play Store, Google has

14   overwhelming market power. Google’s market power is further evidenced by its ability to extract

15   supra-competitive taxes on the sale of apps through the Google Play Store.

16           159.    Google only makes the Google Play Store available to those app developers who

17   agree to exclusively process all app-related payments (including in-app purchases) through Google

18   Billing. This tie is especially powerful and effective because Google simultaneously forecloses a

19   developer’s ability to use alternative app distribution channels, as described above. Taken together,

20   Google’s conduct effectively forces developers to use Google Billing.

21           160.    The tying product, Android app distribution, is distinct from the tied product,

22   Android in-app payment processing, because app developers have alternative in-app payment

23   processing options and would prefer to choose among them independently of distribution. Google’s

24   unlawful tying arrangement thus ties two separate products that are in separate markets.




                                  P a g e | 38 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page115
                                                                39
                                                                108of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1           161.    Google’s conduct forecloses competition in the Android In-App Payment Processing

 2   Market, and, in the alternative, in the Android Games Payment Processing Market, affecting a

 3   substantial volume of commerce in these Markets.

 4           162.    Google has thus engaged in a per se illegal tying arrangement and the Court does not

 5   need to engage in a detailed assessment of the anticompetitive effects of Google’s conduct or its

 6   purported justifications.

 7           163.    In the alternative only, even if Google’s conduct does not constitute a per se illegal

 8   tie, a detailed analysis of Google’s tying arrangement would demonstrate that this arrangement

 9   violates the rule of reason and is illegal.

10           164.    Plaintiff was harmed by Defendants’ anticompetitive conduct in a manner that the

11   antitrust laws were intended to prevent. For example, she paid more for Android apps and/or in-app

12   purchases than she would have paid in a competitive market. Plaintiff was also injured because

13   Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket has

14   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

15   alternatives that would have been available had Google not monopolized the market. Plaintiff was

16   further injured because Google’s establishment and maintenance of monopoly pricing has caused a

17   reduction in the output and supply of Android apps and in-app purchases, which would have been

18   more abundantly available in a competitive market. Plaintiff has suffered and continues to suffer

19   damages and irreparable injury, and such damages and injury will not abate until an injunction

20   ending Google’s anticompetitive conduct issues.

21     COUNT 7: California Cartwright Act Unreasonable Restraints of Trade in Android App
22                                    Distribution Market
23                      (Against all Defendants except Google Payment)
24
25           165.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

26   forth in the rest of this Complaint as if fully set forth herein.


                                  P a g e | 39 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page116
                                                                40
                                                                109of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1          166.    Google’s acts and practices detailed above violate the Cartwright Act, Cal. Bus. &

 2   Prof. Code § 16700 et seq., which prohibits, inter alia, the combination of resources by two or more

 3   persons to restrain trade or commerce or to prevent market competition. See id. §§ 16720, 16726.

 4          167.    Under the Cartwright Act, a “combination” is formed when the anticompetitive

 5   conduct of a single firm coerces other market participants to involuntarily adhere to the

 6   anticompetitive scheme.

 7          168.    The Android App Distribution Market is a valid antitrust market.

 8          169.    Google has executed agreements with OEMs that unreasonably restrict competition

 9   in the Android App Distribution Market. Namely, Google entered into MADAs with OEMs that

10   require OEMs to offer the Google Play Store as the primary—and practically the only—app store

11   on Android mobile devices. These agreements further prevent OEMs from offering alternative app

12   stores on Android mobile devices in any prominent visual positioning.

13          170.    Google’s conduct and practices have substantial anticompetitive effects, including

14   increased prices and costs, reduced innovation, poorer customer service and lowered output.

15          171.    It is appropriate to bring this action under the Cartwright Act because many of the

16   illegal agreements were made in California and purport to be governed by California law, many

17   affected consumers reside in California, Google has its principal place of business in California and

18   overt acts in furtherance of Google’s anticompetitive scheme took place in California.

19          172.    Plaintiff was harmed by Defendants’ anticompetitive conduct in a manner that the

20   Cartwright Act was intended to prevent. For example, she paid more for Android apps and/or in-

21   app purchases than she would have paid in a competitive market. Plaintiff has also been injured

22   because Google unlawful monopolization of the Android apps and in-app purchases aftermarket has

23   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

24   alternatives that would have been available had Google not monopolized the market. Plaintiff was

                                P a g e | 40 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page117
                                                                41
                                                                110of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




1    also injured because Google’s establishment and maintenance of monopoly pricing has caused a

2    reduction in the output and supply of Android apps and in-app purchases, which would have been

3    more abundantly available in a competitive market. Plaintiff has suffered and continue to suffer

4    damages and irreparable injury, and such damages and injury will not abate until an injunction

5    ending Google’s anticompetitive conduct issues.

 6     COUNT 8: California Cartwright Act Unreasonable Restraints of Trade in Android App
 7                                    Distribution Market
 8                      (Against all Defendants except Google Payment)
 9
10           173.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

11   forth in the rest of this Complaint as if fully set forth herein.

12           174.    Google’s acts and practices detailed above violate the Cartwright Act, Cal. Bus. &

13   Prof. Code § 16700 et seq., which prohibits, inter alia, the combination of resources by two or more

14   persons to restrain trade or commerce or to prevent market competition. See id. §§ 16720, 16726.

15           175.    Under the Cartwright Act, a “combination” is formed when the anti- competitive

16   conduct of a single firm coerces other market participants to involuntarily adhere to the

17   anticompetitive scheme.

18           176.    The Android App Distribution Market is a valid antitrust market.

19           177.    Google conditions distribution through the Google Play Store on entering into the

20   standardized DDA described above, including the Developer Program Policies integrated therein.

21   Through certain provisions in these agreements, Google forces app developers to submit to

22   conditions that unreasonably restrain competition in the Android App Distribution Market.

23           178.    Section 4.5 of the DDA provides that developers “may not use Google Play to

24   distribute or make available any Product that has a purpose that facilitates the distribution of

25   software applications and games for use on Android devices outside of Google Play.” Section 4.1

26   of the DDA requires that all developers “adhere” to Google’s Developer Program Policies. Under


                                  P a g e | 41 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page118
                                                                42
                                                                111of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   the guise of its so-called “Malicious Behavior” Policy, Google prohibits developers from

 2   distributing apps that “download executable code [i.e., code that would execute an app] from a

 3   source other than Google Play.” The DDA further reserves to Google the right to remove and disable

 4   any Android app that it determines violates either the DDA or its Developer Program Policies and

 5   to terminate the DDA on these bases. (§§ 8.3, 10.3.) These provisions prevent app developers from

 6   offering competing app stores through the Google Play Store, even though there is no legitimate

 7   technological or other impediment to distributing a competing app store through the Google Play

 8   Store.

 9            179.   These provisions have no legitimate or pro-competitive purpose or effect, and

10   unreasonably restrain competition in the Android App Distribution Market.

11            180.   Google’s conduct and practices have substantial anticompetitive effects, including

12   increased prices and costs, reduced innovation, poorer customer service, and lowered output.

13            181.   It is appropriate to bring this action under the Cartwright Act because many of the

14   illegal agreements were made in California and purport to be governed by California law, many

15   affected consumers reside in California, Google has its principal place of business in California, and

16   overt acts in furtherance of Google’s anticompetitive scheme took place in California.

17            182.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

18   the Cartwright Act was intended to prevent. For example, she paid more for Android apps and/or

19   in-app purchases than she would have paid in a competitive market. Plaintiff has also been injured

20   because Google unlawful monopolization of the Android apps and in-app purchases aftermarket has

21   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

22   alternatives that would have been available had Google not monopolized the market. Plaintiff has

23   also been injured because Google’s establishment and maintenance of monopoly pricing has caused

24   a reduction in the output and supply of Android apps and in-app purchases, which would have been

                                P a g e | 42 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page119
                                                                43
                                                                112of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   more abundantly available in a competitive market. Plaintiff has suffered and continue to suffer

 2   damages and irreparable injury, and such damages and injury will not abate until an injunction

 3   ending Google’s anticompetitive conduct issues.

 4   COUNT 9: California Cartwright Act Unreasonable Restraints of Trade in Android In-App
 5                               Payment Processing Market
 6                                 (Against all Defendants)
 7
 8           183.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 9   forth in the rest of this Complaint as if fully set forth herein.

10           184.    Google’s acts and practices detailed above violate the Cartwright Act, Cal. Bus. &

11   Prof. Code § 16700 et seq., which prohibits, inter alia, the combination of resources by two or more

12   persons to restrain trade or commerce or to prevent market competition. See id. §§ 16720, 16726.

13           185.    Under the Cartwright Act, a “combination” is formed when the anticompetitive

14   conduct of a single firm coerces other market participants to involuntarily adhere to the

15   anticompetitive scheme.

16           186.    The Android App Distribution Market and Android In-App Payment Processing

17   Market, and, in the alternative, the Android Games Payment Processing Market, are valid antitrust

18   markets.

19           187.    Google has monopoly power in the Android In-App Payment Processing Market and,

20   in the alternative, in the Android Games Payment Processing Market.

21           188.    Google conditions distribution through the Google Play Store on entering into the

22   standardized DDA described above, including the Developer Program Policies integrated therein.

23   Through certain provisions in these agreements, Google forces app developers to submit to

24   conditions that unreasonably restrain competition in the Android In-App Payment Processing

25   Market.




                                  P a g e | 43 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page120
                                                                44
                                                                113of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1          189.    Section 3.2 of the DDA requires that Android app developers enter into a separate

 2   agreement with Google’s payment processor, Defendant Google Payment, to receive payment for

 3   apps and content distributed through the Google Play Store. This includes payments related to in-

 4   app purchases. Further, Google’s Developer Program Policies, compliance with which Section 4.1

 5   of the DDA makes obligatory, require that apps distributed through the Google Play Store “must

 6   use Google Play In-app Billing [offered by Google Payment] as the method of payment” for in-app

 7   purchases. While Google’s Policies exclude certain types of transactions from this requirement, such

 8   as the purchase of “solely physical products” or of “digital content that may be consumed outside

 9   of the app itself,” Google expressly and discriminatorily applies its anticompetitive mandate to every

10   “game downloaded on Google Play” and to all purchased “game content.”

11          190.    These provisions have no legitimate or pro-competitive purpose or effect, and

12   unreasonably restrain competition in the Android In-App Payment Processing Market, and, in the

13   alternative, in the Android Games Payment Processing Market.

14          191.    Google’s conduct and practices have substantial anticompetitive effects, including

15   increased prices and costs, reduced innovation, poorer customer service and lowered output.

16          192.    It is appropriate to bring this action under the Cartwright Act because many of the

17   illegal agreements were made in California and purport to be governed by California law, many

18   affected consumers reside in California, Google has its principal place of business in California and

19   overt acts in furtherance of Google’s anticompetitive scheme took place in California.

20          193.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

21   the Cartwright Act was intended to prevent. For example, she paid more for Android apps and/or

22   in-app purchases than she would have paid in a competitive market. Plaintiff has also been injured

23   because Google unlawful monopolization of the Android apps and in-app purchases aftermarket has

24   extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

                                P a g e | 44 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page121
                                                                45
                                                                114of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   alternatives that would have been available had Google not monopolized the market. Plaintiff has

 2   also been injured because Google’s establishment and maintenance of monopoly pricing has caused

 3   a reduction in the output and supply of Android apps and in-app purchases, which would have been

 4   more abundantly available in a competitive market. Plaintiff has suffered and continue to suffer

 5   damages and irreparable injury, and such damages and injury will not abate until an injunction

 6   ending Google’s anticompetitive conduct issues.


 7      COUNT 10: California Cartwright Act Tying Google Play Store to Google Play Billing
 8                                 (Against all Defendants)
 9           194.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

10   forth in the rest of this Complaint as if fully set forth herein.

11           195.    Google’s acts and practices detailed above violate the Cartwright Act, Cal. Bus. &

12   Prof. Code § 16700 et seq., which prohibits, inter alia, the combination of resources by two or more

13   persons to restrain trade or commerce, or to prevent market competition. See id. §§ 16720, 16726.

14           196.    Under the Cartwright Act, a “combination” is formed when the anticompetitive

15   conduct of a single firm coerces other market participants to involuntarily adhere to the

16   anticompetitive scheme.

17           197.    The Cartwright Act also makes it “unlawful for any person to lease or make a sale or

18   contract for the sale of goods, merchandise, machinery, supplies, commodities for use within the

19   State, or to fix a price charged therefor, or discount from, or rebate upon, such price, on the

20   condition, agreement or understanding that the lessee or purchaser thereof shall not use or deal in

21   the goods, merchandise, machinery, supplies, commodities, or services of a competitor or

22   competitors of the lessor or seller, where the effect of such lease, sale, or contract for sale or such

23   condition, agreement or understanding may be to substantially lessen competition or tend to create

24   a monopoly in any line of trade or commerce in any section of the State.” Id. § 16727.



                                  P a g e | 45 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page122
                                                                46
                                                                115of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1          198.    As detailed above, Google has unlawfully tied its in-app payment processor, Google

 2   Play Billing, to the Google Play Store through its DDAs with app developers and its Developer

 3   Program Policies.

 4          199.    Google has sufficient economic power in the tying market, the Android App

 5   Distribution Market, to affect competition in the tied market, the Android In-App Payment

 6   Distribution Market. With Google Play Store installed on nearly all Android OS devices and over

 7   90% of downloads on Android OS devices being performed by the Google Play Store, Google has

 8   overwhelming market power. Google’s market power is further evidenced by its ability to extract

 9   supra-competitive taxes on the sale of apps through the Google Play Store.

10          200.    The availability of the Google Play Store for app distribution is conditioned on the

11   app developer accepting a second product, Google’s in-app payment processing services. Google’s

12   foreclosure of alternative app distribution channels forces developers to use Google’s in-app

13   payment processing services, which Google has expressly made a condition of reaching Android

14   users through its dominant Google Play Store.

15          201.    The tying product, Android app distribution, is separate and distinct from the tied

16   product, Android in-app payment processing, because app developers have alternative in-app

17   payment processing options and would prefer to choose among them independently of how an

18   Android app is distributed. Google’s unlawful tying arrangement thus ties two separate products

19   that are in separate markets.

20          202.    Google’s conduct forecloses competition in the Android In-App Payment Processing

21   Market and, in the alternative, in the Android Games Payment Processing Market, affecting a

22   substantial volume of commerce in these Markets.




                                P a g e | 46 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page123
                                                                47
                                                                116of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1           203.    Google has thus engaged in a per se illegal tying arrangement and the Court does not

 2   need to engage in a detailed assessment of the anticompetitive effects of Google’s conduct or its

 3   purported justifications.

 4           204.    Even if Google’s conduct does not form a per se illegal tie, an assessment of the

 5   tying arrangement would demonstrate that it is unreasonable under the Cartwright Act, and

 6   therefore, illegal.

 7           205.    Google’s acts and practices detailed above unreasonably restrained competition in

 8   the Android In-App Payment Processing Market and, in the alternative, in the Android Games

 9   Payment Processing Market.

10           206.    It is appropriate to bring this action under the Cartwright Act because many of the

11   illegal agreements were made in California and purport to be governed by California law, many

12   affected consumers reside in California, Google has its principal place of business in California, and

13   overt acts in furtherance of Google’s anticompetitive scheme took place in California.

14           207.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

15   the Cartwright Act was intended to prevent. For example, she paid more for Android apps and/or

16   in-app purchases than she would have paid in a competitive market. Plaintiff has also been injured

17   because Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket

18   has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

19   alternatives that would have been available had Google not monopolized the market. Plaintiff has

20   also been injured because Google’s establishment and maintenance of monopoly pricing has caused

21   a reduction in the output and supply of Android apps and in-app purchases, which would have been

22   more abundantly available in a competitive market. Plaintiff has suffered and continues to suffer

23   damages and irreparable injury, and such damages and injury will not abate until an injunction

24   ending Google’s anticompetitive conduct issues.

                                 P a g e | 47 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page124
                                                                48
                                                                117of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1               COUNT 11: Arizona Uniform State Antitrust Act (Against all Defendants)
 2             208.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 3   forth in the rest of this Complaint as if fully set forth herein.

 4             209.   Google’s acts and practices detailed above violate the Arizona Uniform State

 5   Antitrust Act, Ariz. Rev. Stat. § 44-1401, et seq., which prohibits, inter alia, combinations in

 6   restraint of, or to monopolize, trade or commerce, id. § 44-1402, and monopolization or attempted

 7   monopolization of trade or commerce for the purpose of excluding competition or controlling, fixing

 8   or maintaining prices, id. § 44-1403.

 9             210.   Google’s conduct and practices have substantial anticompetitive effects in Arizona,

10   including increased prices and costs, reduced innovation, poorer customer service, and lowered

11   output.

12             211.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

13   the Arizona Uniform State Antitrust Act was intended to prevent. For example, she paid more for

14   Android apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff

15   has also been injured because Google’s unlawful monopolization of the Android apps and in-app

16   purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store

17   and lower cost market alternatives that would have been available had Google not monopolized the

18   market. Plaintiff has also been injured because Google’s establishment and maintenance of

19   monopoly pricing has caused a reduction in the output and supply of Android apps and in-app

20   purchases, which would have been more abundantly available in a competitive market. Plaintiff has

21   suffered and continues to suffer damages and irreparable injury, and such damages and injury will

22   not abate until an injunction ending Google’s anticompetitive conduct issues.


23

24

                                  P a g e | 48 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page125
                                                                49
                                                                118of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1              COUNT 12: District of Columbia Antitrust Act (Against all Defendants)
 2           212.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 3   forth in the rest of this Complaint as if fully set forth herein.

 4           213.    Google’s acts and practices detailed above violate the District of Columbia Antitrust

 5   Act, D.C. Code § 28-4501, et seq., which prohibits, inter alia, combinations in restraint of, or to

 6   monopolize, trade or commerce, id. § 28-4502, and monopolization or attempted monopolization

 7   over any part of trade or commerce for the purpose of excluding competition or controlling, fixing

 8   or maintaining prices, id. § 28-4503.

 9           214.    Google’s conduct and practices have substantial anticompetitive effects in the

10   District of Columbia, including increased prices and costs, reduced innovation, poorer customer

11   service, and lowered output.

12           215.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

13   the District of Columbia Antitrust Act was intended to prevent. For example, she paid more for

14   Android apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff

15   has also been injured because Google’s unlawful monopolization of the Android apps and in-app

16   purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store

17   and lower cost market alternatives that would have been available had Google not monopolized the

18   market. Plaintiff has also been injured because Google’s establishment and maintenance of

19   monopoly pricing has caused a reduction in the output and supply of Android apps and in-app

20   purchases, which would have been more abundantly available in a competitive market. Plaintiff has

21   suffered and continues to suffer damages and irreparable injury, and such damages and injury will

22   not abate until an injunction ending Google’s anticompetitive conduct issues.


23

24

                                  P a g e | 49 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page126
                                                                50
                                                                119of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1                      COUNT 13: Hawaii Antitrust Laws (Against all Defendants)
 2             216.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 3   forth in the rest of this Complaint as if fully set forth herein.

 4             217.   Google’s acts and practices detailed above violate Hawaii’s antitrust laws, Haw. Rev.

 5   Stat. § 480-1, et seq., which prohibit, inter alia, combinations in restraint of trade or commerce, id.

 6   § 480-4, and monopolization or attempted monopolization of any part of trade or commerce, id. §

 7   480-9.

 8             218.   Google’s conduct and practices have substantial anticompetitive effects in Hawaii,

 9   including increased prices and costs, reduced innovation, poorer customer service, and lowered

10   output.

11             219.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

12   Hawaii’s antitrust laws were intended to prevent. For example, she paid more for Android apps

13   and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also been

14   injured because Google’s unlawful monopolization of the Android apps and in-app purchases

15   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

16   cost market alternatives that would have been available had Google not monopolized the market.

17   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

18   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

19   would have been more abundantly available in a competitive market. Plaintiff has suffered and

20   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

21   an injunction ending Google’s anticompetitive conduct issues.


22                      COUNT 14: Iowa Competition Law (Against all Defendants)
23             220.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

24   forth in the rest of this Complaint as if fully set forth herein.


                                  P a g e | 50 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page127
                                                                51
                                                                120of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1             221.    Google’s acts and practices detailed above violate the Iowa Competition Law, Iowa

 2   Code § 553.1, et seq., which prohibits, inter alia, combinations to restrain or monopolize trade or

 3   commerce, id. § 553.4, and the monopolization or attempted monopolization of a market for the

 4   purpose of excluding competition or of controlling, fixing, or maintaining prices, id. § 553.5.

 5             222.    Google’s conduct and practices have substantial anticompetitive effects in Iowa,

 6   including increased prices and costs, reduced innovation, poorer customer service, and lowered

 7   output.

 8             223.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

 9   the Iowa Competition Law was intended to prevent. For example, she paid more for Android apps

10   and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also been

11   injured because Google’s unlawful monopolization of the Android apps and in-app purchases

12   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

13   cost market alternatives that would have been available had Google not monopolized the market.

14   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

15   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

16   would have been more abundantly available in a competitive market. Plaintiff has suffered and

17   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

18   an injunction ending Google’s anticompetitive conduct issues.


19                    COUNT 15: Kansas Restraint of Trade Act (Against all Defendants)
20             224.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

21   forth in the rest of this Complaint as if fully set forth herein.

22             225.    Google’s acts and practices detailed above violate the Kansas Restraint of Trade Act,

23   Kan. Stat. § 50-101, et seq., which prohibits, inter alia, combinations to create or carry out




                                   P a g e | 51 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page128
                                                                52
                                                                121of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   restrictions in trade or commerce, increase the price of merchandise, or prevent competition in the

 2   sale of merchandise, id.

 3             226.   Google’s conduct and practices have substantial anticompetitive effects in Kansas,

 4   including increased prices and costs, reduced innovation, poorer customer service, and lowered

 5   output.

 6             227.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

 7   the Kansas Restraint of Trade Act was intended to prevent. For example, she paid more for Android

 8   apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also

 9   been injured because Google’s unlawful monopolization of the Android apps and in-app purchases

10   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

11   cost market alternatives that would have been available had Google not monopolized the market.

12   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

13   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

14   would have been more abundantly available in a competitive market. Plaintiff has suffered and

15   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

16   an injunction ending Google’s anticompetitive conduct issues.


17              COUNT 16: Maine Monopoly & Profiteering Laws (Against all Defendants)
18             228.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

19   forth in the rest of this Complaint as if fully set forth herein.

20             229.   Google’s acts and practices detailed above violate Maine’s monopoly and

21   profiteering laws, Me. Rev. Stat. tit. 10, § 1101, et seq., which prohibit, inter alia, combinations in

22   restraint of trade or commerce, id., and the monopolization or attempted monopolization of any part

23   of trade or commerce, id. § 1102.




                                  P a g e | 52 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page129
                                                                53
                                                                122of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1             230.   Google’s conduct and practices have substantial anticompetitive effects in Maine,

 2   including increased prices and costs, reduced innovation, poorer customer service, and lowered

 3   output.

 4             231.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

 5   Maine’s monopoly and profiteering laws were intended to prevent. For example, she paid more for

 6   Android apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff

 7   has also been injured because Google’s unlawful monopolization of the Android apps and in-app

 8   purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store

 9   and lower cost market alternatives that would have been available had Google not monopolized the

10   market. Plaintiff has also been injured because Google’s establishment and maintenance of

11   monopoly pricing has caused a reduction in the output and supply of Android apps and in-app

12   purchases, which would have been more abundantly available in a competitive market. Plaintiff has

13   suffered and continues to suffer damages and irreparable injury, and such damages and injury will

14   not abate until an injunction ending Google’s anticompetitive conduct issues.


15                    COUNT 17: Maryland Antitrust Laws (Against all Defendants)
16             232.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

17   forth in the rest of this Complaint as if fully set forth herein.

18             233.   Google’s acts and practices detailed above violate Maryland’s antitrust laws, Md.

19   Code, Com. Law § 11-201, et seq., which prohibit, inter alia, combinations that unreasonably

20   restrain trade or commerce, id. § 11-204, and the monopolization or attempted monopolization of

21   any part of the trade or commerce for the purpose of excluding competition or of controlling, fixing,

22   or maintaining prices in trade or commerce, id.




                                  P a g e | 53 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page130
                                                                54
                                                                123of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1             234.   Google’s conduct and practices have substantial anticompetitive effects in Maryland,

 2   including increased prices and costs, reduced innovation, poorer customer service, and lowered

 3   output.

 4             235.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

 5   the Maryland antitrust laws were intended to prevent. For example, she paid more for Android apps

 6   and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also been

 7   injured because Google’s unlawful monopolization of the Android apps and in-app purchases

 8   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

 9   cost market alternatives that would have been available had Google not monopolized the market.

10   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

11   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

12   would have been more abundantly available in a competitive market. Plaintiff has suffered and

13   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

14   an injunction ending Google’s anticompetitive conduct issues.


15             COUNT 18: Massachusetts consumer protection laws (Against all Defendants)
16             236.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

17   forth in the rest of this Complaint as if fully set forth herein.

18             237.   Google’s acts and practices detailed above violate Massachusetts’ consumer

19   protection laws, Mass. Gen. Laws ch. 93A, § 1, et seq., which prohibit, inter alia, unfair methods of

20   competition and unfair or deceptive acts or practices in the conduct of any trade or commerce, id. §

21   2.

22             238.   Google’s conduct and practices have substantial anticompetitive effects in

23   Massachusetts, including increased prices and costs, reduced innovation, poorer customer service,

24   and lowered output.

                                  P a g e | 54 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page131
                                                                55
                                                                124of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1             239.     Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

 2   the Massachusetts consumer protection laws were intended to prevent. For example, she paid more

 3   for Android apps and/or in-app purchases than she would have paid in a competitive market.

 4   Plaintiff has also been injured because Google’s unlawful monopolization of the Android apps and

 5   in-app purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google

 6   Play Store and lower cost market alternatives that would have been available had Google not

 7   monopolized the market. Plaintiff has also been injured because Google’s establishment and

 8   maintenance of monopoly pricing has caused a reduction in the output and supply of Android apps

 9   and in-app purchases, which would have been more abundantly available in a competitive market.

10   Plaintiff has suffered and continues to suffer damages and irreparable injury, and such damages and

11   injury will not abate until an injunction ending Google’s anticompetitive conduct issues.


12                    COUNT 19: Michigan Antitrust Reform Act (Against all Defendants)
13             240.     Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

14   forth in the rest of this Complaint as if fully set forth herein.

15             241.     Google’s acts and practices detailed above violate the Michigan Antitrust Reform

16   Act, Mich. Comp. Laws § 445.771, et seq., which prohibits, inter alia, combinations in restraint of,

17   or to monopolize, trade or commerce, id. § 445.772, and the establishment or attempted

18   establishment of a monopoly of trade or commerce for the purpose of excluding or limiting

19   competition or controlling, fixing, or maintaining prices, id. § 445.773.

20             242.     Google’s conduct and practices have substantial anticompetitive effects in Michigan,

21   including increased prices and costs, reduced innovation, poorer customer service, and lowered

22   output.

23             243.     Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

24   Michigan Antitrust Reform Act was intended to prevent. For example, she paid more for Android

                                    P a g e | 55 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page132
                                                                56
                                                                125of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also

 2   been injured because Google’s unlawful monopolization of the Android apps and in-app purchases

 3   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

 4   cost market alternatives that would have been available had Google not monopolized the market.

 5   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

 6   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

 7   would have been more abundantly available in a competitive market. Plaintiff has suffered and

 8   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

 9   an injunction ending Google’s anticompetitive conduct issues.


10               COUNT 20: Minnesota Antitrust Law of 1971 (Against all Defendants)
11           244.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

12   forth in the rest of this Complaint as if fully set forth herein.

13           245.    Google’s acts and practices detailed above violate the Minnesota Antitrust Law of

14   1971, Minn. Stat. § 325D.49, et seq., which prohibits, inter alia, combinations in unreasonable

15   restraint of trade or commerce, id. § 325D.51, and the establishment or attempted establishment of

16   a monopoly over any part of trade or commerce for the purpose of affecting competition or

17   controlling, fixing, or maintaining prices, id. § 325D.52.

18           246.    Google’s conduct and practices have substantial anticompetitive effects in

19   Minnesota, including increased prices and costs, reduced innovation, poorer customer service, and

20   lowered output.

21           247.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

22   Minnesota Antitrust Law of 1971 was intended to prevent. For example, she paid more for Android

23   apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also

24   been injured because Google’s unlawful monopolization of the Android apps and in-app purchases

                                  P a g e | 56 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page133
                                                                57
                                                                126of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

 2   cost market alternatives that would have been available had Google not monopolized the market.

 3   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

 4   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

 5   would have been more abundantly available in a competitive market. Plaintiff has suffered and

 6   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

 7   an injunction ending Google’s anticompetitive conduct issues.


 8                   COUNT 21: Mississippi Antitrust Laws (Against all Defendants)
 9           248.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

10   forth in the rest of this Complaint as if fully set forth herein.

11           249.    Google’s acts and practices detailed above violate Mississippi’s antitrust laws, Miss.

12   Code. § 75-21-1, et seq., which prohibit, inter alia, combinations inimical to the public welfare that

13   restrain trade, increase the price of a commodity, or reduce the production of a commodity, id.

14           250.    Google’s conduct and practices have substantial anticompetitive effects in

15   Mississippi, including increased prices and costs, reduced innovation, poorer customer service, and

16   lowered output.

17           251.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

18   Mississippi’s antitrust laws were intended to prevent. For example, she paid more for Android apps

19   and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also been

20   injured because Google’s unlawful monopolization of the Android apps and in-app purchases

21   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

22   cost market alternatives that would have been available had Google not monopolized the market.

23   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

24   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

                                  P a g e | 57 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page134
                                                                58
                                                                127of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   would have been more abundantly available in a competitive market. Plaintiff has suffered and

 2   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

 3   an injunction ending Google’s anticompetitive conduct issues.


 4                       COUNT 22: Nebraska Junkin Act (Against all Defendants)
 5             252.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 6   forth in the rest of this Complaint as if fully set forth herein.

 7             253.   Google’s acts and practices detailed above violate the Junkin Act, Neb. Rev. Stat. §

 8   59-802, et seq., which prohibits, inter alia, the combination of resources by two or more persons to

 9   restrain trade or commerce, id. § 59-802, and monopolization or attempted monopolization of any

10   part of trade or commerce, id. § 16726.

11             254.   Google’s conduct and practices have substantial anticompetitive effects in Nebraska,

12   including increased prices and costs, reduced innovation, poorer customer service, and lowered

13   output.

14             255.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

15   Nebraska’s Junkin Act was intended to prevent. For example, she paid more for Android apps and/or

16   in-app purchases than she would have paid in a competitive market. Plaintiff has also been injured

17   because Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket

18   has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

19   alternatives that would have been available had Google not monopolized the market. Plaintiff has

20   also been injured because Google’s establishment and maintenance of monopoly pricing has caused

21   a reduction in the output and supply of Android apps and in-app purchases, which would have been

22   more abundantly available in a competitive market. Plaintiff has suffered and continues to suffer

23   damages and irreparable injury, and such damages and injury will not abate until an injunction

24   ending Google’s anticompetitive conduct issues.

                                  P a g e | 58 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page135
                                                                59
                                                                128of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1               COUNT 23: Nevada Unfair Trade Practices Act (Against all Defendants)
 2             256.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

3    forth in the rest of this Complaint as if fully set forth herein.

 4             257.   Google’s acts and practices detailed above violate the Nevada Unfair Trade Practices

 5   Act, Nev. Rev. Stat. § 598A.010, et seq., which prohibits, inter alia, the monopolization or attempted

 6   monopolization of any part of trade or commerce, id. § 598A.060, and tying arrangements,

 7   consisting of contracts in which the seller or lessor conditions the sale or lease of commodities or

 8   services on the purchase or leasing of another commodity or service, id.

 9             258.   Google’s conduct and practices have substantial anticompetitive effects in Nevada,

10   including increased prices and costs, reduced innovation, poorer customer service, and lowered

11   output.

12             259.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

13   Nevada’s Unfair Trade Practices Act was intended to prevent. For example, she paid more for

14   Android apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff

15   has also been injured because Google’s unlawful monopolization of the Android apps and in-app

16   purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store

17   and lower cost market alternatives that would have been available had Google not monopolized the

18   market. Plaintiff has also been injured because Google’s establishment and maintenance of

19   monopoly pricing has caused a reduction in the output and supply of Android apps and in-app

20   purchases, which would have been more abundantly available in a competitive market. Plaintiff has

21   suffered and continues to suffer damages and irreparable injury, and such damages and injury will

22   not abate until an injunction ending Google’s anticompetitive conduct issues.


23

24

                                  P a g e | 59 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page136
                                                                60
                                                                129of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1          COUNT 24: New Hampshire Consumer Protection Act (Against all Defendants)
 2           260.     Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 3   forth in the rest of this Complaint as if fully set forth herein.

 4           261.     Google’s acts and practices detailed above violate the New Hampshire Consumer

 5   Protection Act, N.H. Rev. Stat. § 358-A:1, et seq., which prohibits, inter alia, the pricing of goods

 6   or services in a manner that tends to create or maintain a monopoly, or otherwise harm competition,

 7   id. § 358-A:2.

 8           262.     Google’s conduct and practices have substantial anticompetitive effects in New

 9   Hampshire, including increased prices and costs, reduced innovation, poorer customer service, and

10   lowered output.

11           263.     Plaintiff has been harmed by Defendants’ anti-competitive conduct in a manner that

12   the New Hampshire Consumer Protection Act was intended to prevent. For example, she paid more

13   for Android apps and/or in-app purchases than she would have paid in a competitive market.

14   Plaintiff has also been injured because Google’s unlawful monopolization of the Android apps and

15   in-app purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google

16   Play Store and lower cost market alternatives that would have been available had Google not

17   monopolized the market. Plaintiff has also been injured because Google’s establishment and

18   maintenance of monopoly pricing has caused a reduction in the output and supply of Android apps

19   and in-app purchases, which would have been more abundantly available in a competitive market.

20   Plaintiff has suffered and continues to suffer damages and irreparable injury, and such damages and

21   injury will not abate until an injunction ending Google’s anti-competitive conduct issues.


22                    COUNT 25: New Mexico Antitrust Act (Against all Defendants)
23           264.     Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

24   forth in the rest of this Complaint as if fully set forth herein.


                                  P a g e | 60 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page137
                                                                61
                                                                130of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1           265.    Google’s acts and practices detailed above violate the New Mexico Antitrust Act,

 2   N.M. Stat. § 57-1-1, et seq., which prohibits, inter alia, the monopolization or attempted

 3   monopolization of any part of trade or commerce, id. § 57-1-2, and combinations in restraint of trade

 4   or commerce, id. § 57-1-1.

 5           266.    Google’s conduct and practices have substantial anticompetitive effects in New

 6   Mexico, including increased prices and costs, reduced innovation, poorer customer service, and

 7   lowered output.

 8           267.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

 9   the New Mexico Antitrust Act was intended to prevent. For example, she paid more for Android

10   apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also

11   been injured because Google’s unlawful monopolization of the Android apps and in-app purchases

12   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

13   cost market alternatives that would have been available had Google not monopolized the market.

14   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

15   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

16   would have been more abundantly available in a competitive market. Plaintiff has suffered and

17   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

18   an injunction ending Google’s anticompetitive conduct issues.


19                     COUNT 26: New York Donnelly Act (Against all Defendants)
20           268.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

21   forth in the rest of this Complaint as if fully set forth herein.

22           269.    Google’s acts and practices detailed above violate New York’s Donnelly Act, N.Y.

23   Gen. Bus. Law § 340, et seq., which prohibits, inter alia, monopoly in the conduct of any business,

24   trade or commerce or in the furnishing of any service, id. § 340.

                                  P a g e | 61 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page138
                                                                62
                                                                131of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1           270.    Google’s conduct and practices have substantial anticompetitive effects in New

 2   York, including increased prices and costs, reduced innovation, poorer customer service, and

 3   lowered output.

 4           271.    Plaintiff has been harmed by Defendants’ anti-competitive conduct in a manner that

 5   New York’s Donnelly Act was intended to prevent. For example, she paid more for Android apps

 6   and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also been

 7   injured because Google’s unlawful monopolization of the Android apps and in-app purchases

 8   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

 9   cost market alternatives that would have been available had Google not monopolized the market.

10   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

11   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

12   would have been more abundantly available in a competitive market. Plaintiff has suffered and

13   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

14   an injunction ending Google’s anti-competitive conduct issues.


15                     COUNT 27: North Carolina Antitrust Laws (Against all Defendants)

16           272.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

17   forth in the rest of this Complaint as if fully set forth herein.

18           273.    Google’s acts and practices detailed above violate North Carolina’s antitrust laws,

19   N.C. Gen. Stat. § 75-1, et seq., which prohibit, inter alia, combinations in restraint of trade or

20   commerce, id. § 75-1, and the monopolization or attempted monopolization of any part of trade or

21   commerce, id. § 75-2.1




                                  P a g e | 62 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page139
                                                                63
                                                                132of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1           274.    Google’s conduct and practices have substantial anticompetitive effects in North

 2   Carolina, including increased prices and costs, reduced innovation, poorer customer service, and

 3   lowered output.

 4           275.    Plaintiffs have been harmed by Defendants’ anti-competitive conduct in a manner

 5   that the North Carolina antitrust laws were intended to prevent. For example, she paid more for

 6   Android apps and/or in-app purchases than she would have paid in a competitive market. Plaintiffs

 7   have also been injured because Google’s unlawful monopolization of the Android apps and in-app

 8   purchases aftermarket has extinguished Plaintiffs’ freedom to choose between the Google Play Store

 9   and lower cost market alternatives that would have been available had Google not monopolized the

10   market. Plaintiffs have also been injured because Google’s establishment and maintenance of

11   monopoly pricing has caused a reduction in the output and supply of Android apps and in-app

12   purchases, which would have been more abundantly available in a competitive market. Plaintiffs

13   have suffered and continues to suffer damages and irreparable injury, and such damages and injury

14   will not abate until an injunction ending Google’s anti-competitive conduct issues.


15          COUNT 28: North Dakota Uniform State Antitrust Act (Against all Defendants)
16           276.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

17   forth in the rest of this Complaint as if fully set forth herein.

18           277.    Google’s acts and practices detailed above violate the North Dakota Uniform State

19   Antitrust Act, N.D. Cent. Code § 51-08.1-01, et seq., which prohibits, inter alia, combinations in

20   restraint of, or to monopolize, trade or commerce, id. § 51-08.1-02, and the establishment,

21   maintenance, or use of a monopoly, or an attempt to establish a monopoly, of trade or commerce in

22   a relevant market by any person, for the purpose of excluding competition or controlling, fixing, or

23   maintaining prices, id. § 51-08.1-03.




                                  P a g e | 63 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page140
                                                                64
                                                                133of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1             278.   Google’s conduct and practices have substantial anticompetitive effects in North

 2   Dakota, including increased prices and costs, reduced innovation, poorer customer service, and

 3   lowered output.

 4             279.   Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

 5   the North Dakota Uniform State Antitrust Act was intended to prevent. For example, she paid more

 6   for Android apps and/or in-app purchases than she would have paid in a competitive market.

 7   Plaintiff has also been injured because Google’s unlawful monopolization of the Android apps and

 8   in-app purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google

 9   Play Store and lower cost market alternatives that would have been available had Google not

10   monopolized the market. Plaintiff has also been injured because Google’s establishment and

11   maintenance of monopoly pricing has caused a reduction in the output and supply of Android apps

12   and in-app purchases, which would have been more abundantly available in a competitive market.

13   Plaintiff has suffered and continues to suffer damages and irreparable injury, and such damages and

14   injury will not abate until an injunction ending Google’s anticompetitive conduct issues.


15                      COUNT 29: Oregon Antitrust Law (Against all Defendants)
16             280.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

17   forth in the rest of this Complaint as if fully set forth herein.

18             281.   Google’s acts and practices detailed above violate the Oregon Antitrust Law, Or.

19   Rev. Stat. § 646.705, et seq., which prohibits, inter alia, combinations in restraint of trade or

20   commerce, id. § 646.725, and monopolization or attempted monopolization of any part of trade or

21   commerce, id. § 646.730.

22             282.   Google’s conduct and practices have substantial anticompetitive effects in Oregon,

23   including increased prices and costs, reduced innovation, poorer customer service, and lowered

24   output.

                                  P a g e | 64 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page141
                                                                65
                                                                134of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1            283.    Plaintiff has been harmed by Defendants’ anti-competitive conduct in a manner that

 2   the Oregon Antitrust Law was intended to prevent. For example, she paid more for Android apps

 3   and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also been

 4   injured because Google’s unlawful monopolization of the Android apps and in-app purchases

 5   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

 6   cost market alternatives that would have been available had Google not monopolized the market.

 7   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

 8   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

 9   would have been more abundantly available in a competitive market. Plaintiff has suffered and

10   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

11   an injunction ending Google’s anti-competitive conduct issues.


12                   COUNT 30: South Dakota Antitrust Laws (Against all Defendants)
13            284.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

14   forth in the rest of this Complaint as if fully set forth herein.

15            285.    Google’s acts and practices detailed above violate South Dakota’s antitrust laws,

16   .S.D. Codified Laws § 37-1-3.1, et seq., which prohibit, inter alia, combinations in restraint of trade

17   or commerce, id., and monopolization or attempted monopolization of trade or commerce, id. § 37-

18   1-3.2.

19            286.    Google’s conduct and practices have substantial anticompetitive effects in South

20   Dakota, including increased prices and costs, reduced innovation, poorer customer service, and

21   lowered output.

22            287.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

23   South Dakota’s antitrust laws were intended to prevent. For example, she paid more for Android

24   apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also

                                  P a g e | 65 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page142
                                                                66
                                                                135of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   been injured because Google’s unlawful monopolization of the Android apps and in-app purchases

 2   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

 3   cost market alternatives that would have been available had Google not monopolized the market.

 4   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

 5   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

 6   would have been more abundantly available in a competitive market. Plaintiff has suffered and

 7   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

 8   an injunction ending Google’s anticompetitive conduct issues.


 9                    COUNT 31: Tennessee Trade Practices Act (Against all Defendants)
10             288.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

11   forth in the rest of this Complaint as if fully set forth herein.

12             289.    Google’s acts and practices detailed above violate the Tennessee Trade Practices Act,

13   Tenn. Code § 47-25-101, et seq., which prohibits, inter alia, combinations designed, or which tend,

14   to advance, reduce, or control the price or the cost to the producer or the consumer of any such

15   product or article, id.

16             290.    Google’s conduct and practices have substantial anticompetitive effect in Tennessee,

17   including increased prices and costs, reduced innovation, poorer customer service, and lowered

18   output.

19             291.    Plaintiff has been harmed by Defendants’ anticompetitive conduct in a manner that

20   the Tennessee Trade Practices Act was intended to prevent. For example, she paid more for Android

21   apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff has also

22   been injured because Google’s unlawful monopolization of the Android apps and in-app purchases

23   aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower

24   cost market alternatives that would have been available had Google not monopolized the market.

                                   P a g e | 66 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page143
                                                                67
                                                                136of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   Plaintiff has also been injured because Google’s establishment and maintenance of monopoly

 2   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

 3   would have been more abundantly available in a competitive market. Plaintiff has suffered and

 4   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

 5   an injunction ending Google’s anticompetitive conduct issues.


 6                        COUNT 32: Utah Antitrust Act (Against all Defendants)
 7             292.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 8   forth in the rest of this Complaint as if fully set forth herein.

 9             293.   Google’s acts and practices detailed above violate the Utah Antitrust Act, Utah Code

10   § 76-10-3101, et seq., which prohibit, inter alia, combinations in restraint of trade or commerce, id.

11   § 76-10-3104, and monopolization or attempted monopolization of any part of trade or commerce,

12   id.

13             294.   Google’s conduct and practices have substantial anticompetitive effect in Utah,

14   including increased prices and costs, reduced innovation, poorer customer service, and lowered

15   output.

16             295.   Plaintiff has been harmed by Defendants’ anti-competitive conduct in a manner that

17   the Utah Antitrust Act was intended to prevent. For example, she paid more for Android apps and/or

18   in-app purchases than she would have paid in a competitive market. Plaintiff has also been injured

19   because Google’s unlawful monopolization of the Android apps and in-app purchases aftermarket

20   has extinguished Plaintiff’s freedom to choose between the Google Play Store and lower cost market

21   alternatives that would have been available had Google not monopolized the market. Plaintiff has

22   also been injured because Google’s establishment and maintenance of monopoly pricing has caused

23   a reduction in the output and supply of Android apps and in-app purchases, which would have been

24   more abundantly available in a competitive market. Plaintiff has suffered and continues to suffer

                                  P a g e | 67 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page144
                                                                68
                                                                137of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1   damages and irreparable injury, and such damages and injury will not abate until an injunction

 2   ending Google’s anti-competitive conduct issues.


 3             COUNT 33: Vermont Consumer Protection Laws (Against all Defendants)

 4             296.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 5   forth in the rest of this Complaint as if fully set forth herein.

 6             297.   Google’s acts and practices detailed above violate Vermont’s consumer protection

 7   laws, Vt. Stat. tit. 9, § 2451, et seq., which prohibit, inter alia, all unfair methods of competition in

 8   commerce, id. § 2453.

 9             298.   Google’s conduct and practices have substantial anticompetitive effects in Vermont,

10   including increased prices and costs, reduced innovation, poorer customer service, and lowered

11   output.

12             299.   Plaintiff has been harmed by Defendants’ anti-competitive conduct in a manner that

13   the Vermont consumer protection laws were intended to prevent. For example, she paid more for

14   Android apps and/or in-app purchases than she would have paid in a competitive market. Plaintiff

15   has also been injured because Google’s unlawful monopolization of the Android apps and in-app

16   purchases aftermarket has extinguished Plaintiff’s freedom to choose between the Google Play Store

17   and lower cost market alternatives that would have been available had Google not monopolized the

18   market. Plaintiff has also been injured because Google’s establishment and maintenance of

19   monopoly pricing has caused a reduction in the output and supply of Android apps and in-app

20   purchases, which would have been more abundantly available in a competitive market. Plaintiff has

21   suffered and continues to suffer damages and irreparable injury, and such damages and injury will

22   not abate until an injunction ending Google’s anti-competitive conduct issues.


23

                                  P a g e | 68 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page145
                                                                69
                                                                138of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1                  COUNT 34: Wisconsin Trade Regulations (Against all Defendants)
 2           300.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations set

 3   forth in the rest of this Complaint as if fully set forth herein.

 4           301.    Google’s acts and practices detailed above violate Wisconsin’s trade regulations,

 5   Wis. Stat. Ann. § 133.01, et seq., which prohibit, inter alia, combinations in restraint of trade or

 6   commerce, id. § 133.03, and monopolization or attempted monopolization of any part of trade or

 7   commerce, id.

 8           302.    Google’s conduct and practices have substantial effects in Wisconsin, including

 9   increased prices and costs, reduced innovation, poorer customer service, and lowered output.

10           303.    Plaintiffs have been harmed by Defendants’ anti-competitive conduct in a manner

11   that Wisconsin’s trade regulations were intended to prevent. For example, she paid more for Android

12   apps and/or in-app purchases than she would have paid in a competitive market. Plaintiffs have also

13   been injured because Google’s unlawful monopolization of the Android apps and in-app purchases

14   aftermarket has extinguished Plaintiffs’ freedom to choose between the Google Play Store and lower

15   cost market alternatives that would have been available had Google not monopolized the market.

16   Plaintiffs have also been injured because Google’s establishment and maintenance of monopoly

17   pricing has caused a reduction in the output and supply of Android apps and in-app purchases, which

18   would have been more abundantly available in a competitive market. Plaintiffs have suffered and

19   continues to suffer damages and irreparable injury, and such damages and injury will not abate until

20   an injunction ending Google’s anti-competitive conduct issues.


21

22

23

24


                                  P a g e | 69 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page146
                                                                70
                                                                139of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231




 1                                             PRAYER FOR RELIEF

 2           WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in favor of

 3   Plaintiff and against Defendants:

 4           A.       Permanently enjoining Defendants from monopolizing or attempting to monopolize

 5   the Android applications aftermarket;

 6           B.       Awarding Plaintiffs and the Class treble damages for injuries caused by

 7   Defendants’ violations of the federal antitrust laws, California’s Cartwright Act, the Arizona

 8   Uniform State Antitrust Act, the District of Columbia Antitrust Act, the Hawaii antitrust laws, the

 9   Iowa Competition Law, the Kansas Restraint of Trade Act, Maine’s monopoly and profiteering

10   laws, Maryland’s antitrust laws, Massachusetts’ consumer protection laws, the Michigan Antitrust

11   Reform Act, the Minnesota Antitrust Law of 1971, the Mississippi antitrust laws, Nebraska’s

12   Junkin Act, the Nevada Unfair Trade Practices Act, the New Hampshire Consumer Protection Act,

13   the New Mexico Antitrust Act, New York’s Donnelly Act, North Carolina’s antitrust laws, the

14   North Dakota Uniform State Antitrust Act, the Oregon Antitrust Law, South Dakota’s antitrust

15   laws, the Tennessee Trade Practices Act, the Utah Antitrust Act, Vermont’s consumer protection

16   laws, and Wisconsin’s trade regulations;

17           C.       Awarding Plaintiff and the Class reasonable attorneys’ fees and costs; and

18           D.       Granting such other and further relief as the Court may deem just and proper.


19                                        Jury Trial Demand
20           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demand a jury

21   trial of all issues so triable.

22

23



                                   P a g e | 70 CLASS ACTION COMPLAINT
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             5:20-cv-05761-VKD
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                            Filed09/09/20
                                                  08/16/20
                                                  09/09/20 Page
                                                           Page147
                                                                71
                                                                140of
                                                                    of
                                                                     of71
                                                                        240
                                                                         231



 1         Dated: August 16, 2020               s/ Michael E. Klenov
 2
 3
 4
 5                                              George A. Zelcs (pro hac vice forthcoming)
 6                                              Robert E. Litan (pro hac vice forthcoming)
 7                                              Randall P. Ewing (pro hac vice forthcoming)
 8                                              Jonathon D. Byrer (pro hac vice forthcoming)
 9                                              KOREIN TILLERY LLC
10                                              205 North Michigan Avenue, Suite 1950
11                                              Chicago, IL 60601
12                                              Telephone: (312) 641-9750
13                                              Facsimile: (312) 641-9751
14
15                                              Stephen M. Tillery (pro hac vice forthcoming)
16                                              Jamie L. Boyer (pro hac vice forthcoming)
17                                              Michael E. Klenov, CA Bar #277028
18                                              Carol L. O’Keefe (pro hac vice forthcoming)
19                                              KOREIN TILLERY LLC
20                                              505 North 7th Street, Suite 3600
21                                              St. Louis, MO 63101
22                                              Telephone: (314) 241-4844
23                                              Facsimile: (314) 241-3525
24
25                                              Karma M. Giulianelli, CA Bar #184175
26                                              Glen E. Summers
27                                              BARTLIT BECK LLP
28                                              1801 Wewetta St. Suite 1200,
29                                              Denver, Colorado 80202
30                                              Telephone: (303) 592-3100
31                                              Facsimile: (303) 592-3140
32
33                                              Ann Ravel
34                                              MCMANIS FAULKNER
35                                              Fairmont Plaza, 10th Floor, 50 West San
36                                              Fernando Street
37                                              San Jose, CA 95113
38                                              Telephone: (408) 279-8700
39                                              Facsimile: (408) 279-3244
40

41
42
43




                            P a g e | 71 CLASS ACTION COMPLAINT
Case
Case5:14-cv-02007-BLF
     3:20-cv-05671-JD Document
                      Document45-1
                               56-1 Filed
                                     Filed09/09/20
                                           09/09/20 Page
                                                    Page148
                                                         141of
                                                             of240
                                                                231




                  EXHIBIT C
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                            Document
                             Document
                                Document
                                     45-1
                                      56-11 Filed
                                             Filed
                                              Filed09/09/20
                                                    09/09/20
                                                     08/17/20 Page
                                                              Page
                                                               Page149
                                                                    142
                                                                     1 ofof
                                                                          of
                                                                           68
                                                                            240
                                                                             231




 1   Steve W. Berman (pro hac vice forthcoming)
     Robert F. Lopez (pro hac vice forthcoming)
 2   HAGENS BERMAN SOBOL SHAPIRO LLP
     1301 Second Avenue, Suite 2000
 3   Seattle, WA 98101
     Telephone: (206) 623-7292
 4   Facsimile: (206) 623-0594
     steve@hbsslaw.com
 5   robl@hbsslaw.com

 6   Benjamin J. Siegel (SBN 256260)
     HAGENS BERMAN SOBOL SHAPIRO LLP
 7   715 Hearst Avenue, Suite 202
     Berkeley, CA 94710
 8   Telephone: (510) 725-3000
     Facsimile: (510) 725-3001
 9   bens@hbsslaw.com

10   Joseph M. Vanek (pro hac vice forthcoming)
     Eamon P. Kelly (pro hac vice forthcoming)
11   SPERLING & SLATER, P.C.
     55 W. Monroe Street, 32nd Floor
12   Chicago, IL 60603
     Telephone: (312) 676-5845
13   Facsimile: (312) 641-6492
     jvanek@sperling-law.com
14   ekelly@sperling-law.com

15   Attorneys for Plaintiff and the Proposed Classes

16                                   UNITED STATES DISTRICT COURT

17                                 NORTHERN DISTRICT OF CALIFORNIA

18                                             SAN JOSE DIVISION

19   PURE SWEAT BASKETBALL, INC., an                        No.
     Illinois corporation, on behalf of itself and all
20   others similarly situated,                             CLASS ACTION COMPLAINT

21                                           Plaintiff,     COMPLAINT FOR VIOLATION OF
                                                            THE SHERMAN ACT AND
22            v.                                            CALIFORNIA UNFAIR COMPETITION
                                                            LAW
23   GOOGLE LLC, a Delaware limited liability
     company; GOOGLE IRELAND                                DEMAND FOR JURY TRIAL OF
24   LIMITED; GOOGLE COMMERCE                               ALL ISSUES SO TRIABLE
     LIMITED; GOOGLE ASIA PACIFIC
25   PTE. LTD.; and GOOGLE
     PAYMENT CORP.,
26                                Defendants.
27

28
     CLASS ACTION COMPLAINT
     Case No.:
     010803-11/1334529 V1
      Case
      Case
        Case
           5:14-cv-02007-BLF
            3:20-cv-05671-JD
              3:20-cv-05792-EMC
                             Document
                              Document
                                 Document
                                      45-1
                                       56-11 Filed
                                              Filed
                                               Filed09/09/20
                                                     09/09/20
                                                      08/17/20 Page
                                                               Page
                                                                Page150
                                                                     143
                                                                      2 ofof
                                                                           of
                                                                            68
                                                                             240
                                                                              231




 1                                                        TABLE OF CONTENTS
                                                                                                                                                   Page
 2
     I.       INTRODUCTION ..................................................................................................................... 1
 3
     II.      JURISDICTION ........................................................................................................................ 9
 4
     III.     PARTIES ................................................................................................................................. 10
 5            A.         The plaintiff ................................................................................................................. 10
 6            B.         The defendants............................................................................................................. 11
 7   IV.      RELEVANT FACTS............................................................................................................... 12
 8            A.         The Google Play store is the official Android OS app store. ...................................... 13

 9            B.         While the Android OS is superficially open-source, Google maintains
                         an iron grip on its commercial aspects. ....................................................................... 15
10
              C.         Google is a monopolist in the U.S. market for Android OS app stores,
11                       and, accordingly, in the markets for app (and in-app) distribution
                         services and in-app payment processing. .................................................................... 19
12
              D.         Google is an attempted monopolist in the U.S. market for Android OS
13                       app stores, and, accordingly, in the markets for app (and in-app)
                         distribution services and payment processing services for U.S. Android
14                       app developers. ............................................................................................................ 20
              E.         Apple offers no market constraints via its iOS app store, through which
15                       it distributes incompatible apps. .................................................................................. 21
16            F.         Google engages in unlawful behavior in order to restrain trade and to
                         maintain and grow its monopoly in the markets at issue............................................. 22
17
                         1.         Google was recently fined over $5 billion for practices related
18                                  to Google Play. ................................................................................................ 22
19                       2.         Google has used contracts with device manufacturers as means
                                    to its anticompetitive ends. .............................................................................. 24
20
              G.         Google’s practices with respect to Google Play further restrain and
21                       injure competition in the market for U.S. Android OS app stores,
                         where already there are high barriers to entry. ............................................................ 26
22                       1.         There are high barriers to entry into the market for Android OS
                                    app stores. ........................................................................................................ 26
23
                         2.         Google manipulates security fears in order to maintain and
24                                  further its market power in U.S. Android OS app stores................................. 27
25                       3.         Google’s refusal to permit app-store clients into Google Play
                                    means that only a hardy few will attempt installation of
26                                  alternative stores. ............................................................................................. 30
27                       4.
                       Even if a consumer succeeds in loading an alternative app-store
                       client onto his or her device, Google may try to shut down
28                     access, which harms competition and developers. .......................................... 34
     CLASS ACTION COMPLAINT                       -i-
     Case No.:
     010803-11/1334529 V1
      Case
      Case
        Case
           5:14-cv-02007-BLF
            3:20-cv-05671-JD
              3:20-cv-05792-EMC
                             Document
                              Document
                                 Document
                                      45-1
                                       56-11 Filed
                                              Filed
                                               Filed09/09/20
                                                     09/09/20
                                                      08/17/20 Page
                                                               Page
                                                                Page151
                                                                     144
                                                                      3 ofof
                                                                           of
                                                                            68
                                                                             240
                                                                              231




 1             H.         Google’s unlawful practices harm developers and competition.................................. 36

 2                        1.         Google’s behavior stifles innovation. .............................................................. 36

 3                        2.         Google harms developers by killing competition and
                                     diminishing consumer choice. ......................................................................... 39
 4                        3.         Google also harms developers and competition by depressing
                                     output. .............................................................................................................. 39
 5
                          4.         Google harms developers by causing supracompetitive pricing
 6                                   of distribution services for Android OS apps and in-app add-
                                     ons, including subscriptions. ........................................................................... 40
 7
     V.        INTERSTATE TRADE AND COMMERCE ......................................................................... 45
 8
     VI.       RELEVANT MARKETS ........................................................................................................ 45
 9
     VII.      CLASS ALLEGATIONS ........................................................................................................ 49
10
     VIII.     APPLICABILITY OF CALIFORNIA LAW .......................................................................... 52
11
     FIRST CAUSE OF ACTION VIOLATION OF THE SHERMAN ACT -
12         MONOPOLIZATION OF MARKET FOR ANDROID DISTRIBUTION
           SERVICES (15 U.S.C. § 2) ..................................................................................................... 53
13   SECOND CAUSE OF ACTION VIOLATION OF THE SHERMAN ACT –
          ATTEMPTED MONOPOLIZATION OF MARKET FOR ANDROID
14        DISTRIBUTION SERVICES (15 U.S.C. § 2) ........................................................................ 54
15   THIRD CAUSE OF ACTION VIOLATION OF THE SHERMAN ACT -
          MONOPOLIZATION OF MARKET FOR ANDROID IN-APP PAYMENT
16        PROCESSING SERVICES (15 U.S.C. § 2) ........................................................................... 56
17   FOURTH CAUSE OF ACTION VIOLATION OF THE SHERMAN ACT –
          ATTEMPTED MONOPOLIZATION OF MARKET FOR ANDROID IN-
18        APP PAYMENT PROCESSING SERVICES (15 U.S.C. § 2) ............................................... 57
19   FIFTH CAUSE OF ACTION VIOLATION OF THE SHERMAN ACT –
           RESTRAINT OF TRADE RE: IN-APP PAYMENT PROCESSING (15
20         U.S.C. § 1) ............................................................................................................................... 59

21   SIXTH CAUSE OF ACTION VIOLATION OF THE SHERMAN ACT –
          ALTERNATIVE BASIS FOR TYING AS TO IN-APP PAYMENT-
22        PROCESSING (15 U.S.C. § 1) .............................................................................................. 60
     SEVENTH CAUSE OF ACTION VIOLATION OF THE UNFAIR COMPETITION
23        ACT (CAL. BUS. & PROF. CODE §§ 17200 ET SEQ.) ........................................................ 62
24   PRAYER FOR RELIEF ...................................................................................................................... 63
25   JURY TRIAL DEMANDED .............................................................................................................. 64
26

27

28
     CLASS ACTION COMPLAINT                                                - ii -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                            Document
                             Document
                                Document
                                     45-1
                                      56-11 Filed
                                             Filed
                                              Filed09/09/20
                                                    09/09/20
                                                     08/17/20 Page
                                                              Page
                                                               Page152
                                                                    145
                                                                     4 ofof
                                                                          of
                                                                           68
                                                                            240
                                                                             231




 1            For its suit against defendant Google LLC, Google Ireland Limited, Google Commerce

 2   Limited, Google Asia Pacific PTE. Ltd. and Google Payment Corp. (collectively, Google), plaintiff,

 3   on its own behalf and that of all similarly situated U.S. Android OS application developers, alleges

 4   as follows:

 5                                         I.     INTRODUCTION
 6            1.       Native applications—apps of various sorts programmed for and downloaded to a

 7   mobile device—bring smartphones and tablets to life. In turn, add-ons for apps—items such as

 8   consumables (for example, extra lives in an adventure game), or subscriptions for full-fledged

 9   mobile productivity apps—make apps more fun or useful. Developers, with their ingenuity, training,

10   investment, and hard work, create these apps and extras. And certainly there are many device users

11   to buy them. As of June 2019, for example, 81% of Americans owned smartphones, and 52% owned

12   tablets.1 And so the two dominant (albeit not mutually competitive) stores—Google Play for

13   Android Operating System (OS) products, and the App Store for Apple iOS products —generate
14   billions of dollars in annual revenue for their owners, Apple Inc. and Google, respectively.2 And
15   what a system it is: because apps for iOS and Android devices are incompatible,3 with all the barriers
16   and switching costs entailed, these two corporate giants can split the lucrative mobile apps world
17   neatly between them, with enormous ongoing profits for each.
18

19
         1
           http://www.pewinternet.org/fact-sheet/mobile/ (last accessed Aug. 15, 2020).
20       2
           See, e.g., https://www.statista.com/statistics/296226/annual-apple-app-store-revenue/ (“In the
21   last reported year, customers spent an estimated 54.2 billion U.S. dollars on in-app purchases,
     subscriptions, and premium apps in the Apple App store. (last accessed Aug. 15, 2020);
22   https://www.statista.com/statistics/444476/google-play-annual-
     revenue/#:~:text=This%20statistic%20the%20worldwide%20app,spending%20in%20the%20previo
23   us%20year. (reporting study indicating that Google Play spending in 2019 was some $29.3 billion,
     which would translate to roughly $9.76 billion, based on the 30% Google revenue share discussed
24   below) (last accessed Aug. 15, 2020). Alphabet, Google’s parent, reported in its 10-K for 2019 that
     “other revenue,” including that generated from Google Play, Google hardware, and YouTube
25   subscriptions, amounted to $17.014 billion for 2019.
     (https://abc.xyz/investor/static/pdf/20200204_alphabet_10K.pdf?cache=cdd6dbf (Alphabet 2019 10-
26   K at 32) (last accessed Aug. 15, 2020).)
         These are global figures. Neither Apple nor Google publishes U.S. figures.
27       3
         https://yourbusiness.azcentral.com/apple-apps-compatible-android-20369.html (last accessed
28   Aug. 15, 2020).
     CLASS ACTION COMPLAINT                          -1-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                            Document
                             Document
                                Document
                                     45-1
                                      56-11 Filed
                                             Filed
                                              Filed09/09/20
                                                    09/09/20
                                                     08/17/20 Page
                                                              Page
                                                               Page153
                                                                    146
                                                                     5 ofof
                                                                          of
                                                                           68
                                                                            240
                                                                             231




 1            2.       Because each store operates in its own discrete sphere, neither places any competitive

 2   pressure on the other, including as to the prices that Google charges developers for app distribution

 3   services and in-app services, the latter of which primarily entails the processing of consumers’

 4   payments for add-ons, including subscriptions, that they purchase via apps distributed through

 5   Google Play.

 6            3.       This suit concerns Google Play, Google’s store for Android OS apps, and the in-app

 7   add-ons or other digital products, including subscriptions, that developers make available for sale via

 8   their apps.4 It concerns Google’s improper attainment and maintenance of a monopoly in the U.S.

 9   market for Android OS app stores and distribution services. And it concerns Google’s improper

10   attainment and maintenance of a monopoly in the U.S. market for in-app product distribution

11   services, which services consist primarily of payment processing for items purchased in-app. It

12   concerns the harm caused by Google’s ongoing abuse of its market power, including the exclusion of

13   competition, the stifling of innovation, the inhibition of consumer choice, and Google’s imposition

14   on app developers of a supracompetitive 30% transaction fee.5

15            4.       In fact, the CEO of Google’s corporate parent, Alphabet, has admitted that Google’s
16   supracompetitive transaction fee is anything but an outcome of competition. Instead, it has “been the
17   industry standard”—in other words, it is what Google’s fellow monopolist Apple imposes in its
18   parallel, closed iOS universe, so Google imposes it its own Android sphere. And as plaintiff will
19   demonstrate, Google’s transaction fees have remained unlawfully high for all these years because

20   Google has willfully—and effectively—excluded competition for developer services in its discrete

21   Android universe.6

22

23

24       4
         See, e.g., https://play.google.com/store?hl=en (Google Play web page) (last accessed Aug. 15,
25   2020).
         5
           This is the default rate. See n.22 for a description of a variation for certain subscription
26   payments made via Google’s in-app purchase mechanism.
         6
27         Alphabet Inc. (Goog) (Google) Q4 2018 Earnings Conf. Call Transcript, available at:
     https://www.fool.com/earnings/call-transcripts/2019/02/04/alphabet-inc-goog-googl-q4-2018-
28   earnings-conferenc.aspx (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                            -2-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                            Document
                             Document
                                Document
                                     45-1
                                      56-11 Filed
                                             Filed
                                              Filed09/09/20
                                                    09/09/20
                                                     08/17/20 Page
                                                              Page
                                                               Page154
                                                                    147
                                                                     6 ofof
                                                                          of
                                                                           68
                                                                            240
                                                                             231




 1            Acquisition of monopoly (or monopsony) power in Android app and in-app markets
 2            5.       Google’s Android OS7 is one of the two dominant mobile device operating systems.8
 3   Google Play is the 1,000-pound gorilla of app providers to the many tens of millions of Android OS

 4   device consumers. While Google does not publish its share among app stores for the Android

 5   mobile operating system, in the European Economic Area, it’s at “more than 90%.”9

 6            6.       But Google has not attained and maintained such dominance because its app store is

 7   somehow unique or better than any potential competition. Rather, as demonstrated below,10 Google

 8   has attained and maintained monopoly status in the U.S. market for Android OS app stores through a

 9   series of anticompetitive contracts, strategic abuses of its dominance in other11 Android software

10   applications, deficits in consumer knowledge and information, and the cultivation and exploitation of

11   device users’ fear of malware.

12            7.       First, Google has attained monopoly status in the U.S. market for Android OS app

13   stores in part by bundling the Google Play store with its other must-have apps (themselves made

14   must-have by Google’s forced-bundling practices). If a manufacturer of an Android OS device

15   wanted (or wants) to pre-install the popular YouTube or Google Maps apps on devices sold in the

16   U.S., it has to take the Google Play store as well. This results in the pre-installation of Google Play

17   on tens of millions of U.S. devices every year.12 And of course, the ubiquity of these pre-

18
         7
19         See Alphabet’s (Google’s parent) 2017 10-K,
     https://abc.xyz/investor/pdf/20171231_alphabet_10K.pdf, at 3 (referring to Google’s acquisition of
20   Android, and referring to Android as one of its “core products”)
         8
           The other is Apple’s iOS. In July 2020, Android’s U.S. market share was at 41.03%, versus
21   58.78% for iOS. (http://gs.statcounter.com/os-market-share/mobile/united-states-of-america (last
     accessed Aug. 15, 2020).)
22       9
           https://ec.europa.eu/commission/presscorner/detail/en/IP_18_4581 (last accessed Aug. 15,
23   2020).
         10
            See Secs. IV.F-IV.H, infra.
24       11
            Google Play is itself a software application, known in the instant context as a client. See
25   https://en.wikipedia.org/wiki/Client_(computing)#:~:text=In%20computing%2C%20a%20client%20
     is,by%20way%20of%20a%20network. (last accessed Aug. 15, 2020).
26       12
           For example, one study indicates that at least 27.5 million Android devices were sold in the
     U.S. in Q3 2017. (See Data 29.5 Million US Smartphone Shipments in Q3, 2017, Android
27   Headlines, available at: https://www.androidheadlines.com/2017/11/data-39-5-million-us-
     smartphone-shipments-in-q3-2017.html (last accessed Aug. 15, 2020).) Samsung, LG, ZTE, and
28   Motorola alone sold 23.5 million of these devices. (Id.) And each of these manufacturers preloads
     CLASS ACTION COMPLAINT                          -3-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                            Document
                             Document
                                Document
                                     45-1
                                      56-11 Filed
                                             Filed
                                              Filed09/09/20
                                                    09/09/20
                                                     08/17/20 Page
                                                              Page
                                                               Page155
                                                                    148
                                                                     7 ofof
                                                                          of
                                                                           68
                                                                            240
                                                                             231




 1   installations only reinforces Google Play’s status as the perceived official app store for Android

 2   apps.

 3            8.       Second, Google maintains and reinforces its monopoly status in the field by banning

 4   the distribution of other Android app-sale clients in Google Play. For example, Amazon runs an app

 5   store for Android OS apps, but there is no easy or readily available way for the typical Android OS

 6   device owner to buy anything from it. Google’s practices require the vast majority of users to

 7   sideload13 the Amazon Appstore by locating the client online; figuring out the sideload process; and

 8   changing a security setting on his or her device that allows a practice that Google, as the owner of the

 9   standard Android operating system, strongly discourages (enabling the ominous-sounding “Unknown

10   sources” download capability). As Google well knows, hardly any members of its enormous Google

11   Play install base will go to this trouble, if they even know such a process may be available. And still

12   others will heed Google’s security warnings and not go through with the installation.14 No wonder

13   app developers feel bound to sell in Google Play, whatever the cost.
14            9.       Third, by so-called anti-fragmentation contractual terms, Google prohibits licensees
15   of apps such as YouTube and Google Play from manufacturing or selling even a single smart device
16   using a so-called forked version, i.e., a non-Google variant, of Android.15 Amazon is the author and
17   distributor of Fire OS, an Android variant. This Android fork powers Amazon’s tablets.16 Yet
18   because Google’s anticompetitive contracts prohibit players large and small from deploying Fire OS,
19   it has not reached its competitive potential; it remains essentially an Amazon-only OS, despite other

20
     Google Play on some, if not all or most, of its U.S. devices. According to the European
21   Commission, the Google Play Store is pre-installed by device manufacturers on practically all
     Android mobile devices sold outside of China.
22       13
            “Sideloading is the installation of an application on a mobile device without using the device’s
     official application-distribution method.”
23   (https://searchmobilecomputing.techtarget.com/definition/sideloading (last accessed Aug. 15, 2020).)
         14
24          See, e.g., “Download apps to your Android device,” available at:
     https://support.google.com/android/answer/7391672?hl=en&ref_topic=7311596 (last accessed Aug.
25   15, 2020) (setting forth official safety warnings for those who would venture outside Google Play).
         15
           E.g., https://developer.amazon.com/docs/fire-tv/fire-os-overview.html (last accessed Aug. 15,
26   2020).
        16
27         It is also the operating system for Amazon’s Fire Phone, a now-discontinued device of which
     Amazon sold very few. See https://www.phonearena.com/phones/Amazon-Fire-Phone_id8731 (last
28   accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                            -4-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                            Document
                             Document
                                Document
                                     45-1
                                      56-11 Filed
                                             Filed
                                              Filed09/09/20
                                                    09/09/20
                                                     08/17/20 Page
                                                              Page
                                                               Page156
                                                                    149
                                                                     8 ofof
                                                                          of
                                                                           68
                                                                            240
                                                                             231




 1   manufacturers’ reported interest in adopting it.17 Because Google regularly prohibits almost all

 2   Android device manufacturers from pre-installing Fire OS on their phones and tablets, it’s further

 3   limited the Amazon Appstore’s competitiveness (which otherwise would be pre-installed on those

 4   additional Fire OS devices).

 5            10.      Google’s abuse of its power regarding Google Play is part of the behavior that led

 6   Europe to fine Google a record €4.34 billion, then about $5.1 billion.18 In fact—in Europe—due to

 7   the E.U.’s action, Google has recently de-coupled Google Play and other popular apps from its

 8   Search and Chrome apps, the latter of which were part and parcel of its monopolistic dominance in

 9   mobile search. And Google also will cease its practice of refusing to license its apps to

10   manufacturers who want to build devices with an Android-forked OS—but in Europe, not in the U.S.

11            11.      Fourth, Google makes overblown, self-serving, and unjustifiable claims regarding

12   security in order to dissuade consumers from downloading and trying competitors’ app stores. Not

13   content to rely solely on its huge install base for Google Play, which itself was obtained by

14   anticompetitive means, Google also uses official Android warnings, warnings on devices, and

15   security mechanisms on Android OS devices to convince consumers that it is too risky to try its

16   competitors’ stores. And if all of these security warnings are not enough, then Google will use its

17   security systems to interfere with the ability of users to make purchases from other stores.

18            12.      For example, its abuse of power on ostensible security grounds has recently led to an

19   injunction issued by a Portuguese court, applicable throughout Europe, barring Google from using

20   purported security measures to dissuade consumers from using an alternative Android OS app store,

21   and from going so far as to disable it on devices on which users had found a way to install it.19

22   Google, it appears, will take most any step to protect and bolster its multi-billion dollar Android app-

23   store business.

24
         17
25          See https://ec.europa.eu/commission/presscorner/detail/en/IP_18_4581 ((last accessed Aug. 17,
     2020).
26       18
            See. e.g., https://www.nytimes.com/2018/07/18/technology/google-eu-android-fine.html (last
     accessed Aug. 15, 2020).
27       19
            See https://www.androidpolice.com/2018/10/23/aptoide-gains-injunction-google-latest-
28   antitrust-case-compensation-follow/ (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                            -5-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                            Document
                             Document
                                Document
                                     45-1
                                      56-11 Filed
                                             Filed
                                              Filed09/09/20
                                                    09/09/20
                                                     08/17/20 Page
                                                              Page
                                                               Page157
                                                                    150
                                                                     9 ofof
                                                                          of
                                                                           68
                                                                            240
                                                                             231




 1            Abuse of monopoly (or monopsony) power through Google Play
 2                     Generally
 3            13.      Having gained monopoly power by anticompetitive means in the U.S. market for

 4   Android OS app stores, Google abuses that power by continuing to stifle innovation and consumer

 5   choice. Its overbearing contracts and practices steal oxygen even from well-resourced competitors

 6   such as Amazon, robbing the marketplace of innovative means of distributing apps at lower costs to

 7   developers. And by stifling competition, Google deprives consumers of readily accessible and

 8   vibrant choices in the U.S. market for Android OS app stores. Moreover, as described herein,

 9   Google correspondingly has willfully and unlawfully acquired, maintained, and abused monopoly

10   market power, and otherwise acted improperly and unlawfully, in the U.S. Android developer

11   distribution and payment processing markets as alleged herein.

12                     30% default transaction fee
13            14.      Google has abused its unlawfully gained dominance to impose supracompetitive
14   pricing: a default 30% service fee20 paid by developers on each sale of non-zero-priced Android OS
15   app purchases21 made at its Google Play store, and, as the case may be, on sales of in-app digital add-
16   ons, including subscriptions, distributed via apps sold in Google Play.22 So if an app or in-app add-
17

18       20
            Google’s current and past 70% (developer) / 30% (Google) revenue split is memorialized at
19   paragraph 3.4 of its Google Play Developer Distribution Agreement by reference to a Service Fee,
     which in turn is linked to Google’s “Service fees” schedule. (See
20   https://play.google.com/about/developer-distribution-agreement.html (Dev. Agr.) (last accessed Aug.
     15, 2020), available at: https://support.google.com/googleplay/android-
21   developer/answer/112622?hl=en (“For apps and in-app products offered through Google Play, the
     service fee is equivalent to 30% of the price. You receive 70% of the payment. The remaining 30%
22   goes to the distribution partner and operating fees.”) (last accessed Aug. 15, 2020).)
         21
            Google has modified its service-fee structure with respect to subscriptions.
23   (https://support.google.com/googleplay/android-developer/answer/112622?hl=en (“As of January 1,
     2018, the transaction fee for subscription products decreases to 15% for any subscribers you retain
24   after 12 paid months. If a subscriber has been active as of this date, that time will be counted. For
     example, if a subscriber has been active for 4 months, the transaction fee will be reduced to 15%
25   after 8 more paid months.”).)
         22
26          Google also charges developers a $25 fee to set up a Google Play developer account.
     (https://support.google.com/googleplay/android-developer/answer/6112435?hl=en) (“There is a $25
27   USD one-time registration fee . . . .”) (last accessed Aug. 15, 2020).) This fee helps offset costs that
     Google may claim as justification for its incredibly high 30% service fee, especially considering the
28   sheer number of developers from whom Google collects it.
     CLASS ACTION COMPLAINT                           -6-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page158
                                                                 151
                                                                 10 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   on in Google Play costs $1.99, Google takes nearly $.60.23 As for in-app sales, this charge is

 2   essentially for payment-processing services, which could be purchased from other providers at much

 3   cheaper rates,24 and with faster payments to developers, if only Google permitted developers to use

 4   them. Tellingly, Google has succeeded in maintaining this astounding and exploitative 30% take rate

 5   (with the exception noted) since it opened its app store in 2008, despite, e.g., accrued economies of

 6   scale.

 7             15.     By imposing this unjustified default 30% tax rate on paid Google Play transactions,

 8   including as to in-app digital product distributions, and by inserting the requisite terms into its

 9   contracts with developers, Google extracts more money from developers than they would otherwise

10   have to pay for the distribution of Android OS apps and add-ons sold via in-app purchase, including

11   subscriptions. But for Google’s exclusionary behavior, including as to in-app payment processing as

12   alleged herein, the Android app distribution market (as well as the tied payment processing market)

13   would have more, and more meaningful and effective, competition.

14             16.     Even more evidence of Google’s supracompetitive pricing has emerged via the

15   developer of Fortnite, a currently popular game. This developer, Epic Games, decided to forego

16   sales of Fortnite in the Google Play store and to distribute the game on its own—in spite of the need

17   for the difficult sideload process engendered by Google’s anticompetitive behavior. Epic has

18   divulged information, discussed below,25 further demonstrating that Google’s 30% levy on Google

19   Play transactions far exceeds the bounds of even a generous profit. Epic eventually opted to return to

20   Google Play, due to the effects and obstacles brought about by Google’s anticompetitive conduct and

21   policies, including as to the deliberately complicated and fraught way in which Fortnite must be

22       23
            Or, alternatively, a sum calculated on the basis of a still-supracompetitive 15% commission on
23   certain subscriptions, see n.22, supra, for what amounts to payment processing services that could be
     purchased much cheaper from other provider, if Google permitted developers to use them.
24       24
            The cost of alternative electronic payment processing tools, which Google does not permit to
     be used for the purchase of in-app digital content or within Android games, can be one tenth of the
25   30% cost of Google Play Billing. For example, the base U.S. rate for electronic payment processing
     tool PayPay is 2.9%, for Stripe it is also 2.9%, for Square it is 2.6%-3.5%, and for Braintree it is
26   2.9%. That is particularly so for PayPal’s microtransaction rates (for developers whose sales average
     under $10), the latter of which do not include a separate fee on top of the percentage-of-sale-price
27   charge.
         25
28            See Section IV.H.4, infra.
     CLASS ACTION COMPLAINT                            -7-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page159
                                                                 152
                                                                 11 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   loaded onto affected devices. What is more, as explained below, see ¶¶ 118-19, infra, Google

 2   removed Epic from Google Play a few days ago, after Epic dared to offer a cheaper way for

 3   consumers to purchase virtual currency for use in Fortnite, via Epic’s own payment processing

 4   system. Use of that system meant that Epic could avoid payment Google’s supracompetitive fee for

 5   the forced use of its own payment processing system.

 6             17.      Other compelling evidence of supracompetitive pricing comes from Google’s own

 7   Chrome Web Store, in which it charges developers not 30%, but 5% transaction fees.26

 8             18.     Furthermore, Google’s behavior depresses output. But for Google’s abusive

 9   behavior, developers would have more pricing flexibility in the hugely dominant Google Play

10   store—and pricing flexibility is, of course, useful.27 There would be more distribution transactions

11   but for Google’s anticompetitive behavior. Therefore, Google’s abusive behavior depresses output
12   of transactions in the U.S. market for Android OS app stores. App developers would create and sell
13   more product but for Google’s supracompetitive default 30% tax.
14                     $.99 minimum-price agreement
15             19.     Google also abuses its unlawfully obtained monopoly power by way of minimum
16   price fixing. Through its adhesive contracts with developers, it requires that regularly priced paid
17   apps, in-app purchases, and subscriptions for U.S. consumers be priced no lower than $.99. So, for
18   example, there can be no regularly priced $.69 apps or in-app products sold in Google Play.
19             20.     There is no pro-competitive justification for this minimum-price requirement.

20   Minimum price fixing in Google Play has no salutary effects on inter-brand competition, a typical

21   purported justification for such requirements. Rather, this mandatory pricing term was designed for

22   the purpose of enabling Google to earn at least 30 cents on every dollar spent in the Google Play

23   store.

24             21.     Google’s minimum-price mandate also depresses output. In light of consumers’

25   demonstrably strong preference for low-priced apps and related products, developers would sell

26   more apps and app-related products but for this requirement.

27       26
              See Section IV.H.4, infra.
         27
28            See, e.g., discussion in Sections IV.G and IV.H.
     CLASS ACTION COMPLAINT                            -8-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page160
                                                                 153
                                                                 12 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            22.      In sum, Google’s willful acquisition and maintenance of monopoly power in the

 2   markets identified, and its abuse of that power, inter alia, to impose its supracompetitive distribution

 3   and in-app payment processing fees on U.S. Android OS developers such as the plaintiff, are harmful

 4   to competition and harmful to developers specifically. Alternatively, if Google is determined to be

 5   the purchaser of digital products from Android OS developers that in turn sells these products to end-

 6   users, via Google Play or otherwise, then Google (also) acts as a monopsonist, or attempted

 7   monopsonist. (A monopsonist is a buy-side monopolist.) The circumstances, effects, and allegations

 8   are essentially the same for monopoly or attempted monopoly: By Google’s behavior as alleged

 9   herein, Google uses its monopsony power to underpay Android OS developers below the price they

10   would obtain in a competitive market for their apps and in-app products. Therefore, plaintiff’s

11   allegations herein should be understood to also plead in the alternative claims based on monopsony,

12   both for plaintiff and the putative classes. In either alternative—and as otherwise pled herein—

13   Google’s behavior violates antitrust and consumer protection law. Plaintiff seeks monetary relief to

14   redress the injuries caused by Google’s past and ongoing conduct, and it seeks injunctive relief to

15   stop Google’s ongoing improper, unlawful, and harmful behavior in the relevant markets.

16                                           II.     JURISDICTION
17            23.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

18   because Plaintiff alleges violations of federal law, namely, the federal Sherman Act. The Court has

19   supplemental jurisdiction over the plaintiff’s state law claim pursuant to 28 U.S.C. § 1367(a).

20            24.      This Court has personal jurisdiction over the Defendants. Google LLC and Google

21   Payment are headquartered in this District. All Defendants have engaged in sufficient minimum

22   contacts with the United States and have purposefully availed themselves of the benefits and

23   protections of United States and California law, such that the exercise of jurisdiction over them

24   would comport with due process requirements. Further, the Defendants have consented to the

25   exercise of personal jurisdiction by this Court.

26            25.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Google LLC

27   and Google Payment maintain their principal places of business in the State of California and in this

28   District, because a substantial part of the events or omissions giving rise to Epic’s claims occurred in
     CLASS ACTION COMPLAINT                            -9-
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page161
                                                                 154
                                                                 13 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   this District, and because, pursuant to 28 U.S.C. § 1391(c)(3), any Defendants not resident in the

 2   United States may be sued in any judicial district and their joinder with others shall be disregarded in

 3   determining proper venue. In the alternative, personal jurisdiction and venue also may be deemed

 4   proper under Section 12 of the Clayton Antitrust Act, 15 U.S.C. § 22, because Defendants may be

 5   found in or transact business in this District. Furthermore, the Google Play Terms of Service

 6   incorporates the Google Terms of Service by reference, and the latter designates this judicial district

 7   as the federal venue for this action.28

 8             26.     Intradistrict Assignment: Assignment to the San Jose division of this Court is

 9   appropriate because Defendants Google LLC and Google Payment have their headquarters and/or

10   principal place of business in Mountain View, Santa Clara County, California, which is located in

11   this division of the Northern District of California. Also, it is believed and therefore alleged that

12   many members of the proposed class reside or do business in the San Jose division of the Northern

13   District of California.

14                                                III.     PARTIES
15   A.        The plaintiff
16             27.     Plaintiff Pure Sweat Basketball is an Illinois corporation with its principal place of

17   business in Crystal Lake, Illinois. It is the developer of the Pure Sweat Basketball Workout App.

18   Pure Sweat Basketball is a party to the developer contracts referenced in this complaint. These

19   agreements specify the commission rate and pricing and other mandates described herein. Also, in

20   order to be permitted to make its app available in Google Play, and to sell non-zero priced

21   subscriptions through its app, Pure Sweat Basketball has paid Google’s $25 developer fee. To the

22   best of its knowledge, Pure Sweat Basketball’s last distributions of its app through Google Play, and

23   sales of subscriptions at non-zero prices through the app, have occurred this year. Pure Sweat

24
          28
25          See Google Play Terms of Service, available at: https://play.google.com/about/play-
     terms/index.html, which incorporates the Google Terms of Service, the latter of which is available at:
26   https://policies.google.com/terms (“California law will govern all disputes arising out of or relating
     to these terms, service-specific additional terms, or any related services, regardless of conflict of
27   laws rules. These disputes will be resolved exclusively in the federal or state courts of Santa Clara
     County, California, USA, and you and Google consent to personal jurisdiction in those courts.”) (last
28   accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                              - 10 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page162
                                                                 155
                                                                 14 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   Basketball charges $4.99 monthly for its digital subscription product, or $49.99 annually, and it has

 2   paid Google’s supracompetitive 30% commission on each sale.

 3              28.    Alternatively, Google paid Pure Sweat Basketball what amounts to an artificially low

 4   wholesale price for digital products sold via Google Play.

 5              29.    Furthermore, Pure Sweat Basketball’s in-app subscription sales (like the app, if sold at

 6   above-zero prices) have always been subject to Google’s requirement that app transactions be priced

 7   at a minimum of $.99, as well as other pricing mandates. Google has denied Pure Sweat Basketball

 8   the ability to choose to sell digital products at price points below $.99, in efforts to achieve

 9   maximum sales and effect business plans as it would elect, to plaintiff’s detriment.

10   B.         The defendants
11              30.    Defendant Google LLC is a Delaware limited liability company with its headquarters

12   and principal place of business in Mountain View, California. It is the owner of Google Play, from

13   and by which developers of Android apps sell paid applications, music, movies, books and in-app

14   products to Android device owners. Its parent, Alphabet Inc., was number 15 on last year’s U.S.

15   Fortune 500,29 with 2019 revenues of nearly $137 billion and net income of $30.736 billion.30

16              31.    Defendant Google Ireland Limited is a limited company organized under the laws of
17   Ireland with its principal place of business in Dublin, Ireland, and a subsidiary of Google LLC.
18   Google Ireland contracts with all app developers that distribute their apps through Google Play and is
19   therefore a party to the anticompetitive contractual restrictions at issue in this complaint.

20              32.    Defendant Google Commerce Limited is a limited company organized under the laws

21   of Ireland with its principal place of business in Dublin, Ireland, and a subsidiary of Google LLC.

22   Google Commerce contracts with all app developers that distribute their apps through Google Play

23   and is therefore a party to the anticompetitive contractual restrictions at issue in this complaint.

24              33.    Defendant Google Asia Pacific Pte. Ltd. is a private limited company organized under

25   the laws of Singapore with its principal place of business in Mapletree Business City, Singapore, and

26   a subsidiary of Google LLC. Google Asia Pacific contracts with all app developers that distribute

27        29
               https://fortune.com/fortune500/2019/alphabet/ (last accessed Aug. 15, 2020).
          30
28             Id.
     CLASS ACTION COMPLAINT                            - 11 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page163
                                                                 156
                                                                 15 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   their apps through Google Play and is therefore a party to the anticompetitive contractual restrictions

 2   at issue in this complaint.

 3            34.      Defendant Google Payment Corp. is a Delaware corporation with its principal place

 4   of business in Mountain View, California, and a subsidiary of Google LLC. Google Payment

 5   provides in-app payment processing services to Android app developers and Android users and

 6   collects a 30% commission on many types of processed payments, including payments for apps sold

 7   through Google Play and in-app purchases made within such apps.

 8                                          IV.     RELEVANT FACTS
 9            35.      Google has injured plaintiff, the putative class of U.S. developers it seeks to

10   represents, and competition in the relevant markets define herein, see Part VI, by way of its unlawful

11   behavior in the U.S. sale of paid Android OS apps from its Google Play store and in-app sales of in-

12   app add-ons, including but not limited to subscriptions. As the holder of an unlawfully obtained

13   monopoly in the U.S. market for Android OS app stores, Google’s behavior has resulted in developer

14   overcharges in these transactions due to its imposition of a supracompetitive 30% fee on each paid

15   sale from its store. Also, Google’s aggressive and improper monopolization (or attempted

16   monopolization) of the U.S. Android OS app31 store market has stifled competition by strongly

17   inhibiting the emergence of vibrant, and viable, competitors, which reinforces and strengthens its
18   pernicious and overbearing market power.
19            36.      Additionally, Google requires app developers to sell at minimum prices. There is no

20   pro-competitive justification for this practice, and certainly none in an environment where Google

21   Play already is overwhelmingly dominant in the U.S. space for Android OS app stores.

22

23

24

25

26

27       31
           Throughout this complaint, references to Android OS apps also refer to in-app purchases and
28   paid subscriptions.
     CLASS ACTION COMPLAINT                             - 12 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page164
                                                                 157
                                                                 16 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   A.        The Google Play store is the official Android OS app store.
 2             History
 3             37.     Google introduced its app store, then known as Android Market, in or about August

 4   2008.32 On or about October 22, 2008, Google, HTC, and T-Mobile released the first Android OS

 5   smartphone, the T-Mobile G-1.33 This very first released-to-consumer Android OS smartphone came

 6   pre-loaded with the Android Market client. As T-Mobile’s September 2008 press release explained:

 7             Android Market:
 8                     The T-Mobile G1 is the first phone to offer access to Android Market, which
               hosts unique applications and mash ups of existing and new services from developers
 9             around the world. With just a couple of short clicks, customers can find and download
               a wide range of innovative software applications — from games to social networking
10             and on-the-go shopping — to personalize their phone and enhance their mobile
               lifestyle. When the phone launches next month, dozens of unique, first-of-a-kind
11             Android applications will be available for download on Android Market . . . .34
12             38.     Next, on or about March 6, 2012,35 Google introduced its Google Play store. Google
13   Play both succeeded and subsumed its predecessor, Android Market, adding digitized music and
14   books to the store’s offerings.36 It now carries movies and television programs as well.37
15             How Google Play works
16             39.     For their products to be sold in the Google Play store, application developers38 enter
17   into the Google Play Developer Distribution Agreement.39 The developer then uploads its product to
18
          32
            Google launched Android Market, Google Play’s predecessor for Android OS Apps, on or
19   about August 28, 2008. (See, e.g., https://www.cnet.com/news/google-announces-android-market-
     for-phone-apps/ (dated Aug. 28, 2008) (last accessed Aug. 15, 2020).)
20       33
            “T-Mobile Unveils the T-Mobile G1—the First Phone Powered by Android,” dated September
21   22 (and 23), 2008, available at: https://www.t-mobile.com/news/t-mobile-unveils-the-t-mobile-g1-
     the-first-phone-powered-by (last accessed Aug. 15, 2020).
22       34
            Id.
         35
23          https://googleblog.blogspot.com/2012/03/introducing-google-play-all-your.html (last accessed
     Aug. 15, 2020).
24       36
            Id. (“Starting today, Android Market, Google Music and the Google eBookstore will become
     part of Google Play. On your Android phone or tablet, we’ll be upgrading the Android Market app to
25   the Google Play Store app over the coming days.”).
          37
26          https://play.google.com/store/apps/details?id=com.google.android.videos&hl=en_US (last
     accessed Aug. 15, 2020).
27       38
            Except presumably Google, which also offers its own products—including paid products—in
     the Google Play store. (See
28   https://play.google.com/store/apps/details?id=com.google.android.apps.youtube.music&hl=en
     CLASS ACTION COMPLAINT                          - 13 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page165
                                                                 158
                                                                 17 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   Google servers for review, testing (if any), limited release (if any), and production-release for sale to

 2   consumers in the store.40 As part of the process, the developer “grant[s] to Google a nonexclusive

 3   and royalty-free license to distribute [the developer’s] Products in the manner indicated in the Play

 4   Console.”41

 5            40.      Developers ostensibly set prices for products sold in the Google Play store. But, as

 6   described above, Google’s developer contract (more specifically, its incorporated terms or policies)

 7   requires that paid products be sold to U.S. consumers at a regular price of no lower than $.99 (and a

 8   $400 maximum).42 Therefore, developers cannot sell regularly priced apps at $.69, for example.

 9   The contract has, however, allowed for lower minimum prices for 18 other countries’ purchasers

10   since November 2015 (or earlier in 2015 for India).43 For example, an app that must be priced for

11   U.S. consumers no lower than $.99 can be priced at approximately $.13 for Indian purchasers, as of
12   the exchange rate on Aug. 15, 2020.44 There is no evidence that Google is somehow losing money
13   by way of this contractual practice. But even if one posits hypothetically that it is, then U.S.
14
     (offering YouTube Music app in Google Play, and referring to the paid Music Premium version that
15   is also available) (last accessed Aug. 15, 2020).
         39
            Dev. Agr. (current agreement, effective as of Feb. 26, 2018) (Dev. Agr.) (last accessed Aug.
16   15, 2020). For the pre-Feb. 26, 2018 version, see https://play.google.com/about/developer-
     distribution-agreement/archive.html (last accessed Aug. 15, 2020).
17       40
            Id., ¶ 4.2 (“You are responsible for uploading Your Products to Google Play, providing
18   required Product information and support to users, and accurately disclosing the permissions
     necessary for the Product to function on user Devices.”) (last accessed Aug. 15, 2020);
19   https://support.google.com/googleplay/android-developer/answer/113469?hl=en (“Upload an app”)
     (last accessed Aug. 15, 2020); https://support.google.com/googleplay/android-
20   developer/answer/7159011? (“Prepare & roll out releases”) (last accessed Aug. 15, 2020).
         41
            Dev. Agr., ¶ 5.1.
21       42
            Dev. Agr., ¶ 5.2 (referring to sales to be made “in the manner indicated in the Play Console”).
22   The Play Console, and Play Console help sections, set forth the minimum pricing requirements: see
     https://support.google.com/googleplay/android-developer/answer/6334373?hl=en (“Set up prices &
23   app distribution”) (last accessed Aug. 15, 2020); https://support.google.com/googleplay/android-
     developer/table/3541286? (“Supported locations for distribution to Google Play users”) (last
24   accessed Aug. 15, 2020).
         43
            See, e.g., “Google slashes minimum app prices to way below $0.99 in 17 countries,”
25   Mashable, Nov. 18, 2015, available at: https://mashable.com/2015/11/18/google-minimum-app-
     prices/#JluQdT6ebEqd (last accessed Aug. 15, 2020).
26       44
           https://support.google.com/googleplay/android-developer/table/3541286 (apps for Indian
27   consumers may be priced from between 10.00 INR to 26,000.00 INR, or approximately $.13 to
     $347.11, as of Aug. 15, 2020—see https://transferwise.com/us/currency-converter/inr-to-usd-
28   rate?amount=10 (last accessed Aug. 15, 2020)).
     CLASS ACTION COMPLAINT                            - 14 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page166
                                                                 159
                                                                 18 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   developers (and consumers) are subsidizing consumers from other countries by way of the higher

 2   U.S. minimum prices and the sums that Google collects thereby, such that U.S. developers (and

 3   consumers) are paying more than they ought to be paying as a result of this restraint of trade.

 4             41.     Developers sell their apps, in-app products,45 and subscriptions46 directly through the

 5   Google Play store. Consumers select apps from the displays that Google organizes and sets up;

 6   tender their payments to Google; and download the apps from Google to their devices.47

 7             42.     Developers, in turn, pay Google 30% of each paid sale of an app or in-app product.

 8             43.     In other words, developers are direct purchasers of Google’s distribution services, and

 9   they are damaged directly by the overcharge on each sale between Google’s supracompetitive fee

10   vehicles. A fee subject to competition but for Google’s restraints and abusive behavior.

11   B.        While the Android OS is superficially open-source, Google maintains an iron grip on its
               commercial aspects.
12
               44.     Google owns and controls the Android OS. Ostensibly, the code for the operating
13
     system itself is open-source. According to Google, anyone can download, use, and modify the
14
     Android OS source code, as long as Google allows it. Google calls this aspect of its OS the Android
15
     Open Source Project (AOSP). As Google48 puts it:
16
                      Android is an open source operating system for mobile devices and a
17             corresponding open source project led by Google. This site and the Android Open
               Source Project (AOSP) repository offer the information and source code needed to
18
          45
            See, e.g., https://support.google.com/googleplay/answer/1061913?hl=en&ref_topic=7049688#
19   (“Make in-app purchases in Android apps”) (“With some apps, you can buy additional content or
     services within the app. We call these ‘in-app purchases.’ Here are some examples of in-app
20   purchases: A sword that gives you more power in a game . . . .”) (last accessed Aug. 15, 2020).
         46
21          https://support.google.com/googleplay/answer/2476088?hl=en&ref_topic=1689236
     (“Subscribe to services or content”) (referring to subscriptions to magazines, newspapers, and other
22   material, and explaining how to subscribe) (last accessed Aug. 15, 2020).
         47
            See, e.g.,
23   https://support.google.com/googleplay/answer/4355207?hl=en&ref_topic=3364260&co=GENIE.Plat
     form%3DAndroid&oco=1 (“Get started with Google Play”-Android) (last accessed Feb. 1, 2019);
24   https://support.google.com/googleplay/answer/113409?hl=en&ref_topic=3365058 (“Get Android
     apps and digital content from the Google Play Store”) (“1. Open the Google Play Store app. 2.
25   Search or browse for content. 3. Select an item. 4. Tap Install (for free items) or the item’s price. 5.
     Follow the onscreen instructions to complete the transaction and get the content.”) (last accessed
26   Aug. 15, 2020).
          48
27        “Android was originated by a group of companies known as the Open Handset Alliance, led by
     Google. . . . The Android Open Source Project is led by Google, who maintains and further develops
28   Android.” (https://source.android.com/setup/ (last accessed Aug. 15, 2020).)
     CLASS ACTION COMPLAINT                            - 15 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page167
                                                                 160
                                                                 19 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            create custom variants of the Android OS, port devices and accessories to the Android
              platform, and ensure devices meet the compatibility requirements that keep the
 2            Android ecosystem a healthy and stable environment for millions of users. . . .49

 3            45.      But the open-source code only enables a device’s most basic functions. As Google

 4   explains: “The Android Open-Source Project (AOSP) is the core software stack behind the Android

 5   OS and consists of the operating system, middleware, and open-source apps like a phone dialer,

 6   email, and messaging. Mobile operators, device makers, and developers can use this to build devices

 7   and apps.”50

 8            46.      What makes a mobile device marketable and attractive to modern consumers are its

 9   apps. Google has developed several popular apps, including YouTube, Google Maps, Gmail as well

10   as the Google Play client, among others. These are proprietary apps, and they are decidedly not

11   open-source. Manufacturers must sign agreements to pre-install them on their Android OS devices,

12   and in the U.S., they come bundled together as a suite—manufacturers who want to pre-install any

13   one of them must pre-install all of them.51 Google refers to this program as Google Mobile Services.

14   As Google touts it:
15                                   The best of Google, right on your devices
16            Google Mobile Services brings Google’s most popular apps and APIs to your Android
                                                  devices.
17
                                   Google’s most popular apps, all in one place
18
               Google Mobile Services (GMS) is a collection of Google applications and APIs that
19              help support functionality across devices. These apps work together seamlessly to
                    ensure your device provides a great user experience right out of the box.52
20
              47.      GMS is an element of how Google dominates the entire Android ecosystem. Over
21
     time, it has moved more and more apps into its proprietary, non-open-source universe of apps, as
22

23       49
            https://source.android.com/ (last accessed Aug. 15, 2020).
         50
24          “Understanding Android,” available at: https://www.android.com/everyone/facts/ (last
     accessed Aug. 15, 2020).
25       51
            “After building an Android compatible device, consider licensing Google Mobile Services
     (GMS), Google’s proprietary suite of apps (Google Play, YouTube, Google Maps, Gmail, and more)
26   that run on top of Android. GMS is not part of the Android Open Source Project and is available only
     through a license with Google.” (https://source.android.com/compatibility/overview (last accessed
27   Aug. 15, 2020).)
         52
28          https://www.android.com/gms/ (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                          - 16 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page168
                                                                 161
                                                                 20 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   well as services that make third-party apps work effectively, in ways that users have come to expect

 2   (e.g., by calling up map services, now through the proprietary Google Maps). As one analyst

 3   describes Google’s machinations:

 4            Over time, Google began migrating applications – like Search, Music, and the
              Calendar – out of AOSP and into GMS. Any OEM wanting to use AOSP to build its
 5            own Android fork would now have to build their own versions of these apps, on top
              of email, maps, and so on. (Ars Technica has a good rundown of the application
 6            migration here53.) On top of that, the device would lack the Google services APIs that
              lots of third-party apps need. And Google didn’t stop there. Google Mobile Services
 7            mutated into Google Play Services54 in September 2012.

 8            A fork in the road: Why Google Play Services is key to understanding the ‘forking’
              question
 9
              Back in May 2013 at the Google I/O Keynote there was no mention of an Android
10            upgrade. Instead, Google announced a bunch of new features to be rolled out to
              Android devices via Google Play Services. Google had started to move away from
11            Android-as-platform to Play Services-as-platform. As Ron Amadeo writes: ‘Play
              Services has system-level powers, but it’s updatable. It’s part of the Google apps
12            package, so it’s not open source. OEMs are not allowed to modify it, making it
              completely under Google’s control… If you ever question the power of Google Play
13            Services, try disabling it. Nearly every Google App on your device will break.’ It is ‘a
              single place that brings in all of Google’s APIs on Android 2.2 and above.’ Things
14            like Play Game services, Google Cloud Messaging and fused location services are all
              handled by Play Services, and not the OS.
15
              48.      One important condition for access to GMS is that manufacturers agree to comply
16
     with so-called compatibility requirements. As Google puts it:
17
         53
            https://arstechnica.com/gadgets/2018/07/googles-iron-grip-on-android-controlling-open-
18   source-by-any-means-necessary/ (last visited Dec. 10, 2018).
         54
19          Google Play services is different from the Google Play store. In fact, one method of
     distribution is via Google Play. (See, e.g.,
20   https://play.google.com/store/apps/details?id=com.google.android.gms&hl=en_US (“Google Play
     services is used to update Google apps and apps from Google Play. This component provides core
21   functionality like authentication to your Google services, synchronized contacts, access to all the
     latest user privacy settings, and higher quality, lower-powered location based services.”) (last
22   accessed Aug. 15, 2020).) In its Overview of Google Play Services, Google writes:
                 With Google Play services, your app can take advantage of the latest, Google-
23           powered features such as Maps, Google+, and more, with automatic platform updates
             distributed as an APK through the Google Play store. This makes it faster for your
24           users to receive updates and easier for you to integrate the newest that Google has to
             offer.
25
                 ***
26               The client library contains the interfaces to the individual Google services and
             allows you to obtain authorization from users to gain access to these services with
27           their credentials.
28   https://developers.google.com/android/guides/overview (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                           - 17 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page169
                                                                 162
                                                                 21 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1                    We ask GMS partners to pass a simple compatibility test and adhere to our
              compatibility requirements for their Android devices. In turn, your users enjoy greater
 2            app reliability and continuity.55

 3            49.      Ostensibly, Google seeks compatibility in order to help assure that software works

 4   across a variety of devices. But Google has gone further than merely requiring compatibility testing

 5   for devices on which manufacturers wish to install the GMS suite. As part of its strategy to maintain

 6   as much dominance over the Android ecosystem as possible, Google refuses to license GMS to

 7   manufacturers who develop so-called Android forks—variants of the official Android OS published

 8   by Google. As the European Commission put it with respect to the record antitrust fine it imposed

 9   on Google last summer (discussed infra56):

10                    Google has prevented device manufacturers from using any alternative version
              of Android that was not approved by Google (Android forks). In order to be able to
11            pre-install on their devices Google's proprietary apps, including the Play Store and
              Google Search, manufacturers had to commit not to develop or sell even a single
12            device running on an Android fork. The Commission found that this conduct was
              abusive as of 2011, which is the date Google became dominant in the market for app
13            stores for the Android mobile operating system.57

14   According to the European Commission, this has thwarted even as powerful a potential competitor as
15   Amazon. Manufacturers who want access to GMS are prohibited by way of their anti-fragmentation
16   contractual terms with Google from building even a single device based on Amazon’s Android OS
17   fork, known as Fire OS. As discussed below, this means that Amazon is denied another way to
18   distribute its own Android OS app store.58
19
         55
20          Id.
         56
            See Section IV.F.1, infra.
21       57
            See “Antitrust: Commission fines Google €4.34 billion for illegal practices regarding Android
22   mobile devices to strengthen dominance of Google's search engine,” July 18, 2018, available at:
     http://europa.eu/rapid/press-release_IP-18-4581_en.htm (last accessed Aug. 15, 2020).
23       58
            Per the European Commission:
24               This practice reduced the opportunity for devices running on Android forks to be
             developed and sold. For example, the Commission has found evidence that Google's
25           conduct prevented a number of large manufacturers from developing and selling
             devices based on Amazon's Android fork called “Fire OS”.
26               In doing so, Google has also closed off an important channel for competitors to
             introduce apps and services, in particular general search services, which could be pre-
27           installed on Android forks.
28   http://europa.eu/rapid/press-release_IP-18-4581_en.htm (emphasis added).
     CLASS ACTION COMPLAINT                           - 18 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page170
                                                                 163
                                                                 22 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             50.     There is no justifiable basis for Google’s restraints with regard to Android forks. As

 2   the European antitrust authorities found, Google’s stated aim—to help ensure that software works

 3   across various Android OS devices—does not require or justify the restraints on competition that

 4   Google forces upon device manufacturers:

 5                      The Commission also assessed in detail Google's arguments that these
               restrictions were necessary to prevent a “fragmentation” of the Android ecosystem,
 6             and concluded that these were not well founded. First, Google could have ensured that
               Android devices using Google proprietary apps and services were compliant with
 7             Google's technical requirements, without preventing the emergence of Android forks.
               Second, Google did not provide any credible evidence that Android forks would be
 8             affected by technical failures or fail to support apps.59

 9   C.        Google is a monopolist in the U.S. market for Android OS app stores, and, accordingly,
               in the markets for app (and in-app) distribution services and in-app payment
10             processing.
11             51.     Google’s anticompetitive strategies around Android have worked. Via Google Play,

12   Google is, and long has been, a monopolist in the U.S. market for app stores selling Android OS apps

13   and in-app purchases (and subscriptions as well), as explained herein. And, accordingly, it is a

14   monopolist in the markets for Android app (and in-app) distribution and in-app payment processing

15   services for U.S. Android app developers as well.

16             52.     While Google keeps a tight hold on information regarding its Android OS app store

17   market power in the U.S., its high percentage of market share can be inferred from the tens of

18   millions of Android devices deemed “Android compatible,”60 such that Google Play can be (and

19   usually is) pre-installed61—inferentially, far more than any other app store.62

20             53.     Google was first to market in 2008 with its app store, Android Market (which

21   morphed into Google Play). The Amazon Appstore, for example, would not open until March 22,

22

23        59
            Id.
          60
24          See, e.g., https://source.android.com/setup/start/faqs (frequently asked questions, providing
     details re: Android compatibility certification) (Devices that are ‘Android compatible’ may
25   participate in the Android ecosystem, including Google Play . . . .”) (last accessed Aug. 15, 2020).
          61
            See, e.g., https://support.google.com/googleplay/answer/1727131?hl=en (Google Play Help
26   screen, providing 852-page list of supported devices, including devices manufactured by Samsung,
     HTC, LG, and Motorola, among many others) (last accessed Aug. 15, 2020).
27       62
            According to the European Commission, the Google Play Store is pre-installed by device
28   manufacturers on practically all Android mobile devices sold outside of China.
     CLASS ACTION COMPLAINT                            - 19 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page171
                                                                 164
                                                                 23 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   2011.63 But Google was not content to build on its earlier start fairly; instead, it unlawfully and

 2   abusively acted to procure and attain monopoly status as alleged herein.

 3             54.     According to the European Commission:

 4                     Google is dominant in the worldwide market (excluding China) for app stores
               for the Android mobile operating system. Google’s app store, the Play Store,
 5             accounts for more than 90% of apps downloaded on Android devices. This market is
               also characterized by high barriers to entry . . . .64
 6
     These facts powerfully support the conclusion that Google is a monopolist in its home (U.S.) market
 7
     for Android OS app stores—and a monopolist in the markets for Android app (and in-app)
 8
     distribution and in-app payment processing services for U.S. Android app developers, as explained
 9
     herein.
10
               55.     Further, the technical barriers that strongly inhibit the sideloading of other app stores,
11
     along with Google’s “security” measures and cautions, also support the proposition that Google has
12
     attained and wields monopoly power in the markets for Android app (and in-app) distribution and in-
13
     app payment processing services for U.S. Android app developers.
14
     D.        Google is an attempted monopolist in the U.S. market for Android OS app stores, and,
15             accordingly, in the markets for app (and in-app) distribution services and payment
               processing services for U.S. Android app developers.
16
               56.     Alternatively, for the foregoing reasons, Google is an attempted monopolist in the
17
     U.S. market for app stores selling Android OS apps and in-app purchases (and subscriptions as well).
18
     While the facts alleged amply support a finding that Google already has attained monopoly status in
19
     this U.S. market, at the least, they support a finding that Google is attempting to monopolize this
20
     market by improper means.
21

22

23

24
          63
           “Amazon’s Appstore for Android is well-executed and poised for success,” Forbes, March 22,
25   2011, available at: fortune.com/2011/03/22/amazons-appstore-for-android-is-well-executed-and-
     poised-for-success/ (last accessed Aug. 15, 2020).
26        64
            “Antitrust: Commission fines Google €4.34 billion for illegal practices regarding Android
27   mobile devices to strengthen dominance of Google's search engine,” July 18, 2018, available at:
     http://europa.eu/rapid/press-release_IP-18-4581_en.htm (last accessed Aug. 15, 2020) (emphasis
28   added).
     CLASS ACTION COMPLAINT                             - 20 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page172
                                                                 165
                                                                 24 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   E.        Apple offers no market constraints via its iOS app store, through which it distributes
               incompatible apps.
 2
               57.     Nor does Apple, via its iOS mobile operating system, or its iOS apps or iOS App
 3
     Store, provide any constraints to Google’s market power. The apps are incompatible. Therefore,
 4
     Android SO developers cannot sell their Android apps to Android device wieners via Apple’s iOS
 5
     app store.
 6
               58.     Furthermore, the switching costs between Android and iOS are high. Device owners
 7
     have great sunk costs in their individual spheres: the cost of their phones or tablets; the learning
 8
     curve inherent in each; and the money and time invested in apps and in-app purchases which, due to
 9
     technical incompatibilities, they cannot take to iOS devices, to name some. Also, many owners of
10
     Android OS devices will not be able to afford Apple hardware, which is sold at premium prices, or
11
     they will not find the potential switch economically sensible, so they decline to make it.
12
               59.     Europe is in accord. Per the European Commission:
13
                       As a licensable operating system, Android is different from operating systems
14             exclusively used by vertically integrated developers (like Apple iOS or Blackberry).
               Those are not part of the same market because they are not available for licence by
15             third party device manufacturers.
16                     Nevertheless, the Commission investigated to what extent competition for end
               users (downstream), in particular between Apple and Android devices, could
17             indirectly constrain Google's market power for the licensing of Android to device
               manufacturers (upstream). The Commission found that this competition does not
18             sufficiently constrain Google upstream for a number of reasons, including:
19                    end user purchasing decisions are influenced by a variety of factors (such as
               hardware features or device brand), which are independent from the mobile operating
20             system;

21                    Apple devices are typically priced higher than Android devices and may
               therefore not be accessible to a large part of the Android device user base;
22
                      Android device users face switching costs when switching to Apple devices,
23             such as losing their apps, data and contacts, and having to learn how to use a new
               operating system; and
24
                       even if end users were to switch from Android to Apple devices, this would
25             have limited impact on Google's core business. That’s because Google Search is set as
               the default search engine on Apple devices and Apple users are therefore likely to
26             continue using Google Search for their queries.65
          65
27          See “Antitrust: Commission fines Google €4.34 billion for illegal practices regarding Android
     mobile devices to strengthen dominance of Google's search engine,” available at:
28   http://europa.eu/rapid/press-release_IP-18-4581_en.htm. (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                        - 21 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page173
                                                                 166
                                                                 25 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1
                60.    Regarding app stores specifically, the European Commission has stated:
 2
                        Google is dominant in the worldwide market (excluding China) for app stores
 3              for the Android mobile operating system. Google’s app store, the Play Store, accounts
                for more than 90% of apps downloaded on Android devices. This market is also
 4              characterised by high barriers to entry. For similar reasons to those already listed
                above, Google’s app store dominance is not constrained by Apple's App Store, which
 5              is only available on iOS devices.66

 6   F.         Google engages in unlawful behavior in order to restrain trade and to maintain and
                grow its monopoly in the markets at issue.
 7
                61.    Google maintains monopoly status in the U.S. Android OS app store market, which
 8
     ensures that the vast majority of Android OS mobile and tablet owners will purchase paid apps and
 9
     in-app items from Google Play.
10
                62.    Cornering the market for Android OS app stores translates to colossal profits, as
11
     alleged herein.
12
                1.     Google was recently fined over $5 billion for practices related to Google Play.
13
                63.    As previewed above, Google’s anticompetitive behavior, grounded in its voracious
14
     appetite for profit derived from its Android ecosystem, recently led to a €4.34 billion, or $5.1 billion,
15
     fine from the European Commission.67
16
                64.    As the Commission explained, Google bought “the original developer of the Android
17
     operating system [in 2005] and has continued to develop Android ever since.”68 “When Google
18
     develops a new version of Android it publishes the source code online.” But
19
                         [t]he openly accessible Android source code covers basic features of a smart
20              mobile operating system . . . not Google’s proprietary Android apps and services.
                Device manufacturers who wish to obtain Google’s proprietary Android apps and
21              services need to enter into contracts with Google, as part of which Google imposes a
                number of restrictions. Google also entered into contracts and applied some of these
22              restrictions to certain large mobile network operators, who can also determine which
                apps and services are installed on devices sold to end users.69
23

24

25        66
             Id. (emphasis added).
26        67
             See http://europa.eu/rapid/press-release_IP-18-4581_en.htm (last accessed Aug. 15, 2020).
          68
27           See n. 65, supra.
          69
28             Id.
     CLASS ACTION COMPLAINT                            - 22 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page174
                                                                 167
                                                                 26 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            65.      Thus, a manufacturer of an Android OS smartphone or tablet must obtain a license

 2   from Google to pre-load popular Google apps including YouTube,70 Google Maps, Gmail, and

 3   Google Play, among others, all of which come bundled in a take-one/take-all suite.71 Google knows

 4   that buyers of Android OS devices expect to see popular Google apps such as YouTube and Google

 5   Maps pre-loaded onto their phones and tablets. This bundling practice, which is not grounded on any

 6   technical need, ensures an enormous and growing base of Google Play installations and users. It also

 7   reinforces the notion that Google Play is the official Android store, even though competing app

 8   stores could serve their needs equally well—if Google didn’t unfairly shut them out of the market.

 9            66.      As the European Commission’s findings illustrate, Google’s aggressive use of GMS,

10   including Google Play; its refusal to distribute competing app store clients via Google Play; and its

11   anti-fragmentation terms, which have the effect of depressing forked Android OS system

12   distribution, thereby further inhibiting the distribution of competing app stores (such as Amazon’s

13   Fire OS and Appstore), have led to its 90%+ share of the market for Android OS app stores.72 As

14   none of Google’s management is either technically or economically necessary, it is plain that Google
15   has maintained monopoly power in the market through anticompetitive means, which has enabled it
16   to maintain the supracompetitive 30% transaction fee that it charges developers on Google Play app
17   and in-app product sales.
18

19

20

21

22
         70
23          Consumers want and expect the YouTube app on their Android OS devices. In fact, a 2013
     study confirmed that smartphone users prefer to view video with apps such as the YouTube app
24   versus viewing via their browsers (i.e., by browsing to the YouTube website and viewing video
     there). (“Do Smartphone Users View Video with YouTube App or Browsers?” dated March 29,
25   2013, available at: https://jmango360.com/wiki-pages-trends/mobile-app-vs-mobile-website-
     statistics/ (last accessed Aug. 17, 2020).)
26       71
            See, e.g., “The best of Google, right on your devices—Google Mobile Services brings
     Google’s most popular apps and APIs to your Android devices,” available at:
27   https://www.android.com/gms/ (last access date cited above).
         72
28          See id.
     CLASS ACTION COMPLAINT                          - 23 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page175
                                                                 168
                                                                 27 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            2.       Google has used contracts with device manufacturers as means to its
                       anticompetitive ends.
 2
              67.      Previously, leaked copies of Google’s contracts with device manufacturers, called
 3
     MADAs, provided details of Google’s abusive market manipulation. Upon information and belief,
 4
     the same or similar contracts, or those with the same intent or restrictions, remain in play today.73
 5
              68.      If a smartphone or tablet manufacturer such as Samsung or HTC wishes, for example,
 6
     to pre-load Google’s popular and exclusive YouTube app on a given Android OS phone or tablet,
 7
     then Google requires that the manufacturer agree via its MADA to pre-load Google Play on the
 8
     device as well. This results in a tremendous advantage for Google in that yet more devices will carry
 9
     its store client.74
10
              69.      Additionally, such a manufacturer must agree via this contract that it will pass a so-
11
     called Android Compatibility Test as to that device, which Google administers and controls in its
12
     sole discretion.75 This ties to Google’s restraint on the production of devices using Android forks as
13

14
         73
15          See https://www.einfochips.com/blog/how-to-obtain-googles-gms-license-for-android-
     devices/# (current website of company providing Android compatibility services to entities who want
16   to deploy Google’s GMS suite and have already obtained a prospective MADA from Google) (last
     accessed Aug. 15, 2020).
17       74
            But Google is still not satisfied. In fact, Google Play competitors have faced other
     anticompetitive behavior by Google. In 2014, for example, a Portuguese firm operating a much
18   smaller app store than Google Play filed an antitrust complaint with the European Commission
     regarding Google’s anticompetitive practices in the app store field. (See, e.g.,
19   http://online.wsj.com/articles/google-faces-fresh-antitrust-complaint-in-europe-1402941192 (last
     accessed Aug. 15, 2020).) According to The Wall Street Journal, “Aptoide claim[ed] that Google
20   creates obstacles for users to install third-party app stores onto its Android platform, bundles services
     that are essential to its operating system with Google, and blocks access to Aptoide websites in its
21   Chrome Web browser.” (Id.)
22       Aptoide won an antitrust injunction against Google, as detailed below. (See ¶ 92, infra.)
         75
            See Complaint for Violation of the Sherman Act, Clayton Antitrust Act, California Cartwritght
23   Act, and California Unfair Competition Law, Feitelson v. Google Inc., Case No. 14-cv-02007, May
     5, 2014 (N.D. Cal.) Ex. A (MADA between Google and Samsung), ¶¶ 2.1 (“Devices may only be
24   distributed if all Google Applications (excluding any Optional Google Applications) authorized for
     distribution in the applicable Territory are pre-installed on the device, unless otherwise approved by
25   Google in writing.”), 2.7 (“The license to distribute Google Applications in Section 2.1 is contingent
     upon the Device becoming an Android Compatible Device.”), 3.4 (providing that “Google Phone-top
26   Search must be set as the default search provider for all search access points on the Device
     providing for the prime placement of Google Applications” (emphasis added) and also providing for
27   the prime placement of “Google Applications”), 3.8(c) (“Company shall configure Network Location
     Provider to be the default network-based location provider on all Android Compatible Devices.”);
28   Ex. B (MADA between Google and HTC), ¶¶ 2.1 (same as ¶ 2.1 in Google-Samsung agreement), 2.7
     CLASS ACTION COMPLAINT                             - 24 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page176
                                                                 169
                                                                 28 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   their operating systems, which in turn restricts avenues for distribution of competing app-store

 2   clients, as discussed herein.76

 3            70.      Plaintiff does not yet have sufficient information to identify all other manufacturers

 4   beyond Samsung and HTC that have, or have had, MADAs with Google containing these specific (or

 5   functionally equivalent) terms. But the Joint Submission of Corrected Exhibit List submitted in a

 6   matter called Oracle v. Google lists MADAs between Google and a who’s who of Android OS

 7   device manufacturers, including LG and Sony.77 Unfortunately, these MADAs are not available for

 8   public inspection because they were not entered into evidence in the case. It appears likely,

 9   however, that Google has insisted on similar arrangements with some or all of these other

10   manufacturers, in violation of federal and state law, and to the detriment of competition and

11   consumers.

12            71.      Furthermore, Google also currently provides a long list of brands whose devices are

13   equipped with the GMS suite (including, of course, Google Play).78 As alleged herein, Google

14   requires entry into a MADA or MADA-like contract to license GMS.
15            72.      Because of Google’s secrecy, plaintiff is unaware as to whether MADAs as such, or
16   updated versions, continue to be the specific operative documents between Google and
17   manufacturers. But plainly Google continues to bundle its apps, including Google Play, into a suite
18   (the GMS suite) for U.S. distribution, and plainly they can only be licensed by contract.79
19

20

21   (same as ¶ 2.7 in Google-Samsung agreement), 3.4 (same as ¶ 3.4 in Google-Samsung agreement),
     3.8(c) (same as ¶ 3.8(c) in Google-Samsung agreement).
22       76
            See ¶¶ 47-50, 66.
         77
23          See Oracle America, Inc. v. Google Inc. (N.D. Cal. No. 3:10-cv-03561), ECF No. 923 at
     entries 83-85, 286, 2742-56, and 2772-93.
24       78
            See https://www.android.com/certified/partners/ (last accessed Aug. 15, 2020).
         79
25          See https://www.android.com/gms/ (referring to Google Mobile Services (GMS)—“a
     collection of Google applications and APIs that help support functionality across devices.”) (last
26   accessed Aug. 15, 2020). As Google puts it, “While the Android Open Source Project (AOSP)
     provides common, device-level functionalities such as email and calling, GMS is not part of AOSP.
27   GMS is only available through a license with Google and delivers a holistic set of popular apps and
     cloud-based services. . . .” (Id.) Further, Google “ask[s] GMS partners to pass a simple
28   compatibility test and adhere to [its] compatibility requirements for their Android devices. . . .” (Id.)
     CLASS ACTION COMPLAINT                            - 25 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page177
                                                                 170
                                                                 29 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1              73.    Google is willing to run afoul of antitrust and unfair competition law because of the

 2   importance of its Google Play client. Google uses its MADAs or similar contracts to restrain and

 3   quash competition in the Android OS app store market. There is no lawful reason to compel

 4   manufacturers wishing to pre-load the YouTube or Google Maps app onto a device, to pre-load

 5   Google Play as well. These restraints give Google a de facto monopoly because most users won’t

 6   know how to, or will not, sideload an alternative app store onto a phone (if they even know that is a

 7   possibility). Google’s practice is a pure power play designed to maintain and extend its monopoly in

 8   the Android OS app store market. Its aim, of course, is to impose its super-high 30% transaction fee

 9   on developers who have no choice but to pay it.

10   G.         Google’s practices with respect to Google Play further restrain and injure competition
                in the market for U.S. Android OS app stores, where already there are high barriers to
11              entry.
12              1.     There are high barriers to entry into the market for Android OS app stores.
13              74.    Google’s unlawful practices in aid of its monopoly restrain and injure competition in

14   the Android app store market, where already there are high barriers to entry.80 A market-participant

15   hopeful must have the resources: to build and maintain the app store client, to program and maintain
16   the requisite software and algorithms going forward, to advertise the client and the steps needed to
17   install it, to keep the marketplace safe, and to process payments at a high volume.
18              75.    Google keeps the barriers high by refusing to permit distribution of alternative clients
19   via Google Play, which is pre-installed on most Android OS devices by default thanks to Google’s

20   GMS bundling practices. It also keeps them from gaining users by distribution with Android forks,

21   by way of its exclusionary Android anti-fragment terms.

22              76.    The European Commission also has concluded that there are high barriers to entering

23   the market for Android OS app stores.81 The same factors it cited as high barriers to entry in “the

24
          80
25             See also ¶¶ 54-55, 60, supra.
          81
            See “Antitrust: Commission fines Google €4.34 billion for illegal practices regarding Android
26   mobile devices to strengthen dominance of Google’s search engine,” available at:
     http://europa.eu/rapid/press-release_IP-18-4581_en.htm. (Id. (“Google is dominant in the worldwide
27   market (excluding China) for app stores for the Android mobile operating system. Google’s app
     store, the Play Store, accounts for more than 90% of apps downloaded on Android devices. This
28   market is also characterised by high barriers to entry. . . .”).) Further, while plaintiff’s complaint is
     CLASS ACTION COMPLAINT                          - 26 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page178
                                                                 171
                                                                 30 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   worldwide market (excluding China) for licensable smart operating system,” where Google’s

 2   Android OS was estimated in 2018 to have “a market share of more than 95%,” apply as well with

 3   respect to entry into the U.S. market for Android OS app stores:

 4            There are high barriers to entry in part due to network effects: the more users use a
              smart mobile operating system, the more developers write apps for that system –
 5            which in turn attracts more users. Furthermore, significant resources are required to
              develop a successful licensable smart mobile operating system.82
 6
              2.       Google manipulates security fears in order to maintain and further its market
 7                     power in U.S. Android OS app stores.
 8            77.      But Google does not depend solely on high barriers to entry in the app-store

 9   marketplace. Instead, Google actively manipulates security fears in order to maintain and further its

10   monopoly in U.S. Android OS stores.

11                     a.     Google steers consumers to Google Play by scaring them away from
                              alternative sources for Android OS apps.
12
              It isn’t enough for Google that Google Play is pre-installed on hundreds of millions of
13
     devices, such that it offers ready access to millions of apps83—Google also steers consumers away
14
     from all alternative websites by issuing security warnings from the official Android website.84 The
15
     message is that Google Play is safe and protects users; other app stores are very risky, and to be
16
     avoided. In its “Download apps to your Android device guidance,” Google writes:
17
             You can download free and paid apps from Google Play on your Android Phone. We
18            recommend that you get apps from Google Play. You can also get them from other
              sources.
19
             Your phone has a security setting (Google Play Protect) that checks for potentially
20            harmful apps, warns you, and removes apps if necessary. Learn how to help protect
              against harmful apps.
21
             Download apps from other sources
22
     not based on Google search dominance, nonetheless, Google search is germane because Google Play
23   is bundled with Google search products, which has aided in achieving Google Play’s monopoly
     status in the U.S.
24       82
            Id.
25       83
            https://www.statista.com/statistics/266210/number-of-available-applications-in-the-google-
     play-store/ (“The number of available apps in the Google Play Store was most recently placed at 2.96
26   million apps in June 2020, after surpassing 1 million apps in July 2013.”) (last accessed Aug. 15,
     2020).
27       84
            https://support.google.com/android/answer/7391672?hl=en&ref_topic=7311596 (last accessed
28   Aug. 15, 2020).
     CLASS ACTION COMPLAINT                           - 27 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page179
                                                                 172
                                                                 31 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1
                     Important: If you download apps from unknown sources, your device and
 2            personal information can be at risk.

 3                     - Your phone could get damaged or lose data.

 4                     - Your personal information could be harmed or hacked.

 5           Help Google protect against bad apps from other sources
 6                     If you install apps from outside of Google Play, your phone can send Google
                       information about those apps.
 7
                       This information helps Google better protect everyone from harmful apps. The
 8                     information can include log information, URLs related to the app, device ID,
                       Android version, and IP address.85
 9
              78.      Google issues these warnings indiscriminately. Like Google Play, the Amazon
10
     Appstore is monitored and curated.86 But no matter. According to Google, it’s really too risky to
11
     use (assuming the consumer even knows about it). These warnings ring hollow, however, for
12
     Google Play itself has proven vulnerable to malware that could harm consumers,87 in spite of
13
     Google’s high revenues and profits from which it could draw to better protect its users.
14
                       b.     Google will not permit distribution of alternative app-store clients via
15                            Google Play on the false premise that it is too risky for consumers.
16            79.      In order to become a viable app store, a market hopeful must find a way to persuade
17   Android device owners to sideload the client onto their phones or tablets—after first making a
18   sizeable number aware of its existence. This is no easy task. Users must take obscure and
19   unnecessary steps to access other app stores because Google has decreed it so in order to protect its

20   monopoly power in Android OS app sales. Google will not permit distribution of alternative app-

21   store clients via the de facto Google Play acquisition and installation method because it falsely

22   claims that it would be too risky for consumers if it did.

23

24       85
            Id. (emphasis added).
25       86
            See, e.g., “Amazon Appstore Content Policy,” available at:
     https://developer.amazon.com/docs/policy-center/understanding-content-policy.html (last accessed
26   Aug. 15, 2020).
         87
27          See, e.g., “Android security: Malicious apps sneak back into Google Play after tweaks,” May
     9, 2018, available at: https://www.zdnet.com/article/android-security-malicious-apps-sneak-back-
28   into-google-play-after-tweaks/ (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                           - 28 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page180
                                                                 173
                                                                 32 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            80.      In its “Understanding Android” piece, Google states as “Android Fact #12”88:

 2   “Because third-party stores don’t always adhere to the strict Google Play Store security checks for

 3   apps, Google Play doesn’t allow other app stores to be downloaded directly through the Play

 4   Store. . . .” But this self-serving justification does not withstand scrutiny.

 5            81.      First, Google offers no explanation for shutting out all app-store clients from Google

 6   Play, including those run by well-resourced companies such as Amazon or Samsung. Further,

 7   Google could scrutinize each app-store client as it does other apps before allowing it into Google

 8   Play.

 9            82.      And second, Google itself touts initiatives to safety-check and even quarantine or

10   delete all apps on Android OS devices, wherever they are obtained. For example, in its February

11   2016 white paper titled, “How we keep harmful apps out of Google Play and keep your Android

12   device safe,”89 Google states:

13                   Even though we do a lot of work to make Google Play apps safe before they
              reach you, Google works hard to protect you—no matter where your app comes from.
14            We sandbox each application to constrain bad behavior and if an app wants new
              permissions, we ask you to confirm at runtime.
15
                      In addition to multiple layers of security built into the platform, Android also
16            includes a feature called Verify Apps. Verify Apps continually scans for potentially
              harmful apps. If an app is discovered later to be potentially harmful, Verify Apps will
17            disable the app and request for you to remove it.
18                    Verify Apps also checks apps you install from outside of Google Play. If we
              see an app that looks malicious, we warn you before the installation proceeds. Verify
19            Apps is available on every Android device (2.3+) that has Google Play installed.90

20            83.      As for its more security regime, Google Play Protect, the defendant assures:

21                     Google Play Protect helps you keep your device safe and secure.

22                     -    It runs a safety check on apps from the Google Play Store before you
                            download them.
23
                       -    It checks your device for potentially harmful apps from other sources.
24                          These harmful apps are sometimes called malware.

25       88
            https://www.android.com/everyone/facts/ (last accessed Aug. 15, 2020).
26       89
            This white paper was linked from the Understanding Android piece cited in paragraph 80 of
     this complaint.
27       90
            https://docplayer.net/15116445-How-we-keep-harmful-apps-out-of-google-play-and-keep-
28   your-android-device-safe.html at 4 (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                             - 29 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page181
                                                                 174
                                                                 33 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1
                       -    It warns you about any detected potentially harmful apps found, and
 2                          removes known harmful apps from your device.

 3                     -    It warns you about detected apps that violate our Unwanted Software
                            Policy by hiding or misrepresenting important information.
 4
                       -    It sends you privacy alerts about apps that can get user permissions to
 5                          access your personal information, violating our Developer Policy.91

 6            84.      If these assurances are to be believed, then Google already monitors the security of all

 7   apps that would be obtained from any competing app store. These assurances, therefore, alone or

 8   coupled with the vetting that Google already performs before releasing any app in Google Play,

 9   undercut Google’s stated reason for keeping all competing app-store clients out of Google Play.

10            3.       Google’s refusal to permit app-store clients into Google Play means that only a
                       hardy few will attempt installation of alternative stores.
11
              85.      By keeping other app-store clients out of Google Play, and by scaring potential users,
12
     Google assures that only a hardy few will ever attempt to load another app store front onto their
13
     Android OS devices.
14
              86.      The following is an example of the steps Android device consumers must take if they
15
     wish to do so—assuming they ever learn of the alternative store’s existence, and assuming they
16
     consider themselves technically savvy enough to try. To access the Amazon Appstore, consumers
17
     must first obtain a link from an Amazon website. Then the consumer must do the following:
18

19

20

21

22

23

24   Step 1
25   Download Amazon Appstore
26
         91
27
     https://support.google.com/android/answer/2812853?p=playprotect_download&hl=en&visit_id=636
28   801711322579028-4051903200&rd=1 (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                             - 30 -
     Case No.:
     010803-11/1334529 V1
      Case
      Case
        Case
           5:14-cv-02007-BLF
            3:20-cv-05671-JD
              3:20-cv-05792-EMC
                              Document
                              Document
                                 Document
                                       45-1
                                        56-1
                                           1 Filed
                                              Filed09/09/20
                                                    09/09/20
                                                    08/17/20 Page
                                                             Page182
                                                                  175
                                                                  34 of
                                                                     of
                                                                      of68
                                                                        240
                                                                         231




 1   1. Use link sent to you in email to navigate to the Amazon Appstore download
        page
 2
     2. Tap on "Get Amazon Appstore" button
 3   3. Follow instructions
 4

 5

 6

 7

 8

 9
     Step 2
10
     Enable Unknown Sources
11   1. In your phone Settings page, tap on "Security" or "Applications" (varies with
        device)
12
     2. Enable "Unknown Sources" permission
13   3. Confirm with "OK"
14

15

16

17

18

19   Step 3
20   Install and Launch Amazon Appstore
21   1. In your device's "Download" folder, find and tap on the "Amazon_app.apk" file
     2. Tap "Install" on the Android Installer screen
22   3. Launch the Amazon Appstore92
23
              87.      Because of Google’s refusal to allow competitors to distribute app-store clients via
24
     Google Play, and because of Android’s security features—whose configuration Google controlled as
25
         92
26        https://www.amazon.com/gp/feature.html/ref=sxts_snpl_1_1_b122686d-95c7-451e-a41b-
     8f08ca46cdcb?pf_rd_p=b122686d-95c7-451e-a41b-
27   8f08ca46cdcb&docId=1000626391&pf_rd_r=ZSYBJ5ZEY4SCVPB0YXB5&pd_rd_wg=Ou2nJ&pd
     _rd_w=l6Ci1&qid=1597568508&pd_rd_r=1f985501-51cf-4e11-8fdc-4d076ac56dbb (last accessed
28   Aug. 15, 2020).
     CLASS ACTION COMPLAINT                            - 31 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page183
                                                                 176
                                                                 35 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   the leader of the AOSP—consumers wishing to install an alternative app store had to be willing to

 2   turn on the “Unknown Sources” permission referenced in Amazon’s Step 2 above. In Android

 3   versions released before the Oreo variant, the user first had to find a screen looking like this:

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
              88.      Then, if she opted to turn the switch to the right, she would be greeted with this
20
     ominous warning:
21

22

23

24

25

26

27

28
     CLASS ACTION COMPLAINT                            - 32 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page184
                                                                 177
                                                                 36 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
     If she dared to leave the “Unknown sources” toggle to the on position, she would then have opened
17
     her device to all sorts of vulnerabilities—all because she wanted to use another app store to buy apps
18
     that might be cheaper than the purchase price in Google Play.
19
              89.      As of Android 8.0, code-named Oreo, Google has changed the permissions structure
20
     so that users can authorize downloads from only one source at a time.93 It is believed, and therefore
21
     alleged, that many Android OS devices in operation today still run on pre-Oreo Android versions,
22
     with their scary app permission toggle and warning. But even with the change brought with Oreo,
23
     Google knows and intends that most device users will not know how to access stores and apps
24
         93
25         (https://www.android.com/versions/oreo-8-0/ (“Hostile downloader apps can’t operate without
     permission; users now permit the installation of APKs per-source.”) (last accessed Aug. 15, 2020).)
26   Oreo was not released to the public until August 21, 2017. (https://android-
     developers.googleblog.com/2017/08/introducing-android-8-oreo.html (last accessed Dec. 10, 2018).)
27   As of October 26, 2018, well over a year later, Oreo’s worldwide install base was at a mere 21.5%,
     not counting China. (https://developer.android.com/about/dashboards/ (last accessed Dec. 10,
28   2018).)
     CLASS ACTION COMPLAINT                          - 33 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page185
                                                                 178
                                                                 37 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   outside of Google Play, and it knows and intends that they still will be frightened away by having to

 2   change a permission switch, given its continued warnings in various guises. For example, users who

 3   wish to sideload might see this warning (after first receiving a pre-warning): “Your phone and

 4   personal data are more vulnerable to attack by unknown apps. By installing apps from this source,

 5   you agree that you are responsible for any damage to your phone or loss of data that may result from

 6   their use.”94 Such is the case no matter how reputable the store operator (or other developer). The

 7   message Google is plain: you should not risk it; better to stay with Google Play.

 8            4.       Even if a consumer succeeds in loading an alternative app-store client onto his or
                       her device, Google may try to shut down access, which harms competition and
 9                     developers.
10            90.      If all else fails—if a consumer learns of another app store, figures out how to acquire

11   the client, educates herself on how to install it, and steels himself against Google’s dire security

12   warnings, Google may attempt to shut down the consumer’s access.

13            91.      Aptoide is a competing Android OS app provider.95 As such, Google has denied it

14   distribution via Google Play.
15            92.      Google forced Aptoide to go to court to seek an antitrust injunction for sweeping up
16   its distribution app in its Google Play Protect sweeps. And Aptoide won. According to Aptoide’s
17   press release:
18                     EU National Court rules against Google in Anti-Trust process
19            Lisbon, October 19th, 2018
20            The Portuguese Courts issued today a decision against Google in relation to the
              injunction filed by Aptoide. It is applicable on 82 countries including UK, Germany,
21            USA, India, among others. Google will have to stop Google Play Protect from
              removing the competitor Aptoide’s app store from users’ phone without users’
22            knowledge which has caused losses of over 2.2 million users in the last 60 days.
23
              The acceptance of the injunction is totally aligned with Aptoide’s claim for Google to
24            stop hiding the app store in the Android devices and showing warning messages to the
              users. Aptoide is now working alongside its legal team to next week fill in courts the
25            main action, demanding from Google indemnity for all the damages caused.

26
         94
            “Android Q currently disables ‘Install uknown apps’ permission after every use,” available at
27   https://9to5google.com/2019/04/04/android-q-install-unknown-apps/ (last accessed Aug. 17, 2020).
         95
28          http://www.aptoide.com/.
     CLASS ACTION COMPLAINT                            - 34 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page186
                                                                 179
                                                                 38 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            This action is part of a complaint against foul play by Google, directed to Android’s
              antivirus software, Google Play Protect. Google's anti-malware system was wrongly
 2            identifying Aptoide as a potentially malicious app, hiding and uninstalling it from
              Android smartphones without user consent.
 3
              Aptoide, with over 250 million users, 6 billion downloads and one of the top stores
 4            globally, also presented last July, a formal complaint to the European Union’s anti-
              trust departments against Google.
 5
              Paulo Trezentos, Aptoide’s CEO, says that “For us, this is a decisive victory. Google
 6            has been a fierce competitor, abusing his dominant position in Android to eliminate
              App Store competitors. Innovation is the reason for our 200 million users base. This
 7            court’s decision is a signal for startups worldwide: if you have the reason on your side
              don’t fear to challenge Google.”
 8

 9            According to Carlos Nestal, head of the legal team that worked in the case:

10            “This case, to our knowledge, is the first of an EU national Court that enforces a clear
              separation of Android layer and the Services layer. Court is clearly stating that
11            Google’s control of the Operating System cannot be used as a competitive advantage
              in the Services market. We believe this may apply to other situations where Google
12            has competition.”96
13            93.      Reports indicate that Samsung’s small app store also was caught up in Google’s
14   dubious security net. As androidsage.com reported on June 18, 2018, “[S]ince today, a bunch of
15   Samsung users have reported of Google Play Store flagging the official Samsung Galaxy App Store
16   as potentially dangerous and fake at the extent of even blocking it.”97 This action no doubt resulted
17   in some number consumers fleeing the store rather than risking continued access to it. But for those
18   who wanted to keep it, androidsage.com offered a “temporary fix” for those inclined to disregard
19   Google’s warnings.98
20            94.      There is no good reason that a company as technologically sophisticated as Google
21   could not whitelist or otherwise continue to permit unimpeded access to competitors’ app stores on
22   Android OS devices, including those run by well-known operators such as Amazon and Samsung.
23   Again, Google is bound and determined to maintain its ill-gotten monopoly market power which
24   allows it to impose its default 30% transaction fee on developer approved in-app product sales.
25       96
            Press release available at, inter alia: https://www.androidpolice.com/2018/10/23/aptoide-gains-
26   injunction-google-latest-antitrust-case-compensation-follow/ (last accessed Aug. 15, 2020).
         97
            https://www.androidsage.com/2018/06/18/google-play-protect-blocking-galaxy-app-store-
27   how-to-fix/ (last accessed Aug. 15, 2020).
         98
28          See id.
     CLASS ACTION COMPLAINT                           - 35 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page187
                                                                 180
                                                                 39 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   H.         Google’s unlawful practices harm developers and competition.
 2              95.    Google’s practices in aid of maintaining or attempting a monopoly in the Android OS
 3   app store market harm developers and competition by depressing output of transactions in the U.S.
 4   market for Android OS app stores. They also directly harm developers by requiring them to pay

 5   supracompetitive distribution fees.

 6              1.     Google’s behavior stifles innovation.
 7              96.    Google’s abusive behavior also stifles innovation in the U.S. market for Android OS

 8   app stores.99

 9              97.    For example, Amazon devised an alternative way of distributing Android OS apps,

10   Amazon Underground, which makes apps and in-app purchases “actually free” to consumers.100

11   Amazon pays developers according to how much time consumers spend interacting with the apps.101
12   Yet Google’s developer terms will not allow Amazon to distribute the client for this app via Google
13   Play (even as Amazon distributes several other apps through the store).102
14              98.    In fact, shortly after Amazon introduced Amazon Underground by integrating it into
15   its larger shopping app, Google changed its developer terms to prohibit distribution of an app store in
16   that manner.103 This forced Amazon to remove its Appstore from its shopping app—and to lose that
17   promising avenue of distribution.
18

19

20
          99
21          E.g., Stephen D. Houck, Injury to Competition/Consumers in High Tech Cases, St. Johns L.
     Rev. Vol. 5, Iss. 4, 593, 598 (2001) (“Any assessment of a restraint’s anticompetitive impact,
22   however, will be incomplete if limited to price and output effects. The restraint’s impact on
     consumer choice and innovation must also be considered.”).
23       100
             See, e.g., “Amazon Underground innovates with free apps but faces challenges,” available at
     https://technology.informa.com/550085/amazon-underground-innovates-with-free-apps-but-faces-
24   challenges (last accessed Oct. 7, 2015).
         101
25           Id.
          102
             See id.
26        103
             See, e.g., “[Update: Confirmed] Google Forced Amazon To Remove Its Main Shopping App
27   From The Play Store Because Of Its Appstore Integration,” Dec. 11, 2014, available at:
     https://www.androidpolice.com/2014/12/11/google-may-have-forced-amazon-to-remove-its-main-
28   shopping-app-from-the-play-store-because-of-its-appstore-integration/ (last accessed Dec. 10, 2018).
     CLASS ACTION COMPLAINT                           - 36 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page188
                                                                 181
                                                                 40 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             99.     Surely Google’s aggressive, anticompetitive behavior is one reason why Amazon

 2   shuttered Amazon Underground in 2019.104 Industry analysts perceived Amazon’s extreme uphill

 3   battle from the outset. One put it this way:

 4                    The first issue is scale. For a system like this you need critical mass and scale
               in terms of audience and content. Amazon's hands were tied because they weren’t able
 5             to make Underground readily available on iOS (obviously) or Google devices.

 6                    That means they were always going to be limited to those people with Fire
               devices or who were motivated enough to use more than one app store. . . .105
 7
               100.    Another analyst put it thus:
 8
                       User acquisition is still the biggest challenge
 9
                       Amazon’s revamped plans offer app publishers an innovative new model for
10             monetising certain apps but it may not be enough to address its major challenge: how
               to persuade Android users to download an alternative store to Google Play. . . .
11
                       Strong app store competition
12
                       The app store competition is extremely strong. The Google Play Store offers a
13             catalogue of than more one million apps (far greater than Amazon) and comes
               preinstalled on almost all Android smartphones outside China. The Google Play store
14             is more than sufficient for most users’ needs and Google reported more than 1.4bn
               active devices in September 2015.
15
                        Beyond Amazon’s own Fire branded smartphone (now discontinued) and
16             tablets, Amazon’s store does not come preinstalled on any devices106 and so app
               publishers correctly focus first on providing content for Google’s store rather than
17             Amazon’s.
18                     To download the Amazon Underground app, as with its previous Appstore for
               Android, users have to change their Android permissions to enable non-Google Play
19             downloads which is a step too far for most customers. Amazon needs to have its store
               pre-installed on Android smartphones if it is to drive increased adoption. Smartphone
20             brands that wish to reduce their dependency on Google should be open to such a
               relationship.
21
                       Other stores are unlikely to follow suit, for now
22

23       104
             See, e.g., “Why is Amazon shutting down its Underground Initiative?” May 9, 2017, available
24   at: https://www.pocketgamer.biz/mobile-mavens/65694/why-is-amazon-shutting-down-its-
     underground-initiative/ (“It was part of a long-term strategy with bold ambitions to change the way
25   mobile developers made games, but two years on Amazon has announced that Underground will no
     longer feature on the Amazon Appstore as of Summer 2017, with the program officially ending in
26   2019.”) (last accessed Aug. 15, 2020).
         105
           Id. (quoting Oscar Clark, “Author, Consultant and Independent Developer Rocket Lolly
27   Games”).
       106
28         This was as of October 2015, when the referenced article was published.
     CLASS ACTION COMPLAINT                            - 37 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page189
                                                                 182
                                                                 41 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1                     Amazon’s Underground app program is a response challenging market
               position. As a challenger store with limited market share, Amazon has to innovate to
 2             attract users. It also needs to give developers a reason to provide content for its store.
               Amazon can offset the costs of running the Underground program by tying its users
 3             more closely into its ecosystem and driving retail transactions and other content
               revenues; Amazon Prime Video and its retail store are available alongside mobile
 4             apps in Underground. Market leaders Apple and Google do not struggle to attract
               users or app publishers and the share they take from app transactions have become
 5             significant revenue streams, so there is no incentive for them to adopt a similar
               program.107
 6
               101.    And as Google has done what it can to shut out even a well-resourced potential
 7
     competitor such as Amazon, Amazon itself continues to soldier on by way of its Amazon Coins
 8
     program, which allows consumers to buy apps at a discount in the Amazon Appstore.108 For
 9
     example, on Aug. 15, 2020, the popular game Minecraft for Android OS is priced at the same
10
     nominal sum of $6.99 in both Google Play and the Amazon Appstore.109 But by using Amazon
11
     Coins, a purchaser could save 20%, bringing her price to approximately $5.59:
12
                                                     Minecraft
13   by Mojang
     Rated: Guidance Suggested
14   4.4 out of 5 stars83,176 customer ratings
15
     Price: $6.99
16   Save up to 20% on this app and its in-app items when you purchase Amazon
     Coins. Learn More
17

18

19       107
             See “Amazon Underground innovates with free apps but faces challenges,” Oct. 7, 2015,
20   available at: https://technology.ihs.com/550085/amazon-underground-innovates-with-free-apps-but-
     faces-challenges (last accessed Aug. 15, 2020).
21       108
             Amazon’s presumptive revenue split in its own Appstore is also 70% developer / 30% store
     operator, as with Google and Apple. On the other hand, its Amazon Coins program allows
22   consumers to save money on the purchase price of apps everyday while developers continue to earn
     their 70% developer share. (See
23   https://www.amazon.com/dp/B018HB6E80/ref=twister_B009CDKIA8?_encoding=UTF8&psc=1#w
     here (explaining Amazon Coins programs and noting: “The More You Buy, the More You Save.
24   Amazon Coins come in denominations from 300 to 50,000 Amazon Coins. Bigger denominations
     always have bigger discounts. The savings on an order of 50,000 Coins is always larger than on an
25   order of 300 Coins.”); https://www.amazon.com/Amazon-Coins-Apps-
     Games/b?ie=UTF8&node=13927674011 (more on Coins program) (last accessed Aug. 17, 2020).
26       109
             Compare https://play.google.com/store/apps/details?id=com.mojang.minecraftpe (last
27   accessed Aug. 15, 2020) with, https://www.amazon.com/Mojang-
     Minecraft/dp/B00992CF6W/ref=sr_1_1?s=mobile-apps&ie=UTF8&qid=1549260798&sr=1-
28   1&keywords=minecraft (last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                             - 38 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page190
                                                                 183
                                                                 42 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   Sold by: Amazon.com Services LLC.110

 2
               102.    Unfortunately, there is no evidence that any of these innovative programs has dented
 3
     Google’s market share to any serious degree, which is not surprising considering Google’s abusive
 4
     behavior, including its refusal to permit access via Google Play.
 5
               103.    Google’s hogging of the U.S. app-store market also stifles innovation in apps—
 6
     another way it hurts competition generally. Other vibrant app stores would mean more places for
 7
     featuring apps. With so many apps available on the market, product can and does get lost in Google
 8
     Play. Developers and competition generally, not to mention individual end-users, would benefit
 9
     from other venues that would surface good, new product and encourage the development of yet more
10
     and better apps—all of which would engender more output in the market here at issue.
11
               2.      Google harms developers by killing competition and diminishing
12                     consumer choice.

13             104.    Google’s aggressive, anticompetitive behavior diminishes the choice offered by

14   endeavors such as Amazon Underground, which lowered prices (even to zero, with its Actually Free

15   component), while also offering developers another way to earn from their work. If even another

16   corporate giant could not make the model work given Google’s policies and the Google Play

17   behemoth, there is little hope for other prospective competitors to gain significant market share

18   unless Google is required to change its contracts and practices.

19             3.      Google also harms developers and competition by depressing output.

20             105.    Evidence shows that consumers of app-store products are quite price sensitive.111

21   Google’s high transaction fees, therefore, inhibit sales of products sold via Google Play, which has

22       110
             https://www.amazon.com/Mojang-
23   Minecraft/dp/B00992CF6W/ref=sr_1_2?dchild=1&keywords=minecraft&qid=1597603583&s=mobi
     le-apps&sr=1-2 (last accessed Aug. 16, 2020).
24       111
             See, e.g., “The History of App Pricing, And Why Most Apps Are Free,” July 18, 2013,
     available at: https://flurrymobile.tumblr.com/post/115189750715/the-history-of-app-pricing-and-
25   why-most-apps-are (“Conventional wisdom (backed by a variety of non-Flurry surveys) is that
     Android users tend to be less affluent and less willing to pay for things than iOS users. Does the app
26   pricing data support that theory? Resoundingly. As of April 2013, the average price paid for
     Android apps (including those where the price was free) was significantly less than for iPhone and
27   iPad apps . . . .”) (last accessed Aug. 15, 2020); “Only 33% of US Mobile Users Will Pay for Apps
     This Year,” Feb. 5, 2015, available at: https://www.emarketer.com/Article/Only-33-of-US-Mobile-
28   Users-Will-Pay-Apps-This-Year/1011965 (“Put a dollar sign in front of an app, and the number of
     CLASS ACTION COMPLAINT                           - 39 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page191
                                                                 184
                                                                 43 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   the lion’s share of the U.S. market for Android OS app stores.112 In other words, they depress

 2   output. Developers understand that paying Google’s high distribution fees denies them the ability to

 3   lower prices as they choose, which deters many from investing in app development and distribution.

 4   Thus, output is depressed.

 5             106.    Furthermore, Google crams too many apps into what is the monopoly Google Play

 6   store. With so many apps in one store, consumers cannot discover the vast majority of them. They

 7   are lost in the forest. Google’s monopoly practices render it impossible to maintain viable alternative

 8   stores at any scale; therefore, there are no reasonable alternatives for surfacing good apps elsewhere.

 9   Again, because of the way in which Google willfully makes sideloading a non-alternative for the vast

10   majority of consumers, output is depressed by way of the hiding of apps through overcrowding in

11   Google Play.

12             107.    Google’s $.99 minimum price for U.S. app sales also depresses output. Google itself

13   recognizes this by way of contractual terms that permit lower minimum prices in 18 other

14   countries113: lower prices move more apps. Again, developers lose volume and real money as a

15   result. There is no good or pro-competitive reason to deny them pricing flexibility for minimum-
16   priced apps.
17             4.      Google harms developers by causing supracompetitive pricing of distribution
                       services for Android OS apps and in-app add-ons, including subscriptions.
18
               108.    There is no good, pro-competitive, or otherwise justified reason for the 30% fee that
19
     Google charges to U.S. app developers for app and in-app product distribution services, the rate of
20
     which it has maintained since the opening of its Android OS app store.114 Nor is there justification
21

22   people who are willing to download and install it drops dramatically. According to a new forecast
     from eMarketer, 80.1 million US consumers will pay for mobile apps at least once this year,
23   representing only 33.3% of all mobile users.”) (last accessed Aug. 15, 2020).
         112
24           See ¶¶ 54-55, 60, supra.
         113
             See, e.g., ¶ 40, supra.
25       114
             See, e.g., “A decade on, Apple and Google's 30% app store cut looks pretty cheesy,” Aug. 29,
26   2018, available at: https://www.theregister.co.uk/2018/08/29/app_store_duopoly_30_per_cent/
     (“Apple unveiled the App Store in July 2008, and Android Market the following month, opening
27   with the first Android device that October. Apple set the 30 per cent rate, Google simply followed
     suit.”) (last accessed Aug. 15, 2020); see also https://support.google.com/googleplay/android-
28   developer/answer/112622?hl=en ((last accessed Aug. 15, 2020).
     CLASS ACTION COMPLAINT                            - 40 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page192
                                                                 185
                                                                 44 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   for its 15% distribution-services fee as to certain subscriptions in place for over a year, the rate of

 2   which Google began to offer sometime in 2018. In fact, that Google offers the 15% rate for certain

 3   subscriptions only underscores the supracompetitive nature of Google’s default 30% commission

 4   rate. This unnatural price stability, under the circumstances alleged herein, including what surely is

 5   the accrual of economies of scale and pertinent lower costs for various inputs as time has progressed,

 6   is a sure sign of Google’s unlawful acquisition of monopoly power and the abuse of that market

 7   power. Google immediately imposes this charge on developers by way of its contracts of adhesion.

 8             109.    Nor do the circumstances give rise to any pro-competitive justification for Google’s

 9   contractual terms requiring $.99 minimum pricing for paid apps and in-app add-ons. This pricing

10   mandate, too, is an abuse of Google’s monopoly power.

11             30% default transaction fee
12             110.    In spite of not having to carry physical inventory (as distinct from a mere bit of digital
13   storage for uploaded content); having such a large and growing pre-install base for the Google Play
14   store, which has multiplied not by building more physical stores but simply by replicating an app;
15   and economies of scale that have grown over time, Google has continued to take from developers
16   nearly a third of every dollar spent as a fee for all covered Google Play transactions. Given how
17   large the market is, there is plainly enough revenue to support app-store functions while providing a
18   healthy profit in the event the 30% transaction fee were lowered to a reasonable rate—one the market
19   could generate on its own but for Google’s improperly acquired monopoly in the U.S. market for

20   Android OS app stores and the historic and ongoing abuses of its market power.

21                     Epic Games
22             111.    In its August 29, 2018 article entitled, “A decade on, Apple and Google’s 30% app

23   store cut looks pretty cheesy,” The Register raised several important points and asked as many hard

24   questions with regard to Google’s long-standing fee structure. The impetus for the article was the

25   developer Epic Games’ decision to distribute its popular Fortnite game to Android device owners

26   outside of Google Play.115

27
         115
           https://www.theregister.co.uk/2018/08/29/app_store_duopoly_30_per_cent/ (last accessed
28   Aug. 15, 2020). The article’s subtitle and URL refer to a “duopoly.” There is no duopoly in a legal
     CLASS ACTION COMPLAINT                        - 41 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page193
                                                                 186
                                                                 45 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             112.    As reported in the article, Epic’s CEO, Tim Sweeney, told Forbes116 that “[a]voiding

 2   the 30 percent [Google Play] ‘store tax’ is a part of Epic’s motivation.”117 “It’s a high cost in a

 3   world where game developers’ 70 per cent must cover all the cost of developing, operating, and

 4   supporting their games. And it’s disproportionate to the cost of the services these stores perform,

 5   such as payment processing, download bandwidth, and customer service.”118 In a previous Register

 6   article, Mr. Sweeney put it this way: “[F]rom the [developer’s] 70 percent, the developer pays all the

 7   costs, of developing the game, operating it, marketing it, acquiring users and everything else. For

 8   most developers that eats up the majority of their revenue.”119

 9             113.    After noting that one reader of a previous Register article had written: “I learned

10   something. Google take[s] 30%. That is some serious gouging,” the later article stated: “More

11   pertinently, after a decade, is the question why Apple and Google still take a 30 per cent cut. In a

12   competitive marketplace, wouldn’t that rate have been whittled down over the years?”120 Indeed.

13             114.    While the scale of Epic’s own endeavor—not only the sale of Fortnite outside of

14   Google Play, but 121a new game store for Android OS device owners—will be small compared to

15

16
     sense, given the incompatibility between Android OS apps on the one hand and Apple iOS apps on
17   the other.
         116
             See “From ‘Fortnite’ To ‘Fallout 76,’ Publishers Are Sick Of Google, Apple and Steam’s
18   Store Cuts, Aug.13, 2018, available at: https://www.forbes.com/sites/insertcoin/2018/08/13/from-
     fortnite-to-fallout-76-publishers-are-sick-of-google-apple-and-steams-store-cuts/#1c118ff2578c (last
19   accessed Aug. 15, 2020) (“Epic announced that Fortnite would indeed be coming to Android, but it
     would not be sold through the Google Play store. Players would have to (somewhat clunkily)
20   download it from Epic’s website on their phones, and the game would then update itself
     independently of the Play store going forward.”).
21       117
             https://www.theregister.co.uk/2018/08/29/app_store_duopoly_30_per_cent/.
22       118
             Id.
         119
23           “Game over for Google: Fortnite snubs Play Store, keeps its 30%, sparks security fears, Aug.
     3, 2018,” Aug. 3, 2018, available at:
24   https://www.theregister.co.uk/2018/08/03/fortnite_security_fears/ (last accessed Aug. 15, 2020).
     The security fears of which the article also speaks could be avoided if Google Play permitted the
25   distribution of alternative game-store clients through Google Play.
         120
            https://www.theregister.co.uk/2018/08/29/app_store_duopoly_30_per_cent/.
26       121
            Id. The piece goes on to note that Amazon’s Appstore might be considered “fairly shabby”
27   today, but points out that it might not remain so “if it could provide incentives to app developers to
     submit apps[.]” (Citation omitted). “Submitting to more than one app store has a very low marginal
28   cost to the developer, so this would make a good proof point for any remedy.” (Citation omitted.)
     CLASS ACTION COMPLAINT                            - 42 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page194
                                                                 187
                                                                 46 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   Google Play, its owners have provided information illustrating the supracompetitive nature of

 2   Google’s 30% transaction fee. For their own store, Epic will employ a 12% transaction fee.
               115.    This is plenty to achieve a reasonable profit, as explained by Epic’s CEO. Per an
 3
     MCV article entitled, “New Epic Games Store takes on Steam with just 12% revenue share – Tim
 4
     Sweeney answers our questions”122:
 5
                       “While running Fortnite we [Epic] learned a lot about the cost of running a
 6             digital store on PC. The math is quite simple: we pay around 2.5 per cent to 3.5 per
               cent for payment processing for major payment methods, less than 1.5 per cent for
 7             CDN costs (assuming all games are updated as often as Fortnite), and between 1 and 2
               per cent for variable operating and customer support costs.” Sweeney told us.
 8
                       “Fixed costs of developing and supporting the platform become negligible at a
 9             large scale. In our analysis, stores charging 30 per cent are marking up their costs by
               300 to 400 per cent," he reveals. “But with developers receiving 88 per cent of
10             revenue and Epic receiving 12 per cent, this store will still be a profitable business for
               us,” he explains.123
11
               116.    That a newcomer like Epic can run a store profitably with a 12% fee demonstrates
12
     how supracompetitive Google’s 30% transaction fee truly is. Given Google’s experience, huge pre-
13
     installation base for Google Play, and its other economies of scale, it’s likely that Google could earn
14
     a healthy profit by charging even less than 12% per covered transaction.
15
               117.    Notably, Epic’s CEO indicates above that the rates are “around 2.5 percent to 3.5
16
     percent . . . for major payment methods.” Yet Google charges 30% as its Google Play default rate
17
     for in-app purchases (with some subscription rates at 15%, as referenced herein). And this matters
18
     deeply to Android developers. The ability for consumers to pay in-app is critical to app developers,
19
     who may otherwise forego purchasing app add-ons if they cannot readily do it with the developer’s
20
     app.124
21
               118.    Epic has repeatedly tried to do something about this rate, imposed by Google the
22
     monopolist, to no avail. In fact, only last week, Epic tried to offer a lower rate to consumers for
23

24
         122
25           https://www.mcvuk.com/business/new-epic-games-store-takes-on-steam-with-just-12-
     revenue-share-tim-sweeney-answers-our-questions (dated Dec. 4, 2018) (last accessed Aug. 15,
26   2020).
        123
             Id.
27      124
             Complaint for Injunctive Relief, Epic Games, Inc. v. Google, et al., No. 20-cv-05671 (N.D.
28   Cal.), filed Aug. 13, 2020, ECF No. 1, ¶ 134.
     CLASS ACTION COMPLAINT                             - 43 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page195
                                                                 188
                                                                 47 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   virtual currency in its popular Fortnite app for Android, which is distributed via Google Play.125

 2   Epic offered consumers a choice: pay through Google’s payment processing system, or pay 20% less

 3   through Epic’s.126 Within hours, Google, in an exercise of its enormous market power, responded by

 4   kicking Fortnite out of Google Play.127

 5             119.    Epic responded by filing suit against Google later that day. Epic’s complaint includes

 6   Sherman Act monopolization claims and state claims as well. It seeks injunctive relief against

 7   Google.128

 8                     Chrome Web Store
 9             120.    Another comparator comes from Google itself. Google has for years operated the

10   Chrome Web Store, whereby it sells certain apps for use on computers, such as Windows laptops and

11   desktops.129 Google’s transaction fee for purchases of paid apps or in-app products is only 5%,130

12   not Google Play’s 30%. There is no indication that the Chrome Web Store is an eleemosynary
13   venture, or that Google is losing money by way of transaction fees set at 5%.
14             121.    Tellingly, however, when so-called ARC apps are concerned, the fee goes up to 30%
15   for in-app (and one-time131) payments. ARC stands for App Runtime for Chrome, which is a Google
16   project introduced in 2014 to bring Android apps to devices running Google’s Chrome OS.132
17   According to Google:
18

19
         125
             Id. ¶ 28.
20       126
             Id.
21       127
             Id. ¶ 29.
         128
22           Id. ¶¶ 135-238.
         129
             See https://chrome.google.com/webstore/category/extensions (last accessed Aug. 15, 2020).
23       130
             https://developer.chrome.com/webstore/pricing#seller (“Each time someone buys your app
24   using Chrome Web Store Payments, Google charges you a 5% transaction fee. For example, if you
     charge $1.99, you’ll receive $1.89; if you charge $9.99, you’ll receive $9.49.”) (last accessed Aug.
25   15, 2020); https://developer.chrome.com/webstore/money (same transaction fee for in-app payments
     when using the Chrome Web Store API) (last accessed Aug. 15, 2020).
26       131
             This is evidently equivalent to charging some amount for the app itself. (See n. 135, infra.)
         132
27           “First set of Android apps coming to a Chromebook near you,” Sep. 11, 2014, available at:
     https://chrome.googleblog.com/2014/09/first-set-of-android-apps-coming-to.html (last accessed Aug.
28   15, 2020).
     CLASS ACTION COMPLAINT                           - 44 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page196
                                                                 189
                                                                 48 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             Note: In-app payments for ARC apps are subject to a 30% transaction fee. For
               example, if you charge $1.99 for an item offered in an ARC app, you’ll receive $1.39.
 2             This is to ensure a consistent pricing structure with in-app payments made in apps
               available on Google Play. ARC does not currently support other purchase models
 3             including up-front payments, subscriptions and in-app version upgrades; as these
               types of purchases require provisioning from Google Play which is not currently
 4             enabled. . . .133

 5   In other words, Google could charge much less, but it is all-important for it to maintain the 30%

 6   Google Play fee.

 7             Minimum pricing
 8             122.    The minimum price fixing that Google requires via its adhesive developer contract

 9   likewise is unlawful. Low-price apps sell especially well, but the developer contract will not allow

10   regular pricing in the U.S. to fall below $.99, to the detriment of developers who must forego

11   volumes of lower-price sales.

12                             V.      INTERSTATE TRADE AND COMMERCE
13             123.    The activities of Google as alleged in this complaint were within the flow of, and

14   substantially affected, interstate commerce. Google Play sells distribution and payment-processing

15   services across, and without regard to, state lines.

16                                       VI.     RELEVANT MARKETS
17             First relevant market
18             124.    The antitrust injuries alleged herein, including harm to developers and competition,
19   have occurred in the U.S. market for distribution of Android OS apps, i.e., for distribution services

20   provided to U.S. Android App Developers.134 This market is heavily dominated, to the point of

21   monopoly status, by Google, including by way of its Google Play store, thanks to Google’s willful

22   and anticompetitive behavior as described in this complaint. As the European Commission has

23   found, Google and Google Play, via various anticompetitive practices, have acquired some 90

24

25       133
               https://developer.chrome.com/webstore/money (last accessed Aug. 15, 2020).
         134
26           Cf. “Antitrust: Commission fines Google €4.34 billion for illegal practices regarding Android
     mobile devices to strengthen dominance of Google's search engine,” July 18, 2018, available at:
27   http://europa.eu/rapid/press-release_IP-18-4581_en.htm (“Google is dominant in the worldwide
     market (excluding China) for app stores for the Android mobile operating system. Google's app
28   store, the Play Store, accounts for more than 90% of apps downloaded on Android devices.”).
     CLASS ACTION COMPLAINT                            - 45 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page197
                                                                 190
                                                                 49 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   percent of the market worldwide in Android app stores.135 There is no reason to believe that

 2   Google’s share is less than that in the U.S. Accordingly, Google’s share of the relevant market for

 3   Android app and in-app distribution services is believed, and therefore alleged, to have reached a

 4   similar level of dominance.

 5             125.    Competitors in the relevant market exist, such as Amazon, Aptoide, and Samsung, but

 6   they are weak in terms of their own market power. Each is and has been starved of competitive

 7   oxygen by Google’s unlawful contracts, policies, and actions. None has made a serious dent in

 8   Google’s market share.

 9             126.    Furthermore, due to the incompatibility of Apple’s iOS with Google’s Android OS,

10   and the resultant incompatibility of iOS and Android OS apps; due to Google’s status as a bottleneck

11   retailer; and due, inter alia, to the high switching costs among end users, as well as plaintiff and

12   putative class members, Apple’s App Store and corresponding distribution services for iOS apps

13   offers no competition to, and is not a substitute for, Google’s distribution services for Android OS

14   apps. Developers, industry, and governments understand that the Android market alleged herein is a

15   discrete one, which Google monopolizes.

16             127.    For the reasons alleged herein, including the foregoing, the relevant market is a

17   single-brand market or, alternatively, a submarket of a larger market that includes, inter alia, Apple’s

18   iOS app distribution services.

19             128.    Google’s restraints on competition directly impact the U.S. market for Android OS

20   distribution services as alleged herein. Google permits and encourages U.S. app developers to sell

21   their apps via Google Play to non-U.S. nationals, and U.S. developers, including the plaintiff, do so.

22   Upon information and belief, these developers’ business relationship and dealings are primarily with

23   Google LLC and Google Payment Corp., which are U.S. entities. Therefore, the Foreign Trade

24   Antitrust Improvement Act does not apply. Alternatively, its exceptions apply, including because the

25

26       135
             See European Commission, Google Android, Case AT 40099, Commission Decision of 18
27   July 2018, at 92-97, available at
     https://ec.europa.eu/competition/antitrust/cases/dec_docs/40099/40099_9993_3.pdf (last accessed
28   Aug. 17, 2020).
     CLASS ACTION COMPLAINT                            - 46 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page198
                                                                 191
                                                                 50 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   conduct alleged has a direct, substantial, and reasonably foreseeable effect on trade

 2   or commerce which is not trade or commerce with foreign nations.

 3             129.     Google is a direct seller of distribution services to Android developers for the sale of

 4   apps in or via the Google Play store and for add-ons and other products sold in those apps.136

 5             130.     Plaintiff seeks relief on behalf of themselves and other developers. Insofar as Google

 6   Play may be or is a two-sided platform, lower prices would not lead to any discernible negative

 7   indirect network effects under the circumstances described herein. For example, unlike on credit-

 8   card transaction platforms, lower fees or prices would not mean less money available to pay rebates

 9   or rewards to consumers. To the contrary, Google does not share its transaction fees with

10   consumers. Here, Google’s restraints do not help to establish or enhance participation inter se

11   developers and consumers, nor do they help to prevent erosion in participation. In fact, Google can

12   point to no considerations that countervail the propriety of the monetary and injunctive relief that

13   Plaintiff seeks.

14             Second relevant market
15             131.     The antitrust injuries alleged herein, including harm to developers and competition,
16   have occurred in the U.S. market for Android in-app payment processing, i.e., for payment
17   processing provided to U.S. Android App Developers.137 Google has enormous power in this
18   market, thanks to its willful and anticompetitive behavior as described in this complaint. As the
19   European Commission has found, Google and Google Play, via various anticompetitive practices,

20   have acquired some 90 percent of the market worldwide in Android app stores.138 And with few

21   exceptions, Google requires the use of its in-app payment system for in-app product distributions.

22
         136
23           See, e.g., https://play.google.com/store (offering various digital products to consumers for
     purchase, including apps, at various price points) (last accessed Aug. 15, 2020). The Google Play
24   mobile client is installed on hundreds of millions of Android OS devices, as alleged herein, and
     similarly offers various products, including apps, for purchase and sale.
25       137
             Cf. “Antitrust: Commission fines Google €4.34 billion for illegal practices regarding Android
     mobile devices to strengthen dominance of Google's search engine,” July 18, 2018, available at:
26   http://europa.eu/rapid/press-release_IP-18-4581_en.htm (“Google is dominant in the worldwide
     market (excluding China) for app stores for the Android mobile operating system. Google's app
27   store, the Play Store, accounts for more than 90% of apps downloaded on Android devices.”).
         138
28           See n.135, supra.
     CLASS ACTION COMPLAINT                              - 47 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page199
                                                                 192
                                                                 51 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   There, Google’s share of the relevant market for Android in-app payment processing is believed, and

 2   therefore alleged, to have reached monopoly status.

 3             132.    Competitors in the relevant market exist, but their share is exceedingly small given

 4   Google’s insistence that Android app developers use its own payment processing system for digital

 5   products sold in apps acquired from Google Play. These competitors, such as PayPal, Stripe, and

 6   Square, charge many magnitudes less than Google,139 and they provide better service, including

 7   quicker access to funds.140 Each is and has been starved of competitive oxygen in the market for

 8   Android in-app payment processing by Google’s abusive contracts, policies, and actions. And given

 9   the high sales and monetary value of in-app products,141 certainly the effect on commerce in the

10   market for these services is substantial.

11             133.    For again, due to Google’s exclusivist contracts and policies, these competitors offer

12   no substitute for, Google’s payment processing services. Developers, industry, and governments

13   understand that the Android market alleged herein is a discrete one, which Google monopolizes.

14             134.    Based on the reasons alleged herein, including the foregoing, the relevant market is a

15   single-brand market.

16             135.    Google’s restraints on competition directly impact the U.S. market for Android in-app

17   payment processing as alleged herein. Google permits and encourages U.S. app developers to sell

18   their in-app products (in apps purchased in or via Google Play) to non-U.S. nationals, and U.S.

19   developers, including the plaintiff, do so. Upon information and belief, these developers’ business

20   relationship and dealings are primarily with Google LLC and Google Payment Corp., which are U.S.

21       139
             In fact, PayPal has a microtransactions program for sellers whose transactions average less
22   than $10. Its rate is __, without additional per-transaction charges. Where funds come from a
     PayPal account in the U.S., Paypal charges a fee of 5.0% of the transaction plus a fixed fee based on
23   currency. See “Micropayment Fees,” https://www.paypal.com/us/webapps/mpp/merchant-fees (last
     accessed Aug. 17, 2020).
24       140
             Cf. “Receiving Payout,” available at: https://stripe.com/docs/payouts#payoutschedule
     (referring to two-business-day and seven-calendar-day payout schedule for U.S. accounts, depending
25   on assessed risk level, for the payment processor Stripe) (last accessed Sept. 27, 2019).
         141
26          See, e.g., Consumer Spending in Mobile Apps Grew 17% in 2019 to Exceed $83 Billion
     Globally, SensorTower (Jan. 6, 2020), https://sensortower.com/blog/app-revenue-and-downloads-
27   2019 (“An estimated $61.7 billion was spent in mobile games across both stores last year, 12.8
     percent more than 2018’s total of $54.7 billion. This was 74 percent of all in-app spending for
28   2019[.]”) (last accessed Aug. 17, 2020).
     CLASS ACTION COMPLAINT                            - 48 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page200
                                                                 193
                                                                 52 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   entities. Therefore, the Foreign Trade Antitrust Improvement Act does not apply. Alternatively, its

 2   exceptions apply, including because the conduct alleged has a direct, substantial, and reasonably

 3   foreseeable effect on trade or commerce which is not trade or commerce with foreign nations.

 4                136.   Google is a direct seller of Android in-app payment processing services to Android

 5   developers for the sale of apps in or via the Google Play store and for add-ons and other products

 6   sold in those apps.142

 7                137.   Plaintiff seeks relief on behalf of themselves and other developers. Insofar as Google

 8   Play may be or is a two-sided platform, lower prices would not lead to any discernible negative

 9   indirect network effects under the circumstances described herein. For example, unlike on credit-

10   card transaction platforms, lower fees or prices would not mean less money available to pay rebates

11   or rewards to consumers. To the contrary, Google does not share its transaction fees with

12   consumers. Here, Google’s restraints do not help to establish or enhance participation inter se

13   developers and consumers, nor do they help to prevent erosion in participation. In fact, Google can

14   point to no considerations that countervail the propriety of the monetary and injunctive relief that

15   plaintiff seeks.

16                                          VII.    CLASS ALLEGATIONS
17                138.   Plaintiff brings this proposed class action pursuant to Fed. R. Civ. P. 23(b)(1), (2), and

18   (3).

19                139.   Plaintiff brings this action on its own behalf and the following nationwide class, for

20   monetary and injunctive relief based on violations of the federal Sherman Act:

21                All U.S. developers of: (a) any paid Android OS app sold in or via the Google
                  Play store, or (b) any paid in-app product (including subscriptions) sold in the
22                Google Play store or via apps distributed in or via the Google Play store.

23   Excluded from this proposed class are the defendants; defendants’ affiliates and subsidiaries;

24   defendants’ current or former employees, officers, directors, agents, and representatives; and the

25

26          142
            See, e.g., https://play.google.com/store (offering various digital products to consumers for
27   purchase, including apps, at various price points) (last accessed Aug. 15, 2020). The Google Play
     mobile client is installed on hundreds of millions of Android OS devices, as alleged herein, and
28   similarly offers various products, including apps, for purchase and sale.
     CLASS ACTION COMPLAINT                               - 49 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page201
                                                                 194
                                                                 53 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   district judge or magistrate judge to whom this case is assigned, as well as those judges’ immediate

 2   family members.

 3            140.      Plaintiff also brings this action on its own behalf and the following nationwide class,

 4   for monetary and injunctive relief based on violations of California’s Unfair Competition Law:

 5            All U.S. developers of: (a) any paid Android OS app sold in or via the Google
              Play store, or (b) any paid in-app product (including subscriptions) sold in the
 6            Google Play store or via apps distributed in or via the Google Play store.

 7   Excluded from this proposed class are the defendants; defendants’ affiliates and subsidiaries;

 8   defendants’ current or former employees, officers, directors, agents, and representatives; and the

 9   district judge or magistrate judge to whom this case is assigned, as well as those judges’ immediate

10   family members.

11            141.      Numerosity: The exact number of the members of the proposed classes is unknown
12   and is not available to the plaintiff at this time, but upon information and belief, the classes will

13   consist of many thousands of members such that individual joinder in this case is impracticable.

14            142.      Commonality: Numerous questions of law and fact are common to the claims of the
15   plaintiff and members of the proposed classes. These include, but are not limited to:

16                 a.       Whether Google unlawfully has conditioned the contractual right of any

17   manufacturer of any Android OS mobile telephone or tablet to pre-install desired Google

18   applications such as the YouTube or Google Maps apps on the manufacturer’s agreement also to

19   install the Google Play client, with the object of acquiring or maintaining monopoly status in the

20   U.S. market for Android OS app stores (and correspondingly high market shares in the markets for

21   Android OS distribution services and in-app payment processing services);

22                 b.       Whether there is a U.S. antitrust market (or submarket) for Android OS app

23   distribution services, i.e., for distribution services provided to U.S. Android App Developers;

24                 c.       Whether there is a U.S. market for Android in-app payment processing, i.e., for

25   payment processing provided to U.S. Android App Developers;

26                 d.       Whether Google has unlawfully monopolized, or attempted to monopolize, the

27   foregoing markets or submarket;

28
     CLASS ACTION COMPLAINT                             - 50 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page202
                                                                 195
                                                                 54 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1                 e.       Whether competition in the U.S. market for Android OS distribution services, or

 2   payment processing, has been restrained and harmed by Google’s monopolization, or attempted

 3   monopolization, of such market(s);

 4                 f.       Whether Google has imposed contracts on developers that restrain trade as alleged

 5   herein;

 6                 g.       Whether developers have been harmed, including by way of having paid more for

 7   app transaction or distribution fees, or in-app product payment processing fees, than they would have

 8   but for Google’s unlawful conduct, as a result of Google’s unlawful practices;

 9                 h.       Whether plaintiff and members of the proposed classes are entitled to declaratory

10   or injunctive relief to halt Google’s unlawful practices, and to their attorney fees, costs, and

11   expenses;

12                 i.       Whether plaintiff and members of the proposed classes are entitled to any

13   damages or restitution incidental to the declaratory or injunctive relief they seek, and to their attorney

14   fees, costs, and expenses related to any recovery of such monetary relief; and

15                 j.       Whether plaintiff and members of the proposed classes are otherwise entitled to

16   any damages or restitution, and to their attorney fees, costs, and expenses related to any recovery of

17   such monetary relief.

18             143.     Typicality: Plaintiff’s claims are typical of the claims of the members of the
19   proposed classes. The factual and legal bases of Google’s liability are the same and resulted in

20   injury to plaintiff and all of the other members of the proposed classes.

21             144.     Adequate representation: Plaintiff will represent and protect the interests of the
22   proposed classes both fairly and adequately. They have retained counsel competent and experienced

23   in complex class-action litigation. Plaintiff has no interests that are antagonistic to those of the

24   proposed classes, and its interests do not conflict with the interests of the proposed class members it

25   seeks to represent.

26             145.     Prevention of inconsistent or varying adjudications: If prosecution of myriad
27   individual actions for the conduct complained of were undertaken, there likely would be inconsistent

28   or varying results. This would have the effect of establishing incompatible standards of conduct for
     CLASS ACTION COMPLAINT                         - 51 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page203
                                                                 196
                                                                 55 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   the defendant. Certification of plaintiff’s proposed classes would prevent these undesirable

 2   outcomes.

 3             146.    Injunctive and declaratory relief: By way of its conduct described in this
 4   complaint, the defendants have acted on grounds that apply generally to the proposed classes.

 5   Accordingly, final injunctive relief or corresponding declaratory relief is appropriate respecting the

 6   classes as a whole.

 7             147.    Predominance and superiority: This proposed class action is appropriate for
 8   certification. Class proceedings on these facts and this law are superior to all other available

 9   methods for the fair and efficient adjudication of this controversy, given that joinder of all members

10   is impracticable. Even if members of the proposed classes could sustain individual litigation, that

11   course would not be preferable to a class action because individual litigation would increase the

12   delay and expense to the parties due to the complex factual and legal controversies present in this

13   matter. Here, the class action device will present far fewer management difficulties, and it will

14   provide the benefit of a single adjudication, economies of scale, and comprehensive supervision by

15   this Court. Further, uniformity of decisions will be ensured.

16                             VIII. APPLICABILITY OF CALIFORNIA LAW
17             148.    There is a California law provision incorporated by reference in the Google Play

18   Terms of Service.143 Accordingly, plaintiff alleges that California law applies to the state law claims

19   they assert on their own behalf, and on behalf of the proposed nationwide classes.

20             149.    Furthermore, upon information and belief, the unlawful conduct alleged in this

21   complaint, including the drafting, dissemination, and consummation of anticompetitive contracts and

22   policies, as well as the levying and collection of Google’s supracompetitive 30% transaction fee on

23   Google Play purchases, and the enforcement of minimum-price terms, was effected, implemented,

24   adopted, and ratified in the state of California, where Google LLC and Google Payment Corp.

25       143
             See Google Play Terms of Service, available at: https://play.google.com/about/play-
26   terms/index.html, which incorporates the Google Terms of Service, the latter of which is available at:
     https://policies.google.com/terms (“California law will govern all disputes arising out of or relating
27   to these terms, service-specific additional terms, or any related services, regardless of conflict of
     laws rules. These disputes will be resolved exclusively in the federal or state courts of Santa Clara
28   County, California, USA, and you and Google consent to personal jurisdiction in those courts.”).
     CLASS ACTION COMPLAINT                           - 52 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page204
                                                                 197
                                                                 56 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   maintain their U.S. headquarters. Therefore, a substantial part of the anticompetitive conduct took

 2   place in California. For these reasons, too, plaintiff alleges that they and the proposed nationwide

 3   classes are entitled to monetary and injunctive relief pursuant to California law.

 4                             FIRST CAUSE OF ACTION
           VIOLATION OF THE SHERMAN ACT - MONOPOLIZATION OF MARKET FOR
 5                         ANDROID DISTRIBUTION SERVICES
                                     (15 U.S.C. § 2)
 6
              150.     Plaintiff repeats and re-alleges every allegation above as if set forth herein in full.
 7
              151.     Plaintiff brings this federal law claim on its own behalf and on behalf of each member
 8
     of the proposed nationwide class described above.
 9
              152.     For this count, the relevant market is the U.S. market for Android OS app and in-app
10
     product distribution services, i.e., for distribution services provided to U.S. Android App Developers,
11
              153.     Google possesses monopoly power in the relevant market.
12
              154.     For the reasons stated herein, substantial barriers to entry and expansion exist in the
13
     relevant markets.
14
              155.     Google has the power to exclude competition in the relevant market, and it has
15
     willfully used that power, including by way of its unlawful practices in restraint of trade as described
16
     herein, in order to achieve, maintain, and expand its monopoly power in that market.
17
              156.     Furthermore, in an exercise of its monopoly market power, and in order to willfully
18
     obtain, maintain, and enhance that power, Google has tied in-app payment processing via its Google
19
     Pay Billing product to Android OS app distribution via Google Play. Google has done so via policy,
20
     practice, and contract as alleged herein. In-app payments to U.S. developers run to millions of
21
     dollars each year, on millions of transactions. Therefore, the effect on the tied market for in-app
22
     payment processing, as on the tying market for distribution services, is substantial. Accordingly,
23
     Google’s tying conduct is per se unlawful. And alternatively, it is unlawful under a rule of reason
24
     analysis given the facts and circumstances described herein.
25
              157.     Given this tie, Google’s immense market power in the tying market for distribution
26
     services, and the substantial effect on commerce in the tied market for Android in-app payment
27
     processing, is per se unlawful.
28
     CLASS ACTION COMPLAINT                              - 53 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page205
                                                                 198
                                                                 57 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             158.    Google’s conduct as described herein, including its unlawful practices in restraint of

 2   trade, is exclusionary vis-à-vis its rivals in the U.S. market for Android OS app and in-app product

 3   distribution services, i.e., for distribution services provided to U.S. Android App Developers.

 4             159.    Google has behaved as alleged herein to achieve, maintain, and grow its monopoly in

 5   the U.S. market for Android OS app and in-app product distribution services, i.e., for distribution

 6   services provided to U.S. Android App Developers, with the effect being that competition is

 7   foreclosed and that developer choice is gravely diminished. So is innovation. Additionally, Google

 8   has abused its market power by imposing supracompetitive 30% developer transaction fees144 and

 9   minimum price fixing. Further, Google’s actions have depressed output as alleged herein.

10             160.    There is no business necessity or other pro-competitive justification for Google’s

11   conduct. Instead, Google’s actions are designed to destroy competition as alleged herein.

12             161.    Plaintiff and the federal law class have been injured, and will continue to be injured,

13   in their businesses and property as a result of Google’s conduct, including by way of overpaying for

14   distribution services.

15             162.    Finally, developers, including the plaintiff, are inclined to sell Android OS

16   applications, in-app purchases, and subscriptions via Google Play, or apps purchased therein, in the

17   future, in part because of their investment in their development for the Android OS ecosystem, which

18   is incompatible with Apple’s iOS ecosystem. Plaintiff and the federal law class are entitled to an

19   injunction to prevent Google from persisting in its unlawful behavior to their detriment, including the

20   harm that its behavior is causing to their businesses.

21                            SECOND CAUSE OF ACTION
           VIOLATION OF THE SHERMAN ACT – ATTEMPTED MONOPOLIZATION OF
22                  MARKET FOR ANDROID DISTRIBUTION SERVICES
                                   (15 U.S.C. § 2)
23
               163.    Plaintiff repeats and re-alleges every allegation above as if set forth herein in full.
24
               164.    Plaintiff brings this claim on its own behalf and on behalf of each member of the
25
     proposed nationwide federal law class described above.
26
         144
27         Or, alternatively, a still supracompetitive 15% commission on certain subscriptions, for what
     amounts to payment processing services that could be purchased much cheaper from other provider,
28   if Google permitted developers to use them.
     CLASS ACTION COMPLAINT                              - 54 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page206
                                                                 199
                                                                 58 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             165.    Google has attempted to monopolize the U.S. market for Android OS app distribution

 2   services, i.e., for distribution services provided to U.S. Android App Developers.

 3             166.    Google’s anticompetitive conduct has created a dangerous probability that it will

 4   achieve monopoly power in the U.S. market for Android OS app distribution services, i.e., for

 5   distribution services provided to U.S. Android App Developers.

 6             167.    Google has a specific intent to achieve monopoly power in the U.S. market for

 7   Android OS app distribution services, i.e., for distribution services provided to U.S. Android App

 8   Developers.

 9             168.    Google has the power to exclude competition in the U.S. market for Android OS app

10   distribution services, i.e., for distribution services provided to U.S. Android App Developers, and it

11   has used that power, including by way of its unlawful practices in restraint of trade as described

12   herein, in an attempt to monopolize that relevant market.

13             169.    Google’s conduct as described herein, including its unlawful practices in restraint of

14   trade, is exclusionary vis-à-vis its rivals in the U.S. market for Android OS app distribution services,

15   i.e., for distribution services provided to U.S. Android App Developers.

16             170.    Google has behaved as alleged herein in a willful attempt to obtain a monopoly in the

17   U.S. market for Android OS app distribution services, i.e., for distribution services provided to U.S.

18   Android App Developers, with the effect being that competition is foreclosed and that consumer

19   choice is gravely diminished. So is innovation. Additionally, Google has abused its market power

20   by insisting on 30% transaction fees145 and minimum price fixing. Further, Google’s actions have

21   depressed output as alleged herein.

22             171.    There is no business necessity or other pro-competitive justification for Google’s

23   conduct.

24

25

26
         145
27         Or, alternatively, a still supracompetitive 15% commission on certain subscriptions, for what
     amounts to payment processing services that could be purchased much cheaper from other provider,
28   if Google permitted developers to use them.
     CLASS ACTION COMPLAINT                            - 55 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page207
                                                                 200
                                                                 59 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            172.     Plaintiff and the federal law class have been injured, and will continue to be injured,

 2   in their businesses and property as a result of Google’s conduct, including by way of overpaying for

 3   distribution services.

 4            173.     Finally, developers, including the plaintiff, are inclined to sell Android OS

 5   applications, in-app purchases, and subscriptions via Google Play, or apps purchased therein, in the

 6   future, in part because of their investment in their development for the Android OS ecosystem, which

 7   is incompatible with Apple’s iOS ecosystem. Plaintiff and the federal law class are entitled to an

 8   injunction to prevent Google from persisting in its unlawful behavior to their detriment, including the

 9   harm that its behavior is causing to their businesses.

10                             THIRD CAUSE OF ACTION
           VIOLATION OF THE SHERMAN ACT - MONOPOLIZATION OF MARKET FOR
11                  ANDROID IN-APP PAYMENT PROCESSING SERVICES
                                     (15 U.S.C. § 2)
12
              174.     Plaintiff repeats and re-alleges every allegation above as if set forth herein in full.
13
              175.     Plaintiff brings this federal law claim on its own behalf and on behalf of each member
14
     of the proposed nationwide class described above.
15
              176.     For this count, the relevant market is the U.S. market for Android in-app payment
16
     processing, i.e., for payment processing provided to U.S. Android App Developers.
17
              177.     Google possesses monopoly power in the relevant market.
18
              178.     For the reasons stated herein, substantial barriers to entry and expansion exist in the
19
     relevant markets.
20
              179.     Google has the power to exclude competition in the relevant market, and it has
21
     willfully used that power, including by way of its unlawful practices in restraint of trade as described
22
     herein, in order to achieve, maintain, and expand its monopoly power in that market.
23
              180.     Google’s conduct as described herein, including its unlawful practices in restraint of
24
     trade, is exclusionary vis-à-vis its rivals in the relevant market is the U.S. market for Android in-app
25
     payment processing, i.e., for payment processing provided to U.S. Android App Developers.
26
              181.     Google has behaved as alleged herein to achieve, maintain, and grow its monopoly in
27
     the relevant market is the U.S. market for Android in-app payment processing, i.e., for payment
28
     CLASS ACTION COMPLAINT                              - 56 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page208
                                                                 201
                                                                 60 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   processing provided to U.S. Android App Developers., with the effect being that competition is

 2   foreclosed and that developer choice is gravely diminished. So is innovation. Additionally, Google

 3   has abused its market power by imposing supracompetitive 30% developer transaction fees146 and

 4   minimum price fixing. Further, Google’s actions have depressed output as alleged herein.

 5             182.    There is no business necessity or other pro-competitive justification for Google’s

 6   conduct. Instead, Google’s actions are designed to destroy competition as alleged herein.

 7             183.    Plaintiff and the federal law class have been injured, and will continue to be injured,

 8   in their businesses and property as a result of Google’s conduct, including by way of overpaying for

 9   payment processing services.

10             184.    Finally, developers, including the plaintiff, are inclined to sell Android OS

11   applications, in-app purchases, and subscriptions via Google Play, or apps purchased therein, in the

12   future, in part because of their investment in their development for the Android OS ecosystem, which

13   is incompatible with Apple’s iOS ecosystem. Plaintiff and the federal law class are entitled to an

14   injunction to prevent Google from persisting in its unlawful behavior to their detriment, including the

15   harm that its behavior is causing to their businesses.

16                            FOURTH CAUSE OF ACTION
           VIOLATION OF THE SHERMAN ACT – ATTEMPTED MONOPOLIZATION OF
17            MARKET FOR ANDROID IN-APP PAYMENT PROCESSING SERVICES
                                   (15 U.S.C. § 2)
18
               185.    Plaintiff repeats and re-alleges every allegation above as if set forth herein in full.
19
               186.    Plaintiff brings this claim on its own behalf and on behalf of each member of the
20
     proposed nationwide federal law class described above.
21
               187.    Google has attempted to monopolize the U.S. market for Android in-app payment
22
     processing, i.e., for payment processing provided to U.S. Android App Developers.
23
               188.    Google’s anticompetitive conduct has created a dangerous probability that it will
24
     achieve monopoly power in the U.S. market for Android in-app payment processing, i.e., for
25
     payment processing provided to U.S. Android App Developers.
26
         146
27         Or, alternatively, a still supracompetitive 15% commission on certain subscriptions, for what
     amounts to payment processing services that could be purchased much cheaper from other provider,
28   if Google permitted developers to use them.
     CLASS ACTION COMPLAINT                              - 57 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page209
                                                                 202
                                                                 61 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             189.    Google has a specific intent to achieve monopoly power in the U.S. market for

 2   Android in-app payment processing, i.e., for payment processing provided to U.S. Android App

 3   Developers.

 4             190.    Google has the power to exclude competition in the U.S. market for Android in-app

 5   payment processing, i.e., for payment processing provided to U.S. Android App Developers, and it

 6   has used that power, including by way of its unlawful practices in restraint of trade as described

 7   herein, in an attempt to monopolize that relevant market.

 8             191.    Google’s conduct as described herein, including its unlawful practices in restraint of

 9   trade, is exclusionary vis-à-vis its rivals in the U.S. market for Android in-app payment processing,

10   i.e., for payment processing provided to U.S. Android App Developers.

11             192.    Google has behaved as alleged herein in a willful attempt to obtain a monopoly in the

12   U.S. market for Android in-app payment processing, i.e., for payment processing provided to U.S.

13   Android App Developers, with the effect being that competition is foreclosed and that consumer

14   choice is gravely diminished. So is innovation. Additionally, Google has abused its market power

15   by insisting on 30% transaction fees147 and minimum price fixing. Further, Google’s actions have

16   depressed output as alleged herein.
17             193.    There is no business necessity or other pro-competitive justification for Google’s
18   conduct.
19             194.    Plaintiff and the federal law class have been injured, and will continue to be injured,

20   in their businesses and property as a result of Google’s conduct, including by way of overpaying for

21   payment processing services.

22             195.    Finally, developers, including the plaintiff, are inclined to sell Android OS

23   applications, in-app purchases, and subscriptions via Google Play, or apps purchased therein, in the

24   future, in part because of their investment in their development for the Android OS ecosystem, which

25   is incompatible with Apple’s iOS ecosystem. Plaintiff and the federal law class are entitled to an

26
         147
27         Or, alternatively, a still supracompetitive 15% commission on certain subscriptions, for what
     amounts to payment processing services that could be purchased much cheaper from other provider,
28   if Google permitted developers to use them.
     CLASS ACTION COMPLAINT                            - 58 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page210
                                                                 203
                                                                 62 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   injunction to prevent Google from persisting in its unlawful behavior to their detriment, including the

 2   harm that its behavior is causing to their businesses.

 3                              FIFTH CAUSE OF ACTION
             VIOLATION OF THE SHERMAN ACT – RESTRAINT OF TRADE RE: IN-APP
 4                               PAYMENT PROCESSING
                                      (15 U.S.C. § 1)
 5
              196.     Plaintiff repeats and re-alleges every allegation above as if set forth herein in full.
 6
              197.     Google’s conduct violates Section 1 of the Sherman Act, which prohibits “[e]very
 7
     contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or
 8
     commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.
 9
              198.     Google requires app developers to enter its standardized DDA, including Developer
10
     Program Policies integrated into that Agreement, as a condition of having their apps distributed
11
     through Google’s monopolized app store, Google Play. The relevant provisions of these agreements
12
     unreasonably restrain competition in the U.S. market for Android in-app payment processing, i.e., for
13
     payment processing provided to U.S. Android App Developers.
14
              199.     Section 3.2 of the DDA requires that Android app developers enter into a separate
15
     agreement with Google’s payment processor, Defendant Google Payment, in order to receive
16
     payment for apps and content distributed through Google Play. This includes payments related to in-
17
     app purchases of digital content. Further, Google’s Developer Program Policies, compliance with
18
     which Section 4.1 of the DDA makes obligatory, require that apps distributed through Google Play
19
     “must use Google Play In-app Billing [offered by Google Payment] as the method of payment” for
20
     such in-app purchases. While Google’s Policies exclude certain types of transactions from this
21
     requirement, such as the purchase of “solely physical products” or of “digital content that may be
22
     consumed outside of the app itself,” Google expressly applies its anticompetitive mandate to every
23
     “game downloaded on Google Play” and to all purchased “game content.”
24
              200.     The challenged provisions serve no sufficient legitimate or pro-competitive purpose
25
     and unreasonably restrain competition in the U.S. market for Android in-app payment processing,
26
     i.e., for payment processing provided to U.S. Android App Developers.
27
              201.     Google’s conduct affects a substantial volume of interstate commerce.
28
     CLASS ACTION COMPLAINT                              - 59 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page211
                                                                 204
                                                                 63 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            202.     Google’s conduct has substantial anticompetitive effects, including increased prices

 2   and costs, reduced innovation and quality of service, and lowered output

 3            203.     Plaintiff and putative class members have been harmed by Google’s anticompetitive

 4   conduct in a manner that the antitrust laws were intended to prevent. They have suffered and

 5   continue to suffer damages and irreparable injury, including harm to their businesses, and such

 6   damages and injury will not abate unless an injunction issues that will stop Google’s anticompetitive

 7   conduct.

 8            204.     Developers, including the plaintiff, are inclined to sell Android OS applications, in-

 9   app purchases, and subscriptions via Google Play, or apps purchased therein, in the future, in part

10   because of their investment in their development for the Android OS ecosystem, which is

11   incompatible with Apple’s iOS ecosystem. Plaintiff and the federal law class are entitled to an

12   injunction to prevent Google from persisting in its unlawful behavior to their detriment.

13                          SIXTH CAUSE OF ACTION
      VIOLATION OF THE SHERMAN ACT – ALTERNATIVE BASIS FOR TYING AS TO IN-
14                         APP PAYMENT-PROCESSING
                                  (15 U.S.C. § 1)
15
              205.     Plaintiff repeats and re-alleges every allegation above as if set forth herein in full.
16
              206.     Google’s conduct violates Section 1 of the Sherman Act, which prohibits “[e]very
17
     contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or
18
     commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.
19
              207.     Google has unlawfully tied distribution services for Google Play to its in-app payment
20
     processor, Google Play Billing, through its DDAs with app developers and its Developer Program
21
     Policies.
22
              208.     As demonstrated herein, Google has immense, monopoly power in the tying market—
23
     the U.S. market for Android OS app and in-app product distribution services, i.e., for distribution
24
     services provided to U.S. Android App Developers. Put another way, with Google Play installed on
25
     nearly all Android OS devices and over 90% of downloads on Android OS devices being performed
26
     via Google Play, Google has overwhelming market power. Google’s market power is further
27
     evidenced by its ability to extract supracompetitive taxes on the sale of apps via Google Play.
28
     CLASS ACTION COMPLAINT                              - 60 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page212
                                                                 205
                                                                 64 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1             209.    The availability of Google Play for app distribution is conditioned on the app

 2   developer accepting a second product, Google’s in-app payment processing . Google’s foreclosure of

 3   alternative app distribution channels thus forces developers, including the plaintiff and putative class

 4   members, to use Google’s in-app payment processing services. Indeed, Google has expressly its use

 5   a condition of reaching Android users through its dominant Google Play store.

 6             210.    The tying product, Android app distribution, is distinct from the tied product, Android

 7   in-app payment processing, because app developers have alternative in-app payment processing

 8   options and would prefer to choose among them independently of how an Android app is distributed.

 9   Google’s unlawful tying arrangement thus ties two separate products that are in separate markets.

10   Google’s contract and written policies underscore their separate nature.148

11             211.    Google’s conduct forecloses competition in the U.S. market for Android in-app
12   payment processing, i.e., for payment processing provided to U.S. Android App Developers. Given
13   the volume of transactions and the money at issue, Google’s conduct thus affects a substantial
14   volume of commerce in that market.
15             212.    Google has thus engaged in a per se illegal tying arrangement. See ¶¶ 155-157, supra.

16             213.    In the alternative only, even if Google’s tying conduct does not constitute a per se

17   violation of the law, a rule-of-reason analysis of Google’s tying arrangement also would demonstrate

18   that it violates the law.

19             214.    As an app developer that consumes in-app payment processing services for its in-app

20   subscription product, plaintiff has been harmed by Google’s anticompetitive conduct. Plaintiffs and

21   members of the putative class have suffered and continue to suffer damages and irreparable injury,

22   including ongoing harm to their businesses, and such damages and injury will not abate until the

23   Court issues an injunction ending Google’s anticompetitive conduct issues

24             215.    Developers, including the plaintiff, are inclined to sell Android OS applications, in-

25   app purchases, and subscriptions via Google Play, or apps purchased therein, in the future, in part

26   because of their investment in their development for the Android OS ecosystem, which is

27
         148
28             See supra ¶¶ 155-57.
     CLASS ACTION COMPLAINT                            - 61 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page213
                                                                 206
                                                                 65 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   incompatible with Apple’s iOS ecosystem. Plaintiff and the federal law class are entitled to an

 2   injunction to prevent Google from persisting in its unlawful behavior to their detriment.

 3                                     SEVENTH CAUSE OF ACTION
                             VIOLATION OF THE UNFAIR COMPETITION ACT
 4                              (CAL. BUS. & PROF. CODE §§ 17200 ET SEQ.)
 5            216.     Plaintiff repeats and re-alleges every allegation above as if set forth herein in full.

 6            217.     Plaintiff brings this claim on its own behalf and on behalf of each member of the

 7   proposed nationwide California law class described above. Alternatively, if the Court does not apply

 8   California law on a nationwide basis, Plaintiff brings this claim on their own behalf and on behalf of

 9   each member of a California resident class.

10            218.     California’s Unfair Competition Law (UCL) defines “unfair competition” to include

11   any “unlawful, unfair, or fraudulent” business act or practice. CAL. BUS. & PROF. CODE §§ 17200 et

12   seq. As these are stated in the disjunctive, the UCL sets up three prongs—the unlawful, unfair, and
13   fraudulent prongs—the violation of any of which constitutes a violation of the UCL
14            219.     Google has engaged in, and continues to engage in, acts of unfair competition as
15   defined in California’s UCL. More specifically, Google, based upon the conduct alleged herein, has
16   violated the unlawful and unfair prongs of the UCL.
17            Unlawful prong
18            220.     Google’s acts of unfair competition include its violations of the Sherman Act as
19   alleged herein. Therefore, Google has violated the unlawful prong of the UCL.

20            221.     Google’s conduct has harmed developers, and developers have overpaid for

21   distribution and in-app payment processing fees, due to Google’s unlawful behavior as alleged

22   herein. Google’s willfully obtained market power has allowed it to impose its supracompetitive fees

23   on developers. But for Google’s exclusionary and anticompetitive behavior, developer charges

24   would have been much lower than what they were.

25            Unfair prong
26            222.     Google’s acts of unfair competition include its violations of the Sherman Act and the

27   policies underlying it, as alleged herein. Additionally, Google has behaved unfairly and in violation

28   of public policy as alleged herein. Therefore, Google has violated the unfair prong of the UCL.
     CLASS ACTION COMPLAINT                         - 62 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page214
                                                                 207
                                                                 66 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1            223.     Google’s conduct has harmed developers, and developers have overpaid for

 2   distribution and in-app payment processing fees, due to Google’s unfair behavior as alleged herein.

 3   Google’s willfully obtained market power has allowed it to impose its supracompetitive fees on

 4   developers. But for Google’s exclusionary and anticompetitive behavior, developer payments would

 5   have been much lower than what they were.

 6            224.     Finally, developers, including the plaintiff, are inclined to sell Android OS

 7   applications, in-app purchases, and subscriptions via Google Play, or apps purchased therein, in the

 8   future, in part because of their investment in their development for the Android OS ecosystem, which

 9   is incompatible with Apple’s iOS ecosystem. Plaintiff and the state law class are entitled to an

10   injunction to prevent Google from persisting in its unlawful behavior to their detriment.

11                                             PRAYER FOR RELIEF
12            WHEREFORE, plaintiff respectfully requests the following relief:

13            A.       That the Court certify this case as a class action; that it certify the proposed federal

14   law class on a nationwide basis; the proposed California law class on a nationwide basis; or,

15   alternatively with respect to plaintiff’s California law claim, and at a minimum, a California resident

16   class based on California law; and that it appoint them as class representatives and their counsel as

17   class counsel;

18            B.       That the Court award it and the proposed classes all appropriate relief, to include, but

19   not be limited to, injunctive relief requiring that Google cease the abusive, unlawful, and

20   anticompetitive practices described herein (including pursuant to federal antitrust law, see, e.g., 15

21   U.S.C. § 26, and state law, see, e.g., Cal. Bus. & Prof. Code § 17203, as requested herein);

22   declaratory relief, adjudging such practices unlawful; as well as monetary relief, whether by way of

23   restitution (see, e.g., Cal. Bus. & Prof. Code § 17203) or damages, including treble damages (see,

24   e.g., 15 U.S.C. § 15(a)), or other multiple or punitive damages, or restitution, where mandated by law

25   (including federal antitrust law, see, e.g., 15 U.S.C. § 15(a)) or equity or as otherwise available;

26   together with recovery of their costs of suit, to include their reasonable attorneys’ fees, costs, and

27   expenses (including pursuant to federal antitrust law, see, e.g., 15 U.S.C. § 15(a) and/or 15 U.S.C. §

28
     CLASS ACTION COMPLAINT                             - 63 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page215
                                                                 208
                                                                 67 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   26; see also Cal. Code Civ. Pro. § 1021.5)), together with pre- and post-judgment interest to the

 2   maximum levels permitted by law or equity;

 3            C.       That the Court grant such additional orders or judgments as may be necessary to

 4   prevent the unlawful practices complained of herein; and

 5            D.       That the Court award it and proposed classes such other, favorable relief as may be

 6   available and appropriate under federal or state law, or at equity.

 7                                         JURY TRIAL DEMANDED
 8            Plaintiff demands a trial by jury on all issues so triable.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     CLASS ACTION COMPLAINT                             - 64 -
     Case No.:
     010803-11/1334529 V1
     Case
     Case
       Case
          5:14-cv-02007-BLF
           3:20-cv-05671-JD
             3:20-cv-05792-EMC
                             Document
                             Document
                                Document
                                      45-1
                                       56-1
                                          1 Filed
                                             Filed09/09/20
                                                   09/09/20
                                                   08/17/20 Page
                                                            Page216
                                                                 209
                                                                 68 of
                                                                    of
                                                                     of68
                                                                       240
                                                                        231




 1   DATED: August 17, 2020              Respectfully submitted,

 2                                       HAGENS BERMAN SOBOL SHAPIRO LLP

 3
                                         By     /s/ Benjamin J. Siegel
 4                                       Benjamin J. Siegel (SBN 256260)
                                         HAGENS BERMAN SOBOL SHAPIRO LLP
 5                                       715 Hearst Avenue, Suite 202
                                         Berkeley, CA 94710
 6                                       Telephone: (510) 725-3000
                                         Facsimile: (510) 725-3001
 7                                       bens@hbsslaw.com
 8                                       Steve W. Berman (pro hac vice forthcoming)
 9                                       Robert F. Lopez (pro hac vice forthcoming)
                                         HAGENS BERMAN SOBOL SHAPIRO LLP
10                                       1301 Second Avenue, Suite 2000
                                         Seattle, WA 98101
11                                       Telephone: (206) 623-7292
                                         Facsimile: (206) 623-0594
12                                       steve@hbsslaw.com
                                         robl@hbsslaw.com
13

14                                       Joseph M. Vanek (pro hac vice forthcoming)
                                         Eamon P. Kelly (pro hac vice forthcoming)
15                                       SPERLING & SLATER, P.C.
                                         55 W. Monroe Street, 32nd Floor
16                                       Chicago, IL 60603
                                         Telephone: (312) 676-5845
17                                       Facsimile: (312) 641-6492
                                         jvanek@sperling-law.com
                                         ekelly@sperling-law.com
18

19
                                         Attorneys for Plaintiff and the Proposed Classes
20

21

22

23

24

25

26

27

28
     CLASS ACTION COMPLAINT               - 65 -
     Case No.:
     010803-11/1334529 V1
Case
Case5:14-cv-02007-BLF
     3:20-cv-05671-JD Document
                      Document45-1
                               56-1 Filed
                                     Filed09/09/20
                                           09/09/20 Page
                                                    Page217
                                                         210of
                                                             of240
                                                                231




                  EXHIBIT D
                         Case
                         Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                              115
                                                                Filed
                                                                 Filed
                                                                    Filed
                                                                       09/09/20
                                                                        09/09/20
                                                                          09/03/20
                                                                                 Page
                                                                                 Page
                                                                                   Page
                                                                                      218
                                                                                       211
                                                                                         1of
                                                                                           of240
                                                                                              231
                                                                                              7



                     1   Brian C. Rocca, Bar No. 221576                    Richard S. Taffet, pro hac vice forthcoming
                         brian.rocca@morganlewis.com                       richard.taffet@morganlewis.com
                     2   Sujal J. Shah, Bar No. 215230                     MORGAN, LEWIS & BOCKIUS LLP
                         sujal.shah@morganlewis.com                        101 Park Avenue
                     3   Michelle Park Chiu, Bar No. 248421                New York, NY 10178-0060
                         michelle.chiu@morganlewis.com                     Telephone: (212) 309-6000
                     4   Minna Lo Naranjo, Bar No. 259005                  Facsimile: (212) 309-6001
                         minna.naranjo@morganlewis.com
                     5   Rishi P. Satia, Bar No. 301958                    Willard K. Tom, pro hac vice forthcoming
                         rishi.satia@morganlewis.com                       willard.tom@morganlewis.com
                     6   MORGAN, LEWIS & BOCKIUS LLP                       MORGAN, LEWIS & BOCKIUS LLP
                         One Market, Spear Street Tower                    1111 Pennsylvania Avenue, NW
                     7   San Francisco, CA 94105-1596                      Washington, D.C. 20004-2541
                         Telephone: (415) 442-1000                         Telephone: (202) 739-3000
                     8   Facsimile: (415) 442-1001                         Facsimile: (202) 739-3001

                     9   Attorneys for Google LLC
                    10

                    11                                 UNITED STATES DISTRICT COURT

                    12                              NORTHERN DISTRICT OF CALIFORNIA

                    13                                        OAKLAND DIVISION

                    14
                         DONALD R. CAMERON, et al.,                        Case No. 4:19-cv-03074-YGR
                    15
                                                Plaintiff,                 GOOGLE LLC’S RESPONSE TO SUA
                    16                                                     SPONTE JUDICIAL REFERRAL FOR
                                       v.                                  PURPOSES OF DETERMINING
                    17                                                     RELATIONSHIP OF CASES
                         APPLE INC.,
                    18
                                                Defendants.
                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                                            Case No 4:19-cv-03074-YGR
 BOCKIUS LLP                                GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                              FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                              115
                                                                Filed
                                                                 Filed
                                                                    Filed
                                                                       09/09/20
                                                                        09/09/20
                                                                          09/03/20
                                                                                 Page
                                                                                 Page
                                                                                   Page
                                                                                      219
                                                                                       212
                                                                                         2of
                                                                                           of240
                                                                                              231
                                                                                              7



                     1          Pursuant to Civil L.R. 3-12(c) and (e), Google LLC (“Google”) responds to the Sua

                     2   Sponte Judicial Referral for Purposes of Determining Relationship of Cases ordered by Judge

                     3   Chen in Pure Sweat Basketball, Inc. v. Google LLC, et al., No. 20-cv-05792-EMC (N.D. Cal)

                     4   (“PSB-Google”), ECF 16. Judge Chen has referred PSB-Google to Judge Donato and Judge

                     5   Gonzalez Rogers to determine whether it is related to: Epic Games, Inc. v. Google LLC et al.,

                     6   No. C-20-5671-JD (“Epic-Google”); Cameron et al v. Apple Inc., No. C-19-3074-YGR

                     7   (“Cameron-Apple”); or Epic Games, Inc. v. Apple Inc., No. C-20-5640-YGR (“Epic-Apple”).

                     8          For completeness, Google advises the Court that two other actions should also be

                     9   considered for “relation” under Local Rule 3-12: Feitelson v. Google Inc., No. 14-cv-02007
                    10   (“Feitelson-Google”)1, which “was pending” before Judge Freeman; and Carr v. Google LLC,

                    11   No. 20-CV-05761 (“Carr-Google”), which “is pending” before Judge Freeman.

                    12          As a threshold matter, Google believes the three Android-related cases filed recently—

                    13   Epic-Google (Donato, J.), Carr-Google (Freeman, J.) and PSB-Google (Chen, J.)—all “relate” to

                    14   each other under Local Rule 3-12(a). Solely for convenience and purposes of this Response,

                    15   Google refers to these actions as “the Android/Google Cases.” Google also notes that under

                    16   Local Rule 3-12, these three cases may be related to the earlier-filed Android case, Feitelson-

                    17   Google (Freeman, J.), an action that “was pending in this District.” Civ. L.R. 3-12(b).

                    18          Google respectfully opposes relation of the Android/Google Cases to Cameron-Apple or

                    19   Epic-Apple (together, for purposes of this Response, the “iOS/Apple Cases”). Although Android
                    20   and iOS compete to attract app developers and end users, Google (through Android) and Apple

                    21   (through iOS) use different business models, agreements, and policies to support competing

                    22   ecosystems. The Android/Google Cases and iOS/Apple Cases thus do not concern “substantially

                    23   the same parties, property, transaction or event.” Civ. L.R. 3-12(a)(1). Moreover, the cases sit in

                    24   markedly different procedural postures—Google has not been served with the Complaints in

                    25   Epic-Google and Carr-Google, and only two of five Google defendants have been served in PSB-

                    26   Google (on August 21, 2020), whereas Apple has been engaged in continuous iOS-related

                    27
                         1
                          The PSB-Google complaint cites to the Feitelson-Google complaint when referencing relevant
                    28   Mobile Application Distribution Agreements (“MADAs”). PSB-Google Complaint, ¶ 69 n.75.
MORGAN, LEWIS &                                                        1                     Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                              GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                            FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                              115
                                                                Filed
                                                                 Filed
                                                                    Filed
                                                                       09/09/20
                                                                        09/09/20
                                                                          09/03/20
                                                                                 Page
                                                                                 Page
                                                                                   Page
                                                                                      220
                                                                                       213
                                                                                         3of
                                                                                           of240
                                                                                              231
                                                                                              7



                     1   litigation since 2011. It is therefore unlikely that conducting the Android/Google Cases and

                     2   iOS/Apple Cases before different Judges will lead to “unduly burdensome duplication of labor

                     3   and expense or conflicting results.” Civ. L.R. 3-12(a)(2).

                     4                                              DISCUSSION

                     5          An action is related to another when (1) the actions concern substantially the same parties,

                     6   property, transaction, or event; and (2) it appears likely that there will be an unduly burdensome

                     7   duplication of labor and expense or conflicting results if the cases are conducted before different

                     8   judges. Civ. L.R. 3-12(a). The rule applies to any potentially related action “which is or was

                     9   pending in this District.” Civ. L.R. 3-12(b) (emphasis added).
                    10            I.    The Android/Google Cases Should Not Be Related To the iOS/Apple Cases

                    11          The Android/Google Cases and the iOS/Apple Cases lack the requisite “substantial” parity

                    12   in parties, transactions, and operative facts. This Court has rejected relation of cases even where

                    13   parties and claims were far more similar than they are here. See Tecson v. Lyft, No. 18-cv-06782,

                    14   2019 WL 1903263, at *3 (N.D. Cal. Apr. 29, 2019) (Gonzalez Rogers, J.) (finding that TCPA

                    15   cases against the same defendant did “not suffice to meet the substantial similarity threshold”

                    16   because the cases involved “different facts and claims so the judge in each case would be focused

                    17   on resolving separate issues of law and fact for different parties”).

                    18          Different Parties, Property, Transactions, and Events. The defendants in the

                    19   Android/Google Cases are different from the defendants in the iOS/Apple Cases. This is
                    20   significant; it means there is virtually no overlap in the “property, transactions, or event[s]” at

                    21   issue. Civ. L.R. 3-12(a). This Court has recognized in the iOS/Apple Cases that having the same

                    22   defendant in those cases resulted in “each case stem[ming] from the use of the exact same

                    23   technology and the economics regarding the same technology.” Pepper v. Apple, No. 11-cv-

                    24   06714-YGR, 2019 WL 4783951, at *1 (N.D. Cal. Aug. 22, 2019) (Gonazalez Rogers, J.) (finding

                    25   “significant economies” in terms of case management and resolution of motions tied to an

                    26   understanding of the technology, platform markets, and the transactions at issue). In contrast,

                    27   Android and iOS do not use the “exact same technologies” and the business models of these two

                    28
MORGAN, LEWIS &                                                      2                    Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                               GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                             FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                              115
                                                                Filed
                                                                 Filed
                                                                    Filed
                                                                       09/09/20
                                                                        09/09/20
                                                                          09/03/20
                                                                                 Page
                                                                                 Page
                                                                                   Page
                                                                                      221
                                                                                       214
                                                                                         4of
                                                                                           of240
                                                                                              231
                                                                                              7



                     1   ecosystems, though in competition with each other, are materially different.

                     2            Android and iOS compete to attract app developers and end users, but the conduct

                     3   underlying their competition—and at issue in these two separate sets of lawsuits—is

                     4   distinct. While Apple’s iOS allows the distribution of apps only through Apple’s proprietary app

                     5   store, Android devices, in contrast: (1) can have multiple app stores simultaneously pre-installed

                     6   or downloaded and (2) allow for end users to sideload apps via the Internet. That means Android

                     7   app developers can distribute apps through multiple Android app stores, work directly with

                     8   OEMs or carriers to preload apps, and distribute apps to users directly from their own

                     9   websites. As a result, Apple and Google each have their own separate and unique negotiations
                    10   and contracts with app developers and original equipment manufacturers (OEMs). These

                    11   fundamental differences in the way Apple and Google support app distribution create key

                    12   distinctions in the claims and defenses in the iOS/Apple Cases and Android/Google Cases.2

                    13            Although there is some overlap with certain named plaintiffs—e.g., Epic has filed suit in

                    14   both Epic-Apple and Epic-Google—and the app developer classes—i.e., developers can create

                    15   both iOS and Android versions of their app—this overlap is insignificant from a “relation”

                    16   perspective. The operative facts relating to the business strategies and app distribution policies

                    17   that underlie the claims in the iOS/Apple Cases are different from those in the Android/Google

                    18   Cases. See Tecson, 2019 WL 1903263, at *3 (“Even if there was some overlap between classes,

                    19   the operative facts for the putative classes would still make them substantially different.”).
                    20            Little Duplication of Labor and Expense or Risk of Conflicting Results. The

                    21   Android/Google Cases and iOS/Apple Cases are in very different procedural postures, making it

                    22   unlikely there will be meaningful efficiencies created through relation. The iOS/Apple Cases are

                    23   related to a consumer class case, In re Apple iPhone Antitrust Litigation, No. 11-cv-06714-YGR,

                    24   that was filed in 2011 and is set for class certification proceedings in 2021 and trial in

                    25   2022. Cameron-Apple is proceeding on the same schedule. The Epic/Apple matter appears to be

                    26   proceeding on an expedited schedule. In contrast, no Google entity has been served in Epic-

                    27

                    28   2
                             This Response does not suggest that claims against Apple in the iOS/Apple Cases have merit.
MORGAN, LEWIS &                                                            3                      Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                                GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                              FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                              115
                                                                Filed
                                                                 Filed
                                                                    Filed
                                                                       09/09/20
                                                                        09/09/20
                                                                          09/03/20
                                                                                 Page
                                                                                 Page
                                                                                   Page
                                                                                      222
                                                                                       215
                                                                                         5of
                                                                                           of240
                                                                                              231
                                                                                              7



                     1   Google or Carr-Google and only two of five Google defendants were served in PSB-Google (on

                     2   August 21, 2020). Once served, and only after the initial scheduling is worked out, Google will

                     3   challenge the complaints, in large part based on circumstances unique to Android, just as it did in

                     4   Feitelson v. Google, Inc., 80 F. Supp. 3d 1019 (N.D. Cal. 2015). These differences in procedural

                     5   posture make it unlikely that there will be an unduly burdensome duplication of labor and

                     6   expense, and given the different defendants and operative facts, there is little risk of conflicting

                     7   results. Cf. Pepper, 2019 WL 4783951, at *2 (relating cases when “[a]ll three cases are currently

                     8   in a similar procedural posture and have yet to begin substantial discovery and so efficiency gains

                     9   will be achieved in discovery” and “the fact that both sets of plaintiffs seek injunctive relief
                    10   [against Apple] presents a sufficient risk of inconsistent results to warrant relation”).

                    11              II.   The Android/Google Cases All Relate To Each Other

                    12             While the three Android/Google Cases are related to each other, Google believes that

                    13   alongside Judge Chen’s referral to Judge Donato, under Local Rule 3-12, the cases also need to

                    14   be referred to Judge Freeman as they “may be ... related” to Feitelson-Google.3 Civ. L.R. 3-

                    15   12(b). These cases each allege claims against Google defendants based on Google’s contracts

                    16   with app developers and its policies within the Android ecosystem. The chart below summarizes

                    17   the Feitelson-Google case and each of the three Android/Google Cases in order of their filing.

                    18       Case, No. (Judge)      Plaintiff / Type   Defendants                     Property, Transaction
                                                                                                      or Event
                    19
                          Feitelson v. Google Inc., Gary Feitelson   Google, Inc.*                    Android OS
                    20    No. 5:14-cv-02007         and Daniel                                        Google Search
                          (Freeman, J.)             McKee / Putative *Converted to Google LLC in      Google’s MADA
                    21                              consumer class   2017                             Google Play Store
                    22
                          Epic Games, Inc. v.       Epic Games /       Google LLC                     Android OS
                    23    Google LLC et al., No.    Individual app     Google Payment Corp.           Google’s MADA
                          3:20-cv-05671             developer          Google Ireland Ltd.            Google Play Store
                    24

                    25   3
                            Each of the plaintiffs in the recently-filed Android/Google Cases—Epic, Mary Carr, and Pure
                         Sweat Basketball—agreed to litigate disputes with Google “exclusively” in Santa Clara County,
                    26   i.e., in the San Jose Division for federal court cases. See Google DDA, §16.8, available at
                         https://play.google.com/about/developer-distribution-agreement.html; Google Terms of Service,
                    27   Section “Settling disputes, governing law, and courts”, available at
                         https://policies.google.com/terms?hl=en-US. Judge Freeman is the only judge currently assigned
                    28   an Android/Google Case (Carr-Google) who presides in the San Jose Division.
MORGAN, LEWIS &                                                             4                     Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                                 GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                               FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                              115
                                                                Filed
                                                                 Filed
                                                                    Filed
                                                                       09/09/20
                                                                        09/09/20
                                                                          09/03/20
                                                                                 Page
                                                                                 Page
                                                                                   Page
                                                                                      223
                                                                                       216
                                                                                         6of
                                                                                           of240
                                                                                              231
                                                                                              7



                     1    (Donato, J.)                                       Google Commerce Ltd.            Google’s Developer
                                                                             Google Asia Pacific Pte. Ltd.   Distribution Agreements
                     2                                                                                       (“DDA”)
                     3    Carr v. Google LLC et        Mary Carr /           Google LLC                      Android OS
                          al., No. 5:20-cv-05761       Putative              Google Payment Corp.            Google’s MADA
                     4    (Freeman, J.)                consumer class        Google Ireland Ltd.             Google Play Store
                                                                             Google Commerce Ltd.            Google’s DDA
                     5                                                       Google Asia Pacific Pte. Ltd.

                     6    Pure Sweat Basketball,       Pure Sweat            Google LLC                      Android OS
                          Inc. v. Google LLC et al.,   Basketball /          Google Payment Corp.            Google’s MADA
                     7    No. 3:20-cv-05792            Putative app          Google Ireland Ltd.             Google Play Store
                          (Chen, J.)                   developer class       Google Commerce Ltd.            Google’s DDA
                     8                                                       Google Asia Pacific Pte. Ltd.

                     9           The three recently-filed cases each concern the same open mobile OS (Android) and

                    10   challenge the same Google Play policies, so there is a potential risk of inefficiencies and

                    11   conflicting results if those cases are heard before different Judges. The earlier filed case,

                    12   Feitelson-Google, was pending in this district and dismissed by Judge Freeman in 2015. See

                    13   Feitelson v. Google, Inc., 80 F. Supp. 3d 1019 (N.D. Cal. 2015) (granting motion to

                    14   dismiss). The same counsel who represented the Feitelson plaintiffs also represent the plaintiff in

                    15   PSB-Google, and both complaints allege the same theory of anticompetitive harm: Google’s use

                    16   of MADAs to purportedly foreclose competition in the relevant markets alleged in each

                    17   complaint. Both complaints allege inter alia that under Google’s MADA, OEMs can only

                    18   preload “must-have” Google apps if the OEM agrees to preload a bundle of Google apps

                    19   (including Google Play), which allegedly forecloses competitive apps from being preloaded. See,

                    20   e.g., Feitelson-Google, Dkt. No. 31, FAC ¶ 7; PSB-Google, Dkt. No. 1, Compl. ¶ 7. The Epic-

                    21   Google and Carr-Google cases allege substantially similar legal theories. See, e.g., Epic-Google,

                    22   Dkt. No. 1, Compl., ¶¶ 56-57; Carr-Google, Dkt. No. 1, ¶¶ 33-34.

                    23                                                   *         *       *

                    24           Google therefore respectfully requests that the Court decline to relate PSB-Google to

                    25   Cameron-Apple or Epic-Apple.4

                    26   4
                          Google has filed this initial Response in the lowest-numbered case identified on Judge Chen’s
                         Sua Sponte Referral Order. Google also intends to file in due course: (1) a response to Judge
                    27   Chen’s Sua Sponte Referral on the docket for Epic-Google (before Judge Donato), and (2) an
                         administrative motion as required by Civ. L.R. 3-12(b) to consider whether the Android/Google
                    28   cases “may be” related to Feitelson-Google, which “was pending” before Judge Freeman.
MORGAN, LEWIS &                                                           5                       Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                                GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                              FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                              115
                                                                Filed
                                                                 Filed
                                                                    Filed
                                                                       09/09/20
                                                                        09/09/20
                                                                          09/03/20
                                                                                 Page
                                                                                 Page
                                                                                   Page
                                                                                      224
                                                                                       217
                                                                                         7of
                                                                                           of240
                                                                                              231
                                                                                              7



                     1   Dated: September 3, 2020                    By     /s/ Brian C. Rocca
                                                                           Brian C. Rocca
                     2                                                     MORGAN, LEWIS & BOCKIUS LLP

                     3                                                     Attorneys for Google LLC

                     4

                     5

                     6

                     7

                     8

                     9
                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                   6                    Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                            GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                          FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
Case
Case5:14-cv-02007-BLF
     3:20-cv-05671-JD Document
                      Document45-1
                               56-1 Filed
                                     Filed09/09/20
                                           09/09/20 Page
                                                    Page225
                                                         218of
                                                             of240
                                                                231




                  EXHIBIT E
                         Case
                         Case
                            Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                  3:20-cv-05671-JD
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                             32 Filed
                                                                 Filed
                                                                  Filed09/09/20
                                                                        09/09/20
                                                                         09/04/20 Page
                                                                                  Page
                                                                                   Page226
                                                                                        219
                                                                                         1 ofof
                                                                                              of5240
                                                                                                  231



                     1   Brian C. Rocca, Bar No. 221576                 Richard S. Taffet, pro hac vice forthcoming
                         brian.rocca@morganlewis.com                    richard.taffet@morganlewis.com
                     2   Sujal J. Shah, Bar No. 215230                  MORGAN, LEWIS & BOCKIUS LLP
                         sujal.shah@morganlewis.com                     101 Park Avenue
                     3   Michelle Park Chiu, Bar No. 248421             New York, NY 10178-0060
                         michelle.chiu@morganlewis.com                  Telephone: (212) 309-6000
                     4   Minna Lo Naranjo, Bar No. 259005               Facsimile: (212) 309-6001
                         minna.naranjo@morganlewis.com
                     5   Rishi P. Satia, Bar No. 301958                 Willard K. Tom, pro hac vice forthcoming
                         rishi.satia@morganlewis.com                    willard.tom@morganlewis.com
                     6   MORGAN, LEWIS & BOCKIUS LLP                    MORGAN, LEWIS & BOCKIUS LLP
                         One Market, Spear Street Tower                 1111 Pennsylvania Avenue, NW
                     7   San Francisco, CA 94105-1596                   Washington, D.C. 20004-2541
                         Telephone: (415) 442-1000                      Telephone: (202) 739-3000
                     8   Facsimile: (415) 442-1001                      Facsimile: (202) 739-3001

                     9
                         Attorneys for Defendant Google LLC
                    10

                    11                              UNITED STATES DISTRICT COURT
                    12                           NORTHERN DISTRICT OF CALIFORNIA
                    13                                    SAN FRANCISCO DIVISION
                    14

                    15   EPIC GAMES, INC., a Maryland Corporation,      Case No. 3:20-cv-05671-JD
                    16                       Plaintiff,                GOOGLE LLC’S RESPONSE TO SUA
                                                                       SPONTE JUDICIAL REFERRAL FOR
                    17                v.                               PURPOSES OF DETERMINING
                                                                       RELATIONSHIP OF CASES
                    18   GOOGLE LLC; GOOGLE IRELAND
                         LIMITED; GOOGLE COMMERCE
                    19   LIMITED; GOOGLE ASIA PACIFIC
                         PTE. LTD.; and GOOGLE PAYMENT
                    20   CORP.,
                    21                       Defendants.
                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                                         Case No. 3:20-cv-05671-JD
 BOCKIUS LLP                    GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL FOR PURPOSES OF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                 DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                            Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                  3:20-cv-05671-JD
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                             32 Filed
                                                                 Filed
                                                                  Filed09/09/20
                                                                        09/09/20
                                                                         09/04/20 Page
                                                                                  Page
                                                                                   Page227
                                                                                        220
                                                                                         2 ofof
                                                                                              of5240
                                                                                                  231



                     1          Pursuant to Civil L.R. 3-12(c) and (e), Google LLC (“Google”) responds to the Sua

                     2   Sponte Judicial Referral for Purposes of Determining Relationship of Cases ordered by Judge

                     3   Chen in Pure Sweat Basketball, Inc. v. Google LLC, et al., No. 20-cv-05792-EMC (N.D. Cal.)

                     4   (“PSB-Google”), ECF 16. Judge Chen has referred PSB-Google to Judge Donato and Judge

                     5   Gonzalez Rogers to determine whether it is related to: Epic Games, Inc. v. Google LLC et al.,

                     6   No. C-20-5671-JD (“Epic-Google”); Cameron et al v. Apple Inc., No. C-19-3074-YGR

                     7   (“Cameron-Apple”); or Epic Games, Inc. v. Apple Inc., No. C-20-5640-YGR (“Epic-Apple”).

                     8   Google and Google Payment Corp. were served in Epic-Google on September 4, 2020.1

                     9           For completeness, Google advises the Court that two other actions should also be
                    10   considered for “relation” under Local Rule 3-12: Feitelson v. Google Inc., No. 14-cv-02007

                    11   (“Feitelson-Google”)2, which “was pending” before Judge Freeman; and Carr v. Google LLC,

                    12   No. 20-CV-05761 (“Carr-Google”), which “is pending” before Judge Freeman.

                    13          As a threshold matter, Google believes the three Android-related cases filed recently—

                    14   Epic-Google (Donato, J.), Carr-Google (Freeman, J.) and PSB-Google (Chen, J.)—all “relate” to

                    15   each other under Local Rule 3-12(a). Solely for convenience and purposes of this Response,

                    16   Google refers to these actions as “the Android/Google Cases.” Google also notes that under

                    17   Local Rule 3-12, these three cases may be related to the earlier-filed Android case, Feitelson-

                    18   Google (Freeman, J.), an action that “was pending in this District.” Civ. L.R. 3-12(b). As

                    19   required by L.R. 3-12(b), Google will be filing an administrative motion before Judge Freeman to
                    20   consider whether the Android/Google Cases should be related to Feitelson-Google.

                    21          Google does not believe the Android/Google Cases are related to the cases filed against

                    22   Apple that are currently before Judge Gonzalez Rogers. Google responded to Judge Chen’s sua

                    23   sponte order in Cameron et al v. Apple Inc., Case No. C-19-3074-YGR (“Cameron-Apple”),

                    24   which is the lowest numbered case identified in the Referral Order on September 3, 2020. That

                    25   response is attached as Exhibit A.

                    26   1
                           The other defendants named in Epic-Google—Google Ireland Limited, Google Commerce
                    27   Limited, and Google Asia Pacific Pte. Limited—have not yet been served.
                         2
                           The PSB-Google complaint cites to the Feitelson-Google complaint when referencing relevant
                    28   Mobile Application Distribution Agreements (“MADAs”). PSB-Google Complaint, ¶ 69 n.75.
MORGAN, LEWIS &                                                         1                        Case No. 3:20-cv-05671-JD
 BOCKIUS LLP                     GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL FOR PURPOSES OF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                  DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                            Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                  3:20-cv-05671-JD
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                             32 Filed
                                                                 Filed
                                                                  Filed09/09/20
                                                                        09/09/20
                                                                         09/04/20 Page
                                                                                  Page
                                                                                   Page228
                                                                                        221
                                                                                         3 ofof
                                                                                              of5240
                                                                                                  231



                     1                                                  DISCUSSION
                     2             An action is related to another when (1) the actions concern substantially the same parties,
                     3
                         property, transaction, or event; and (2) it appears likely that there will be an unduly burdensome
                     4
                         duplication of labor and expense or conflicting results if the cases are conducted before different
                     5
                         judges. Civ. L.R. 3-12(a). The rule applies to any potentially related action “which is or was
                     6

                     7   pending in this District.” Civ. L.R. 3-12(b) (emphasis added).

                     8             The three Android/Google Cases are related to each other. The three recently-filed cases

                     9   each concern the same open mobile OS (Android) and challenge the same Google Play policies,
                    10
                         so there is a potential risk of inefficiencies and conflicting results if those cases are heard before
                    11
                         different Judges.
                    12
                                   Google also believes that alongside Judge Chen’s referral to this Court, under Local Rule
                    13
                         3-12, the cases also need to be referred to Judge Freeman as they “may be ... related” to
                    14

                    15   Feitelson-Google.3 Civ. L.R. 3-12(b). These cases each allege claims against Google defendants

                    16   based on Google’s contracts with app developers and its policies within the Android
                    17   ecosystem. The chart below summarizes the Feitelson-Google case and each of the three
                    18
                         Android/Google Cases in order of their filing.
                    19
                             Case, No. (Judge)       Plaintiff / Type    Defendants                    Property, Transaction
                    20                                                                                 or Event
                    21    Feitelson v. Google Inc., Gary Feitelson   Google Inc.*                     Android OS
                          No. 5:14-cv-02007         and Daniel                                        Google Search
                    22    (Freeman, J.)             McKee / Putative *Converted to Google LLC in      Google’s MADA
                                                    consumer class   2017                             Google Play Store
                    23

                    24
                         3
                    25     Each of the plaintiffs in the recently-filed Android/Google Cases—Epic, Mary Carr, and Pure
                         Sweat Basketball—agreed to litigate disputes with Google “exclusively” in Santa Clara County,
                    26   i.e., in the San Jose Division for federal court cases. See Google DDA, §16.8, available at
                         https://play.google.com/about/developer-distribution-agreement.html; Google Terms of Service,
                    27   Section “Settling disputes, governing law, and courts”, available at
                         https://policies.google.com/terms?hl=en-US. Judge Freeman is the only judge currently assigned
                    28   an Android/Google Case (Carr-Google) who presides in the San Jose Division.
MORGAN, LEWIS &                                                             2                      Case No. 3:20-cv-05671-JD
 BOCKIUS LLP                       GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL FOR PURPOSES OF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                    DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                            Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                  3:20-cv-05671-JD
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                             32 Filed
                                                                 Filed
                                                                  Filed09/09/20
                                                                        09/09/20
                                                                         09/04/20 Page
                                                                                  Page
                                                                                   Page229
                                                                                        222
                                                                                         4 ofof
                                                                                              of5240
                                                                                                  231



                     1    Epic Games, Inc. v.          Epic Games /      Google LLC                      Android OS
                          Google LLC et al., No.       Individual app    Google Payment Corp.            Google’s MADA
                     2    3:20-cv-05671                developer         Google Ireland Ltd.             Google Play Store
                          (Donato, J.)                                   Google Commerce Ltd.            Google’s Developer
                     3                                                   Google Asia Pacific Pte. Ltd.   Distribution Agreements
                     4                                                                                   (“DDA”)
                          Carr v. Google LLC et        Mary Carr /       Google LLC                      Android OS
                     5    al., No. 5:20-cv-05761       Putative          Google Payment Corp.            Google’s MADA
                          (Freeman, J.)                consumer class    Google Ireland Ltd.             Google Play Store
                     6                                                   Google Commerce Ltd.            Google’s DDA
                                                                         Google Asia Pacific Pte. Ltd.
                     7
                          Pure Sweat Basketball,       Pure Sweat        Google LLC                      Android OS
                     8    Inc. v. Google LLC et al.,   Basketball /      Google Payment Corp.            Google’s MADA
                          No. 3:20-cv-05792            Putative app      Google Ireland Ltd.             Google Play Store
                     9    (Chen, J.)                   developer class   Google Commerce Ltd.            Google’s DDA
                                                                         Google Asia Pacific Pte. Ltd.
                    10

                    11           The earliest filed case, Feitelson-Google, was pending in this district and dismissed by

                    12   Judge Freeman in 2015. See Feitelson v. Google Inc., 80 F. Supp. 3d 1019 (N.D. Cal. 2015)

                    13   (granting motion to dismiss). The same counsel who represented the Feitelson plaintiffs also

                    14   represent the plaintiff in PSB-Google, and both complaints allege the same theory of

                    15   anticompetitive harm: Google’s use of MADAs to purportedly foreclose competition in the

                    16   relevant markets alleged in each complaint. Both complaints allege inter alia that under Google’s

                    17   MADA, OEMs can only preload “must-have” Google apps if the OEM agrees to preload a bundle

                    18   of Google apps (including Google Play), which allegedly forecloses competitive apps from being

                    19   preloaded. See, e.g., Feitelson-Google, Dkt. No. 31, FAC ¶ 7; PSB-Google, Dkt. No. 1, Compl.
                    20   ¶ 7. The Epic-Google and Carr-Google cases allege substantially similar legal theories. See,

                    21   e.g., Epic-Google, Dkt. No. 1, Compl., ¶¶ 56-57; Carr-Google, Dkt. No. 1, ¶¶ 33-34.

                    22                                                       ****
                    23           Google defers to the Court’s judgment as to whether, at this time, it should relate PSB-

                    24   Google to Epic-Google in response to Judge Chen’s Sua Sponte Referral. Google nevertheless

                    25   wishes to alert the Court of an administrative motion that Google plans to file in Feitelson-Google

                    26   as required by Local Rule 3-12(b).

                    27

                    28
MORGAN, LEWIS &                                                     3                     Case No. 3:20-cv-05671-JD
 BOCKIUS LLP                      GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL FOR PURPOSES OF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                   DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                            Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                  3:20-cv-05671-JD
                                                 Document
                                                 Document
                                                    Document
                                                          45-1
                                                           56-1
                                                             32 Filed
                                                                 Filed
                                                                  Filed09/09/20
                                                                        09/09/20
                                                                         09/04/20 Page
                                                                                  Page
                                                                                   Page230
                                                                                        223
                                                                                         5 ofof
                                                                                              of5240
                                                                                                  231



                     1   Dated: September 4, 2020                     By     /s/ Brian C. Rocca
                                                                           Brian C. Rocca
                     2                                                     MORGAN, LEWIS & BOCKIUS LLP

                     3                                                     Attorneys for Defendant Google LLC

                     4

                     5

                     6

                     7

                     8

                     9
                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                   4                     Case No. 3:20-cv-05671-JD
 BOCKIUS LLP                    GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL FOR PURPOSES OF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                 DETERMINING RELATIONSHIP OF CASES
Case
Case
  Case
     5:14-cv-02007-BLF
      3:20-cv-05671-JD
         3:20-cv-05671-JDDocument
                         Document
                           Document
                                  45-1
                                   56-1
                                    32-1Filed
                                         Filed
                                           Filed
                                              09/09/20
                                               09/09/20
                                                 09/04/20Page
                                                         Page
                                                           Page
                                                              231
                                                               224
                                                                1 of
                                                                   of240
                                                                     8231




                       EXHIBIT A
                         Case
                         Case
                           Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                  3:20-cv-05671-JDDocument
                                                  Document
                                                    Document
                                                     Document
                                                           45-1
                                                            56-1
                                                             32-1
                                                               115
                                                                 Filed
                                                                  Filed
                                                                    Filed
                                                                     Filed
                                                                        09/09/20
                                                                         09/09/20
                                                                          09/04/20
                                                                           09/03/20
                                                                                  Page
                                                                                   Page
                                                                                    Page
                                                                                     Page
                                                                                       232
                                                                                        225
                                                                                         21of
                                                                                            of240
                                                                                              8231
                                                                                               7



                     1   Brian C. Rocca, Bar No. 221576                    Richard S. Taffet, pro hac vice forthcoming
                         brian.rocca@morganlewis.com                       richard.taffet@morganlewis.com
                     2   Sujal J. Shah, Bar No. 215230                     MORGAN, LEWIS & BOCKIUS LLP
                         sujal.shah@morganlewis.com                        101 Park Avenue
                     3   Michelle Park Chiu, Bar No. 248421                New York, NY 10178-0060
                         michelle.chiu@morganlewis.com                     Telephone: (212) 309-6000
                     4   Minna Lo Naranjo, Bar No. 259005                  Facsimile: (212) 309-6001
                         minna.naranjo@morganlewis.com
                     5   Rishi P. Satia, Bar No. 301958                    Willard K. Tom, pro hac vice forthcoming
                         rishi.satia@morganlewis.com                       willard.tom@morganlewis.com
                     6   MORGAN, LEWIS & BOCKIUS LLP                       MORGAN, LEWIS & BOCKIUS LLP
                         One Market, Spear Street Tower                    1111 Pennsylvania Avenue, NW
                     7   San Francisco, CA 94105-1596                      Washington, D.C. 20004-2541
                         Telephone: (415) 442-1000                         Telephone: (202) 739-3000
                     8   Facsimile: (415) 442-1001                         Facsimile: (202) 739-3001

                     9   Attorneys for Google LLC
                    10

                    11                                 UNITED STATES DISTRICT COURT

                    12                              NORTHERN DISTRICT OF CALIFORNIA

                    13                                        OAKLAND DIVISION

                    14
                         DONALD R. CAMERON, et al.,                        Case No. 4:19-cv-03074-YGR
                    15
                                                Plaintiff,                 GOOGLE LLC’S RESPONSE TO SUA
                    16                                                     SPONTE JUDICIAL REFERRAL FOR
                                       v.                                  PURPOSES OF DETERMINING
                    17                                                     RELATIONSHIP OF CASES
                         APPLE INC.,
                    18
                                                Defendants.
                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                                            Case No 4:19-cv-03074-YGR
 BOCKIUS LLP                                GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                              FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                  3:20-cv-05671-JDDocument
                                                  Document
                                                    Document
                                                     Document
                                                           45-1
                                                            56-1
                                                             32-1
                                                               115
                                                                 Filed
                                                                  Filed
                                                                    Filed
                                                                     Filed
                                                                        09/09/20
                                                                         09/09/20
                                                                          09/04/20
                                                                           09/03/20
                                                                                  Page
                                                                                   Page
                                                                                    Page
                                                                                     Page
                                                                                       233
                                                                                        226
                                                                                         32of
                                                                                            of240
                                                                                              8231
                                                                                               7



                     1          Pursuant to Civil L.R. 3-12(c) and (e), Google LLC (“Google”) responds to the Sua

                     2   Sponte Judicial Referral for Purposes of Determining Relationship of Cases ordered by Judge

                     3   Chen in Pure Sweat Basketball, Inc. v. Google LLC, et al., No. 20-cv-05792-EMC (N.D. Cal)

                     4   (“PSB-Google”), ECF 16. Judge Chen has referred PSB-Google to Judge Donato and Judge

                     5   Gonzalez Rogers to determine whether it is related to: Epic Games, Inc. v. Google LLC et al.,

                     6   No. C-20-5671-JD (“Epic-Google”); Cameron et al v. Apple Inc., No. C-19-3074-YGR

                     7   (“Cameron-Apple”); or Epic Games, Inc. v. Apple Inc., No. C-20-5640-YGR (“Epic-Apple”).

                     8          For completeness, Google advises the Court that two other actions should also be

                     9   considered for “relation” under Local Rule 3-12: Feitelson v. Google Inc., No. 14-cv-02007
                    10   (“Feitelson-Google”)1, which “was pending” before Judge Freeman; and Carr v. Google LLC,

                    11   No. 20-CV-05761 (“Carr-Google”), which “is pending” before Judge Freeman.

                    12          As a threshold matter, Google believes the three Android-related cases filed recently—

                    13   Epic-Google (Donato, J.), Carr-Google (Freeman, J.) and PSB-Google (Chen, J.)—all “relate” to

                    14   each other under Local Rule 3-12(a). Solely for convenience and purposes of this Response,

                    15   Google refers to these actions as “the Android/Google Cases.” Google also notes that under

                    16   Local Rule 3-12, these three cases may be related to the earlier-filed Android case, Feitelson-

                    17   Google (Freeman, J.), an action that “was pending in this District.” Civ. L.R. 3-12(b).

                    18          Google respectfully opposes relation of the Android/Google Cases to Cameron-Apple or

                    19   Epic-Apple (together, for purposes of this Response, the “iOS/Apple Cases”). Although Android
                    20   and iOS compete to attract app developers and end users, Google (through Android) and Apple

                    21   (through iOS) use different business models, agreements, and policies to support competing

                    22   ecosystems. The Android/Google Cases and iOS/Apple Cases thus do not concern “substantially

                    23   the same parties, property, transaction or event.” Civ. L.R. 3-12(a)(1). Moreover, the cases sit in

                    24   markedly different procedural postures—Google has not been served with the Complaints in

                    25   Epic-Google and Carr-Google, and only two of five Google defendants have been served in PSB-

                    26   Google (on August 21, 2020), whereas Apple has been engaged in continuous iOS-related

                    27
                         1
                          The PSB-Google complaint cites to the Feitelson-Google complaint when referencing relevant
                    28   Mobile Application Distribution Agreements (“MADAs”). PSB-Google Complaint, ¶ 69 n.75.
MORGAN, LEWIS &                                                        1                     Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                              GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                            FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                  3:20-cv-05671-JDDocument
                                                  Document
                                                    Document
                                                     Document
                                                           45-1
                                                            56-1
                                                             32-1
                                                               115
                                                                 Filed
                                                                  Filed
                                                                    Filed
                                                                     Filed
                                                                        09/09/20
                                                                         09/09/20
                                                                          09/04/20
                                                                           09/03/20
                                                                                  Page
                                                                                   Page
                                                                                    Page
                                                                                     Page
                                                                                       234
                                                                                        227
                                                                                         43of
                                                                                            of240
                                                                                              8231
                                                                                               7



                     1   litigation since 2011. It is therefore unlikely that conducting the Android/Google Cases and

                     2   iOS/Apple Cases before different Judges will lead to “unduly burdensome duplication of labor

                     3   and expense or conflicting results.” Civ. L.R. 3-12(a)(2).

                     4                                              DISCUSSION

                     5          An action is related to another when (1) the actions concern substantially the same parties,

                     6   property, transaction, or event; and (2) it appears likely that there will be an unduly burdensome

                     7   duplication of labor and expense or conflicting results if the cases are conducted before different

                     8   judges. Civ. L.R. 3-12(a). The rule applies to any potentially related action “which is or was

                     9   pending in this District.” Civ. L.R. 3-12(b) (emphasis added).
                    10            I.    The Android/Google Cases Should Not Be Related To the iOS/Apple Cases

                    11          The Android/Google Cases and the iOS/Apple Cases lack the requisite “substantial” parity

                    12   in parties, transactions, and operative facts. This Court has rejected relation of cases even where

                    13   parties and claims were far more similar than they are here. See Tecson v. Lyft, No. 18-cv-06782,

                    14   2019 WL 1903263, at *3 (N.D. Cal. Apr. 29, 2019) (Gonzalez Rogers, J.) (finding that TCPA

                    15   cases against the same defendant did “not suffice to meet the substantial similarity threshold”

                    16   because the cases involved “different facts and claims so the judge in each case would be focused

                    17   on resolving separate issues of law and fact for different parties”).

                    18          Different Parties, Property, Transactions, and Events. The defendants in the

                    19   Android/Google Cases are different from the defendants in the iOS/Apple Cases. This is
                    20   significant; it means there is virtually no overlap in the “property, transactions, or event[s]” at

                    21   issue. Civ. L.R. 3-12(a). This Court has recognized in the iOS/Apple Cases that having the same

                    22   defendant in those cases resulted in “each case stem[ming] from the use of the exact same

                    23   technology and the economics regarding the same technology.” Pepper v. Apple, No. 11-cv-

                    24   06714-YGR, 2019 WL 4783951, at *1 (N.D. Cal. Aug. 22, 2019) (Gonazalez Rogers, J.) (finding

                    25   “significant economies” in terms of case management and resolution of motions tied to an

                    26   understanding of the technology, platform markets, and the transactions at issue). In contrast,

                    27   Android and iOS do not use the “exact same technologies” and the business models of these two

                    28
MORGAN, LEWIS &                                                      2                    Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                               GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                             FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                  3:20-cv-05671-JDDocument
                                                  Document
                                                    Document
                                                     Document
                                                           45-1
                                                            56-1
                                                             32-1
                                                               115
                                                                 Filed
                                                                  Filed
                                                                    Filed
                                                                     Filed
                                                                        09/09/20
                                                                         09/09/20
                                                                          09/04/20
                                                                           09/03/20
                                                                                  Page
                                                                                   Page
                                                                                    Page
                                                                                     Page
                                                                                       235
                                                                                        228
                                                                                         54of
                                                                                            of240
                                                                                              8231
                                                                                               7



                     1   ecosystems, though in competition with each other, are materially different.

                     2            Android and iOS compete to attract app developers and end users, but the conduct

                     3   underlying their competition—and at issue in these two separate sets of lawsuits—is

                     4   distinct. While Apple’s iOS allows the distribution of apps only through Apple’s proprietary app

                     5   store, Android devices, in contrast: (1) can have multiple app stores simultaneously pre-installed

                     6   or downloaded and (2) allow for end users to sideload apps via the Internet. That means Android

                     7   app developers can distribute apps through multiple Android app stores, work directly with

                     8   OEMs or carriers to preload apps, and distribute apps to users directly from their own

                     9   websites. As a result, Apple and Google each have their own separate and unique negotiations
                    10   and contracts with app developers and original equipment manufacturers (OEMs). These

                    11   fundamental differences in the way Apple and Google support app distribution create key

                    12   distinctions in the claims and defenses in the iOS/Apple Cases and Android/Google Cases.2

                    13            Although there is some overlap with certain named plaintiffs—e.g., Epic has filed suit in

                    14   both Epic-Apple and Epic-Google—and the app developer classes—i.e., developers can create

                    15   both iOS and Android versions of their app—this overlap is insignificant from a “relation”

                    16   perspective. The operative facts relating to the business strategies and app distribution policies

                    17   that underlie the claims in the iOS/Apple Cases are different from those in the Android/Google

                    18   Cases. See Tecson, 2019 WL 1903263, at *3 (“Even if there was some overlap between classes,

                    19   the operative facts for the putative classes would still make them substantially different.”).
                    20            Little Duplication of Labor and Expense or Risk of Conflicting Results. The

                    21   Android/Google Cases and iOS/Apple Cases are in very different procedural postures, making it

                    22   unlikely there will be meaningful efficiencies created through relation. The iOS/Apple Cases are

                    23   related to a consumer class case, In re Apple iPhone Antitrust Litigation, No. 11-cv-06714-YGR,

                    24   that was filed in 2011 and is set for class certification proceedings in 2021 and trial in

                    25   2022. Cameron-Apple is proceeding on the same schedule. The Epic/Apple matter appears to be

                    26   proceeding on an expedited schedule. In contrast, no Google entity has been served in Epic-

                    27

                    28   2
                             This Response does not suggest that claims against Apple in the iOS/Apple Cases have merit.
MORGAN, LEWIS &                                                            3                      Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                                GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                              FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                  3:20-cv-05671-JDDocument
                                                  Document
                                                    Document
                                                     Document
                                                           45-1
                                                            56-1
                                                             32-1
                                                               115
                                                                 Filed
                                                                  Filed
                                                                    Filed
                                                                     Filed
                                                                        09/09/20
                                                                         09/09/20
                                                                          09/04/20
                                                                           09/03/20
                                                                                  Page
                                                                                   Page
                                                                                    Page
                                                                                     Page
                                                                                       236
                                                                                        229
                                                                                         65of
                                                                                            of240
                                                                                              8231
                                                                                               7



                     1   Google or Carr-Google and only two of five Google defendants were served in PSB-Google (on

                     2   August 21, 2020). Once served, and only after the initial scheduling is worked out, Google will

                     3   challenge the complaints, in large part based on circumstances unique to Android, just as it did in

                     4   Feitelson v. Google, Inc., 80 F. Supp. 3d 1019 (N.D. Cal. 2015). These differences in procedural

                     5   posture make it unlikely that there will be an unduly burdensome duplication of labor and

                     6   expense, and given the different defendants and operative facts, there is little risk of conflicting

                     7   results. Cf. Pepper, 2019 WL 4783951, at *2 (relating cases when “[a]ll three cases are currently

                     8   in a similar procedural posture and have yet to begin substantial discovery and so efficiency gains

                     9   will be achieved in discovery” and “the fact that both sets of plaintiffs seek injunctive relief
                    10   [against Apple] presents a sufficient risk of inconsistent results to warrant relation”).

                    11              II.   The Android/Google Cases All Relate To Each Other

                    12             While the three Android/Google Cases are related to each other, Google believes that

                    13   alongside Judge Chen’s referral to Judge Donato, under Local Rule 3-12, the cases also need to

                    14   be referred to Judge Freeman as they “may be ... related” to Feitelson-Google.3 Civ. L.R. 3-

                    15   12(b). These cases each allege claims against Google defendants based on Google’s contracts

                    16   with app developers and its policies within the Android ecosystem. The chart below summarizes

                    17   the Feitelson-Google case and each of the three Android/Google Cases in order of their filing.

                    18       Case, No. (Judge)      Plaintiff / Type   Defendants                     Property, Transaction
                                                                                                      or Event
                    19
                          Feitelson v. Google Inc., Gary Feitelson   Google, Inc.*                    Android OS
                    20    No. 5:14-cv-02007         and Daniel                                        Google Search
                          (Freeman, J.)             McKee / Putative *Converted to Google LLC in      Google’s MADA
                    21                              consumer class   2017                             Google Play Store
                    22
                          Epic Games, Inc. v.       Epic Games /       Google LLC                     Android OS
                    23    Google LLC et al., No.    Individual app     Google Payment Corp.           Google’s MADA
                          3:20-cv-05671             developer          Google Ireland Ltd.            Google Play Store
                    24

                    25   3
                            Each of the plaintiffs in the recently-filed Android/Google Cases—Epic, Mary Carr, and Pure
                         Sweat Basketball—agreed to litigate disputes with Google “exclusively” in Santa Clara County,
                    26   i.e., in the San Jose Division for federal court cases. See Google DDA, §16.8, available at
                         https://play.google.com/about/developer-distribution-agreement.html; Google Terms of Service,
                    27   Section “Settling disputes, governing law, and courts”, available at
                         https://policies.google.com/terms?hl=en-US. Judge Freeman is the only judge currently assigned
                    28   an Android/Google Case (Carr-Google) who presides in the San Jose Division.
MORGAN, LEWIS &                                                             4                     Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                                 GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                               FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                  3:20-cv-05671-JDDocument
                                                  Document
                                                    Document
                                                     Document
                                                           45-1
                                                            56-1
                                                             32-1
                                                               115
                                                                 Filed
                                                                  Filed
                                                                    Filed
                                                                     Filed
                                                                        09/09/20
                                                                         09/09/20
                                                                          09/04/20
                                                                           09/03/20
                                                                                  Page
                                                                                   Page
                                                                                    Page
                                                                                     Page
                                                                                       237
                                                                                        230
                                                                                         76of
                                                                                            of240
                                                                                              8231
                                                                                               7



                     1    (Donato, J.)                                       Google Commerce Ltd.            Google’s Developer
                                                                             Google Asia Pacific Pte. Ltd.   Distribution Agreements
                     2                                                                                       (“DDA”)
                     3    Carr v. Google LLC et        Mary Carr /           Google LLC                      Android OS
                          al., No. 5:20-cv-05761       Putative              Google Payment Corp.            Google’s MADA
                     4    (Freeman, J.)                consumer class        Google Ireland Ltd.             Google Play Store
                                                                             Google Commerce Ltd.            Google’s DDA
                     5                                                       Google Asia Pacific Pte. Ltd.

                     6    Pure Sweat Basketball,       Pure Sweat            Google LLC                      Android OS
                          Inc. v. Google LLC et al.,   Basketball /          Google Payment Corp.            Google’s MADA
                     7    No. 3:20-cv-05792            Putative app          Google Ireland Ltd.             Google Play Store
                          (Chen, J.)                   developer class       Google Commerce Ltd.            Google’s DDA
                     8                                                       Google Asia Pacific Pte. Ltd.

                     9           The three recently-filed cases each concern the same open mobile OS (Android) and

                    10   challenge the same Google Play policies, so there is a potential risk of inefficiencies and

                    11   conflicting results if those cases are heard before different Judges. The earlier filed case,

                    12   Feitelson-Google, was pending in this district and dismissed by Judge Freeman in 2015. See

                    13   Feitelson v. Google, Inc., 80 F. Supp. 3d 1019 (N.D. Cal. 2015) (granting motion to

                    14   dismiss). The same counsel who represented the Feitelson plaintiffs also represent the plaintiff in

                    15   PSB-Google, and both complaints allege the same theory of anticompetitive harm: Google’s use

                    16   of MADAs to purportedly foreclose competition in the relevant markets alleged in each

                    17   complaint. Both complaints allege inter alia that under Google’s MADA, OEMs can only

                    18   preload “must-have” Google apps if the OEM agrees to preload a bundle of Google apps

                    19   (including Google Play), which allegedly forecloses competitive apps from being preloaded. See,

                    20   e.g., Feitelson-Google, Dkt. No. 31, FAC ¶ 7; PSB-Google, Dkt. No. 1, Compl. ¶ 7. The Epic-

                    21   Google and Carr-Google cases allege substantially similar legal theories. See, e.g., Epic-Google,

                    22   Dkt. No. 1, Compl., ¶¶ 56-57; Carr-Google, Dkt. No. 1, ¶¶ 33-34.

                    23                                                   *         *       *

                    24           Google therefore respectfully requests that the Court decline to relate PSB-Google to

                    25   Cameron-Apple or Epic-Apple.4

                    26   4
                          Google has filed this initial Response in the lowest-numbered case identified on Judge Chen’s
                         Sua Sponte Referral Order. Google also intends to file in due course: (1) a response to Judge
                    27   Chen’s Sua Sponte Referral on the docket for Epic-Google (before Judge Donato), and (2) an
                         administrative motion as required by Civ. L.R. 3-12(b) to consider whether the Android/Google
                    28   cases “may be” related to Feitelson-Google, which “was pending” before Judge Freeman.
MORGAN, LEWIS &                                                           5                       Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                                GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                              FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
                         Case
                         Case
                           Case
                           Case
                              5:14-cv-02007-BLF
                               3:20-cv-05671-JD
                                 4:19-cv-03074-YGR
                                  3:20-cv-05671-JDDocument
                                                  Document
                                                    Document
                                                     Document
                                                           45-1
                                                            56-1
                                                             32-1
                                                               115
                                                                 Filed
                                                                  Filed
                                                                    Filed
                                                                     Filed
                                                                        09/09/20
                                                                         09/09/20
                                                                          09/04/20
                                                                           09/03/20
                                                                                  Page
                                                                                   Page
                                                                                    Page
                                                                                     Page
                                                                                       238
                                                                                        231
                                                                                         87of
                                                                                            of240
                                                                                              8231
                                                                                               7



                     1   Dated: September 3, 2020                    By     /s/ Brian C. Rocca
                                                                           Brian C. Rocca
                     2                                                     MORGAN, LEWIS & BOCKIUS LLP

                     3                                                     Attorneys for Google LLC

                     4

                     5

                     6

                     7

                     8

                     9
                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &                                                   6                    Case No. 4:19-cv-03074-YGR
 BOCKIUS LLP                            GOOGLE LLC’S RESPONSE TO SUA SPONTE JUDICIAL REFERRAL
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                          FOR PURPOSES OF DETERMINING RELATIONSHIP OF CASES
     Case
      Case3:20-cv-05671-JD
            5:14-cv-02007-BLF
                            Document
                              Document
                                     45-1
                                        56-2
                                           Filed
                                               Filed
                                                  09/09/20
                                                     09/09/20
                                                            Page
                                                              Page
                                                                 2391of
                                                                      of240
                                                                         2



 1

 2

 3

 4

 5

 6

 7

 8

 9                                UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

11                                         SAN JOSE DIVISION

12
     GARY FEITELSON, a Kentucky resident, and           Case No. 5:14-cv-02007-BLF
13   DANIEL MCKEE, an Iowa resident, on behalf
     of themselves and all others similarly situated,   [PROPOSED] ORDER RE:
14                                                      ADMINISTRATIVE MOTION TO
                           Plaintiffs,                  CONSIDER WHETHER CASES
15                                                      SHOULD BE RELATED
                    v.
16
     GOOGLE INC., a Delaware corporation,
17
                           Defendants.
18

19
20

21

22

23

24

25

26

27

28
                                                                     Case No. 5:14-cv-02007-BLF
                            [PROPOSED] ORDER RE: ADMINISTRATIVE MOTION
                           TO CONSIDER WHETHER CASES SHOULD BE RELATED
     Case
      Case3:20-cv-05671-JD
            5:14-cv-02007-BLF
                            Document
                              Document
                                     45-1
                                        56-2
                                           Filed
                                               Filed
                                                  09/09/20
                                                     09/09/20
                                                            Page
                                                              Page
                                                                 2402of
                                                                      of240
                                                                         2



 1                               [PROPOSED] RELATED CASES ORDER

 2            A Motion for Administrative Relief to Consider Whether Cases Should be Related has

 3   been filed. The time for filing an opposition or statement of support has passed. As the judge

 4   assigned to Feitelson et al. v. Google Inc., No. 5:14-cv-02007-BLF and Carr v. Google LLC et

 5   al., No. 20-cv-05761-BLF, I find that the more recently filed case(s) that I have initialed below

 6   are related to the cases assigned to me, and such case(s) shall be reassigned to me. Any cases

 7   listed below that are not related to the case assigned to me are referred to the judge assigned to the

 8   next-earliest filed case for a related case determination.

 9
      Case                   Title                                                 Related    Not Related
10    20-cv-05671-JD         Epic Games, Inc. v. Google LLC et al.
11    20-cv-05792-JD         Pure Sweat Basketball, Inc. v. Google LLC et. al

12                                          [PROPOSED] ORDER
13            The parties are instructed that all future filings in any reassigned case are to bear the
14   initials of the newly assigned judge immediately after the case number. Any case management
15   conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
16   dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
17   Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be
18   renoticed by the moving party before the newly assigned judge; any deadlines set by the ADR
19   Local Rules remain in effect; and any deadlines established in a case management order continue
20   to govern, except dates for appearance in court, which will be rescheduled by the newly assigned
21   judge.
22   DATED: ________________                         _____________________________________
                                                     Hon. Beth Labson Freeman
23
                                                     United States District Judge
24

25

26

27

28
                                                    1                  Case No. 5:14-cv-02007-BLF
                              [PROPOSED] ORDER RE: ADMINISTRATIVE MOTION
                             TO CONSIDER WHETHER CASES SHOULD BE RELATED
